                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 1 of 362


Financial Institution and Address             USD
CITIBANK N.A. PHILIPPINES
9/F CITIBANK TOWER
8741 PASEO DE ROXAS STREET
MAKATI CITY 1226, PHILIPPINES                   $10,555,215.14
CHASE REMIT DEPARTMENT
2500 WESTFIELD DRIVE
SUITE: IL1-6025 C/O RESTITUTION
ELGIN, IL 60124                                 $10,507,885.99
CAPITAL ONE BANK
ATTN: FRAUD INVESTIGATIONS
PO BOX 85582
RICHMOND, VA 23260                               $9,737,267.52
AMERICAN EXPRESS – GLOBAL SECURITY
888 S FIGUEROA ST, SUITE 1770
LOS ANGELES, CA 90017                            $9,519,270.46
USAA
10750 MCDERMOTT FREEWAY
SAN ANTONIO TX 78288                             $6,658,969.29
WELLS FARGO CARD SERVICES
P.O. BOX 30086
LOS ANGELES, CA 90030-0086                       $6,500,226.60
BARBARA RIBLET
BANK OF AMERICA
101 SO. MARENGO AVE.
CA9-702-02-06
PASADENA, CA 91101                               $5,922,899.84
DISCOVER FINANCIAL SERVICES
PO BOX 30943
SALT LAKE CITY, UT 84130                         $5,441,746.38
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 2 of 362


BARBARA RIBLET
BANK OF AMERICA
101 SO. MARENGO AVE.
CA9-702-02-06
PASADENA, CA 91101                               $5,262,559.92
JPMORGAN CHASE BANK
FRAUD RECOVER INVESTIGATIONS
1111 POLARIS PARKWAY, FLOOR 2
COLUMBUS, OH 43240                               $4,598,807.10
NAVY FEDERAL SECURITY
PO BOX 2464
MERRIFIELD, VA 22116-2464                        $4,063,455.64
TD BANK, NATIONAL ASSOCIATION
2035 LIMESTONE ROAD
WILMINGTON, DE 19808                             $3,981,575.71
PNC BANK, NATIONAL ASSOCIATION
222 DELAWARE AVE
WILMINGTON, DE 19899                             $3,330,909.31
U.S. BANK
RESTITUTION AND RECOVERY
PO BOX 650
MILWAUKEE WI 53278                               $3,207,422.56
BARCLAYS BANK DELAWARE
100 SOUTH WEST STREET
WILMINGTON, DE 19801 USA                         $3,064,100.20
FIFTH THIRD BANK
10909D 38 FOUNTAIN SQUARE PLAZA
CINCINNATI OH 45263                              $1,939,564.27
SYNCHRONY BANK
777 LONG RIDGE ROAD BUILDING B
STAMFORD CT 06902                                $1,873,938.64
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 3 of 362



CIBC FRAUD LOSS PREVENTION AND INVESTIGATIONS
INTEGRATED BUSINESS CONTROL SERVICES
ATTENTION: MARIA BELLOMO
750 LAWRENCE AVE W. E-G
TORONTO, ON M6A 1B8
*PLEASE PUT FILE# CM2014-2318 ON CHECK OR
PAPERWORK THAT COMES WITH RESTITUTION*           $1,543,731.80
BANCO DO BRASIL S.A.
SBS/QD.04-BL.C - LOTE 32 - EDIF.SEDE III
BRASILIA, DF 70070-100 BRAZIL                    $1,521,741.70
WILMINGTON TRUST, NATIONAL ASSOCIATION
ONE M&T PLAZA
BUFFALO, NY 14203 USA                            $1,494,005.71
BANK OF MONTREAL
55 BLOOR STREET WEST 19TH FLOOR
TORONTO CANADA M4W 3N5                           $1,438,076.69
UNKNOWN                                          $1,182,295.91
RBC ROYAL BANK (TRINIDAD & TOBAGO) LIMITED
3B CHANCERY LANE
PORT OF SPAIN, TRINIDAD AND TOBAGO               $1,142,355.87
SUNTRUST BANK
7455 CHANCELLOR DRIVE FL
ORLANDO FL 32809                                 $1,135,136.64
CAIXA ECONOMICA FEDERAL
SBS QDA 4, LOTES 3/4 6º ANDAR
BRASILIA BRAZIL 70092900                         $1,040,294.52
BB&T CORPORATE INVESTIGATIONS
2208 HOLIDAY MANOR CENTER
LOUISVILLE, KY 40222                             $1,014,301.47
BMO HARRIS BANK NA
55 BLOOR STREET WEST 19TH FLOOR
TORONTO CANADA M4W 3N5                            $999,562.60
                              Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 4 of 362


JACK HENRY & ASSOCIATES
1021 CENTRAL EXPRESSWAY S
ATTN PASSPORT EFT ADM
ALLEN TX 75013                                     $975,381.24
BANK OF SCOTLAND PLC
MANAGER SCHEMES
155 BISHOPSGATE
LONDON UNITED KINGDOM EC2M 3YB                     $857,141.85
BARCLAYS BANK PLC
1 CHURCHILL PLACE
LONDON, EN E14 5HP UNITED KINGDOM                  $756,940.94
CITIZENS BANK, NATIONAL ASSOCIATION
ONE CITIZENS PLAZA
PROVIDENCE, RI 2903 USA                            $709,995.56
FISERV SOLUTIONS
4550 SW MACADAM AVENUE
PORTLAND OR 97239                                  $694,878.68
BANCO BRADESCO CARTOES S.A.
CIDADE DE DEUS S/N PREDIO CINZA -
1 ANDAR OSASCO, SP 06029-901 BRAZIL                $691,929.58
THE BANCORP BANK
12312 PORT GRACE BLVD
LA VISTA NE 68128                                  $689,296.44
MITSUBISHI UFJ NICOS CO., LTD
3-33-5 HONGO, BUNKYO-KU
TOKYO, 113-8411 JAPAN                              $622,237.37
BANCO ITAUCARD, S.A.
PçA ALFREDO E. SOUZA ARANHA,
100 TORRE C
SAO PAULO, SP 04344-902 BRAZIL                     $587,291.55
WORLD'S FOREMOST BANK
ONE CABELA DRIVE
SIDNEY, NE 69160                                   $587,187.41
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 5 of 362


BARBARA RIBLET
BANK OF AMERICA
101 SO. MARENGO AVE.
CA9-702-02-06
PASADENA, CA 91101                                $530,531.61
COMPASS BANK
15 SOUTH 20TH STREET
BIRMINGHAM,ALABAMA U.S.A. 35233                   $526,892.30
UMB BANK N.A.
MAILSTOP 1010601
928 GRAND BLVD
KANSAS CITY, MO 64106                             $503,624.90
LLOYDS BANK PLC
25 GRESHAM STREET
LONDON, EN EC2V 7AE UNITED KINGDOM                $498,957.62
THE BANK OF NOVA SCOTIA JAMAICA LIMITED
31-33 TRAFALGAR ROAD
KINGSTON-10, JAMAICA                              $480,324.02
CARD SERVICES FOR CREDIT UNIONS
3031 N. ROCKY POINT DR W SUITE 750
TAMPA FL 33607                                    $478,388.37
STATE EMPLOYEES' CREDIT UNION
3808 SIX FORKS ROAD
RALEIGH,NORTH CAROLINA U.S.A. 27609               $475,615.91
REGIONS BANK
201 MILAN PARKWAY
BIRMINGHAM AL 37027                               $461,532.13
NATIONAL WESTMINSTER BANK PLC
PREMIER PLACE LEVEL 6
LONDON UNITED KINGDOM EC2M 4BA                    $459,948.17
KEYBANK NATIONAL ASSOCIATION
1950 SOUTH REYNOLDS ROAD
TOLEDO OH 43614                                   $447,888.79
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 6 of 362


PENTAGON FEDERAL CREDIT UNION
2930 EISENHOWER AVENUE
ALEXANDRIA VA 22314                               $445,375.91
ITAU UNIBANCO S.A.
RUA BOA VISTA 176
SAO PAULO, SP, 01092-900 BRAZIL                   $419,250.54
CU COOPERATIVE SYSTEMS
6801 PARKWOOD BLVD.
PLANO TX 75024                                    $409,456.47
SCHOOLSFIRST FEDERAL CREDIT UNION
FRAUD MANAGEMENT
15222 DEL AMO AVE
TUSTIN CA 92780                                   $407,458.44
FIDELITY INFORMATION SERVICES
601 RIVERSIDE AVE
JACKSONVILLE, FL 32204                            $400,750.71
FIRST NATIONAL BANK OF OMAHA
1620 DODGE ST
OMAHA NE 68197-3198                               $396,772.58
FIRST NIAGARA BANK
55 EAST AVE
LOCKPORT NY 14094                                 $367,352.27
BECU
M/S 1079-2
PO BOX 97050
SEATTLE, WA 98124                                 $355,504.52
NORDSTROM FSB
13531 EAST CALEY AVENUE
CENTENNIAL,COLORADO U.S.A. 80111                  $345,841.71
SUSQUEHANNA BANK PA
26 NORTH CEDAR STREET
LITITZ, PENNSYLVANIA U.S.A. 17543                 $341,024.07
                              Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 7 of 362


PSCU INCORPORATED
560 CARILLON PARKWAY
ST. PETERSBURG FL 33716                             $337,795.88
ISRAEL CREDIT CARDS LTD
CEO 13 TFUTZOT ISRAEL ST.
GIVATAYIM ISRAEL 53583                              $336,458.52
INDUSTRIAL AND COMMERCIAL BANK OF CHINA
LEVEL 6, TOWER 1, MILLENNIUM CITY 1 388 KWUN TONG
RD
KOWLOON HONG KONG                                   $335,630.85
INTERNATIONAL BANK OF COMMERCE
1200 SAN BERNARDO AVE
LAREDO, TX 78042                                    $326,378.34
BANK OF THE WEST
COMMERCIAL CARD USA
180 MONTGOMERY STREET
SAN FRANCISCO CA 94104                              $320,774.66
HSBC BANK PLC
8 CANADA SQUARE
LONDON, EN E14 5HQ UNITED KINGDOM                   $312,208.27
CITI COMMERCIAL
3900 PARADISE ROAD, SUITE 127
LAS VEGAS, NV 89109 USA                             $294,220.61
BANK OF CHINA LIMITED
NO. 1 FUXINGMEN NEI DAIJIE.
BEIJING, 100818 CHINA                               $288,833.81
SHAZAM INC.
1500 NW 118TH ST
DES MOINES IA 50325                                 $286,016.33
WHITNEY BANK
2510 14TH STREET
ONE HANCOCK PLAZA
GULFPORT, MS 39501 USA                              $284,680.50
                               Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 8 of 362


MOUNTAIN AMERICA CREDIT UNION
P. O. BOX 9001
WEST JORDAN,UTAH U.S.A. 84084-0001                  $282,631.91
ICBA BANCARD INC
1615 L STREET NW SUITE 900
WASHINGTON, DC 20036                                $276,099.43
BANCO SANTANDER S.A.
RUA SETE DE SETEMBRO, 1028
PORTO ALEGRE-RS, RS 90010-191 BRAZIL                $274,139.07
STAR PROCESSING INC.
495 NORTH KELLER ROAD SUITE 400
MAITLAND FL 32751                                   $268,692.23
COMERICA BANK
7614 39200 W SIX MILE ROAD
LIVONIA MI 48154                                    $255,557.47
THE GOLDEN 1 CREDIT UNION
P. O. BOX 15966
SACRAMENTO,CALIFORNIA U.S.A. 95852                  $255,158.97
CHINA MERCHANTS BANK
CEO CREDIT CARD CENTER
NO.316 LAOSHAN ROAD
SHANGHAI PEOPLES REPUBLIC OF CHINA                  $251,888.42
STATE FARM BANK
ONE STATE FARM PLAZA E-6
BLOOMINGTON, IL 61710                               $247,183.84
METABANK
5501 S. BROAD BAND LANE
SIOUX FALLS SD 57108                                $244,411.35
BANCO BRADESCO SA
AL. RIO NEGRO 585
ED. DEMINI - 12 ANDAR
BARUERI - SP BRAZIL 06454-000                       $241,548.91
                              Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 9 of 362


THE STANDARD BANK OF SOUTH AFRICA LIMITED
5 SIMMONDS STREET 1ST FLOOR
JOHANNESBURG, SOUTH AFRICA 2001                    $236,052.81

CHINA EVERBRIGHT BANK -
CREDIT CARD CENTER BUILDING 1,
YARD NO. 6, ZHENGDA ROAD SHIJINGSHAN DISTRICT
BEJING, CHINA, PEOPLES REP. OF 100043              $232,364.62
VJA
1-2-20, KAIGAN, MINATO-KU
TOKYO, 105-0022 JAPAN                              $231,545.74
HUNTINGTON NATIONAL BANK
7 EASTON OVAL
COLUMBUS OH 43219                                  $218,363.52
GREEN DOT BANK
1675 N FREEDOM BLVD
PROVO UT 84604                                     $217,334.72

LA FEDERATION DES CAISSES DESJARDINS DU QUEBEC
1, COMPLEXE DESJARDINS P.O. BOX 7, 40TH FLOOR,
SOUTH TOWER
MONTREAL, QC H5B 1B2 CANADA                        $216,255.40
BANCO SANTANDER (BRASIL) SA
RUA AMADOR BUENO 474
DIRETORIA DE CARTOES
SAO PAULO 04752005, BRAZIL                         $213,562.30
BOKF, NATIONAL ASSOCIATION
ONE WILLIAMS CENTER 14 SW
TULSA, OK 74172 USA                                $213,493.23
HSBC BANK USA, NATIONAL ASSOCIATION
1800 TYSONS BOULEVARD, SUITE 50
MCLEAN, VA 22102 USA                               $207,528.12
                              Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 10 of 362


MBNA LIMITED
CHESTER BUSINESS PARK WREXHAM ROAD
CHESTER UNITED KINGDOM CH4 9FB                      $207,319.47
POLICE & FIRE FEDERAL CREDIT UNION
901 ARCH STREET
PHILADELPHIA, PA 19107 USA                          $204,983.14
TARJETAS BANAMEX, SA DE CV, SOFOM E.R.
ACT. ROBERTO MEDELLIN 800 2oP NORTE
COL. SANTA FE
01210 MEXICO, MEXICO                                $204,051.40
HSBC BANK NEVADA NA
111 TOWN CENTER DRIVE
LAS VEGAS, NV 89134                                 $201,093.63
FIRST-CITIZENS BANK & TRUST COMPANY
239 FAYETTEVILLE STREET
RALEIGH, NC 27601 USA                               $199,963.18
BANQUE FEDERATIVE DU CREDIT MUTUEL
MANAGER PAYMENT SYSTEMS
34 RUE DU WACKEN
STRASBOURG FRANCE 67000                             $199,634.15
WESTPAC BANKING CORPORATION
26M6 LEVEL 26, 275 KENT STREET
SYDNEY NSW AUSTRALIA 2000                           $195,235.91
FIRST TECH FEDERAL CREDIT UNION
PO BOX 2100
BEAVERTON, OR 97075                                 $194,762.64
CARTASI SPA
CORSO SEMPIONE, 55
MIILANO ITALY                                       $191,902.92
BANCO POPULAR DE PUERTO RICO
URB CARIBE FLR. 4 SUITE PISO
SAN JUAN PUERTO RICO 009363228                      $191,866.00
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 11 of 362


FIRST FEDERAL BANK OF FLORIDA
4705 WEST US HIGHWAY 90
LAKE CITY, FL 32056 USA                           $191,696.84
COMMONWEALTH BANK OF AUSTRALIA
TOWER 1, 201 SUSSEX ST
SYDNEY NSW AUSTRALIA 2000                         $186,575.45
CAPITAL CITY BANK
P. O. BOX 900
TALLAHASSEE,FLORIDA U.S.A. 32302                  $180,845.36
PENNSYLVANIA STATE EMPLOYEES CREDIT UNION
P. O. BOX 67013
HARRISBURG,PENNSYLVANIA U.S.A. 17106              $169,824.59
SOCIETE GENERALE S.A.
29 BOULEVARD HAUSSMANN
PARIS, 75009 FRANCE                               $165,590.90
TELLER AS
HOFFSVEIEN 1E
OSLO NORWAY NO-0213                               $161,991.84
LA BANQUE POSTALE CNM
RUE DE LA CERAMIQUE- BATIMENT E
LIMOGES CEDEX 9, FRANCE 87074                     $156,128.44
CREDIT ONE BANK NATIONAL ASSOCIATION
585 PILOT ROAD
LAS VEGAS NV 89119                                $151,729.40
BBVA BANCOMER S.A.
AVE. UNIVERSIDAD 1200 COLONIA XOCO
MEXICO CITY, 3339 MEXICO                          $150,974.37
PNC BANK, GLOBAL INVESTMENT SERVICING
249 FIFTH AVENUE, 1 PNC PLAZA
PITTSBURGH, PA 15222 USA                          $150,798.61
NORWEGIAN VISA-BANKGROUP
C.J. HAMBROES PLASS 2C
OSLO, N-0164 NORWAY                               $150,057.50
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 12 of 362


CREDIT UNION OF NEW JERSEY
1301 PARKWAY AVE
EWING, NJ 08628                                  $148,195.24
VISA BELGIUM
RUE D'ARLON 82
BRUSSELS, 1040 BELGIUM                           $147,751.37
CHEMICAL BANK
333 E MAIN STREET
MIDLAND MI 48641                                 $147,705.39
FULTON BANK, NATIONAL ASSOCIATION
ONE PENN SQUARE
LANCASTER, PA 17604 USA                          $146,208.81
ABSA BANK LIMITED
337 PETROLEUM STREET
WATLOO PRETORIA SOUTH AFRICA                     $145,932.06
UNITED COMMUNITY BANK
125 HWY 515 EAST
PO BOX 398
BLAIRSVILLE, GA 30514                            $145,776.10
ONPOINT COMMUNITY CREDIT UNION
2701 NW VAUGHN
PORTLAND, OR 97210 USA                           $145,728.44
FIRST TENNESSEE BANK N.A.
P. O. BOX 2091
MEMPHIS,TENNESSEE U.S.A. 38101                   $139,503.76
RANDOLPH BROOKS FEDERAL CREDIT UNION
ONE RANDOLPH BROOKS PKWY
UNIVERSAL CITY TX 78148 2097                     $139,239.35
PEOPLE'S UNITED BANK
CREDIT CARD SERVICES
2 BURLINGTON SQUARE
BURLINGTON VT                                    $138,478.43
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 13 of 362


BPCE
50, AVENUE PIERRE MENDES FRANCE
75201 PARIS CEDEX 13                                $138,294.21

BANORTE IXE TARJETAS S.A. DE C.V. SOF
MARIANO ESCOBEDO 595
COL. RINCON DEL BOSQUE MEXICO DIF MEXICO 11580      $138,033.76
CREDIT AGRICOLE SA
12 PLACE DES ETATS-UNIS
MONTROUGE FRANCE 92127                              $136,250.30
RENASANT BANK
3618 W JACKSON STREET EXT
TUPELO MS 38803                                     $133,801.05
YAPI VE KREDI BANKASI A.S.
YAPIKREDI BANKACILIKUSSU
GEBZE
41480 KOCAELI, TURKEY                               $133,082.80
SOUTH STATE BANK
520 GERVAIS STREET
COLUMBIA, SC 29201 USA                              $132,951.76
N/A                                                 $131,357.50
SUNCOAST CREDIT UNION
6801 EAST HILLSBOROUGH AVENUE
TAMPA, FL 33610 USA                                 $130,127.12
BNP PARIBAS - APAC MONÉTIQUE PARIS DOMAINE
INTERNATIONAL
19-21 RUE POISSONNIERE 75450
PARIS CEDEX 09, FRANCE                              $129,820.44
ASOCIACION GREMIAL DE INSTITUCIONES FINANCIERAS -
CREDIBANCO
CALLE 72 NO. 6-12
BOGOTA, COLOMBIA                                    $129,726.75
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 14 of 362


COMMERCE BANCSHARES, INC.
1000 WALNUT STREET
KANSAS CITY, MO 64106 USA                         $127,261.67
THE GOVERNOR AND COMPANY OF THE BANK OF
IRELAND
C/O CREDIT CARD CENTRE
33-35 NASSAU STREET
DUBLIN 2, IRELAND                                 $126,447.25
SANTANDER UK PLC
ABBEY NATIONAL HOUSE,
2 TRITON SQUARE REGENT'S PLACE
LONDON, EN NW1 3AN UNITED KINGDOM                 $126,172.78
UNKNOWN                                           $125,174.10
MEMBERS 1ST FEDERAL CREDIT UNION
P. O. BOX 40
MECHANICSBURG,PENNSYLVANIA U.S.A. 17055           $124,536.17
BANK LEUMI LE-ISRAEL B.M.
35 YEHUDA HALEYV STREET
TEL AVIV, 61000 ISRAEL                            $121,712.60
UNIVERSITY FEDERAL CREDIT UNION
3305 STECK AVENUE
AUSTIN, TX 78757 USA                              $120,751.13
BANCOLOMBIA S.A.
OPERATIONS CREDIT CARD
CRA 48 N° 26 - 85 PISO 9A
MEDELLIN COLOMBIA                                 $120,349.06
BANK OF COMMUNICATIONS
NO.80, SONGTAO RD, PUDONG ZHANGJIANG HI-TECH
PARK
SHANGHAI PEOPLES REPUBLIC OF CHINA 201203         $120,165.42
WILMINGTON SAVINGS FUND SOCIETY, FSB
500 DELAWARE AVE
WILMINGTON, DE 19801                              $118,844.55
                          Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 15 of 362


ARMED FORCES BANK, NATIONAL ASSOCIATION
320 KANSAS AVENUE
FORT LEAVENWORTH,KANSAS U.S.A. 66027            $116,225.30
UBS BANK USA
299 SOUTH MAIN STREET, SUITE 2275
SALT LAKE CITY, UT 84111                        $113,368.64
SECURITY SERVICE FEDERAL CREDIT UNION
16211 LA CANTERA PARKWAY MARKETING
SAN ANTONIO TX 78256-2419                       $110,737.19
MERRICK BANK CORPORATION
SUITE 200
10705 S. JORDAN GATEWAY
SOUTH JORDAN UT 84095                           $110,477.07
PRISMA MEDIOS DE PAGO S.A.
AVE. CORRIENTES 1437
BUENOS AIRES, 1042 ARGENTINA                    $110,061.72
TRUSTMARK NATIONAL BANK
103 OFFICE PARK DRIVE
ATTENTION: LESLIE BLAKENEY
BRANDON, MS 39042                               $109,775.18
THE HONGKONG AND SHANGHAI BANKING CORPORATION
LIMITED
HSBC MAIN BUILDING 1 QUEEN'S ROAD CENTRAL,
HONG KONG, CHINA                                $109,649.93
ARROWHEAD CREDIT UNION
550 EAST HOSPITALITY LANE SUITE 200
SAN BERNARDINO,CALIFORNIA U.S.A. 92408          $108,643.89
UNIVEST BANK AND TRUST CO.
16 HARBOR PLACE
SOUDERTON PA 18964                              $105,164.54
DEUTSCHE KREDITBANK AKTIENGESELLSCAFT
TUERKENSTR. 9
MUNICH GERMANY 80333                            $102,816.21
                              Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 16 of 362


DELTA COMMUNITY CREDIT UNION
P. O. BOX 20541
ATLANTA,GEORGIA U.S.A. 30320-2541                   $102,245.31
SYNOVUS BANK
1125 1ST AVENUE
COLUMBUS GA 31901                                   $101,471.31
BANCO CITIBANK S.A.
AVENIDA PAULISTA, 1111
SAO PAULO, BRAZIL                                   $100,031.67
BERKSHIRE BANK
99 NORTH STREET
PITTSFIELD MA 01202-1308                             $99,677.55

STATE EMPLOYEES CREDIT UNION OF MARYLAND, INC.
971 CORPORATE BLVD SUITE 228
LINTHICUM,MARYLAND U.S.A. 21090-2337                 $99,532.42
HSBC MEXICO S.A., INSTITUCION DE BANCA MULTIPLE,
GRUPO FINANCIERO HSBC
PASEO DE LA REFORMA 156
COLONIA JUAREZ MEXICO D.F., 6600 MEXICO              $99,263.58
SANTANDER CONSUMO S.A. DE C.V. SOFOM E.R.
PROLONGACION PASEO DE LA REFORMA
500 COLONIA LOMAS DE
SANTA FE MEXICO D.F., 1219 MEXICO                    $99,160.72
DEUTSCHER SPARKASSEN- UND GIROVERBAND
CHARLOTTENSTRASSE 47
BERLIN, 10117 GERMANY                                $98,372.55
ACADEMY BANK, NATIONAL ASSOCIATION
COMMUNITY CENTER DRIVE BUILDING 5122
U.S. AIR FORCE ACADEMY,COLORADO U.S.A. 80840         $96,754.04
STATE EMPLOYEES FEDERAL CREDIT UNION
700 PATROON CREEK BOULEVARD
ALBANY, NY 12206 USA                                 $94,722.35
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 17 of 362


FIRSTBANK
12345 WEST COLFAX AVE
LAKEWOOD CO 80215-3742                            $94,548.78
FAIRWINDS CREDIT UNION
135 W CENTRAL BLVD, STE 1220
ORLANDO, FL 32801 USA                             $94,449.58
ONEAZ CREDIT UNION (ARIZONA STATE CU)
2355 W. PINNACLE PEAK RD.
PHOENIX, AZ 85027 USA                             $94,200.58
CREDIT SAISON CO LTD
SUNSHINE 60,
52ND FLOOR 1-1 HIGASHI-IKEBUKURO 3-CHOME
TOKYO JAPAN 170-6073                              $93,640.01
PRESIDENT'S CHOICE BANK
25 YORK STREET 7TH FLOOR
TORONTO ON CANADA M5J 2V5                         $89,010.47
ARVEST BANK
225 E. EUFAULA ST.
NORMAN OK 73069-6018                              $88,761.12
CREDIT DU NORD
CARTES BANCAIRES BP 569 LILLE
CEDEX, FRANCE 59023                               $88,260.20
ARAB FINANCIAL SERVICES COMPANY
OCEAN CENTRE,
40 - TALPUR ROAD,
KARACHI, KARACHI PAKISTAN                         $86,864.28
INTERNATIONAL CARD SERVICES BV
DIRECTOR WISSELWERKING 32
DIEMEN NETHERLANDS, THE 1112 XP                   $86,007.17
CAPITAL ONE BANK
ATTN: FRAUD INVESTIGATIONS
PO BOX 85582
RICHMOND, VA 23260                                $84,909.77
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 18 of 362


CHARLES SCHWAB BANK
211 MAIN STREET MAIL STOP SF211MN-11-333
SAN FRANCISCO,CALIFORNIA U.S.A. 94105              $84,908.76
FIREFIGHTERS FIRST CREDIT UNION
1520 WEST COLORADO BOULEVARD
PASADENA, CA 91105 USA                             $84,419.90
VISA SWEDEN FORENING (EK. FOR)
STORTORGET 13B
MALMO, SE 21122 SWEDEN                             $84,062.32
BMW BANK OF NORTH AMERICA
2735 EAST PARLEYS WAY, SUITE 301
SALT LAKE CITY, UT 84109 USA                       $81,964.50
CHEVRON FEDERAL CREDIT UNION
475 14TH STREET
OAKLAND CA 94604                                   $81,634.33
INDIANA UNIVERSITY CREDIT UNION
105 E WINSLOW RD
PO BOX 368
BLOOMINGTON IN 47402                               $81,498.13
ISRACARD LTD.
40 HAMASGER STREET
TEL AVIV ISRAEL 61620                              $81,089.74
TESCO PERSONAL FINANCE LIMITED
22 HAYMARKET YARDS
EDINBURGH UNITED KINGDOM EHI2 5BH                  $80,733.59
MARINE FEDERAL CREDIT UNION
PO BOX 1551
JACKSONVILLE, NC 28541                             $80,439.49
EUROPAY BELGIUM
GENERAL SECRETARY
CHAUSSEE DE HAECHT 1426
1130BRUXELLES BELGIUM                              $79,733.92
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 19 of 362


SAVINGS INSTITUTE BANK AND TRUST COMPANY
803 MAIN ST
WILLIMANTIC CT 06226-2503                          $79,198.00

FIRST FINANCIAL OF MARYLAND FEDERAL CREDIT UNION
1215 YORK ROAD
LUTHERVILLE,MARYLAND U.S.A. 21093                  $78,458.83
STATE DEPARTMENT FEDERAL CREDIT UNION
1630 KING STREET
ALEXANDRIA, VA 22314 USA                           $78,125.14
ITS BANK
6700 PIONEER PARKWAY
JOHNSTON, IA 50131 USA                             $78,119.98
CITIBANK SINGAPORE LTD.
3 TEMASEK AVE., #12-00
CENTENNIAL TOWER
SINGAPORE, 39190 SINGAPORE                         $78,084.74
APPLE FEDERAL CREDIT UNION
4029 RIDGE TOP ROAD
FAIRFAX, VA 22030 USA                              $76,738.62
COMMUNITY & SOUTHERN BANK
201 MAPLE STREET
CARROLLTON, GA 30117 USA                           $76,636.30
CENTRAL TRUST BANK
SECOND VP/BANKCARD CENTER BANKCARD
111 E MILLER STREET
JEFFERSON CITY MO 65101                            $76,217.24
AMERICA FIRST CREDIT UNION
P. O. BOX 9199
OGDEN,UTAH U.S.A. 84409                            $75,953.46
AGRICULTURAL BANK OF CHINA
BANKING CARD DEPT
23A FUXING RD
BEIJING PEOPLES REPUBLIC OF CHINA 100036           $75,840.05
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 20 of 362


THE CO-OPERATIVE BANK PLC
FRAUD OPERATIONS
P O BOX 300 DELF HOUSE
SKELMERSDALE, LANCS,ENGLAND UNITED KINGDOM WN8
6NY                                              $75,455.54
ATB FINANCIAL
2 WEST, 3699 63 AVE NE
CALGARY, AB, T3J 0G7                             $74,129.67
AFFINITY FEDERAL CREDIT UNION
73 MOUNTAIN VIEW BLVD
BASKING RIDGE,NEW JERSEY U.S.A. 07920            $71,716.22
TRAVIS CREDIT UNION
1 TRAVIS WAY
VACAVILLE, CA 95687 USA                          $70,174.64
MUNICIPAL CREDIT UNION
22 CORTLANDT STREET
NEW YORK, NY 10007-3107 USA                      $70,044.71
NATIONAL AUSTRALIA BANK LIMITED
MERCHANT RISK
GROUND FLOOR 151 RATHDOWNE ST,
CARLTON, VIC 3053                                $68,821.06
BANCORPSOUTH BANK
SENIOR VICE PRESIDENT
2778 W JACKSON
TUPELO MS 38801                                  $68,783.59
TCF NATIONAL BANK
801 MARQUETTE AVENUE,
ELECTRONIC TRAN. DISPUTE SERVICES 001-17-V
MINNEAPOLIS,MINNESOTA U.S.A. 55402               $68,404.79
PROVIDENT CREDIT UNION
303 TWIN DOLPHIN DRIVE
REDWOOD CITY, CA 94065 USA                       $68,135.34
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 21 of 362



EUROCARD AB
SEB KORT KORTUTGIVNING MAGNUS LADULASGATAN 2
STOCKHOLM SWEDEN 10383                               $67,333.13

SERVIRED, SOCIEDAD ESPANOLA DE MEDIOS DE PAGO, S.A
CALLE GUSTAVO FERNANDEZ BALBUENA 15
MADRID, 28002 SPAIN                                  $66,680.02
ORIGIN BANK (COMMUNITY TRUST BANK)
3921 ELM STREET
CHOUDRANT, LA 71227 USA                              $66,376.56
CITADEL FEDERAL CREDIT UNION
CARD SERVICES
520 EAGLEVIEW BLVD
THORNDALE PA 19372                                   $66,180.96
FIRST HAWAIIAN BANK
2339 KAMEHAMEHA HIGHWAY
HONOLULU HI 96819                                    $65,762.57
DZ BANK AG DEUTSCHE ZENTRAL-
GENOSSENSCHAFTSBANK
PLATZ DER REPUBLIK
60325 FRANKFURT, GERMANY                             $65,592.75
NORTHWEST FEDERAL CREDIT UNION
200 SPRING ST
HERNDON VA 20170                                     $65,300.82
FIRSTRAND BANK LIMITED
1ST FLOOR, NO 2 FIRST PLACE BANK CITY
JOHANNESBURG SOUTH AFRICA 2000                       $64,973.35
QATAR NATIONAL BANK AL AHLI S.A.E.
5 CHAMPOLLION STREET
DAR CHAMPOLLION CAIRO, EGYPT                         $63,766.17
BC CARD CO LTD.
1587, SEOCHO-DONG SEOCHO-GU
SEOUL SOUTH KOREA 157777                             $63,205.52
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 22 of 362


PHILADELPHIA FEDERAL CREDIT UNION
12800 TOWNSEND RD
PHILADELPHIA, PA 19154                             $63,091.57
MB FINANCIAL BANK, NA
6111 NORTH RIVER ROAD
ROSEMONT IL 60018                                  $62,724.40
SAMBA FINANCIAL GROUP
SHAREE AL-MATTAR KING ABDULAZIZ STREET
RIYADH, 11421 SAUDI ARABIA                         $62,664.21

ABERDEEN PROVING GROUND FEDERAL CREDIT UNION
996 BEARDS HILL RD
ABERDEEN, MD 21001                                 $62,655.87
ALLIED IRISH BANKS
UNIT 33, SANDYFORD BUSINESS PARK, BLACKTHORN
ROAD,
DUBLIN 18 IRELAND                                  $62,642.75
FIRST NATIONAL BANK OF PENNSYLVANIA
166 MAIN STREET
GREENVILLE, PA 16125-2146 USA                      $62,481.33

NATIONAL BANK OF ABU DHABI
HEAD OF CARDS NBAD CARD CENTER AL MUROOR STREET
ABU DHABI UNITED ARAB EMIRATES 28886               $62,422.82
UNION BANK
400 CALIFORNIA ST
SAN FRANCISCO, CA 94104                            $62,344.06
BANCO MERCANTIL DEL NORTE
PADRE MIER 227 OTE COL. CENTRO
MONTERREY NLE MEXICO 64000                         $62,153.14
HSBC BANK CANADA
885 WEST GEORGIA ST
VANCOUVER BC V6C 3G1, CANADA                       $62,016.82
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 23 of 362


FIRST MIDWEST BANK
3RD FLOOR 50 WEST JEFFERSON ST
JOLIET IL 60432                                   $61,900.35
TIB THE INDEPENDENT BANKERSBANK
350 PHELPS DRIVE
IRVING TX 75038                                   $61,594.22
EDUCATIONAL SYSTEMS EMPLOYEES FEDERAL CREDIT
UNION
P. O. BOX 226
BLADENSBURG,MARYLAND U.S.A. 20710-0226            $61,441.97
CITIGROUP PTY LIMITED
2 PARK STREET
SYDNEY, NS 2000 AUSTRALIA                         $61,135.64
1ST FINANCIAL BANK USA
ATTN: MATT FIEDLER
363 WEST ANCHOR DR.
DAKOTA DUNES, SD 57049                            $60,732.04
COUNTRY BANK FOR SAVINGS
AVP ATM DEPT 15 SOUTH ST
WARE MA 01082                                     $60,405.10
FIRST BANK PUERTO RICO
1519 AVE PONCE DE LEON
SAN JUAN 00908, PUERTO RICO                       $60,283.83
UBS SWITZERLAND AG
BAHNHOFSTRASSE 45
ZURICH, 8001 SWITZERLAND                          $60,259.58
BANCO NACIONAL DE MEXICO S.A.
ACT ROBERTO MEDELLIN
800 1ER PISO NORTE COL SANTA FE
CIUDAD DE MEXICO DIF MEXICO 01210                 $59,837.81
AUSTRALIA AND NEW ZEALAND BANKING GROUP
CARD SCHEMES LIAISON LVL 6,
833 COLLINS STREET
DOCKLANDS VIC AUSTRALIA 3008                      $59,225.55
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 24 of 362



MICHIGAN STATE UNIVERSITY FEDERAL CREDIT UNION
3777 WEST ROAD EAST
LANSING,MICHIGAN U.S.A. 48823                      $59,111.03
TEACHERS CREDIT UNION
110 SOUTH MAIN STREET
SOUTH BEND IN 46601                                $58,439.89
MERCK SHARP & DOHME FEDERAL CREDIT UNION
335 WEST BUTLER AVENUE,
P.O. BOX 127
CHALFONT, PA 18914 USA                             $58,269.32
CREDIT ANDORRA
AVDA. MERITXELL, 80 ANDORRA LA VELLA,
AD500 ANDORRA                                      $58,007.19
LE CREDIT LYONNAIS
18 RUE DE LA REPUBLIQUE
LYONS, 69002 FRANCE                                $57,761.70
HSBC BANK MALAYSIA BERHAD
NO.2 LEBOH AMPANG
KUALA LUMPUR, 50100 MALAYSIA                       $57,299.03
NATIONAL BANK OF CANADA
700 DE LA GAUCHETIERE ST. W. 7TH FLOOR
MONTREAL QC CANADA H3B3B5                          $57,186.48
BANCO FINANCIERA COMERCIAL HONDUREñA, S.A.
ENTR. LAS COLINAS EDIF. PLAZA VICTORIA
TEGUCIGALPA, HONDURAS                              $56,433.62
UTILITIES EMPLOYEES CREDIT UNION
11 MERIDIAN BLVD
WYOMISSING,PENNSYLVANIA U.S.A. 19610               $56,131.54
THE ROYAL BANK OF SCOTLAND PLC.
PREMIER PLACE LEVEL 6
LONDON UNITED KINGDOM EC2M 4BA                     $55,132.79
                              Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 25 of 362


CORNER BANCA N.A.
CARD CENTER MANAGER
BCC VIA CANOVA 16
LUGANO SWITZERLAND 6901                             $55,040.14
PATELCO CREDIT UNION
5050 HOPYARD ROAD
PLEASANTON, CA 94588 USA                            $54,694.66
HSBC BANK BRASIL S.A. - BANCO MULTIPLO
TRAVESSA OLIVEIRA BELLO, 34
CURITIBA, 81020-030 BRAZIL                          $54,520.30
PUBLIX EMPLOYEES FEDERAL CREDIT UNION
3005 NEW TAMPA HIGHWAY
LAKELAND,FLORIDA U.S.A. 33815                       $54,119.74
BANGKOK BANK PUBLIC COMPANY LIMITED
333 (1ST FLR TRINITY COMPLEX BLDG) SILOM ROAD,
SILOM
BANGKOK THAILAND 10500                              $54,093.62
SILICON VALLEY BANK
4750 WEST 210 SOUTH 3RD FLOOR - UT 300
SALT LAKE CITY NV 84044                             $53,940.29
DESERT SCHOOLS FEDERAL CREDIT UNION
148 NORTH 48TH STREET
PHOENIX, AZ 85034 USA                               $53,682.86
VISECA CARD SERVICES SA
HAGENHOLZSTRASSE 56 POSTFACH 7007
ZURICH, 8050 SWITZERLAND                            $53,533.13
ALTURA CREDIT UNION
2847 CAMPUS PARKWAY DR.
RIVERSIDE,CALIFORNIA U.S.A. 92507                   $53,015.01
REDSTONE FEDERAL CREDIT UNION
ATTN: ALETHEA LAWSON
220 WYNN DR
HUNTSVILLE, AL 35893                                $52,600.62
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 26 of 362


ASSOCIATED CREDIT UNION
6251 CROOKED CREEK ROAD
NORCROSS,GEORGIA U.S.A. 30092                     $52,413.13
ESL FEDERAL CREDIT UNION
225 CHESTNUT STREET
ROCHESTER, NY 14604 USA                           $52,288.34
SHINHAN CARD CO., LTD.
A-14, POST TOWER
CHUNGMURO 1-GA, 21
JUNG-GU
SEOUL 100709, KOREA, REPUBLIC OF                  $52,174.20
ST. GEORGE BANK LIMITED
4-16 MONTGOMERY STREET
KOGARAH, NS 2217 AUSTRALIA                        $52,069.61
MIDFIRST BANK
11001 NORTH ROCKWELL OPERATIONS
OKLAHOMA CITY OK 73162                            $51,987.86
HSBC BANK - EGYPT SAE
ABOU EL FEDA BUILDING
3 ABOU EL FEDA STREET, ZAMALEK
CAIRO, EGYPT                                      $51,866.10
UNIVERSITY OF WISCONSIN CREDIT UNION
P. O. BOX 44963
MADISON,WISCONSIN U.S.A. 53744-4963               $51,033.46
JSC FEDERAL CREDIT UNION
PO BOX 58346
HOUSTON, TX 77258                                 $50,997.94
CLYDESDALE BANK PLC
20 MERRION WAY
LEEDS UNITED KINGDOM LS2 8NZ                      $50,549.73
DIGITAL FEDERAL CREDIT UNION
220 DONALD LYNCH BLVD.
MARLBORO,MASSACHUSETTS U.S.A. 01752               $50,439.02
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 27 of 362


FREEDOM CREDIT UNION
626 JACKSONVILLE ROAD, SUITE 250
WARMINSTER, PA 18974 USA                          $50,406.40
BANNER BANK
10 SOUTH FIRST STREET
WALLA WALLA, WA 99362 USA                         $49,537.57
TINKER FEDERAL CREDIT UNION
4140 W I-40 STE 106
TINKER AFB OK 73145-0750                          $49,367.40
VTB 24 (PJSC)
DOLGORUKOVSKAYA 5
MOSCOW, 103006 RUSSIAN FEDERATION                 $49,317.77
AUSTIN TELCO FEDERAL CREDIT UNION
8929 SHOAL CREEK BLVD
AUSTIN,TEXAS U.S.A. 78757                         $49,252.81
CARTER BANK AND TRUST
PRESIDENT & CEO CORPORATE
1300 KINGS MOUNTAIN ROAD
MARTINSVILLE VA 24112                             $48,893.03
FROST BANK
508 W WALL SUITE 1000
MIDLAND TX 79701                                  $48,849.82
CHESTNUT RUN FEDERAL CREDIT UNION
P. O. BOX 5037
WILMINGTON,DELAWARE U.S.A. 19808-0037             $48,639.31
AMEGY BANK NATIONAL ASSOCIATION
4400 POST OAK PARKWAY
HOUSTON, TX 77027 USA                             $48,316.25
ALASKA USA FEDERAL CREDIT UNION
DISPUTE RESOLUTION
ATTN: GREGORY PUTMAN
4000 CREDIT UNION DR.
ANCHORAGE, ALASKA 99501                           $47,781.93
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 28 of 362


EASTERN BANK
195 MARKET STREET
LYNN MA 01901                                     $47,354.76
FIRST ARKANSAS BANK AND TRUST
600 WEST MAIN STREET
JACKSONVILLE, AR 72076                            $47,022.35
EURO KARTENSYSTEME GMBH
SANDSSTRASSE 33
MUNICH GERMANY 80335                              $46,903.97
PORTOSEG SA CREDITO FINANCIAMENTO E IN
DIRECTOR RUA TAGIPURU 906 - 3O ANDAR - B
SAO PAULO BRAZIL 01156000                         $46,692.13
CORNING FEDERAL CREDIT UNION
ONE CREDIT UNION PLAZA
CORNING, NY 14830-1050 USA                        $45,729.38
INVESTORS BANK
DEPOSIT OPERATIONS - ATM DEPARTMENT
ATT. SHERYL SHARA
101 S WOOD AVE
ISELIN NJ 08830                                   $45,529.37
LAFAYETTE SCHOOLS FEDERAL CREDIT UNION
216-A LA RUE FRANCE
LAFAYETTE,LOUISIANA U.S.A. 70508                  $45,335.46
SCOTIABANK INVERLAT S.A.
BLVD. MANUEL AVILA CAMACHO #1-15 COLONIA
POLANCO
MEXICO D.F., 11009 MEXICO                         $45,082.49
RBS CITIZENS, N.A.
1000 LAFAYETTE BLVD
BRIDGEPORT CT 06604                               $44,909.29
WASHINGTON STATE EMPLOYEES CREDIT UNION
400 UNION AVENUE SE
OLYMPIA, WA 98501 USA                             $44,844.77
                              Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 29 of 362


DNB BANK SA
DRONNING EUFEMIAS GT 30 DNB FINANS
OSLO NORWAY NO-0021                                 $44,524.08
AMALGAMATED BANK OF CHICAGO
ONE WEST MONROE
CHICAGO, IL 60603                                   $44,365.28
EMIRATES NBD BANK (P.J.S.C.)
DEIRA DUBAI, 777 UNITED ARAB EMIRATES               $44,178.98
CITY NATIONAL BANK
WEST OLYMPIC BOULEVARD
LOS ANGELES,CALIFORNIA U.S.A. 90006                 $44,117.16
FIRST PREMIER BANK
3820 N LOUISE AVE
SIOUX FALLS SD 57117                                $44,060.38
SIMMONS BANK
ATTN: TERRI DRISKILL
PO BOX 6609
PINE BLUFF AR 71611                                 $43,609.81
FIRST INTERSTATE BANK
401 N 31ST ST. SUITE 1400
BILLINGS MT 59116                                   $43,431.08

BANESTES S.A. - BANCO DO ESTADO DO ESPIRITO SANTO
AVE. PRINCESA ISABEL 574, BLOCO B
VITORIA, ES 29019-900 BRAZIL                        $43,410.82
SPACE COAST CREDIT UNION
8045 N. WICKHAM ROAD
MELBOURNE,FLORIDA U.S.A. 32940                      $43,337.23
WESCOM CENTRAL CREDIT UNION
123 SOUTH MARENGO AVENUE
PASADENA, CA 91109 USA                              $43,021.09
DESERET FIRST CREDIT UNION
P.O. BOX 45046
SALT LAKE CITY,UTAH U.S.A. 84145                    $42,966.67
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 30 of 362


UNICREDIT SPA
HEAD CARD INNOVATIONS AND NETWORKS VIA LIVIO
CAMBI 1
MILANO ITALY 20158                                 $42,905.04
ZIONS FIRST NATIONAL BANK
FRAUD DEPARTMENT
P. O. BOX 25787
SALT LAKE CITY,UTAH U.S.A. 84125-0787              $42,745.20
MECHANICS BANK
725 ALFRED NOBEL DR
HERCULES CA 94547-1806                             $42,729.55
KINECTA FEDERAL CREDIT UNION
1440 ROSECRANS AVENUE
MANHATTAN BEACH CA 90266                           $42,699.44

MCB BANK LIMITED
3RD FL. MCB BANK BLDG. KHAYABAN-E-IQBAL BLOCK 5
SCHON CIRCLE CLIFTON KARACHI, PAKISTAN             $42,519.20
TURKIYE IS BANKASI A.S.
IS KULELERI KULE 1 KAT 8 LEVENT GÜNESLI -
ISTANBUL TURKEY 34330                              $42,429.76

MISSION FEDERAL CREDIT UNION
5785 OBERLIN DR ELECTRONIC PAYMENT PROCESSING
SAN DIEGO CA 92121-3749                            $42,202.14
FIVE COUNTY CREDIT UNION
P.O. BOX 598
BATH,MAINE U.S.A. 04530                            $41,846.66
CORPORATE AMERICA FAMILY CREDIT UNION
2075 BIG TIMBER RD.
ELGIN, IL 60123                                    $41,347.13
ASSOCIATED BANK NA
1305 MAIN ST
STEVENS POINT WI 54481-2830                        $41,294.41
                              Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 31 of 362


BANK OF THE OZARKS
12615 CHENAL PARKWAY
LITTLE ROCK,ARKANSAS U.S.A. 72211                   $41,262.95
AMERIS BANK
317 SOUTH MAIN ST.
MOULTRIE, GA 31768                                  $40,972.36
NORTHWEST SAVINGS BANK
100 LIBERTY STREET
WARREN, PA 16365 USA                                $40,911.93

UNITED OVERSEAS BANK LTD
480 LORONG 6 TOA PAYOH #18-01 HDB HUB EAST WING
SINGAPORE, SINGAPORE 310480                         $40,836.20
FIRSTMERIT BANK, N. A.
106 S. MAIN STREET
AKRON,OHIO U.S.A. 44308                             $40,777.98
SAN DIEGO COUNTY CREDIT UNION
6545 SEQUENCE DRIVE
SAN DIEGO,CALIFORNIA U.S.A. 92121                   $40,529.34
VYSTAR CREDIT UNION
4949 BLANDING BOULEVARD
JACKSONVILLE, FL 32210 USA                          $39,988.08
UMPQUA BANK
445 SOUTHEAST MAIN STREET
ROSEBURG, OR 97470 USA                              $39,696.56
EGLIN FCU
ATTN: INTERNAL AUDITING
PO BOX 854
SHALIMAR, FL 32579                                  $39,537.43
BELLCO CREDIT UNION
7600 EAST ORCHARD ROAD
GREENWOOD VILLAGE,COLORADO U.S.A. 80111             $39,516.31
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 32 of 362


FIRST ENTERTAINMENT CREDIT UNION
6735 FOREST LAWN DRIVE
HOLLYWOOD, CA 90068 USA                           $39,507.75

SOUTH FLORIDA EDUCATIONAL FEDERAL CREDIT UNION
7800 SW 117 AVE.
MIAMI, FLORIDA 33183                              $39,502.09
RBC BANK (GEORGIA) NATIONAL ASSOCIATION
75 FIFTH STREET NORTHWEST SUITE 900
ATLANTA, GA 30308 USA                             $39,437.75
FORUM CREDIT UNION
PO BOX 50738
INDIANAPOLIS IN 46250                             $39,275.55
ALATRUST CREDIT UNION
1810 MERCHANTS DRIVE
HOOVER, AL 35244 USA                              $38,910.17
MAINE SAVINGS FEDERAL CREDIT UNION
101 WESTERN AVENUE
HAMPDEN,MAINE U.S.A. 04444                        $38,890.79
BANCO GENERAL, S.A.
AVE. CUBA Y CALLE 34
PANAMA 5, PANAMA                                  $38,864.68
OREGON COMMUNITY CREDIT UNION
2880 CHAD DRIVE
EUGENE, OR 97408 USA                              $38,834.48
NORDEA BANK DANMARK A/S
STRANDGADE 3 PO BOX 850
COPENHAGEN K, 1401 DENMARK                        $38,809.83
GE CAPITAL FINANCE AUSTRALIA
572 SWAN STREET
RICHMOND VIC AUSTRALIA                            $38,725.26
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 33 of 362


SAN ROBERTO 997
PROFESSIONAL OFFICE PARK
9TH FLOOR
RIO PIEDRAS 00926, PUERTO RICO                     $38,584.50
BANK OF BUTTERFIELD INTERNATIONAL (CAYMAN) LTD.
BUTTERFIELD HOUSE 68, FORT STREET
GRAND CAYMAN, CAYMAN ISLANDS                       $38,548.48
UNKNOWN                                            $38,489.13

TURKIYE GARANTI BANKASI A.S.
EVREN MAHALLESI KOCMAN CADDESI NO34 GUNESLI
ISTANBUL TURKEY 34212                              $38,449.33
WESTERN FEDERAL CREDIT UNION
P. O. BOX 10018
MANHATTAN BEACH,CALIFORNIA U.S.A. 90267-7518       $38,233.83
HSBC BANK A.S.
ESENTEPE MAH. BUYUKDERE CAD. NO:128
SISLI ISTANBUL, 34394 TURKEY                       $38,194.46
ARIZONA FEDERAL CREDIT UNION
333 NORTH 44TH STREET
PHOENIX,ARIZONA U.S.A. 85008                       $37,531.42
SCHOOL EMPLOYEES CREDIT UNION WA
325 EASTLAKE AVE E
SEATTLE, WA 98109                                  $37,512.62
SCHOOLS FINANCIAL CREDIT UNION
1485 RESPONSE ROAD SUITE 126
SACRAMENTO,CALIFORNIA U.S.A. 95815                 $37,248.10
BAYER HERITAGE FEDERAL CREDIT UNION
17612 ENERGY ROAD
PROCTOR, WV 26055 USA                              $37,030.60
FIRST FINANCIAL BANK, NATIONAL ASSOCIATION
300 HIGH STREET
HAMILTON, OH 45011 USA                             $37,016.34
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 34 of 362


SAFE CREDIT UNION
2295 IRON POINT ROAD, SUITE 100
FOLSOM,CALIFORNIA U.S.A. 95630-8765               $37,007.68
LOS ANGELES FEDERAL CREDIT UNION
300 SOUTH GLENDALE AVENUE
GLENDALE, CA 91205 USA                            $36,844.50
FEDEX EMPLOYEES CREDIT ASSOCIATION
8115 COUNTRY VILLAGE DRIVE
CORDOVA,TENNESSEE U.S.A. 38016                    $36,824.38
BANCO BPI S.A.
AV. CASAL RIBEIRO, 59 - 6
LISBON PORTUGAL 1049-053                          $36,794.74
MUNICIPAL EMPLOYEES CREDIT UNION OF BALTIMORE,
INC.
7 EAST REDWOOD STREET
BALTIMORE, MD 21202 USA                           $36,767.24
SANTANDER BANK, NATIONAL ASSOCIATION
840 PENN AVENUE
WYOMISSING, PA 19610 USA                          $36,761.27
TRUWEST CREDIT UNION
1667 N PRIEST DR
TEMPE AZ 85281                                    $36,663.54
FLORIDA CREDIT UNION
2831 NORTH WEST 43RD STREET
GAINESVILLE, FL 32606 USA                         $36,648.38
GREATER TEXAS FEDERAL CREDIT UNION
6411 N. LAMAR BLVD.
AUSTIN,TEXAS U.S.A. 78752                         $36,365.34
BAHRAIN ISLAMIC BANK B.S.C.
CARD CENTRE MANAGER
CARD CENTRE AL SALAM TOWER DIPLOMATIC AREA
MANAMA BAHRAIN                                    $36,313.20
                              Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 35 of 362


COLUMBIA STATE BANK
PO BOX 2156
TACOMA, WA 98401                                    $35,888.61
BANCO SANTANDER PUERTO RICO
PONCE DE LEON 207
HATO REY, 917 PUERTO RICO                           $35,713.66
MASHREQBANK,
DUBAI OUTSOURCE ZONE
DUBAI UNITED ARAB EMIRATES 1250                     $35,516.19

OPERATING ENGINEERS LOCAL #3 FEDERAL CREDIT UNION
250 NORTH CANYONS PARKWAY
LIVERMORE,CALIFORNIA U.S.A. 94551                   $35,343.19
NATIONAL PENN BANK
PHILADELPHIA & READINGS AVENUES
BOYERSTOWN,PENNSYLVANIA U.S.A. 19512                $35,329.44

LIFECARD CO. LTD.
BANZAI BLDG. 3F 31-19, SHIBA 2-CHOME, MINATO-KU
TOKYO JAPAN 105 0014                                $35,010.72
IBERIABANK
200 WEST CONGRESS STREET
LAFAYETTE, LA 70501 USA                             $34,902.10
NBT BANK, N.A.
52 SOUTH BROAD STREET
NORWICH,NEW YORK U.S.A. 13815                       $34,831.34
EDUCATIONAL EMPLOYEES CREDIT UNION
2222 WEST SHAW AVENUE
FRESNO,CALIFORNIA U.S.A. 93711-3419                 $34,721.84
NASA FEDERAL CREDIT UNION
500 PRINCE GEORGE'S BOULEVARD
UPPER MARLBORO, MD 20774 USA                        $34,574.06
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 36 of 362


LISTERHILL CREDIT UNION
4790 EAST SECOND STREET
MUSCLE SHOALS, AL 35661 USA                        $34,567.70
FIRST DATA CONO SUR S.R.L.
PERU 143 - 4TH FLOOR
BUENOS AIRES ARGENTINA C1067AAC                    $34,480.77
BANCO DE CHILE
SUB-GERENTE DE TARJETAS/CREDIT AGUSTINAS 733
SANTIAGO CHILE                                     $34,390.89
DANSKE BANK A/S
HOLMENS KANAL 2-12
COPENHAGEN K, 1092 DENMARK                         $34,185.37
AEVIS EUROPA S.L.
C/FRANCISCO SANCHA 12
MADRID, 28034 SPAIN                                $33,607.90
COMMERCIAL BANK OF KUWAIT S.A.K.
MANAGER, IT DEPT. IT DEPT.
MUBARAK AL KABIR STREET
KUWAIT KUWAIT 13029                                $33,387.46
PSCU FINANCIAL SERVICES, INC.
711 EAST HENDERSON AVENUE
TAMPA FL 33602                                     $33,352.88
FIRSTCARIBBEAN INTERNATIONAL BANK (BAHAMAS)
LIMITED
308 EAST BAY STREET
NASSAU, BAHAMAS                                    $33,305.34
ROBINS FEDERAL CREDIT UNION
P. O. BOX 6849
WARNER ROBINS,GEORGIA U.S.A. 31095-6849            $33,272.24
LIVERPOOL PC, S.A. DE C.V.
MARIO PANI 200 SANTA FE DE CUAJIMALPA
MEXICO DF, 5348 MEXICO                             $33,186.15
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 37 of 362


WRIGHT PATMAN CONGRESSIONAL FEDERAL CREDIT
UNION
10461 WHITE GRANITE DRIVE SUITE 300
OAKTON, VA 22124 USA                             $33,131.35
SKYONE FEDERAL CREDIT UNION
14600 AVIATION BOULEVARD
HAWTHORNE, CA 90250-6656 USA                     $33,068.61
NETWORK INTERNATIONAL LLC
BURJUMAL OFFICE TOWER
12TH FLOOR
DUBAI UNITED ARAB EMIRATES                       $32,953.95
BANK OF NORTH CAROLINA
831 JULIAN AVENUE
THOMASVILLE,NORTH CAROLINA U.S.A. 27360          $32,891.90
DELAWARE STATE POLICE FEDERAL CREDIT UNION
700 NORTH BEDFORD STREET
GEORGETOWN,DELAWARE U.S.A. 19947                 $32,577.31
HSBC BANK ARGENTINA S.A.
201 FLORIDA STREET
C1005AAE BUENOS AIRES ARGENTINA                  $32,542.06
INSIGHT CREDIT UNION
480 SOUTH KELLER ROAD
ORLANDO, FL 32810 USA                            $32,496.96
AKBANK T.A.S.
SABANCI CENTER 4 LEVENT
ISTANBUL, 34330 TURKEY                           $32,453.77
IDAHO CENTRAL CREDIT UNION
4400 CENTRAL WAY
CHUBBUCK,IDAHO U.S.A. 83202                      $32,407.01
LOGIX FEDERAL CREDIT UNION
SVP MARKETING 2340 HOLLYWOOD WAY
BURBANK CA 91505                                 $32,352.77
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 38 of 362


THE SAUDI BRITISH BANK
DABAAB STREET, HOR-CFD
HEAD OFFICE BLDG,
RIYADH, 11413 SAUDI ARABIA                        $32,325.77
COMMERZBANK
GALLUSANLAGE 7
FRANKFURT AM MAIN GERMANY 60329                   $32,293.18
WAL-MART CANADA BANK
1940 ARGENTIA ROAD
MISSISSAGUA ON L5N 1P9, CANADA                    $32,275.27
HDFC BANK LIMITED
I THINK TECHNO CAMPUS 2ND LEVEL
MUMBAI INDIA 400042                               $32,103.99
WOODFOREST NATIONAL BANK
25231 GROGANS MILL RD
THE WOODLANDS TX 77380                            $32,075.16
CARREFOUR BANQUE
FINANCE & ADMINISTRATIVE
HEAD 1 PLACE COPERNIC
EVRY FRANCE 91051                                 $32,062.03
FIRST CITY CREDIT UNION
P. O. BOX 86008
LOS ANGELES,CALIFORNIA U.S.A. 90086-9999          $32,056.35
MUFG UNION BANK N.A.
3151 IMPERIAL HWY
B02-469
BREA CA 92821                                     $32,015.78
STAR ONE CREDIT UNION
P.O. BOX 3643
SUNNYVALE CA 94088                                $31,916.81
BANK RESPUBLIKA OPEN JOINT STOCK COMPANY
21 KHAGANI STREET
BAKU AZERBAIJAN AZ1000                            $31,827.14
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 39 of 362


NATIONWIDE BUILDING SOCIETY
SPECIAL INVESTIGATIONS DEPARTMENT NATIONWIDE
HOUSE, PIPERS WAY
SWINDON,ENGLAND UNITED KINGDOM SN38 1NW            $31,799.16
DEXSTA FEDERAL CREDIT UNION
300 FOULK ROAD
WILMINGTON, DE 19803-3819 USA                      $31,762.18
BANK BPH SPOLKA AKCYJNA
PLK. JANA PALUBICKIEGO 2
80-175 GDANSK, POLAND                              $31,725.72
BASHAR IBRAHIM
NATIONAL BANK OF KUWAIT - OPS DIV.
PO BOX 95
13001 KUWAIT CITY KUWAIT                           $31,686.06
GENISYS CREDIT UNION
2100 EXECUTIVE HILLS BLVD
AUBURN HILLS MI 48326                              $31,378.40
ELGA CREDIT UNION
2303 S. CENTER RD.
BURTON,MICHIGAN U.S.A. 48519                       $31,188.33
INTESA SANPAOLO SPA
PIAZZA SAN CARLO, 156
TORINO ITALY I-10121                               $31,167.56

AMERICAN AIRLINES EMPLOYEES FEDERAL CREDIT UNION
4200 AMON CARTER BLVD.
MD 2100
FORT WORTH,TEXAS U.S.A. 76155                      $31,159.15
COOPERATIEVE CENTRALE RAIFFEISEN-BOEREN-LEENBANK
BA
VICE PRESIDENT CARD & E-COMMER GILDERKWARTIER
199
UTRECHT NETHERLANDS, THE                           $31,108.60
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 40 of 362


FIRST AMERICAN BANK
1650 LOUIS AVE
ELK GROVE VILLAGE, IL 60007
ATTN: SARA SAVANELLI                             $30,761.58
FIRST BANK & TRUST
520 6TH STREET
BROOKINGS, SD 57006-5057 USA                     $30,750.01
SIERRA CENTRAL CREDIT UNION
1351 HARTER PARKWAY
YUBA CITY, CA 95993 USA                          $30,733.82
NASSAU EDUCATORS FEDERAL CREDIT UNION
1000 CORPORATE DRIVE
WESTBURY, NY 11593 USA                           $30,660.96
COMPLEX COMMUNITY FEDERAL CREDIT UNION
4900 EAST 52ND STREET, SUITE 304
ODESSA, TX 79762 USA                             $30,622.89
SWEDBANK AB
KONSTITUCIJOS AVE 20A
VILNIUS, 3502 LITHUANIA                          $30,582.34
THE NATIONAL COMMERCIAL BANK
7TH FLOOR, AL-KALIDIYAH BUILDING
AL RAWDAH DIST, PO BOX 19396
JEDDAH, SAUDI ARABIA 21435                       $30,355.85
CANADIAN TIRE BANK
MGR MC OPERATIONS CARD PRODUCT
3475 SUPERIOR COURT
OAKVILLE ON CANADA L6L 0CL                       $30,242.96
LAKE MICHIGAN CREDIT UNION
4027 LAKE DRIVE
GRAND RAPIDS MI 49501                            $30,214.49
COASTAL FEDERAL CREDIT UNION
1000 ST. ALBANS DRIVE
RALEIGH,NORTH CAROLINA U.S.A. 27609              $30,178.55
                          Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 41 of 362


DIAMOND CREDIT UNION
1600 MEDICAL DRIVE
POTTSTOWN PA 19464                              $30,146.25
SOUTHERN BANK AND TRUST COMPANY
100 NORTH CENTER ST
MOUNT OLIVE, NC 28365                           $30,104.67
VALLEY NATIONAL BANK
1445 VALLEY ROAD
WAYNE NJ 074740558                              $30,070.27
CITI CARDS JAPAN INC
X TOWER 36F, 1-8-10 CHUO-KU, HARUMI
TOKYO JAPAN 104-6035                            $30,045.16
A+ FEDERAL CREDIT UNION
PO BOX 14867
AUSTIN, TX 78761                                $30,031.31
COMMUNITY AMERICA CREDIT UNION
9777 RIDGE DRIVE
LENEXA, KS 66219 USA                            $29,943.02
OAKLAND COUNTY CREDIT UNION
1220 COUNTY CENTER DRIVE WEST
WATERFORD, MI 48328 USA                         $29,918.93
ACHIEVA CREDIT UNION
10125 ULMERTON ROAD
LARGO, FL 33037                                 $29,648.54
WGZ BANK AG WESTDEUTSCHE GENOSSENSCHAFTS
LUDWIG-ERHARD-ALLEE 20
DUESSELDORF GERMANY 40227                       $29,416.62
SUN NATIONAL BANK
226 LANDIS AVENUE
VINELAND,NEW JERSEY U.S.A. 08360                $29,205.25
BANCO DE BOGOTA
CARRERA 13 NO. 26-45 ENTRE PISO
BOGOTA COLOMBIA                                 $29,165.32
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 42 of 362


ING BANK NV
BIJLMERPLEIN 888
AMSTERDAM ZUIDO NETHERLANDS, THE 1000BV           $29,155.48
GULF COAST BANK
221 SOUTH STATE STREET
ABBEVILLE,LOUISIANA U.S.A. 70510                  $29,135.59
ANDREWS FEDERAL CREDIT UNION
5711 ALLENTOWN ROAD, SUITE 400
SUITLAND, MD 20746 USA                            $28,985.43
COMMONWEALTH CREDIT UNION, INC.
417 HIGH STREET
FRANKFORT, KY 40601 USA                           $28,744.64
FLORIDA CAPITAL BANK, NATIONAL ASSOCIATION
10151 DEERWOOD PARK BOULEVARD, BLDG 300 SUITE
110
JACKSONVILLE, FL 32256 USA                        $28,709.15
NATIONAL BANK OF OMAN,
CREDIT DIVISION P. O. BOX 751 RUWI
MUSCAT, OMAN 112                                  $28,682.89
BUSEY BANK
502 W. WINDSOR RD
CHAMPAIGN IL 61820                                $28,660.57
FARMERS & MERCHANTS BANK
ATTN. :CARD FRAUD DEPARTMENT
P. O. BOX 2087
LONG BEACH, CA 90801                              $28,583.45
HEBRON SAVINGS BANK
101 MAIN ST.
HEBRON,MARYLAND U.S.A. 21830                      $28,573.63
SECURITYPLUS FEDERAL CREDIT UNION
7135 WINDSOR BOULEVARD
BALTIMORE, MD 21244 USA                           $28,368.24
                               Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 43 of 362


CHINA CONSTRUCTION BANK
CREDIT CARD CENTER
292 SHENBO ROAD 2/B
SHANGHAI, CHINA, PEOPLES REP. OF 201204              $28,298.75
BANCO LAFISE S.A.
OFIPLAZA DEL ESTE, EDIFICIO C BARRIO ESCALANTE
SAN JOSé, COSTA RICA                                 $28,228.41
JEWETT CITY SAVINGS BANK
111 MAIN STREET
JEWETT CITY,CONNECTICUT U.S.A. 06351                 $28,214.17
ARKANSAS FEDERAL CREDIT UNION
2424 MARSHALL ROAD
JACKSONVILLE, AR 72076 USA                           $28,109.76
CITIBANK CANADA
355 WELLINGTON STREET
LONDON ON N6A 3N7, CANADA                            $28,075.62
CREDIT MUTUEL ARKEA
CEDEX 09
BREST CEDEX 09 FRANCE 29808                          $27,920.60
BANCO ITAU URUGUAY S.A.
ZABALA 1463
MONTEVIDEO, URUGUAY                                  $27,893.15
PARTNERS FEDERAL CREDIT UNION
100 NORTH FIRST STREET SUITE 400
BURBANK, CA 91502 USA                                $27,824.31
AMPLIFY FEDERAL CREDIT UNION
PAYMENTS & OPERATIONS
2608 BROCKTON DRIVE
AUSTIN TX 78758                                      $27,721.27
CARD COMPLETE SERVICE BANK AG
LASSALLESTRASSE 3
VIENNA AUSTRIA 1020                                  $27,718.44
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 44 of 362



PRINCE GEORGE'S EMPLOYEES FEDERAL CREDIT UNION
14450 OLD MILL ROAD
UPPER MARLBORO,MARYLAND U.S.A. 20772              $27,681.47
COMMUNITY POWERED FCU
PO BOX 7739
NEWARK, DE 19714                                  $27,631.05
BANCO VOTORANTIM SA
1374 7TH FLOOR
SAO PAULO BRAZIL 01310-916                        $27,596.75
BURKE & HERBERT BANK & TRUST COMPANY
100 SOUTH FAIRFAX STREET
ALEXANDRIA,VIRGINIA U.S.A. 22314-3383             $27,583.57
EAST WEST BANK
135 NORTH LOS ROBLES AVENUE, 7TH FLOOR
PASADENA, CA 91101 USA                            $27,549.67
MIDWEST AMERICA FEDERAL CREDIT UNION
1104 MEDICAL PARK DRIVE
FT. WAYNE,INDIANA U.S.A. 46825                    $27,229.48
BENEFICIAL BANK
1818 MARKET STREET
PHILADELPHIA, PA 19103 USA                        $27,218.41
ALPINE BANK
400 7TH STREET SOUTH
RIFLE,COLORADO U.S.A. 81650                       $27,202.19
LOUVIERS FEDERAL CREDIT UNION
185 SOUTH MAIN STREET
NEWARK, DE 19711 USA                              $27,196.28
NORTH ISLAND FINANCIAL CREDIT UNION
5898 COPLEY DR
SAN DIEGO, CA 92111 USA                           $27,158.21
                              Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 45 of 362



SB1 FEDERAL CREDIT UNION
P. O. BOX
7480 PHILADELPHIA,PENNSYLVANIA U.S.A. 19101-7480    $27,143.17
BANCO AGRICOLA S.A.
PASEO GRAL. ESCALON 3635
SAN SALVADOR, EL SALVADOR                           $27,071.75
UNITED STATES SENATE FEDERAL CREDIT UNION
P. O. BOX 77920
WASHINGTON,DISTRICT OF COLUMBIA U.S.A. 20013        $27,047.80
BOC CREDIT CARD (INTERNATIONAL) LIMITED
20/F, BOC CREDIT CARD CTR
68 CONNAUGHT ROAD WEST
HONG KONG HONG KONG                                 $27,005.35
BOFI FEDERAL BANK
4350 LA JOLLA VILLAGE DR. STE 140
SAN DIEGO CA 92122                                  $26,964.39
ARLINGTON COMMUNITY FEDERAL CREDIT UNION
5666 COLUMBIA PIKE
FALLS CHURCH, VA 22041 USA                          $26,919.11
GULF COAST EDUCATORS FEDERAL CREDIT UNION
5953 FAIRMONT PARKWAY
PASADENA, TX 77505 USA                              $26,911.67
BAYPORT CREDIT UNION
11820 FOUNTAIN WAY, SUITE 400
NEWPORT NEWS, VA 23606 USA                          $26,768.70
BAY FEDERAL CREDIT UNION
3333 CLARES STREET
CAPITOLA,CALIFORNIA U.S.A. 95010                    $26,563.12
TWINSTAR CREDIT UNION
4525 INTELCO LOOP SOUTHEAST
LACEY, WA 98503 USA                                 $26,393.19
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 46 of 362


REDEBAN MULTICOLOR S.A.
PRESIDENT CUNDINAMARCA CARRERA 20 NO. 33-15
BOGOTA COLOMBIA                                    $26,384.67

FIRST NATIONAL BANK OF PENNSYLVANIA (METRO BANK)
166 MAIN STREET
GREENVILLE, PA 16125-2146 USA                      $26,325.04
FIRST FLORIDA CREDIT UNION
500 WEST FIRST STREET
JACKSONVILLE,FLORIDA U.S.A. 32202                  $26,291.39
DUPONT COMMUNITY CREDIT UNION
PO BOX 1365
WAYNESBORO, VA 22980                               $26,200.12
GUARDIAN CREDIT UNION
4501 WEST GREENFIELD AVENUE
WEST MILWAUKEE, WI 53214 USA                       $26,151.73
SAN FRANCISCO FIRE CREDIT UNION
3201 CALIFORNIA STREET
SAN FRANCISCO, CA 94118-1903 USA                   $25,749.56
UNIVERSAL 1 CREDIT UNION, INC.
ONE RIVER PARK DRIVE
DAYTON, OH 45409 USA                               $25,705.81
BORGUN H.F.
CHIEF EXECUTIVE OFFICER ARMULI 30
REYKJAVIK ICELAND 108                              $25,674.93
EMPOWER FEDERAL CREDIT UNION
1 MEMBER WAY
SYRACUSE,NEW YORK U.S.A. 13212                     $25,674.90
INTRUST BANK, NATIONAL ASSOCIATION
105 NORTH MAIN STREET
WICHITA, KS 67202                                  $25,636.96
BAYERISCHE LANDESBANK
BRIENNER STRASSE 18
MUENCHEN, 80333 GERMANY                            $25,615.14
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 47 of 362


VANTAGE WEST CREDIT UNION
2480 NORTH ARCADIA AVENUE
TUCSON, AZ 85712 USA                               $25,553.47
BANAMEX USA
2029 CENTURY PARK EAST, 42ND FLOOR
LOS ANGELES, CA 90067                              $25,393.67

METROBANK CARD CORPORATION (A FINANCE COMPANY)
METROBANK CARD BUILDING,
6778 AYALA AVE
MAKATI, 1200 PHILIPPINES                           $25,390.70
FIRSTMARK CREDIT UNION
2023 GOLD CANYON ROAD
SAN ANTONIO TX 78232-1703                          $25,297.49
H&R BLOCK BANK
ONE H&R BLOCK WAY
KANSAS CITY MO 64105                               $25,204.54
NATIONAL PENN BANK (3RD FED)
PHILADELPHIA & READINGS AVENUES
BOYERSTOWN,PENNSYLVANIA U.S.A. 19512               $25,097.77
VANCOUVER CITY SAVINGS CREDIT UNION
183 TERMINAL AVENUE
VANCOUVER,BRITISH COLUMBIA CANADA V6A 4G2          $25,016.53
FIRST UNITED BANK AND TRUST COMPANY
1400 WEST MAIN
DURANT, OK 74702 USA                               $24,967.12
EASTMAN CREDIT UNION
201 SOUTH WILCOX DRIVE
KINGSPORT,TENNESSEE U.S.A. 37660                   $24,948.85
BANCO DEL PACIFICO S.A. P.
ICAZA #200 Y PICHINCKA MATRIZ P-6
GUAYAQUIL, ECUADOR 09017011                        $24,914.62
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 48 of 362


PIRAEUS BANK S.A.
26 FIDIPPIDOU STR
ATHENS GREECE 11527                               $24,798.32
DEL-ONE FEDERAL CREDIT UNION
150 EAST WATER STREET
DOVER, DE 19901 USA                               $24,739.28
KBC BANKVERZEKERINGSHOLDING (KBC BANK N.
HAVENLAAN 2
BRUSSELS BELGIUM 1080                             $24,721.18
VISALUX S.C.
10 RUE GABRIEL LIPPMAN
MUNSBACH, L-2956 LUXEMBOURG                       $24,677.70
AFFINITY PLUS FEDERAL CREDIT UNION
175 WEST LAFAYETTE ROAD
ST. PAUL, MN 55107 USA                            $24,652.66
SANDIA LABORATORY FEDERAL CREDIT UNION
3707 JUAN TABO BLVD NE
ALBUQUERQUE NM 87111                              $24,639.67
UNKNOWN                                           $24,635.35
ABSA GROUP LIMITED
ABSA TOWERS EAST
170 MAIN STREET
JOHANNESBURG, 2001 SOUTH AFRICA                   $24,598.22
UNICREDIT BANK AG
SEDERANGER 5
80538 MÜNCHEN GERMANY                             $24,590.53
RABOBANK, NATIONAL ASSOCIATION
915 HIGHLAND POINTE DRIVE, SUITE 350
ROSEVILLE, CA 95678 USA                           $24,527.47
NETS OY
TEOLLISUUSKATU 21
HELSINKI FINLAND 00510                            $24,467.95
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 49 of 362


RAINBOW FEDERAL CREDIT UNION
20 WASHINGTON ST.
AUBURN,MAINE U.S.A. 04210                        $24,405.05
AIB GROUP (UK) P.L.C.
4 QUEEN'S SQUARE
BELFAST, NI BT1 3DJ UNITED KINGDOM               $24,330.83
SWISSCARD AECS GMBH
NEUGASSE 18
HORGEN, 8810 SWITZERLAND                         $24,329.31
CALIFORNIA BANK & TRUST
11622 EL CAMINO REAL, SUITE 200
SAN DIEGO, CA 92130 USA                          $24,287.25
ABCO FEDERAL CREDIT UNION
P. O. BOX 247
RANCOCAS,NEW JERSEY U.S.A. 08073                 $24,279.95
COMMUNITY FIRST CREDIT UNION
2626 S ONEIDA ST
APPLETON WI 54915-2101                           $24,249.00
FRANKLIN MINT FEDERAL CREDIT UNION
1974 SPROUL ROAD, SUITE 300
BROOMALL,PENNSYLVANIA U.S.A. 19008               $24,189.63
FIRST COMMUNITY CREDIT UNION OF HOUSTON
15260 FM 529
HOUSTON TX 770953252                             $24,162.05
SERVICE 1ST FEDERAL CREDIT UNION
1207 BLOOM STREET
DANVILLE, PA 17821 USA                           $24,123.73
BANK FUND STAFF FEDERAL CREDIT UNION
1725 I STREET, NW SUITE 600
WASHINGTON, DC 20006 USA                         $24,082.51
THE AMERICAN NATIONAL BANK OF TEXAS
102 WEST MOORE AVE
TERRELL, TX 75160                                $24,024.66
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 50 of 362


SERVICES CREDIT UNION
1807 WEST DIEHL ROAD
NAPERVILLE, IL 60563 USA                          $23,963.71

BESSEMER TRUST COMPANY, NATIONAL ASSOCIATION
630 FIFTH AVENUE
NEW YORK, NY 10111 USA                            $23,951.82
ST. MARY'S BANK CREDIT UNION
200 BEDFORD ST.
MANCHESTER,NEW HAMPSHIRE U.S.A. 03101             $23,736.07
FIRSTCARIBBEAN INTERNATIONAL BANK (BARBADOS)
LIMITED
COCKSPUR HOUSE, 2ND FLOOR NILE STREET
BRIDGETOWN, BARBADOS                              $23,626.14
DOW CHEMICAL EMPLOYEES' CREDIT UNION
PO BOX 1649
MIDLAND,MICHIGAN U.S.A. 48641-1649                $23,613.14
SERVICE CREDIT UNION
3003 LAFAYETTE ROAD
PORTSMOUTH, NH 3801 USA                           $23,600.93
ADVANTIS CREDIT UNION
3010 SE BELMONT ST.
PORTLAND,OREGON U.S.A. 97214-4097                 $23,586.65
STANFORD FEDERAL CREDIT UNION
1860 EMBARCADERO ROAD
PALO ALTO,CALIFORNIA U.S.A. 94303                 $23,581.91
RIYAD BANK HEAD OFFICE
OLD AIRPORT ROAD
RIYADH 11416, SAUDI ARABIA                        $23,563.98
YOLO FEDERAL CREDIT UNION
P. O. BOX 657
WOODLAND,CALIFORNIA U.S.A. 95776-0657             $23,558.29
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 51 of 362


HSBC BANK AUSTRALIA LIMITED
HSBC CENTRE,
L9 580 GEORGE STREET
SYDNEY, NS 2000 AUSTRALIA                        $23,554.32
BAXTER CREDIT UNION
340 NORTH MILWAUKEE AVENUE
VERNON HILLS, IL 60061 USA                       $23,453.48
STAR FINANCIAL BANK
3610 RIVER CROSSING PKWY
INDIANAPOLIS IN 46240                            $23,386.03
VISIONS FEDERAL CREDIT UNION
24 MCKINLEY AVE
ENDICOTT, NY 13760                               $23,313.06
VIST BANK
1240 BROADCASTING ROAD
WYOMISSING, PA 19610 USA                         $23,298.47
EDUCATORS CREDIT UNION
1400 NORTH NEWMAN ROAD
RACINE,WISCONSIN U.S.A. 53406                    $23,288.98
ING LUXEMBOURG
52, ROUTE D'ESCH
LUXEMBOURG, LUXEMBOURG L-2965                    $23,177.33
STANDARD CHARTERED BANK (HONG KONG) LTD
STANDARD CHARTERED TOWER
388 KWUN TONG ROAD, KOWLOON
HONG KONG, HONG KONG, CHINA                      $23,130.09
UC CARD CO., LTD.
2-3-2,
DAIBA,
MINATO-KU,
TOKYO 1358601, JAPAN                             $23,115.96
JOHNS HOPKINS FEDERAL CREDIT UNION
2027 EAST MONUMENT STREET
BALTIMORE,MARYLAND U.S.A. 21287                  $23,088.34
                                  Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 52 of 362


CAMPUS USA CREDIT UNION
14007 NW 1ST ROAD
JONESVILLE,FLORIDA U.S.A. 32669                         $23,007.66

BALTIMORE COUNTY EMPLOYEES FEDERAL CREDIT UNION
23 WEST SUSQUEHANNA AVENUE
TOWSON,MARYLAND U.S.A. 21204                            $22,875.05
NATIONAL BANK OF ARIZONA
335 NORTH WILMOT ROAD
TUCSON, AZ 85711-2632 USA                               $22,873.70
GESA CREDIT UNION
825 GOETHALS DRIVE
RICHLAND,WASHINGTON U.S.A. 99352                        $22,862.36
ANHEUSER-BUSCH EMPLOYEES' CREDIT UNION
1001 LYNCH STREET
ST. LOUIS, MO 63118 USA                                 $22,765.68
BANCO REGIONAL DE MONTERREY S.A. BANREGIO
AV. ROMULO GARZA #555
COL. INDUSTRIAS DEL VIDRIO
NEUVO LEON, MEXICO 66470                                $22,733.45
BANCO DE COSTA RICA
AVENIDA CENTRAL Y SEGUNDA
CALLES 4 Y 6 SEXTO PISO
SAN JOSE COSTA RICA 10035-1000                          $22,724.21
SOUTH JERSEY FEDERAL CREDIT UNION
1615 HURFFVILLE ROAD
DEPTFORD,NEW JERSEY U.S.A. 08096                        $22,718.65
DBS BANK LTD
6 SHENTON WAY DBS BUILDING
SINGAPORE, 68809 SINGAPORE                              $22,623.25

TRULIANT FEDERAL CREDIT UNION
P. O. BOX 26000
WINSTON-SALEM,NORTH CAROLINA U.S.A. 27114-6000          $22,582.18
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 53 of 362


FIRSTCARIBBEAN INTERNATIONAL BANK (CAYMAN)
LIMITED
54 EDWARD STREET
GEORGETOWN, CAYMAN ISLANDS                         $22,553.13
BANK OF N.T. BUTTERFIELD + SON LIMITED GROUP
HEAD OF CARDS CARD SERVICES
65 FRONT STREET
HAMILTON BERMUDA 12                                $22,514.97
AMERICAN EAGLE FINANCIAL CREDIT UNION
417 MAIN STREET
EAST HARTFORD, CT 06128-0128 USA                   $22,464.82
DEUTSCHE BANK AG
TAUNUSANLAGE 12
FRANKFURT, 60325 GERMANY                           $22,446.20
CITIZENS EQUITY FIRST CREDIT UNION
PO BOX 1805
PEORIA, IL 61656                                   $22,420.02
CREDIT UNION OF COLORADO
1390 LOGAN STREET
DENVER, CO 80203 USA                               $22,376.12
FIRST COAST COMMUNITY CREDIT UNION
306 SOUTH PALM AVENUE
PALATKA, FL 32177 USA                              $22,274.64
ENTERCARD NORGE AS
ATTN: GROUP FRAUD & CHARGEBACK DEPT
PO BOX 6783, ST. OLAVS PLASS
0130 OSLO NORWAY                                   $22,178.91
COMENITY BANK
3100 EASTON SQUARE PLACE
COLUMBUS OH 43219                                  $22,135.63
WINGS FINANCIAL CREDIT UNION
14985 GLAZIER AVENUE
APPLE VALLEY, MN 55124 USA                         $22,029.72
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 54 of 362


PIMA FEDERAL CREDIT UNION
6850 NORTH ORACLE ROAD #6860
TUCSON, AZ 85704 USA                               $21,953.87
GEORGIA'S OWN CREDIT UNION
1155 PEACHTREE STREET, SUITE 400
ATLANTA, GA 30308 USA                              $21,926.77
ATLANTIC COAST BANK
4655 SALISBURY RD, STE. 110
JACKSONVILLE, FL 32256 USA                         $21,923.32
MEMBERS HERITAGE CREDIT UNION
440 PARK PLACE
LEXINGTON, KY 40511 USA                            $21,897.14
MAINE FAMILY FEDERAL CREDIT UNION
55 SABATTUS ST.
LEWISTOWN,MAINE U.S.A. 04240                       $21,837.90
RBC ROYAL BANK N.V.
KAYA FLAMBOYAN 1
WILLEMSTAD, CURACAO, CURACAO                       $21,820.35
U-MASS/FIVE COLLEGE FEDERAL CREDIT UNION
200 WESTEGATE CENTER DRIVE
HADLEY, MA 1035 USA                                $21,786.22
USALLIANCE FEDERAL CREDIT UNION
600 MIDLAND AVENUE
RYE, NY 10580-3999 USA                             $21,728.97

CENTRAL FLORIDA EDUCATORS FEDERAL CREDIT UNION
1200 WEBER ST
ORLANDO FL 32803-3334                              $21,728.68
ATLANTIC FINANCIAL FEDERAL CREDIT UNION
40 SCHILLING ROAD
HUNT VALLEY,MARYLAND U.S.A. 21031                  $21,666.29
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 55 of 362


CAIXA GERAL DE DEPOSITOS SA
GENERAL MANAGER CARDS DIVISION
AV JOAO XXI, 63
LISBOA PORTUGAL 1000-300                         $21,566.95
NORTH COMMUNITY BANK
3639 NORTH BROADWAY
CHICAGO IL 60613                                 $21,501.79
GE CAPITAL RETAIL BANK
777 LONG RIDGE ROAD
STAMFORD CT 06902                                $21,470.45
PEOPLESBANK, A CODORUS VALLEY COMPANY
105 LEADER HEIGHTS ROAD
YORK, PA 17403 USA                               $21,450.91
FD COMMUNITY FEDERAL CREDIT UNION
601 WATERTOWN AVENUE
WATERBURY, CT 6708 USA                           $21,424.50
HSBC BANK BERMUDA LIMITED
6 FRONT STREET
HAMILTON, 42521 BERMUDA                          $21,290.83
DFCU FINANCIAL
400 TOWN CENTER DRIVE
DEARBORN, MI 48126 USA                           $21,243.22
MERCANTIL COMMERCEBANK N.A.
12496 NW 25 STREET
MIAMI FL 33133                                   $21,242.15
LIBERTY BANK
315 MAIN ST
MIDDLETOWN CT 06457-3345                         $21,172.39
BANCO SANTANDER TOTTA
S.A. RUA AUREA 88
LISBOA, 1100 PORTUGAL                            $21,077.87
HYUNDAICARD CO LTD
15-21 YOUIDO-DONG
SEOUL SOUTH KOREA 150-706                        $20,996.47
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 56 of 362


NORDEA BANK FINLAND PLC
ALEKSANTERINKATU 36
HELSINKI, 20 FINLAND                             $20,968.60
BREMER BANK N.A.
MN-001-79FO 8555 EAGLE POINT BLVD
LAKE ELMO MN                                     $20,955.97
TARGOBANK AG & CO. KGAA
KASERNENSTRASSE 10
DUESSELDORF, 40213 GERMANY                       $20,919.40
POWSZECHNA KASA OSZCZEDNOSCI BANK POLSKI
UL. WOLCZYNSKA 133
WARSAW POLAND 01-919                             $20,909.43
CENTRAL NATIONAL BANK
802 NORTH WASHINGTON STREET
JUNCTION CITY, KS 66441 USA                      $20,849.15
VIRGINIA CREDIT UNION
P.O. BOX 90010
RICHMOND, VA 23225                               $20,827.09
EXTRACO BANKS
18 SOUTH MAIN STREET
TEMPLE,TEXAS U.S.A. 76501                        $20,791.06
NATIONWIDE BANK
ONE NATIONWIDE PLAZA 38397
COLUMBUS, OH 43215 USA                           $20,703.97
DANSKE BANK AKTIESELSKAB DENMARK SWEDEN
PO BOX 328
LINKOPING SE 581 03, SWEDEN                      $20,683.22
BANQUE ET CAISSE D'EPARGNE DE L'ETAT
ELECTRONIC BANKING & BUSINESS 1,
PLACE DE MEDITERRANNEE
SARCELLES FRANCE 95200                           $20,677.96
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 57 of 362


CALIFORNIA COAST CREDIT UNION
CREDIT CARD MANAGER
9201 SPECTRUM CENTER BLVD
SAN DIEGO CA 92150                               $20,638.42
BANCO ESPIRITO SANTO S.A.
AVENIDA DA LIBERDADE, 195, SANTO
LISBOA 1250-142                                  $20,555.40
ELEVATIONS CREDIT UNION
2300 55TH STREET
BOULDER, CO 80301 USA                            $20,457.66
ALLIANT CREDIT UNION
11545 WEST TOUHY AVENUE
CHICAGO,ILLINOIS U.S.A. 60666                    $20,193.96
SOUTH CAROLINA FEDERAL CREDIT UNION
2175 CREDIT UNION LANE NORTH
CHARLESTON SC 29406                              $20,183.64
SCHLUMBERGER EMPLOYEES CREDIT UNION
225 SCHLUMBERGER DRIVE
SUGAR LAND, TX 77478 USA                         $20,119.47
FIRST COMMUNITY BANK OF MERCER COUNTY
211 FEDERAL STREET
BLUEFIELD,WEST VIRGINIA U.S.A. 24701             $20,038.60
ETRADE BANK
671 N. GLEBE RD.
ARLINGTON,VIRGINIA U.S.A. 22203                  $20,027.70
LIBERTY SAVINGS BANK, FSB
2251 ROMBACH
WILMINGTON,OHIO U.S.A. 45177                     $19,938.08
ARAB NATIONAL BANK
ARAB NATIONAL BANK BUILDING
MOURABA STREET
RIYADH, 11564 SAUDI ARABIA                       $19,876.31
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 58 of 362



NEDBANK LIMITED
5TH FLOOR, BLOCK I, NEDBANK HO 135 RIVONIA ROAD
JOHANNESBURG SOUTH AFRICA 2000                     $19,786.68
ADVANCIAL FEDERAL CREDIT UNION
1845 WOODALL RODGERS FREEWAY SUITE 1300
DALLAS,TEXAS U.S.A. 75201                          $19,709.95
GEORGIA FEDERAL CREDIT UNION
6705 SUGARLOAF PKWY
DULUTH,GEORGIA U.S.A. 30097                        $19,701.54
FAA CREDIT UNION
10201 S. WESTERN AVE.
OKLAHOMA CITY,OKLAHOMA U.S.A. 73139                $19,579.19
BANCA DI SASSARI S.P.A.
VIALE MANCINI 2
SASSARI, 1700 ITALY                                $19,565.56

CAPITAL COMMUNICATIONS FEDERAL CREDIT UNION
4 WINNERS CIRCLE
ALBANY, NY 12205 USA                               $19,516.08
ABU DHABI ISLAMIC BANK - CARD CENTER
SULTAN BLDG. AL NAJDA STREET 12TH FLOOR
P. O. BOX 34613
ABU DHABI, UNITED ARAB EMIRATES                    $19,502.79
UNIVERSITY OF ILLINOIS EMPLOYEES CREDIT UNION
2201 SOUTH FIRST STREET
CHAMPAIGN, IL 61820 USA                            $19,481.86
BELCO COMMUNITY CREDIT UNION
403 N. SECOND STREET
P.O. BOX 82
HARRISBURGH,PENNSYLVANIA U.S.A. 17108              $19,468.30
HEARTLAND BANK AND TRUST COMPANY
P. O. BOX 67
BLOOMINGTON,ILLINOIS U.S.A. 61702                  $19,446.22
                              Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 59 of 362


KUWAIT FINANCE HOUSE
NR. SALMIYA CINEMA
SALMIYA, 22020 KUWAIT                               $19,419.11
COMMONWEALTH CENTRAL CREDIT UNION
5890 SILVER CREEK VALLEY ROAD
SAN JOSE, CA 95138 USA                              $19,301.39
OCEANFIRST BANK
975 HOOPER AVENUE
TOMS RIVER,NEW JERSEY U.S.A. 08753                  $19,294.04
SECURITY FIRST BANK
5505 RED ROCK LANE
LINCOLN, NE 68516 USA                               $19,169.43
CREDIT UNION OF TEXAS
8131 LBJ FREEWAY SUITE 550
DALLAS TX 75251                                     $19,150.72
UNITED NATIONS FEDERAL CREDIT UNION
COURT SQUARE PLACE
24-01 44TH RD., 4TH FLOOR
LONG ISLAND CITY NY 11101-4605                      $18,992.26
CAIXABANK S.A.
GRAN VIA CARLOS III, 94 ENTL. ED. TRADE
BARCELONA SPAIN 08028                               $18,990.63
BANCOLOMBIA CAYMAN
FORT STREET GEORGETOWN
GRAND CAYMAN, CAYMAN ISLANDS                        $18,888.20
SWEDBANK AS
BALASTA DAMBIS 15
RIGA, LV-1048 LATVIA                                $18,812.06
SOCIEDAD FINANCIERA INBURSA S.A. DE C.V. SOFOM ER
GRUPO FINANCIERO INBURSA
INSURGENTES SUR 3500 PB COL PEñA POBRE
MEXICO CITY, 14060 MEXICO                           $18,777.67
                              Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 60 of 362


FIRSTBANK PUERTO RICO
1130 AVE MUNOZ RIVERA
SAN JUAN, PUERTO RICO 00927                         $18,765.94

TEXAS COMMUNITY BANK, NATIONAL ASSOCIATION
6800 MCPHERSON
LAREDO,TEXAS U.S.A. 78045                           $18,609.71
COMMUNICATION FEDERAL CREDIT UNION
4141 NW EXPWY STE 200
OKLAHOMA CITY,OKLAHOMA U.S.A. 73116                 $18,525.58
BELVOIR FEDERAL CREDIT UNION
14040 CENTRAL LOOP
WOODBRIDGE, VA 22193                                $18,500.68
SAN ANTONIO FEDERAL CREDIT UNION
6061 IH 10 WEST
SAN ANTONIO TX 78295                                $18,472.31
AMERICAN NATIONAL BANK AND TRUST COMPANY
628 MAIN STREET
DANVILLE, VA 24541 USA                              $18,419.93
CENTURY SAVINGS BANK
75 NORTH LAUREL STREET
BRIDGETON, NJ 08302-1911 USA                        $18,410.47
JUSTICE FEDERAL CREDIT UNION
5175 PARKSTONE DR., SUITE 200
CHANTILLY, VA 20151                                 $18,369.54
DUPAGE CREDIT UNION
1515 BOND STREET
NAPERVILLE,ILLINOIS U.S.A. 60563                    $18,225.39
TEG FEDERAL CREDIT UNION
1 COMMERCE STREET
POUGHKEEPSIE NY 12603                               $18,170.72
PREMIERONE CREDIT UNION
140 ASBURY STREET
SAN JOSE, CA 95110 USA                              $18,159.64
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 61 of 362


S & T BANK
PO BOX 190
INDIANA,PENNSYLVANIA U.S.A. 15701                 $18,046.19
GROW FINANCIAL FEDERAL CREDIT UNION
PO BOX 89909
TAMPA, FL 33689                                   $17,963.67
NORDEA BANK AB (PUBL)
PO BOX L833
STOCKHOLM, SWEDEN                                 $17,937.49
FIRST MARINER BANK
1501 SOUTH CLINTON STREET
BALTIMORE, MD 21244 USA                           $17,917.30
PEOPLES SECURITY BANK AND TRUST COMPANY
150 N. WASHINGTON AVENUE
SCRANTON PA 18503-1843                            $17,885.19
FIRST BANK
600 MCDONNELL BLVD
M1-199-046
HAZELWOOD, MO 63042                               $17,798.45
TOYOTA FINANCE CORPORATION
2-2-2 UCHISAIWAICHO CHIYODA-KU
TOKYO JAPAN 1000011                               $17,793.37
MAINE STATE CREDIT UNION
200 CAPITOL ST.
AUGUSTA,MAINE U.S.A. 04330                        $17,744.51
SCOTIABANK DE COSTA RICA S.A.
AVE. 1RA. Y CALLES 2DA. Y CENTRAL
SAN JOSE, COSTA RICA                              $17,739.94
CREDIT SUISSE
NEUGASSE 18
HORGEN SWITZERLAND 8810                           $17,647.36
FIVE STAR BANK
55 NORTH MAIN STREET
WARSAW, NY 14569 USA                              $17,612.12
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 62 of 362


SIGNAL FINANCIAL FEDERAL CREDIT UNION
3015 UNIVERSITY BOULEVARD WEST
KENSINGTON, MD 20895 USA                           $17,602.76
SKB-BANK
75 KUIBYSHEVA STREET
EKATERINBURG, RUSSIAN FEDERATION 620026            $17,547.88
VISA AUSTRIA
LASSALLESTRASSE 3
VIENNA, 1020 AUSTRIA                               $17,538.57
SPOKANE TEACHERS CREDIT UNION
1620 NORTH SIGNAL DRIVE
LIBERTY LAKE,WASHINGTON U.S.A. 99019-9517          $17,461.77

IBM SOUTHEAST EMPLOYEES FEDERAL CREDIT UNION
P. O. BOX 5090
BOCA RATON,FLORIDA U.S.A. 33431-0890               $17,457.91
UNITUS COMMUNITY CREDIT UNION
P.O. BOX 1937
PORTLAND,OREGON U.S.A. 97207-1937                  $17,413.71
HERITAGE BANK (WHIDBEY ISLAND BANK)
PO BOX 9188
TACOMA, WA 98490                                   $17,373.82
LONE STAR NATIONAL BANK
206 WEST FERGUSON STREET
PHARR, TX 78577 USA                                $17,312.07
BANCO BDI S.A.
AVE. SARASOTA #27 LA JULIA
SANTO DOMINGO, DOMINICAN REPUBLIC                  $17,272.96
EUROPAY LUXEMBOURG S.C.
GENERAL MANAGER
10, PARC D'ACTIVITÉ SYRDALL
MUNSBACH LUXEMBOURG L-5365                         $17,216.76
                              Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 63 of 362


CAPITAL ONE BANK
ATTN: FRAUD INVESTIGATIONS
PO BOX 85582
RICHMOND, VA 23260                                  $17,140.13
POINT BREEZE CREDIT UNION
11104 MCCORMICK ROAD
HUNT VALLEY, MD 21031 USA                           $17,089.63
REDWOOD CREDIT UNION
P. O. BOX 6104
SANTA ROSA,CALIFORNIA U.S.A. 95406                  $16,990.59
OREGON STATE CREDIT UNION
1980 NW 9TH STREET
CORVALLIS, OR 97330 USA                             $16,935.15
BLACK HILLS FEDERAL CREDIT UNION
P. O. BOX 1420
RAPID CITY,SOUTH DAKOTA U.S.A. 57709-1420           $16,920.82

STANDARD CHARTERED BANK (SINGAPORE) LIMITED
8 MARINA BOULEVARD,
#27-01 MARINA BAY FINANCIAL CENTRE
SINGAPORE, 18981 SINGAPORE                          $16,905.49
VALES INTERCONTINENTALES S.A.
SAN JOSE CENTRO, EDIF. METROPOLITANO PISO 3°
SAN JOSE, COSTA RICA 2150-1000                      $16,897.04
LGE COMMUNITY CREDIT UNION
430 COMMERCE PARK DRIVE
MARIETTA, GA 30060                                  $16,831.65
FOX CHASE BANK
4390 DAVISVILLE ROAD
HATBORO, PA 19040-2544 USA                          $16,810.02
HUDSON VALLEY FEDERAL CREDIT UNION
159 BARNEGAT ROAD
POUGHKEEPSIE, NY 12601 USA                          $16,803.60
                               Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 64 of 362


KINETIC CREDIT UNION
1251 13TH STREET
COLUMBUS, GA 31901 USA                               $16,800.59
SAN MATEO CREDIT UNION
P. O. BOX 910
SAN MATEO,CALIFORNIA U.S.A. 95355-1164               $16,768.53
ARGENTA SPAARBANK
BELGIËLEI 49-53
ANTWERP, 2018
BELGIUM                                              $16,677.72
UNITED BANK LIMITED
STATE LIFE BUILDING #1, I.I. CHUNDRIGAR ROAD,
KARACHI, 75500 PAKISTAN                              $16,647.03
JACCS CO., LTD.
EBISU NEONATE BLDG
1-18 EBISU 4 CHOME
SHIBUYA KU
TOKYO 1508932, JAPAN                                 $16,645.17
SUMMIT CREDIT UNION
4800 AMERICAN PARKWAY
MADISON, WI 53718 USA                                $16,614.12
FIRST FINANCIAL BANKSHARES, INC.
400 PINE ST
PO BOX 701
ABILENE, TX 79601                                    $16,582.95
KOREA EXCHANGE BANK
935-34, BANGBAE-DONG
SEOUL SOUTH KOREA                                    $16,572.03
CECABANK
DEPARTAMENTO DE MEDIOS DE PAGO
CALLE ALCALA 27
28014 MADRID
SPAIN                                                $16,540.60
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 65 of 362


PELICAN STATE CREDIT UNION
11585 LAKE SHERWOOD AVENUE NORTH
BATON ROUGE,LOUISIANA U.S.A. 70816                 $16,492.56
CITIBANK (HONG KONG) LIMITED
DORSET HOUSE, TAIKOO PLACE 979 KING'S ROAD,
QUARRY BAY
HONG KONG, HONG KONG, CHINA                        $16,436.12
MEMBERS FIRST CREDIT UNION
600 WEST WACKERLY STREET
MIDLAND, MI 48640 USA                              $16,409.17
LA CAPITOL FEDERAL CREDIT UNION
660 LAUREL STREET
BATON ROUGE, LA 70802 USA                          $16,386.84
BANK OF THE PHILIPPINE ISLANDS
8753 PASEO DE ROXAS
16/F BPI CARD CENTER
MAKATI CITY PHILIPPINES 1200                       $16,385.90
BANCO BILBAO VIZCAYA ARGENTARIA COLOMBIA
CARRERA 9 NO. 72-21
BOGOTA, COLOMBIA                                   $16,273.15
JEANNE D'ARC CREDIT UNION
630 MERRIMACK STREET
LOWELL, MA 1854 USA                                $16,250.32
GRANITE STATE CREDIT UNION
1415 ELM STREET
MANCHESTER, NH 3101 USA                            $16,221.90

BANCO COMERCIAL PORTUGUES - CARDS DEPARTMENT
EDIFICIO D LUIS
RUA DO INSTITUTO INDUSTRIAL 7- 4TH FLOOR
LISBON, PORTUGAL 1249-006                          $16,216.03
SELCO COMMUNITY CREDIT UNION
1050 HIGH STREET
EUGENE, OR 97401 USA                               $16,211.10
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 66 of 362


JEFFERSON FINANCIAL CREDIT UNION
7701 AIRLINE DRIVE
METAIRIE, LA 70003 USA                            $16,158.23
THE BANK OF NOVA SCOTIA
44 KING STREET WEST SCOTIA PLAZA
TORONTO, ON M5H 1H1 CANADA                        $16,148.14
COMPUTER SERVICES INC.
2401 N CALUMET AVE
VALPARAISO IN 46383                               $16,135.12
ASTORIA BANK
37-16 30TH AVENUE
LONG ISLAND CITY, NY 11103 USA                    $16,126.62
TAICHUNG COMMERCIAL BANK
1F., NO.87, MINCYUAN RD., WEST DISTRICT,
TAICHUNG CITY 403, TAIWAN (R.O.C.)                $16,046.17
VALOR FEDERAL CREDIT UNION (TOBYHANNA FCU)
315 FRANKLIN AVE.
SCRANTON, PA 18503 USA                            $16,042.98
SEVEN SEVENTEEN CREDIT UNION, INC.
3181 LARCHMONT AVE., N.E.
WARREN,OHIO U.S.A. 44483-2498                     $16,033.70
RAIFFEISEN BANK S.A.
246C, CALEA FLOREASCA SKY TOWERE BUILDING,
BUCHAREST BUCHAREST, 14476 ROMANIA                $15,950.44
BANCO DE CREDITO DEL PERU
JIRON LAMPA 499
LIMA, PERU 01                                     $15,945.73
F & A FEDERAL CREDIT UNION
2625 CORPORATE PLACE
MONTEREY PARK,CALIFORNIA U.S.A. 91754-7631        $15,940.89
DOLLAR BANK A FEDERAL SAVINGS BANK
THREE GATEWAY CENTER
PITTSBURGH PA 15222                               $15,907.24
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 67 of 362


WESTPAC NEW ZEALAND LIMITED
LEVEL 3SS, WESTPAC ON TAKUTAI SQUARE
16 TAKUTAI SQUARE
AUCKLAND CENTRAL
AUCKLAND 1010                                     $15,883.80
SCOTIABANK PERU S.A.A.
JR. CUZCO NO. 245
LIMA, 1 PERU                                      $15,863.95
THE COMMERCIAL AND SAVINGS BANK OF MILLERSBURG,
OHIO
91 NORTH CLAY STREET
MILLERSBURG, OH 44654 USA                         $15,857.86
BLOM BANK SAL
2 WADI EL NIL, STREET, 10 TH FLOOR
GIZA EGYPT                                        $15,854.84
TEACHERS FEDERAL CREDIT UNION
2410 NORTH OCEAN AVENUE
FARMINGVILLE, NY 11738 USA                        $15,791.84
BANCO POPULAR NORTH AMERICA
DEBIT CARD PRODUCT MANAGEMENT
9600 WEST BRYN MAWR
ROSEMONT IL 60018                                 $15,783.36
BANCO POPULAR DOMINICANO
JHON F.KENNEDY # 20
DOMINICAN REPUBLIC DOMINICAN REPUBLIC             $15,628.07
LEHIGH VALLEY EDUCATORS CREDIT UNION
3720 HAMILTON BLVD.
ALLENTOWN, PA 18103 USA                           $15,589.76
FIRSTRUST SAVINGS BANK
1 WALNUT GROVE DRIVE
HORSHAM,PENNSYLVANIA U.S.A. 19044                 $15,525.83
TUCSON FEDERAL CREDIT UNION
1160 NORTH WINSTEL BOULEVARD
TUCSON, AZ 85716-4023 USA                         $15,493.45
                          Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 68 of 362


HOUSTON FEDERAL CREDIT UNION
16320 KENSINGTON DRIVE
SUGAR LAND, TX 77479 USA                        $15,342.63
NEW YORK COMMUNITY BANK
615 MERRICK AVENUE
WESTBURY, NY 11590 USA                          $15,298.44
DATA CENTER INCORPORATED
20 WEST SECOND AVE
HUTCHINSON KS 67501                             $15,283.61
UNITED HERITAGE CREDIT UNION
12208 NORTH MOPAC EXPRESSWAY
AUSTIN,TEXAS U.S.A. 78758                       $15,231.32
FRANSABANK SAL
HAMRA - FRANSABANK CENTER
BEIRUT LEBANON 11-0393                          $15,224.17
VIBE CREDIT UNION
44575 WEST TWELVE MILE ROAD
NOVI, MI 48377 USA                              $15,182.50
MUTUAL OF OMAHA BANK
1500 NW 118TH STREET
CLIVE IA 50325                                  $15,117.46
JSC BANK OF GEORGIA
3, PUSHKIN STREET
TBILISI, 380007 GEORGIA                         $15,107.43
MERITRUST CREDIT UNION
8710 EAST 32ND STREET NORTH
WICHITA, KS 67226 USA                           $15,103.52
VERITY CREDIT UNION
P.O. BOX 75974
SEATTLE, WA 98175-0974                          $15,047.90
PACIFIC MARINE CREDIT UNION
MARINE CORPS EXCHANGE COMPLEX
CAMP PENDLETON, CA 92055 USA                    $14,952.59
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 69 of 362


BV FINANCEIRA S.A. CREDITO FINANCIAMENTO E
INVESTIMENTO
AV. ROQUE PETRONI JR, 999
SAO PAOLO, SP 0000-00 BRAZIL                       $14,853.21
VERBAND DER SPARDA BANKEN E.V.
HAMBURGER ALLEE 4
FRANKFURT GERMANY 60486                            $14,846.49
COLONIAL BANK/CAPE BANK
201 SHORE RD
LINWOOD, NJ 08221                                  $14,840.07
BANQUE SAUDI FRANSI
P. O. BOX 56006
RIYADH, SAUDI ARABIA 11554                         $14,813.13
KERN SCHOOLS FEDERAL CREDIT UNION
P.O. BOX 9506
BAKERSFIELD,CALIFORNIA U.S.A. 93389                $14,794.81
SOUND CREDIT UNION
ATTN: RISK MANAGEMENT
PO BOX 1595
TACOMA, WA 98402                                   $14,784.44
FIRST NBC BANK
210 BARONNE STREET
NEW ORLEANS, LA 70112 USA                          $14,723.22
TRUPOINT BANK
US ROUTE 460 EAST
GRUNDY,VIRGINIA U.S.A. 24614                       $14,673.18
SEATTLE METROPOLITAN CREDIT UNION
801 THIRD AVENUE
SEATTLE, WA 98104 USA                              $14,666.94
THE INTERNATIONAL BANK OF AZERBAIJAN
67 NIZAMI ST
BAKU AZERBAIJAN AZ1001                             $14,647.22
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 70 of 362


MAZUMA CREDIT UNION
9300 TROOST AVENUE
KANSAS CITY,MISSOURI U.S.A. 64131                $14,621.20
FIDELITY BANK PLC
2 KOFO ABAYOMI STREET
VICTORIA ISLAND LAGOS, NIGERIA                   $14,610.86
1ST ADVANTAGE FEDERAL CREDIT UNION
PO BOX 2116
NEWPORT NEWS, VA 23609                           $14,522.33
APPLIED BANK
800 DELAWARE AVE.
WILMINGTON,DELAWARE U.S.A. 19801                 $14,491.00
UNIVERSITY CREDIT UNION
5779 RANGELEY ROAD
UNIVERSITY OF MAINE
ORONO, ME 4469 USA                               $14,465.33
MAX CREDIT UNION
400 EASTDALE CIRCLE
MONTGOMERY, AL 36117 USA                         $14,464.68
BANCA SELLA SPA
AREA DI BUSINESS SIST. PAGAMENTO
C/O CED NUOVI UFF PIANO-1
BIELLA ITALY 13900                               $14,422.10
ATLANTA POSTAL CREDIT UNION
3900 CROWN ROAD
ATLANTA,GEORGIA U.S.A. 30380-0001                $14,412.73
POINT LOMA CREDIT UNION
9420 FARNHAM STREET
SAN DIEGO, CA 92123-1393 USA                     $14,401.41
THE FARMERS STATE BANK AND TRUST COMPANY
P.O. BOX 1330
JACKSONVILLE, IL 62651-1330                      $14,349.16
                              Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 71 of 362


TAPCO CREDIT UNION
6312 19TH STREET WEST
TACOMA,WASHINGTON U.S.A. 98466                      $14,309.63
BANCO ITAU PARAGUAY, S.A.
OLIVA NO. 349 C/CHILE
ASUNCION, PARAGUAY                                  $14,308.31
FINANCIAL CENTER FIRST (FEDERAL) CREDIT UNION
7101 EAST 56TH STREET
INDIANAPOLIS, IN 46226 USA                          $14,290.08
SAINSBURY'S BANK PLC
155 BISHOPSGATE
LONDON UNITED KINGDOM EC2M 3YB                      $14,284.05
TCM BANK, NATIONAL ASSOCIATION
2701 NORTH ROCKY POINTE DRIVE, SUITE 700
TAMPA, FL 33607                                     $14,259.08
TRI COUNTY AREA FCU
1550 MEDICAL DRIVE
POTTSTOWN, PA 19464                                 $14,208.89
BANCO DE LA NACION ARGENTINA
BARTOLOMÉ MITRE 326 - OFICINA 247 CIUDAD
AUTONOMA DE BUENOS AIRES
CAPITAL FEDERAL ARGENTINA 1036                      $14,203.42
ICA BANKEN AB
LAGERCRANTZ PLATS 3
BORAS SWEDEN 50482                                  $14,172.53
CYPRUS FEDERAL CREDIT UNION
3876 WEST CENTER VIEW WAY
WEST JORDAN, UT 84084 USA                           $14,170.32
AMERICAN FIRST CREDIT UNION
700 N. HARBOR BLVD.
LA HABRA, CA 90631                                  $14,131.06
SUN FEDERAL CREDIT UNION
1627 HOLLAND ROAD
MAUMEE, OH 43537 USA                                $14,111.61
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 72 of 362


CONSUMERS COOPERATIVE CREDIT UNION
1075 TRI STATE PARKWAY, SUITE- 850
GURNEE, IL 60031-9182 USA                          $14,101.64
PT. BANK CENTRAL ASIA
MENARA BCA LANTAI 31 JL. M.H. THAMRIN NO.1
JAKARTA PUSAT INDONESIA                            $14,014.02
FOUNDERS FEDERAL CREDIT UNION
737 PLANTATION ROAD
LANCASTER, SC 29720 USA                            $13,989.06
CITIBANK TAIWAN LIMITED
4F, 89 SUNG REN ROAD
TAIPEI, 111 TAIWAN                                 $13,974.90
CREDOMATIC LATINO AMERICANA
AVENIDA PETAPA
38-39 ZONA 12
GUATEMALA, GUATEMALA                               $13,960.11
ALPHA BANK
11 SOPHOCLEOUS STR
CARDS & PAYMENTS DIVISION
ATHENS GREECE 10559                                $13,944.95
FINANSBANK A.S.
INKILAP MAH DR. FAZIL KUCUK CAD
11 B BLOK UMRANIYE
ISTANBUL TURKEY                                    $13,886.76
MASRAF AL RAYAN
GRAND HAMAD STREET P.O. BOX 28888
DOHA, QATAR                                        $13,880.72
FLORIDA STATE UNIVERSITY CREDIT UNION
2806 SHARER ROAD
TALLAHASSEE, FL 32312 USA                          $13,865.16
SOUTHEAST BANK & TRUST
1878 S. CONGRESS PARKWAY
ATHENS,TENNESSEE U.S.A. 37303                      $13,801.14
                              Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 73 of 362


BANCO CREDICARD SA
PÇA ALFREDO EGYDIO DE SOUZA ARANHA, 100
SAO PAULO BRAZIL 04344-902                          $13,703.72
ARIZONA CENTRAL CREDIT UNION
2020 N CENTRAL AVE STE 800
PHOENIX,ARIZONA U.S.A. 85004                        $13,701.30
ICICI BANK LTD
LANDMARK, RACE COURSE CIRCLE ALKAPURI
BARODA, GU 390007 INDIA                             $13,613.87
SCOTIABANK TRINIDAD AND TOBAGO LIMITED
56-58 RICHMOND STREET
PORT OF SPAIN, TRINIDAD AND TOBAGO                  $13,544.59
BANCO SANTANDER SOCIEDAD ANONIMA
PO BOX 11100
MONTEVIDEO, URUGUAY                                 $13,541.72
BOEING HELICOPTERS CREDIT UNION
501 INDUSTRIAL HIGHWAY
RIDLEY PARK,PENNSYLVANIA U.S.A. 19078               $13,533.87
BANK OF HAWAII
130 MERCHANT ST. SUITE 1620
HONOLULU HI 96813                                   $13,524.26
VIACAJAS S.A.
CALLE ALCALA 27
MADRID, 28014 SPAIN                                 $13,507.86
USF FEDERAL CREDIT UNION
13302 NORTH PALM DRIVE
TAMPA, FL 33612 USA                                 $13,423.13
FAMILY TRUST FEDERAL CREDIT UNION
1605 PROGRESS WAY
ROCK HILL,SOUTH CAROLINA U.S.A. 29730               $13,412.67
HANG SENG BANK LIMITED
12/F HANG SENG, TELFORD PLAZA 33 WAI YIP STREET,
KOWLOON
HONG KONG HONG KONG                                 $13,352.11
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 74 of 362


BANK OF OCEAN CITY
10005 GOLF COURSE ROAD
OCEAN CITY, MD 21842 USA                           $13,340.66
COMMUNITY BANK, NATIONAL ASSOCIATION
45-49 COURT STREET
CANTON, NY 13617 USA                               $13,338.54
PEOPLE'S TRUST FEDERAL CREDIT UNION
PO BOX 4511
HOUSTON, TX 77210                                  $13,315.80
THREE RIVERS FEDERAL CREDIT UNION
1615 NORTHLAND BOULEVARD
FORT WAYNE,INDIANA U.S.A. 46825                    $13,221.80
COATESVILLE SAVINGS BANK
185 EAST LINCOLN HIGHWAY
COATESVILLE, PA 19320 USA                          $13,187.68
BBVA BANCO FRANCES
PTE. JUAN DOMINGO PERON
380 - 5 FLOOR
1038 CAPITAL FEDERAL ARGENTINA                     $13,184.34
WEX BANK
7090 SOUTH UNION PARK CENTER, SUITE 350
MIDVALE, UT USA 84047                              $13,134.54
UNKNOWN                                            $13,101.12
CI BANCO S.A.
PASEO LAS PALMAS
215 PISO 7. COL. LOMAS DE CHAPULTEPEC DELEGACION
MIGUEL HIDALGO
MEXICO D.F., 11000 MEXICO                          $13,077.09
CHARTWAY FEDERAL CREDIT UNION
160 NEWTON ROAD
VIRGINIA BEACH,VIRGINIA U.S.A. 23462               $13,013.61
SPIRITBANK
1800 SOUTH BALTIMORE - 7TH FLOOR
TULSA,OKLAHOMA U.S.A. 74119                        $12,974.63
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 75 of 362


THE JUNIATA VALLEY BANK
ATTN: CATHY BARLOW
PO BOX 66
MIFFLINTOWN, PA 17059                              $12,960.79
BANCO DE CREDITO E INVERSIONES
HUERFANOS 1134
SANTIAGO, CHILE                                    $12,935.03
ADVANZIA BANK S.A.
9, RUE GABRIEL LIPPMANN
MUNSBACH LUXEMBOURG L-5365                         $12,914.26
CENTRAL CREDIT UNION OF FLORIDA
6200 NORTH W STREET
PENSACOLA, FL 32505 USA                            $12,892.60
L.A. FINANCIAL FEDERAL CREDIT UNION
1520 W. COLORADO BLVD
PASADENA, CA 91105 USA                             $12,875.20
SANDY SPRING BANK
17801 GEORGIA AVE
OLNEY, MD 20832                                    $12,870.75
FIRST COMMONWEALTH FCU
PO BOX 20450
LEHIGH VALLEY, PA 18002                            $12,839.54
CLARK COUNTY CREDIT UNION
ATTN: DEBBIE EDILLON
P O BOX 36490
LAS VEGAS, NV 89133                                $12,812.71
QATAR ISLAMIC BANK (S.A.Q.)
GRAND HAMAD AVENUE
DOHA, QATAR                                        $12,788.82
FIRST PIONEERS FEDERAL CREDIT UNION
2235 S. COLLEGE ROAD
LAFAYETTE, LA 70508 USA                            $12,784.90
                              Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 76 of 362


BANCO COOPERATIVO DE PUERTO
RICK AVE PONCE DE LEON # 623 PH FLOOR
SAN JUAN PUERTO RICO 00936                          $12,781.91
KIRTLAND FEDERAL CREDIT UNION
6440 GIBSON BOULEVARD SOUTHEAST
ALBUQUERQUE, NM 87108 USA                           $12,772.81
TEXAS FIRST BANK
3232 PALMER HIGHWAY
TEXAS CITY, TX 77590                                $12,752.80
REPUBLIC BANK LIMITED
87 CIPRIANI BOULEVARD
PORT OF SPAIN, TRINIDAD AND TOBAGO                  $12,750.93
FAIRFAX COUNTY FEDERAL CREDIT UNION
4201 MEMBERS WAY
FAIRFAX, VA 22030 USA                               $12,720.49
BOUBYAN BANK K.S.C.
P.O. BOX 25507
SAFAT, KUWAIT 13116                                 $12,690.90
FRESNO COUNTY FEDERAL CREDIT UNION
2580 WEST SHAW LANE
FRESNO, CA 93711 USA                                $12,685.93
SRP FEDERAL CREDIT UNION
1920 WHISKEY ROAD,
SOUTH AIKEN,SOUTH CAROLINA U.S.A. 29803             $12,630.71
GLACIER BANK
49 COMMONS LOOP
KALISPELL, MT 59901 USA                             $12,624.27
PEOPLE'S ALLIANCE FEDERAL CREDIT UNION
125 WIRELESS BOULEVARD
HAUPPAUGE, NY 11788-3908 USA                        $12,624.24
BANISTMO S.A.
AVE. AQUILINO DE LA GUARDIA CL.47 MARBELLA EDIF.
PLAZA HSBC
PANAMA PANAMA 0000                                  $12,593.97
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 77 of 362


COMMERCIAL BANK OF QATAR QSC
LEVEL 4 CITY CENTRE BUILDING WESTBAY
DOHA QATAR 3232                                    $12,556.99
BANK OF TENNESSEE
301 EAST CENTER STREET
KINGSPORT, TN 37660 USA                            $12,529.29
CITIBANK INTERNATIONAL
PO BOX 54
SALFORD QUAY MANCHESTER
M53BP, UNITED KINGDOM                              $12,525.45
INVESTEC BANK LIMITED
100 GRAYSTON DRIVE
SANDOWN, SANDTON
JOHANNESBURG, GAUTENG, SOUTH AFRICA 2196           $12,463.82
QUORUM FEDERAL CREDIT UNION
2500 WESTCHESTER AVENUE SUITE 411
PURCHASE, NY 10577 USA                             $12,459.19
MUTUAL SECURITY CREDIT UNION, INC.
23 HUBBARD ROAD
WILTON,CONNECTICUT U.S.A. 06897                    $12,451.15
RHB BANK BERHAD
LEVEL 12, MENARA YAYASAN TUN RAZAK
KUALA LUMPUR MALAYSIA 55100                        $12,435.82
LANDESBANK BERLIN AG
ALEXANDERPLATZ 2
BERLIN, 10178 GERMANY                              $12,340.25
BANK OF CHARLES TOWN
111 EAST WASHINGTON STREET
CHARLES TOWN,WEST VIRGINIA U.S.A. 25414-1071       $12,329.54
KNOXVILLE TVA EMPLOYEES CREDIT UNION
301 WALL AVENUE
KNOXVILLE,TENNESSEE U.S.A. 37901                   $12,297.08
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 78 of 362


SOCIETE GENERALE HAITIENNE DE CARTES DE
C-198 PMB 800 6800 SW 40TH ST.
MIAMI FL 33155-3708                                  $12,275.72
UNIVERSITY OF KENTUCKY FEDERAL CREDIT UNION
2557 SIR BARTON WAY
LEXINGTON, KY 40509 USA                              $12,228.24
HONDA FEDERAL CREDIT UNION
19701 HAMILTON AVE. SUITE 130
TORRANCE,CALIFORNIA U.S.A. 90502                     $12,204.55

TRAVELEX CARD SERVICES LIMITED
16TH-19TH FLOORS, PRINCE'S BUILDING 10 CHATER ROAD
CENTRAL HONG KONG 8887                               $12,197.74
BANCO DAVIVIENDA (COSTA RICA) S.A.
AVE. PRIMERA CALLE CERO
SAN JOSE, COSTA RICA                                 $12,178.64
CENTRIS FEDERAL CREDIT UNION
11825 Q ST
OMAHA, NE 68137-3503 USA                             $12,171.01
BETHPAGE FEDERAL CREDIT UNION
899 S OYSTER BAY ROAD
BETHPAGE NY 11714                                    $12,163.26
NEWFIELD NATIONAL BANK
18 WEST BLVD.
NEWFIELD,NEW JERSEY U.S.A. 08344                     $12,153.42
PHILIPPINE NATIONAL BANK
3F ALLIED BANK CENTER
6754 AYALA AVENUE
MAKATI PHILIPPINES 0716                              $12,147.99
A S I FEDERAL CREDIT UNION
5508 CITRUS BOULEVARD
HARAHAN, LA 70123 USA                                $12,141.58
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 79 of 362


COAST CENTRAL CREDIT UNION
2650 HARRISON AVE.
EUREKA,CALIFORNIA U.S.A. 95501                    $12,128.22
PEACH STATE FEDERAL CREDIT UNION
175 NORTH CLAYTON STREET
LAWRENCEVILLE, GA 30045 USA                       $12,109.91
FIRST US BANK
131 WEST FRONT STREET
THOMASVILLE, AL 36784 USA                         $12,107.78
TYNDALL FEDERAL CREDIT UNION
P. O. BOX 59760
PANAMA CITY,FLORIDA U.S.A. 32412-0760             $12,080.45
RUSSOBANK
10 PLYUSHCHIKHA STREET
MOSCOW, 119121 RUSSIAN FEDERATION                 $12,052.26
NEVADA STATE BANK
750 EAST WARM SPRINGS ROAD
LAS VEGAS, NV 89119 USA                           $12,037.22
NEW ENGLAND BANKCARD ASSOCIATION, INC.
516 EDGEWATER DRIVE
WAKEFIELD MA 01880                                $12,024.57
KB KOOKMIN CARD CO. LTD
DAEWOO BLDG., 7TH FLLOOR, 167 NAESU-DONG,
JONGRO-GU
SEOUL SOUTH KOREA                                 $11,999.78
THE CAMDEN NATIONAL BANK
2 ELM STREET
CAMDEN, ME 04843                                  $11,997.25
VALLEY FEDERAL CREDIT UNION OF MONTANA
1541 CUSTER AVENUE
BILLINGS, MT 59102 USA                            $11,980.25
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 80 of 362


BANKMUSCAT (SAOG)
BANKMUSCAT CARD SERVICES
P. O. BOX 134
RUWI SULTANATE OF OMAN RUWI-SULTANATE, OMAN
P.C. 112                                         $11,889.89
SOUTHSIDE BANK
1201 S BECKHAM AVE
TYLER TX 75701-3320                              $11,888.63
AIR ACADEMY FEDERAL CREDIT UNION
1355 KELLY JOHNSON BOULEVARD
COLORADO SPRINGS, CO 80920 USA                   $11,839.00
MIDCOAST FEDERAL CREDIT UNION
P.O. BOX 780
BATH,MAINE U.S.A. 04530                          $11,791.15
NORTH AMERICAN SAVINGS BANK, F.S.B.
125TH AND SOUTH SEVENTY-ONE HIGHWAY
GRANDVIEW, MO 64030 USA                          $11,790.28

MICHIGAN SCHOOLS AND GOVERNMENT CREDIT UNION
40400 GARFIELD ROAD
CLINTON TOWNSHIP, MI 48038 USA                   $11,739.80
COMMONWEALTH BANK LTD
HEAD OFFICE 2ND FL THE PLAZA
PO BOX SSS-5541 NASSAU BAHAMAS                   $11,734.60
THE SUMMIT FEDERAL CREDIT UNION
100 MARINA DRIVE
ROCHESTER, NY 14626 USA                          $11,724.53
NYCE PAYMENTS NETWORK, LLC
400 PLAZA DRIVE
ATRIUM 2
SECAUCUS NJ 07094-3605                           $11,695.45
VISA ICELAND EHF
DALSHRAUN 3
HAFNARFJORDUR, 220 ICELAND                       $11,564.35
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 81 of 362


MIDSOUTH BANK, NATIONAL ASSOCIATION
102 VERSAILLES BLVD
LAFAYETTE, LA 70501                                $11,539.27
BANCO CONTINENTAL, S.A.
ESTRELLA 621
ASUNCION, PARAGUAY                                 $11,530.12
UNICRE - INSTITUIÇÃO FINANCEIRA DE CRÉDITO
SECURITY DEPARTMENT
ATT : SECURITY MANAGER - ANTÓNIO BOA-NOVA
AV. ANTÓNIO AUGUSTO DE AGUIAR, 122 - 11º.
1050-019 LISBON
PORTUGAL                                           $11,529.71
KELLI NUESSEN
C/O WECU®
PO BOX 9750
BELLINGHAM WA 98227-9750                           $11,507.78
CEDAR POINT FEDERAL CREDIT UNION
22745 MAPLE ROAD
LEXINGTON PARK, MD 20653 USA                       $11,502.54
ONE NEVADA CREDIT UNION
2645 SOUTH MOJAVE ROAD
LAS VEGAS, NV 89121 USA                            $11,495.86
MERIWEST CREDIT UNION
5615 CHESBRO AVE.
SAN JOSE,CALIFORNIA U.S.A. 95153-3047              $11,493.50
BANCO SANTANDER-CHILE
BANDERA 172
SANTIAGO, CHILE                                    $11,493.37
UNKNOWN                                            $11,461.82
MIDLAND STATES BANK
8320 S HARDY DRIVE
TEMPE AZ 85284                                     $11,453.34
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 82 of 362


HSBC BANK MIDDLE EAST
1ST FLOOR, WEST WING DUBAI INTERNET CITY
DUBAI, UNITED ARAB EMIRATES                        $11,445.96
BANCFIRST
PO BOX 26788
OKLAHOMA CITY, OKLAHOMA 73126                      $11,423.79

COMMUNITY BANK OF TEXAS, NATIONAL ASSOCIATION
3300 EDGAR BROWN DR.
ORANGE,TEXAS U.S.A. 77630                          $11,403.53
TEXAS DOW EMPLOYEES CREDIT UNION
1001 FM 2004
LAKE JACKSON,TEXAS U.S.A. 77566                    $11,393.19
LUFTHANSA AIRPLUS SERVICEKARTEN GMBH
JX T-OPERATIONS & PROCESSING DORNHOFSTR. 10
NEU-ISENBURG GERMANY 63263                         $11,387.73
BANK OF EDWARDSVILLE
330 W. VANDALIA
EDWARDSVILLE IL 62025                              $11,378.63
WEBSTER BANK
436 SLATER RD
NEW BRITAIN,CONNECTICUT U.S.A. 06053               $11,352.82
POLISH & SLAVIC FEDERAL CREDIT UNION
100 MCGUINNESS BLVD
BROOKLYN, NY 11222 USA                             $11,319.31
THE SOUTHERN CREDIT UNION
430 EAST LANIER AVENUE
FAYETTEVILLE, GA 30214 USA                         $11,290.59
INVESTEX CREDIT UNION
905 ALDINE BENDER ROAD
HOUSTON,TEXAS U.S.A. 77032                         $11,286.46
COMENITY CAPITAL BANK
2855 EAST COTTONWOOD PARKWAY, SUITE 100
SALT LAKE CITY, UT 84121 USA                       $11,258.62
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 83 of 362


IQ CREDIT UNION
P. O. BOX 1846
VANCOUVER,WASHINGTON U.S.A. 98668                $11,251.17
BANK RHODE ISLAND
ONE TURKS HEAD PLACE
PROVIDENCE RI 02903                              $11,232.61
DEUTSCHE POSTBANK AG
FRIEDRICH-EBERT-ALLEE 114-126
BONN, 53113 GERMANY                              $11,228.63
QNB BANK
15 NORTH THIRD STREET
QUAKERTOWN, PA 18951 USA                         $11,219.35
UNKNOWN                                          $11,195.09
AMBOY BANK
3590 US HIGHWAY 9
OLD BRIDGE, NJ 08857
ATTN: DONNA CLARK                                $11,144.83
BANCO GANADERO S.A.
CALLE 24 DE SEPTIEMBRE 110
SANTA CRUZ, BOLIVIA                              $11,144.58
COMMUNITY WEST CREDIT UNION
4045 60TH ST. SE
KENTWOOD, MI 49512 USA                           $11,133.93
BELL STATE BANK & TRUST
3100 13TH AVENUE SOUTH
FARGO, ND 58103 USA                              $11,090.44
ONEWEST BANK, FSB
888 EAST WALNUT STREET
PASADENA CA 91101                                $11,043.19
SUNSTATE FEDERAL CREDIT UNION
405 SOUTHEAST 2ND PLACE
GAINESVILLE, FL 32601-6890 USA                   $11,033.18
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 84 of 362


FIRST COMMUNITY CREDIT UNION
200 NORTH ADAMS STREET
COQUILLE, OR 97423 USA                           $11,014.68
ALLEGIANCE CREDIT UNION
4235 NORTH MERIDIAN
OKLAHOMA CITY,OKLAHOMA U.S.A. 73110              $11,000.33
FLAGSTAR BANK, FSB
5151 CORPORATE DRIVE
TROY, MI 48098-2639 USA                          $10,985.19
GTE FEDERAL CREDIT UNION
711 SOUTH DALE MABRY HWY
TAMPA, FL 33609 USA                              $10,978.09
PUBLIC SERVICE FEDERAL CREDIT UNION
619 UNION AVENUE, BUILDING 2, UNIT 2
MIDDLESEX, NJ 8846 USA                           $10,971.04
CALIFORNIA CREDIT UNION
701 NORTH BRAND BOULEVARD
GLENDALE, CA 91203 USA                           $10,967.86
WESTFIELD BANK, FSB
TWO PARK CIRCLE
WESTFIELD CENTER, OH 44251 USA                   $10,957.10
DADE COUNTY FEDERAL CREDIT UNION
1500 NORTHWEST 107TH AVENUE
SWEETWATER,FLORIDA U.S.A. 33172                  $10,952.04
FIBRE FEDERAL CREDIT UNION
822 COMMERCE AVENUE
LONGVIEW, WA 98632 USA                           $10,917.14
NORTHEAST CREDIT UNION
100 BORTHWICK AVENUE
PORTSMOUTH,NEW HAMPSHIRE U.S.A. 03802            $10,914.98
MADURO & CURIEL'S BANK N.V.
SCHOTTEGATWEG OOST 130
WILLEMSTAD, CURACAO                              $10,889.65
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 85 of 362


ANDROSCOGGIN SAVINGS BANK
P. O. BOX 1407
LEWISTON,MAINE U.S.A. 04240                      $10,875.99
CONTECNICA, S.A.
VIA 6 6-60, ZONA 4
GUATEMALA, GUATEMALA 01004                       $10,840.68
COMMUNITY FINANCIAL MEMBERS FEDERAL CREDIT
UNION
500 SOUTH HARVEY
PLYMOUTH,MICHIGAN U.S.A. 48170                   $10,840.15
OP COOPERATIVE
TEOLLISUUSKATU 1B
HELSINKI, FI - 00101 FINLAND                     $10,835.30
BENCHMARK FEDERAL CREDIT UNION
PO BOX 2387
WEST CHESTER PA 19380                            $10,834.76
SAN FRANCISCO FEDERAL CREDIT UNION
770 GOLDEN GATE AVENUE
SAN FRANCISCO,CALIFORNIA U.S.A. 94102-3195       $10,831.04
UNKNOWN                                          $10,821.65
ALLY BANK
PO BOX 950
HORSHAM, PA                                      $10,815.09
SECURITY BANK CORPORATION
114 VALERO ST. SALCEDO VILLAGE
MAKATI CITY PHILIPPINES 0717                     $10,799.94
NBH BANK, N.A. - CARD SUPPORT DEPARTMENT
1111 MAIN STREET, SUITE 300
KANSAS CITY,MISSOURI U.S.A. 64105                $10,782.56
WHITE ROSE CREDIT UNION
3498 INDUSTRIAL DRIVE
YORK,PENNSYLVANIA U.S.A. 17402-9050              $10,771.50
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 86 of 362


MCCOY FCU
PO BOX 593806
ORLANDO, FL 32859-3806                            $10,739.71
COMMERCE BANK
PO BOX 411036
KANSAS CITY, MO 64141                             $10,731.72
BYLINE BANK
3639 NORTH BROADWAY
CHICAGO IL 60613                                  $10,699.13
UNITED COMMUNITY BANK
301 NORTH MAIN STREET
CHATHAM, IL 62629 USA                             $10,674.06
OVERSEA CHINESE BANKING CORPORATION
63 CHULIA STREET #05-00
SINGAPORE SINGAPORE 049479                        $10,641.70

SCOTIABANK (BAHAMAS) LIMITED
SCOTIABANK BUILDING RAWSON SQUARE, BAY STREET
NASSAU, BAHAMAS                                   $10,637.13
WAYNE BANK
717 MAIN STREET
HONESDALE, PA 18431 USA                           $10,623.12
CREDICORP BANK S.A.
EDIFICIO 218, VIA ESPANA
PANAMA, PANAMA                                    $10,585.36
VANTAGE CREDIT UNION
4020 FEE FEE ROAD
BRIDGETON, MO 63044 USA                           $10,553.60
BANK OF SHANGHAI
CREDIT CARD CENTER
NO. 363, TIANMU MIDDLE RD
SHANGHAI PEOPLES REPUBLIC OF CHINA 200070         $10,530.30
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 87 of 362


NORDEA BANK NORGE ASA
HK ESSENDROPS GATE 7 POSTBOKS 1166 SENTRUM
OSLO, N 0107 NORWAY                               $10,507.01
FIRST FINANCIAL FEDERAL CREDIT UNION
PO BOX 1172
TOMS RIVER, NJ 08754-1172                         $10,492.90
PAWTUCKET CREDIT UNION
727 CENTRAL AVENUE
PAWTUCKET, RI 02861-2101 USA                      $10,414.86
COMMUNITY NATIONAL BANK
14 NORTH LINCOLN
CHANUTE,KANSAS U.S.A. 66720                       $10,397.47
MIDFLORIDA CREDIT UNION
129 SOUTH KENTUCKY AVENUE
LAKELAND, FL 33801 USA                            $10,384.33
1ST CONSTITUTION BANK
74 N. MAIN ST.
CRANBURY,NEW JERSEY U.S.A. 08512                  $10,371.05
PARK STERLING BANK
1043 EAST MOREHEAD STREET, SUITE 201
CHARLOTTE, NC 28204 USA                           $10,353.00
ILLIANA FINANCIAL CREDIT UNION
1600 HUNTINGTON DRIVE
CALUMET CITY, IL 60409 USA                        $10,329.38
COMMUNITY FIRST CREDIT UNION OF FLORIDA
637 NORTH LEE STREET
JACKSONVILLE, FL 32207 USA                        $10,312.61
UNIVERSITY CREDIT UNION
13241 SOUTHWEST 136TH STREET
MIAMI, FL 33186 USA                               $10,280.53
SECURITY BANK
602 WEST MAIN STREET
NEWBERN, TN 38024 USA                             $10,276.88
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 88 of 362


BANCO DE LA PRODUCCION SA PRODUBAN
CO CREDIT CARD COMMERCIAL AV. AMAZONAS 35211 Y
JAPON
QUITO ECUADOR                                     $10,267.12
BANCO MULTIPLE BHD LEON, S.A.
AVE. W. CHURCHILL ESQ. LUIS F. THOMEN
SANTO DOMINGO, REPUBLICA DOMINICANA               $10,227.53
VALORES INTERNACIONALES, S.A.
AVENIDA PETAPA 38-39 ZONA 12
GUATEMALA CITY, GUATEMALA 01012                   $10,217.04
KANE COUNTY TEACHERS CREDIT UNION
111 SOUTH HAWTHORNE
ELGIN,ILLINOIS U.S.A. 60123                       $10,213.97
CREDOMATIC INTERNATIONAL SA
SAN JOSE CENTRO EDIF
METROPOLITANO PISO 3O
SAN JOSE 2150-1000, COSTA RICA                    $10,179.32
BANCO SECURITY
APOQUINDO 3669 PISO 3
SANTIAGO CHILE                                    $10,178.31
FIVE STAR CREDIT UNION
411 NORTH FOSTER STREET
DOTHAN,ALABAMA U.S.A. 36302                       $10,151.16
CHELSEA GROTON BANK
ONE FRANKLIN SQUARE
NORWICH, CT 6360 USA                              $10,141.91
AGOS DUCATO SPA
VIA CARLO ANGELONI,
45 LUCCA (LU) ITALY 55100                         $10,139.08
FAMILIES AND SCHOOLS TOGETHER FEDERAL CREDIT
UNION
312 WEST SEVENTH STREET
HANFORD, CA 93230 USA                             $10,113.37
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 89 of 362


NCMIC FINANCE CORPORATION
14001 UNIVERSITY AVE
CLIVE IA 50325                                   $10,103.09
FIRST UNITED BANK & TRUST
19 SOUTH SECOND STREET
OAKLAND, MD 21550 USA                            $10,066.68
BMI FEDERAL CREDIT UNION
P. O. BOX 182531
COLUMBUS,OHIO U.S.A. 43218                       $10,065.78
UNITED FEDERAL CREDIT UNION
2807 S STATE ST
SAINT JOSEPH, MI 49085                           $10,025.15
SCOTIABANK DE PUERTO RICO
PLAZA SCOTIABANK
273 PONCE DE LEON AVE
HATO REY 00917-1932, PUERTO RICO                 $10,012.86
FINECOBANK S.P.A.
PIAZZA DURANTE 11
MILANO, 20131 ITALY                              $10,010.00
ROYAL CREDIT UNION
200 RIVERFRONT TERRACE
EAU CLAIRE, WI 54701 USA                         $10,008.96
CREDIT UNION 1
200 EAST CHAMPAIGN AVENUE
RANTOUL, IL 61866 USA                             $9,992.56
TAISHIN INTERNATIONAL BANK
3F NO 207 SEC 2
JIOUZONG RD.
NEIHU CHIU
TAIPEI 114, TAIWAN                                $9,992.17
CHRISTIAN COMMUNITY CREDIT UNION
101 SOUTH BARRANCA AVENUE
COVINA, CA 91722 USA                              $9,965.43
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 90 of 362


KITSAP CREDIT UNION
P. O. BOX 990
BREMERTON,WASHINGTON U.S.A. 98337                  $9,941.04

FLORIDA COMMUNITY BANK, NATIONAL ASSOCIATION
2500 WESTON ROAD
WESTON, FL 33331 USA                               $9,941.03
EPOS CARD COMPANY, LIMITED
3-2, NAKANO, 4-CHOME NAKANO-KU
TOKYO, 164-8701 JAPAN                              $9,940.48

VENTAS INTERNACIONALES, S.A. DE C.V.
EDIF. INTERAMERICANA, CUARTO PISO BLVD. MORAZAN
TEGUCIAGALPA, HONDURAS                             $9,938.36
AMERICAN BANK CENTER
140 FIRST AVENUE WEST
DICKINSON, ND 58601 USA                            $9,926.91
STANDARD CHARTERED BANK NIGERIA LTD
105B AJOSE ADEOGON STREET
VICTORIA ISLAND LAGOS, 80038 NIGERIA               $9,890.86
AEON CREDIT SERVICE (ASIA) CO., LTD
WORLD TRADE CENTRE
280 GLOUCESTER ROAD,
CAUSEWAY BAY,
HONG KONG, CHINA                                   $9,887.48
NATIONAL BANK OF RAS ALKHAIMAH
3RD FLOOR RAKBANK BUILDING
DUBAI UNITED ARAB EMIRATES                         $9,875.55
HAMILTON HORIZONS FEDERAL CREDIT UNION
3535 QUAKERBRIDGE ROAD SUITE 600
HAMILTON TOWNSHIP,NEW JERSEY U.S.A. 08619          $9,861.05
                              Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 91 of 362


ASYA KATILIM BANKASI A.S.
SARAY MAH. DR. ADNAN BÜYÜKDENIZ CD. UMRANIYE
GÜNESLI -
ISTANBUL TURKEY                                      $9,847.24
TRUSTONE FINANCIAL FEDERAL CREDIT UNION
14601 27TH AVENUE NORTH SUITE 104
PLYMOUTH, MN 55447 USA                               $9,838.45
CSC BANK SAL
150 COMMODORE STREET HAMRA
BEIRUT LEBANON 1103 2120                             $9,822.65
RIZAL COMMERCIAL BANKING CORPORATION
31 FLR. ROBINSONS EQUITABLE TWR. 4 ADB AVE. COR.
POVEDA ST.
PASIG CITY PHILIPPINES                               $9,818.81
COMMUNITY NATIONAL BANK
1502 AVENUE M
HONDO, TX 78861 USA                                  $9,803.82
SEB KORT DANMARK
PARK ALLE 292
BRONDBY DK 2605, DENMARK                             $9,754.12
FIRST FINANCIAL CREDIT UNION
1600 WEST CAMERON AVENUE
WEST COVINA, CA 91790 USA                            $9,736.34
AO UNICREDIT BANK
9 PRECHISTENSKAYA EMB
MOSCOW, 119034 RUSSIAN FEDERATION                    $9,724.00
THRIVENT FEDERAL CREDIT UNION
122 EAST COLLEGE AVENUE SUITE 1E
APPLETON, WI 54911 USA                               $9,707.34
NATIONAL BANK OF EGYPT
1187 CORNICHE EL NILE BOULAK
CAIRO EGYPT                                          $9,680.41
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 92 of 362


THE FIRST BANK AND TRUST COMPANY
PO BOX 1000
18528 LEE HWY
ABINGDON, VA 24212                                  $9,632.32
THE ADVANTAGE NETWORK THE FIRST NATIONAL BANK IN
SIOUX FALLS
100 SOUTH PHILLIPS AVENUE
SIOUX FALLS,SOUTH DAKOTA U.S.A. 57104               $9,624.29
UNKNOWN                                             $9,600.18
THE PEOPLES BANK, BILOXI, MISSISSIPPI
155 LAMUESE STREET
BILOXI,MISSISSIPPI U.S.A. 39531                     $9,586.80
THE NORTHERN TRUST COMPANY
50 SOUTH LA SALLE STREET
CHICAGO, IL 60675 USA                               $9,568.71
RAYMOND JAMES FINANCIAL
P.O. BOX 13187
ST. PETERSBURG,FLORIDA U.S.A. 33733                 $9,535.54
DEUTSCHE BANK S.P.A.
PIAZZA DEL CALENDARIO, 3
MILAN, 20126 ITALY                                  $9,471.36
MEMBERS EQUITY BANK LIMITED
LEVEL 18 360 COLLINS STREET
MELBOURNE VIC AUSTRALIA 3000                        $9,465.41
THE HOME SAVINGS AND LOAN COMPANY
275 FEDERAL PLAZA WEST
YOUNGSTOWN, OH 44503 USA                            $9,458.15
ENT FEDERAL CREDIT UNION
PO BOX 15819
COLORADO SPRINGS, CO 80935                          $9,430.80

FIRST SHORE FEDERAL SAVINGS AND LOAN ASSOCIATION
106-108 SOUTH DIVISION AT CAMDEN STREET
SALISBURY, MD 21801 USA                             $9,425.73
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 93 of 362


CBC FEDERAL CREDIT UNION
2151 EAST GONZALES ROAD
OXNARD,CALIFORNIA U.S.A. 93036                    $9,418.21
PUBLIC JSC BANK 'FINANCE AND CREDIT'
62, SHEVCHENKO BLVD.
KIEV 01032, UKRAINE                               $9,395.50
SANTA ANA FEDERAL CREDIT UNION
800 WEST SANTA ANA BLVD
SANTA ANA,CALIFORNIA U.S.A. 92701                 $9,378.12
TOPCARD SERVICE AG
C/O UBS CARD CENTER AG
FLUGHOFSTRASSE 35
GLATTBRUGG, 8152 SWITZERLAND                      $9,375.33
DEERE EMPLOYEES CREDIT UNION
3950 38TH AVENUE
MOLINE, IL 61265 USA                              $9,361.38
FAMILY SECURITY CREDIT UNION
2204 FAMILY SECURITY PLACE S.W.
DECATUR,ALABAMA U.S.A. 35603                      $9,350.39
CREDIT LIBANAIS
CL TOWER, ADELIEH, ASHRAFIEH
BEIRUT, LEBANON                                   $9,343.90
HAR-CO CREDIT UNION
30 HICKORY AVENUE
BEL AIR, MD 21014 USA                             $9,276.88
TOWERBANK INTERNATIONAL INC.
CALLE 50 Y BEATRIZ M. DE CABAL
PANAMA, PANAMA                                    $9,265.44
BANCO CSF SA
MARKETING DIRECTOR MARKETING RUA GEORGE
EASTMAN 213
SAO PAULO BRAZIL 05690-000                        $9,263.55
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 94 of 362


SAG-AFTRA FEDERAL CREDIT UNION
134 NORTH KENWOOD STREET
BURBANK, CA 91505 USA                               $9,261.74
AMERICAN SPIRIT FEDERAL CREDIT UNION
1110 ELKTON ROAD
NEWARK, DE 19711 USA                                $9,242.93
CESKA SPORITELNA A.S.
CARD CENTER SECTION
BUD?JOVICKA 1912/64 B
PRAHA CZECH REPUBLIC 140 00                         $9,225.66
CUMBERLAND COUNTY TEACHERS FEDERAL CREDIT
UNION
101 GRAY ROAD
FALMOUTH,MAINE U.S.A. 04105                         $9,224.26
YORK COUNTY FEDERAL CREDIT UNION
1516 MAIN STREET
SANFORD,MAINE U.S.A. 04073                          $9,213.42
BANQUE LIBANO-FRANCAISE SAL
BANQUE LIBANO-FRANCAISE BLDG
FASSOUH-ASHRAFIEH 4TH FLOOR
BEIRUT, LEBANON                                     $9,212.40

BANCO DE OCCIDENTE SA
CARRERA 13 N° 27-47 SOPORTE TARJETA DE CREDITO
SANTA FE DE BOGOTA, D.C. COLOMBIA                   $9,161.95
PURDUE FEDERAL CREDIT UNION
PO BOX 1950
WEST LAFAYETTE, IN 47996                            $9,153.74
CENTRA CREDIT UNION
2010 W 450 S
COLUMBUS IN 47202                                   $9,151.71
FIRSTLIGHT FEDERAL CREDIT UNION
9983 KENWORTHY STREET
EL PASO, TX 79924 USA                               $9,140.51
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 95 of 362


EMMC FEDERAL CREDIT UNION
489 STATE STREET
BANGOR,MAINE U.S.A. 04401                          $9,134.62
MCT CREDIT UNION
2736 NALL STREET
PORT NECHES,TEXAS U.S.A. 77651                     $9,121.24
MID-HUDSON VALLEY FEDERAL CREDIT UNION
1099 MORTON BOULEVARD
KINGSTON, NY 12401 USA                             $9,118.39
NEWTOWN SAVINGS BANK
39 MAIN STREET
NEWTOWN,CONNECTICUT U.S.A. 06740                   $9,112.21
LAKE FOREST BANK + TRUST COMPANY
EXECUTIVE VP PERSONAL BANKING
727 NORTH BANK LANE
LAKE FOREST IL 60045                               $9,105.80
CREDIT UNION OF SOUTHERN CALIFORNIA
8028 SOUTH GREENLEAF AVENUE
WHITTIER,CALIFORNIA U.S.A. 90602                   $9,094.74
APL FEDERAL CREDIT UNION
11050 JOHNS HOPKINS ROAD
LAUREL, MD 20723-6099 USA                          $9,085.12
BANQUE ACCORD
40 AVENUE DE FLANDRE
59170 CROIX, FRANCE                                $9,067.33
COMDIRECT BANK AG
PASCALKEHRE 15
QUICKBORN, 25451 GERMANY                           $9,038.80
BEOBANK NV SA
GENERAAL JACQUESLAAN 263G
BRUSSELS 1050, BELGIUM                             $9,035.78
                              Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 96 of 362


UNIBANK S.A.
DEPARTMENT OPERATIONS
94 GEFFRARD PLACE
PORT-AU-PRINCE, HAITI                                $9,035.56
BANCA INTESA AD BEOGRAD
CARD DEPARTMENT
BULEVAR ZORANA DJINDJICA 2A
NOVI BEOGRAD SERBIA 11070                            $9,035.47
ARSENAL CREDIT UNION
3780 VOGEL ROAD
ARNOLD, MO 63010 USA                                 $9,027.78
BANCO MERCANTIL DO BRASIL S.A.
RUA DO ROSARIO, 213
JUNDIAI, SP, BRAZIL 13201-014                        $9,016.49
POPULAR BANK CAYMAN LIMITED
C/ 47 E Y AVE. AQUILO DE LA GUARDIA TORRE BANCO
GENERAL PISO 20
PANAMA PANAMA                                        $8,994.33
K V FEDERAL CREDIT UNION
316 NORTHERN AVE.
P.O. BOX 2108 AUGUSTA,MAINE U.S.A. 04330             $8,993.87
SESLOC FEDERAL CREDIT UNION
P. O. BOX 5360
SAN LUIS OBISPO,CALIFORNIA U.S.A. 93403-5360         $8,973.39
ALABAMA TEACHERS CREDIT UNION
402 SOUTH 6TH STREET
GADSDEN,ALABAMA U.S.A. 35902                         $8,928.89
PREPAY TECHNOLOGIES LTD
20 MERRION WAY
LEEDS, LS2 8NZ
LEEDS LS2 8NZ, UNITED KINGDOM                        $8,921.12
FARMERS & MERCHANTS BANK
138 NORTH SALISBURY AVENUE
GRANITE QUARRY, NC 28072-0777 USA                    $8,920.44
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 97 of 362


BARCLAYS BANK (SEYCHELLES) LIMITED
INDEPENDENCE AVENUE VICTORIA
MAHE, SEYCHELLES                                   $8,918.43
DBS BANK (HONG KONG) LIMITED
160 GLOUCESTER ROAD WANCHAI
HONG KONG, HONG KONG, CHINA                        $8,915.10
CHINA CITIC BANK
C BLOCK FU HUA MANSION, NO. 8
CHAOYANG MEN BEI DAJIE DONG CHENG DISTRICT
BEIJING, 100027 CHINA                              $8,874.52
SUN CREDIT UNION
4205 HOLLYWOOD BOULEVARD
HOLLYWOOD, FL 33021-4840 USA                       $8,873.86
UNKNOWN                                            $8,822.12
BANK OF VALLETTA PLC
CARD SERVICES CANNON ROAD
SANTA VENERA, MALTA SVR 9030                       $8,812.45
TRIANGLE CREDIT UNION
33 FRANKLIN STREET
NASHUA,NEW HAMPSHIRE U.S.A. 03064                  $8,765.42
PENN LIBERTY BANK
724 WEST LANCASTER AVENUE
WAYNE, PA 19087 USA                                $8,757.31
CHOICE BANK LIMITED
ONE CONEY DRIVE 3RD FLOOR
BELIZE CITY BELIZE 2291                            $8,717.04
FIRST BANK
STE 516
500 EDGEWATER DR
WAKEFIELD, MA 01880                                $8,708.85
NEW ENGLAND FEDERAL CREDIT UNION
141 HARVEST LANE
WILLISTON,VERMONT U.S.A. 05495                     $8,705.00
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 98 of 362


NATIONAL COMMERCIAL BANK JAMAICA LIMITED
32 TRAFALGAR ROAD
KINGSTON, 10 JAMAICA                               $8,696.34
SCE FEDERAL CREDIT UNION
P. O. BOX 8017
EL MONTE,CALIFORNIA U.S.A. 91734                   $8,695.39
SHANGHAI COMMERCIAL + SAVINGS BANK
3F., NO.87,JHENGJHOURD.,
DATONG DISTRICT
TAIPEI TAIWAN 103                                  $8,674.43
FIDELITY BANK
3490 PIEDMONT ROAD NORTH EAST
ATLANTA, GA 30305 USA                              $8,666.79
PAYLIFE BANK GMBH
MARXERGASSE 1B
VIENNA AUSTRIA 1030                                $8,646.29
ALIVE CREDIT UNION
9790 TOUCHTON ROAD
JACKSONVILLE, FL 32246 USA                         $8,643.21
CREDICARD S.A.
MULTICENTRO CAMINO DE ORIENTE CARRETERA A
MASAYA
MANAGUA, NICARAGUA                                 $8,633.46
NORTHWEST GEORGIA CREDIT UNION
1307 REDMOND CIRCLE
ROME,GEORGIA U.S.A. 30165                          $8,628.06
FIRST NATIONAL BANK
307 EAST HUSTON AVENUE
FORT PIERRE, SD 57532 USA                          $8,618.90
SHANGHAI PUDONG DEVELOPMENT BANK
6F ZHONGDA TOWER
NO. 989 DONGFANG ROAD
SHANGHAI, CHINA, PEOPLES REP. OF 200122            $8,616.12
                          Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 99 of 362


CENTENNIAL BANK
PO BOX 751 RUWI
JONESBORO AR 72403                               $8,613.36
POWER FINANCIAL CREDIT UNION
2020 NORTHWEST 150 AVENUE
PEMBROKE PINES, FL 33028 USA                     $8,609.75
AMERIPRISE
834 AMERIPRISE
FINANCIAL CENTER
MINNEAPOLIS, MN 55474                            $8,609.11
KOMERCNI BANKA A.S.
VACLAVSKE NAM. 42
PRAHA CZECH REPUBLIC 11407                       $8,606.89
GUARANTY TRUST BANK PLC
1400 TIAMIYU SAVAGE STREET
VICTORIA ISLAND
LAGOS, NIGERIA                                   $8,583.98
LAKE SUNAPEE BANK
9 MAIN STREET
NEWPORT,NEW HAMPSHIRE U.S.A. 03773               $8,547.83
C. HOARE & COMPANY
37 FLEET STREET
LONDON,ENGLAND UNITED KINGDOM EC4P 4DQ           $8,540.60
NORTHWEST COMMUNITY CREDIT UNION
3660 GATEWAY STREET
SPRINGFIELD,OREGON U.S.A. 97477                  $8,540.53
ABNB FEDERAL CREDIT UNION
830 GREENBRIER CIRCLE
CHESAPEAKE, VA 23320                             $8,537.69
GENERAL MANAGER BANCARD S.A.
AVDA. BRASILIA N° 765
ASUNCION PARAGUAY 01434                          $8,517.02
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 100 of 362


SERVISFIRST BANK
3300 CAHABA RD
BIRMINGHAM,ALABAMA U.S.A. 35223                    $8,504.29
CATELLA BANK S.A.
PARC D'ACTIVITÉS CAPELLEN
38, RUE PAFEBRUCH
L-8308 CAPELLEN
LUXEMBOURG                                         $8,502.47
BDO UNIBANK INC.
8F SOUTH TOWER BDO CORPORATE CENTER
MAKATI CITY PHILIPPINES 0726                       $8,502.44
FIRST COMMAND BANK
1 FIRST COM PLAZA
FORT WORTH, TX 76109 USA                           $8,497.24
NEW CASTLE COUNTY SCHOOL EMPLOYEES FEDERAL
CREDIT UNION
113 WEST 6TH STREET
NEW CASTLE, DE 19720 USA                           $8,471.78
STILLMAN BANCCORP N.A.
101 EAST MAIN STREET
STILLMAN VALLEY, IL 61084 USA                      $8,439.94
TMB BANK PUBLIC COMPANY LIMITED
34 PHAYATHAI ROAD
BANGKOK, 10400 THAILAND                            $8,385.80
VISTERRA CREDIT UNION
PO BOX 9500
MORENO VALLEY, CA 92552                            $8,379.54
BRIGHTSTAR CREDIT UNION
5901 DEL LARGO CIRCLE
SUNRISE, FL 33313 USA                              $8,370.37
CLEARVIEW FEDERAL CREDIT UNION
8805 UNIVERSITY BOULEVARD
MOON TOWNSHIP, PA 15108 USA                        $8,365.92
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 101 of 362


PLAINSCAPITAL BANK
2323 VICTORY AVE
DALLAS, TX 75219                                   $8,357.70
SVENSKA HANDELSBANKEN
HFCR
STOCKHOLM, SWEDEN 106 35                           $8,340.36
BROADWAY NATIONAL BANK
1177 NE LOOP 410
SAN ANTONIO,TEXAS U.S.A. 78209                     $8,338.01
MARRIOTT EMPLOYEES FEDERAL CREDIT UNION
10401 FERNWOOD ROAD SUITE 3001
BETHESDA, MD 20817 USA                             $8,319.54
GREENVILLE NATIONAL BANK
446 SOUTH BROADWAY
GREENVILLE,OHIO U.S.A. 45331                       $8,291.36
TROPICAL FINANCIAL CREDIT UNION
3050 CORPORATE WAY
MIRAMAR,FLORIDA U.S.A. 33025                       $8,274.13
CAPITOL FEDERAL SAVINGS BANK
700 SOUTH KANSAS AVENUE
TOPEKA,KANSAS U.S.A. 66603                         $8,269.79
PEN AIR FEDERAL CREDIT UNION
1495 EAST NINE MILE RD
PENSACOLA FL 32514                                 $8,263.47
INTOUCH CREDIT UNION
EVP ADMINISTRATION 5640 DEMOCRACY DR
PLANO TX 75024                                     $8,252.58
PARTNERS 1ST FEDERAL CREDIT UNION
1330 DIRECTORS ROW
FORT WAYNE, IN 46808 USA                           $8,240.21
DENALI ALASKAN FEDERAL CREDIT UNION
3400 LATOUCHE STREET
ANCHORAGE,ALASKA U.S.A. 99508                      $8,235.35
                          Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 102 of 362


BANK INDEPENDENT
PO BOX 5000
SHEFFIELD AL 35660                                $8,234.29
UTAH COMMUNITY CREDIT UNION
P. O. BOX 1900
PROVO,UTAH U.S.A. 84603-1900                      $8,233.73
ACCENTRA CREDIT UNION
400 4TH AVENUE, NORTHEAST
AUSTIN, MN 55912 USA                              $8,228.36
CENTRAL CREDIT UNION OF ILLINOIS
1001 MANNHEIM ROAD
BELLWOOD, IL 60104 USA                            $8,209.80
AMALGAMATED BANK
FIRST VICE PRESIDENT
275 SEVENTH AVENUE
NEW YORK NY 10001                                 $8,200.85
MONTGOMERY COUNTY EMPLOYEES FEDERAL CREDIT
UNION
19785 CRYSTAL ROCK DRIVE SUITE 201
GERMANTOWN, MD 20874 USA                          $8,200.82
BRYANT BANK
234 GOODWIN CREST DR. STE. 500
HOMEWOOD, AL 35209                                $8,194.12
KLEIN BANK
1550 AUDUBON RD CORPORATE SERVICES
CHASKA MN 55318                                   $8,185.54
BANCO DE FOMENTO SARL
RUA AMILCAR CABRAL NO. 58
LUANDA, ANGOLA                                    $8,152.19
SIX PAYMENT SERVICES (AUSTRIA) GMBH
MARXERGASSE 1B
VIENNA, 1030 AUSTRIA                              $8,115.77
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 103 of 362


DENVER COMMUNITY CREDIT UNION
1075 ACOMA STREET
DENVER, CO 80204 USA                                $8,114.18
RIDGEWOOD SAVINGS BANK
7102 FOREST AVENUE
RIDGEWOOD NY 11385                                  $8,112.98
PERMANENT TSB
CORPORATE CENTRE 56-59 ST STEPHENS GREEN
FRAUD DEPARTMENT
DUBLIN, IRELAND, REPUBLIC OF 2                      $8,102.60
ORNL FEDERAL CREDIT UNION
221 SOUTH RUTGERS AVENUE
OAK RIDGE, TN 37830 USA                             $8,084.36
ASCEND FEDERAL CREDIT UNION
520 AIRPARK DRIVE
TULLAHOMA,TENNESSEE U.S.A. 37388                    $8,071.51
UNKNOWN                                             $8,062.20
WESTERRA CREDIT UNION
3700 EAST ALAMEDA AVENUE
DENVER,COLORADO U.S.A. 80209-3100                   $8,056.91
FIRST CREDIT UNION
25 S. ARIZONA PL. SUITE 111
CHANDLER,ARIZONA U.S.A. 85225                       $8,033.80
FIRST COMMERCIAL BANK
10F.NO.203.PA-TE RD., SEC. 2
TAIPEI TAIWAN 104                                   $8,032.24
PENOBSCOT COUNTY FEDERAL CREDIT UNION
191 MAIN STREET
OLD TOWN,MAINE U.S.A. 04468                         $7,998.29
LBS FINANCIAL CREDIT UNION
5505 GARDEN GROVE BLVD.
WESTMINSTER,CALIFORNIA U.S.A. 92683                 $7,991.62
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 104 of 362


VANTAGESOUTH BANK/YADKIN
708 SOUTH CHURCH ST
BURLINGTON, NC 27215                                $7,988.79
AL HILAL BANK P.J.S.C.
ABU DHABI INVESTMENT AUTHORITY BUILDING (SULTAN
BUILDING) CORNICHE ROAD
ABU DHABI, 63111 UNITED ARAB EMIRATES               $7,956.02
LEGACY COMMUNITY FEDERAL CREDIT UNION
1400 SOUTH 20TH STREET
BIRMINGHAM, AL 35205 USA                            $7,952.79
MIDCOUNTRY BANK
7825 WASHINGTON AVE S SUITE 923
BLOOMINGTON MN 55439-2441                           $7,905.53
COMMUNITY CHOICE CREDIT UNION
31155 NORTHWESTERN HWY
FARMINGTON HILLS, MI 48334 USA                      $7,904.92
WASHINGTON FEDERAL
425 PIKE STREET
SEATTLE, WA 98101 USA                               $7,900.80
NYMEO FEDERAL CREDIT UNION
5210 CHAIRMANS COURT
FREDERICK, MD 21703 USA                             $7,894.79
GREAT WESTERN BANK
35 1ST AVENUE NORTHEAST
WATERTOWN, SD 57201 USA                             $7,884.68
OKLAHOMA EMPLOYEES CREDIT UNION
3020 NORTH STILES
OKLAHOMA CITY, OK 73105 USA                         $7,864.37
R. RAPHAEL + SONS PLC
ALBANY COURT YARD 47-48 PICCADILLY
LONDON UNITED KINGDOM W1J 0LR                       $7,837.68
PEOPLES SAVINGS BANK
314 HIGH STREET
HOLYOKE,MASSACHUSETTS U.S.A. 01040                  $7,836.66
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 105 of 362


ZEAL CREDIT UNION
29550 FIVE MILE ROAD
LIVONIA, MI 48154 USA                              $7,814.73
URBAN TRUST BANK
400 COLONIAL CENTER PRKWY
SUITE 150
LAKE MARY FL 32746                                 $7,784.29
EFCU FINANCIAL FEDERAL CREDIT UNION
10719 AIRLINE HIGHWAY
BATON ROUGE, LA 70816 USA                          $7,735.23
WEST SUBURBAN BANK
701-711 SOUTH WESTMORE AVENUE
LOMBARD, IL 60148 USA                              $7,734.68
FLORENCE SAVINGS BANK
85 MAIN ST
FLORENCE, MA 01062                                 $7,691.82
MID-ATLANTIC FEDERAL CREDIT UNION
12820 WISTERIA DRIVE
GERMANTOWN, MD 20874 USA                           $7,683.50
NUMERICA CREDIT UNION
14610 E SPRAGUE AVE
SPOKANE VALLEY,WASHINGTON U.S.A. 99216             $7,663.36
RELIANT COMMUNITY FEDERAL CREDIT UNION
10 BENTON PLACE
SODUS, NY 14551 USA                                $7,635.31
CDC FEDERAL CREDIT UNION
2301 PARKLAKE DRIVE, NE
ATLANTA, GA 30345-2912 USA                         $7,618.86
SIKORSKY FEDERAL CREDIT UNION
1000 ORONOQUE LANE
STRATFORD,CONNECTICUT U.S.A. 06497                 $7,618.80
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 106 of 362


NUSENDA FEDERAL CREDIT UNION (NEW MEXICO
EDUCATORS FCU)
4100 PAN AMERICAN FREEWAY NORTHEAST
ALBUQUERQUE, NM 87107 USA                            $7,600.21
JOHNSON BANK
555 MAIN STREET, #490
RACINE, WI 53403 USA                                 $7,559.28
COMMUNITY BANK OF OKLAHOMA
101 WEST HIGHWAY 62
VERDEN, OK 73092 USA                                 $7,550.25
WINSOUTH CREDIT UNION
110 SOUTH 26TH STREET
GADSDEN, AL 35904 USA                                $7,543.24
EVERBANK
8100 NATIONS WAY
JACKSONVILLE, FL 32256 USA                           $7,519.87
FIRST SAVINGS BANK, FSB
500 EAST 60TH STREET N
SIOUX FALLS SD 57104                                 $7,514.42
WE FLORIDA FINANCIAL (CITY COUNTY CREDIT UNION OF
FORT LAUDERDALE)
1982 NORTH STATE ROAD 7
MARGATE, FL 33063 USA                                $7,488.62
BLUCURRENT CREDIT UNION
1770 WEST SUNSET STREET
SPRINGFIELD, MO 65807 USA                            $7,488.05
MISSISSIPPI FEDERAL CREDIT UNION
2500 NORTH STATE STREET
JACKSON, MS 39216 USA                                $7,483.22
RAKUTEN CARD CO., LTD.
4-4-20 TENJIN NORTH FRONT BLD 4F
 TENJIN, CHUO-KU
FUKUOKA, FUKUOKA, JAPAN 810-0001                     $7,481.99
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 107 of 362


HERITAGE TRUST FEDERAL CREDIT UNION
200 MARYMEADE LN
SUMMERVILLE SC 29483-5243                           $7,459.89
EXPRINTER INTERNATIONAL BANK N.V.
PIETERMAAI 123
WILLEMSTAD, 6066 CURACAO                            $7,449.29
RHODE ISLAND CREDIT UNION
160 FRANCIS STREET
PROVIDENCE, RI 2903 USA                             $7,437.44
FIRST REPUBLIC BANK
111 PINE STREET
SAN FRANCISCO, CA 94111 USA                         $7,436.95
UNITED SOUTHEAST FEDERAL CREDIT UNION
1712 VOLUNTEER PARKWAY
BRISTOL, TN 37620 USA                               $7,414.35
ANDERSON BROTHERS BANK
101 NORTH MAIN STREET
MULLINS,SOUTH CAROLINA U.S.A. 29574                 $7,406.57
SUNWEST FEDERAL CREDIT UNION
11827 N 28TH DRIVE
PHOENIX, AZ 85029                                   $7,392.65
CUSTOMERS BANK
99 BRIDGE STREET
PHOENIXVILLE, PA 19460 USA                          $7,368.01
UNITED BAY COMMUNITY CREDIT UNION
1309 NORTH LINCOLN
BAY CITY, MI 48708 USA                              $7,335.25
FIRST SAVINGS BANK OF PERKASIE
219 SOUTH 9TH STREET
PO BOX 176
PERKASIE, PA 18944                                  $7,333.57
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 108 of 362



UNION BANK & TRUST (UNION FIRST MARKET BANK)
1051 EAST CARY STREET SUITE 1200
RICHMOND, VA 23219 USA                              $7,332.02
CUSCAL LIMITED
1 MARGARET STREET
SYDNEY, N.S.W., AUSTRALIA 2000                      $7,320.20
FARMERS & MERCHANTS BANK
205 SOUTH MAIN STREET
TIMBERVILLE, VA 22853 USA                           $7,317.08
COUTTS & CO
440 THE STRAND
LONDON, EN WC2R 0QS UNITED KINGDOM                  $7,307.96
BAC FINANCIAL CORPORATION
CALLE 52 ELVIRA HENDEZ
PANAMA PANAMA                                       $7,305.45
ISABELLA BANK & TRUST
200 EAST BROADWAY
MT. PLEASANT,MICHIGAN U.S.A. 48858                  $7,269.23
PT BANK ANZ INDONESIA
26TH FLR, GKBI BUILDING JL. JEND.
SUDIRMAN NO. 28
JAKARTA, 10210 INDONESIA                            $7,257.22
VIRGINIA BEACH SCHOOLS FEDERAL CREDIT UNION
3500 VIRGINIA BEACH BLVD.
VIRGINIA BEACH,VIRGINIA U.S.A. 23452                $7,255.63
CREDOMATIC DE CENTROAMERICA SA
55 AV SUR ENTRE ALAMEDA
ROOSEVELT
Y AV OLIMPICA EDIF CREDOMATIC
SAN SALVADOR, EL SALVADOR                           $7,240.15
KEYPOINT CREDIT UNION
2805 BOWERS AVENUE
SANTA CLARA, CA 95051 USA                           $7,220.19
                              Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 109 of 362


SIAM COMMERCIAL BANK PUBLIC COMPANY LIMI
1060 , 11TH FL., TOWER 2 NEW PHETCHABURI ROAD,
BANGKOK THAILAND 10400                                $7,198.84
CAROLINA TRUST FCU
PO BOX 780004
MYRTLE BEACH SC 29578                                 $7,195.92
BREWER FEDERAL CREDIT UNION
229 DIRIGO DRIVE
BREWER, ME 4412 USA                                   $7,165.50
CREDIT UNION WEST
P.O. BOX 7600
GLENDALE,ARIZONA U.S.A. 85312-7600                    $7,165.26
CITIBANK KOREA INC.
39, DA-DONG CHUNG-GU
SEOUL, 100-180 SOUTH KOREA                            $7,163.71
SAN DIEGO METROPOLITAN CREDIT UNION
P. O. BOX 719099
SAN DIEGO,CALIFORNIA U.S.A. 92171-9099                $7,144.72
ICCREA BANCA S.P.A. - ISTITUTO CENTRALE DEL CREDITO
COOPERATIVO
VIA LUCREZIA ROMANA 41/47
ROME, 178 ITALY                                       $7,133.26
THE STATE BANK
175 NORTH LEROY STREET
FENTON, MI 48430 USA                                  $7,118.64
HIWAY FEDERAL CREDIT UNION
111 EMPIRE DRIVE
ST. PAUL, MN 55103-1899 USA                           $7,116.91
FOUR OAKS BANK & TRUST COMPANY
6144 US HIGHWAY 301 SOUTH
FOUR OAKS, NC 27524 USA                               $7,104.63
BANCA NAZIONALE DEL LAVORO S.P.A. B NL
VIA DEGLI ALDOBRANDESCHI 300
ROMA ITALY 00163                                      $7,092.18
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 110 of 362



TRONA VALLEY COMMUNITY FEDERAL CREDIT UNION
840 HITCHING POST DRIVE
GREEN RIVER,WYOMING U.S.A. 82935                   $7,032.33
CONSTELLATION FCU
1810 SAMUEL MORSE DRIVE
RESTON VA 20190                                    $7,024.60
CAROLINAS TELCO FEDERAL CREDIT UNION
2821 CRISMAN STREET
CHARLOTTE, NC 28208 USA                            $7,024.41
THE CONWAY NATIONAL BANK
1400 THIRD AVENUE
CONWAY, SC 29526                                   $7,022.90
SUMITOMO MITSUI CARD COMPANY LIMITED
1-2-20 SHIODOME-BUILDING KAIGAN MINATO-KU
TOKYO JAPAN 105-0022                               $7,010.86
HOWARD BANK
6011 UNIVERSITY BOULEVARD, SUITE 370
ELLICOTT CITY, MD 21043 USA                        $6,978.50
DUTCH POINT CREDIT UNION, INC.
195 SILAS DEANE HIGHWAY
WETHERSFIELD, CT 6109 USA                          $6,958.48
HORIZON BANK NA
3631 SOUTH FRANKLIN STREET
MICHIGAN CITY, IN 46360                            $6,931.24
U S POSTAL SERVICE FEDERAL CREDIT UNION
7905 MALCOLM ROAD, SUITE 311
CLINTON, MD 20735 USA                              $6,920.11
TECHNOLOGY CREDIT UNION
PO BOX 1409
SAN JOSE, CA 95109-1409                            $6,901.85
BANCO UNION S.A.
CALLE LIBERTAD 156 CASILLA 4057
SANTA CRUZ, BOLIVIA                                $6,895.37
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 111 of 362


WEOKIE CREDIT UNION
P. O. BOX 26090
OKLAHOMA CITY,OKLAHOMA U.S.A. 73126-0090           $6,895.27
LANDMARK CREDIT UNION
5445 SOUTH WESTRIDGE DRIVE
NEW BERLIN, WI 53151 USA                           $6,890.37
CENTIER BANK
600 EAST 84TH AVENUE
MERRILLVILLE,INDIANA U.S.A. 46410                  $6,885.76
INDUSTRIAL BANK CO., LTD
ZHONG SHAN BUILDING NO. 154 HU DONG ROAD
FUZHOU, 350003 CHINA                               $6,877.37
EUROBANK ERGASIAS S.A.
20 AMALIAS AVENUE.
ATHENS 10557, GREECE                               $6,854.61
THE BANK OF DELMARVA, NATIONAL ASSOCIATION
12 EAST STATE STREET
DELMAR,MARYLAND U.S.A. 21875                       $6,851.41
LANDESBANK BADEN-WUERTTEMBERG
AM HAUPTBAHNHOF 2
STUTTGART, 70173 GERMANY                           $6,848.74
BANCO DI CARIBE
N.V. SCHOTTEGATWEG OOST 205 WILLEMSTAD
CURACAO, CURACAO                                   $6,845.90
LAKE TRUST CREDIT UNION
4605 SOUTH OLD US HIGHWAY 23
BRIGHTON, MI 48114 USA                             $6,837.57
THE BANK OF SAN ANTONIO
8000 I. H. 10 WEST, SUITE 1100
SAN ANTONIO, TX 78230 USA                          $6,827.74
UNIVERSITY FIRST FEDERAL CREDIT UNION
3450 S. HIGHLAND DRIVE
SALT LAKE CITY,UTAH U.S.A. 84106-3375              $6,826.81
UNKNOWN                                            $6,823.72
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 112 of 362


SENTINEL FEDERAL CREDIT UNION
P. O. BOX 700
BOX ELDER,SOUTH DAKOTA U.S.A. 57719                $6,822.71
DORT FEDERAL CREDIT UNION
2845 DAVISON ROAD
FLINT,MICHIGAN U.S.A. 48506                        $6,815.84
PWC EMPLOYEES CREDIT UNION
2080 OLD BRIDGE ROAD, SUITE 101
WOODBRIDGE, VA 22192 USA                           $6,800.58
CITIBANK EUROPE PLC
1 NORTH WALL QUAY
DUBLIN, 1 REPUBLIC OF IRELAND                      $6,785.08
SKB BANKA D.D.
AJDOVSCINA 4
LJUBLJANA SLOVENIA 1513                            $6,771.54
FIRST NORTHERN CREDIT UNION
230 WEST MONROE STREET
CHICAGO, IL 60606 USA                              $6,758.99
COASTHILLS CREDIT UNION
P. O. BOX 200
LOMPOC,CALIFORNIA U.S.A. 93438                     $6,738.51
CAMPBELL EMPLOYEES FEDERAL CREDIT UNION
EXECUTIVE CAMPUS #2
CHERRY HILL, NJ 8002 USA                           $6,735.27
1ST FINANCIAL FEDERAL CREDIT UNION
1407 WASHINGTON AVENUE
ST LOUIS, MO 63103                                 $6,729.23
LAURENTIAN BANK OF CANADA
CP 368 SUCC. B
MONTREAL,QUEBEC CANADA H3B9Z9                      $6,710.99
PREMIERBANK
70 NORTH MAIN STREET
FORT ATKINSON, WI 53538 USA                        $6,695.26
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 113 of 362


UFCW COMMUNITY FEDERAL CREDIT UNION
377 WYOMING AVENUE
P.O. BOX 4258
WYOMING, PA 18644 USA                                $6,691.70
BANCO INDUSTRIAL
7A AVENIDA 5-10 ZONA 4 CENTRO FINANCIERO TORRE I
NIVEL 4
GUATEMALA GUATEMALA 01004                            $6,689.18
BANGOR FEDERAL CREDIT UNION
339 HOGAN RD.
P.O. BOX 1161
BANGOR,MAINE U.S.A. 04401                            $6,688.75
UNION SAVINGS BANK
226 MAIN STREET
DANBURY, CT 6810 USA                                 $6,682.85
MICHIGAN FIRST CREDIT UNION
7700 PURITAN AVENUE
DETROIT, MI 48238-1292 USA                           $6,680.27
MALAYAN BANKING BERHAD
8F, MENARA MAYBANK 100, JALAN TUN PERAK
KUALA LUMPUR MALAYSIA 50740                          $6,679.74
UNITED 1ST FEDERAL CREDIT UNION
162 NORTH GROSS ROAD
KINGSLAND,GEORGIA U.S.A. 31548                       $6,679.15
BANK OF JORDAN
ABDELHAMID SHARAF ST. SHEMISANI
AMMAN, 11181 JORDAN                                  $6,673.07
LAUNCH FEDERAL CREDIT UNION
300 S. PLUMOSA STREET
MERRITT ISLAND, FL 32952 USA                         $6,647.85
ILLINOIS STATE POLICE FEDERAL CREDIT UNION
730 ENGINEERING AVENUE
SPRINGFIELD, IL 62703 USA                            $6,634.24
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 114 of 362


FORT KNOX FEDERAL CREDIT UNION
3939 SOUTH DIXIE
RADCLIFF,KENTUCKY U.S.A. 40160                      $6,616.87
EL DORADO SAVINGS BANK, F.S.B.
4040 EL DORADO ROAD
PLACERVILLE, CA 95667 USA                           $6,605.30
POSTFINANCE AG
MINGERSTRASSE 20
BERN, CH-3030 SWITZERLAND                           $6,600.34
PINNACLE BANK
1401 N STREET
LINCOLN, NE 68508 USA                               $6,594.86
PREMIER AMERICA CREDIT UNION
19867 PRAIRIE ST
CHATSWORTH CA 91311-6532                            $6,579.76
SUSSEX COUNTY FEDERAL CREDIT UNION
1941 BRIDGEVILLE HIGHWAY
SEAFORD,DELAWARE U.S.A. 19973                       $6,549.33
BANK MILLENNIUM SPOLKA AKCYJNA
ULICA STANISLAWA ZARYNA 2A
WARSAW, 02-593 POLAND                               $6,534.46
SUNNY BANK
3F, NO.88, SEC.1, SHIPAI
TAIPEI CITY 112, TAIWAN,
TAIPAI, TAIWAN                                      $6,517.57
CAPITAL BANK S.A.
149-151 RUE DES MIRACLES
PORT-AU-PRINCE, HAITI                               $6,502.27
CEMBRA MONEY BANK AG
BAENDLIWEG 20
ZUERICH 8048, SWITZERLAND                           $6,501.00
SEACOAST NATIONAL BANK
815 COLORADO AVENUE
STUART,FLORIDA U.S.A. 34994                         $6,489.75
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 115 of 362


VIEWPOINT BANK
1309 WEST 15TH STREET STE. 300
PLANO,TEXAS U.S.A. 75075                             $6,477.86
BANCO DE LA PROVINCIA DE CORDOBA
GENERAL PAZ 44 3 PISO
CORDOBA ARGENTINA 5000                               $6,458.18
EVANGELICAL CHRISTIAN CREDIT UNION
955 WEST IMPERIAL HWY
BREA,CALIFORNIA U.S.A. 92821                         $6,431.92
GREATER NEVADA CREDIT UNION
451 EAGLE STATION LANE
CARSON CITY,NEVADA U.S.A. 89701                      $6,428.96
AMOCO FEDERAL CREDIT UNION
2300 TEXAS AVE
TEXAS CITY, TX 77590                                 $6,427.56
SUMISHIN LIFE CARD COMPANY, LIMITED
BANZAI BLDG., 31-19, SHIBA 2-CHOME MINATO-KU
TOKYO, 105-0014 JAPAN                                $6,408.03
FINANCIAL RESOURCES FEDERAL CREDIT UNION
520 ROUTE 22 EAST, 1ST FLOOR
BRIDGEWATER, NJ 8807 USA                             $6,392.04
EVOLVE FEDERAL CREDIT UNION
8840 GAZELLE DRIVE
EL PASO, TX 79925 USA                                $6,383.03

UNIVERSITY OF VIRGINIA COMMUNITY CREDIT UNION INC.
3300 BERKMAR DRIVE
CHARLOTTESVILLE, VA 22901 USA                        $6,380.80
LATITUDE FINANCE AUSTRALIA
572 SWAN ST
RICHMOND VIC 3121, AUSTRALIA                         $6,375.97
SHARONVIEW FEDERAL CREDIT UNION
1081-521 CORPORATE CENTER DRIVE
FORT MILL SC 29715                                   $6,357.74
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 116 of 362


ALLEGACY FEDERAL CREDIT UNION
1691 WESTBROOK PLAZA DRIVE WINSTON-SALEM,
NORTH CAROLINA U.S.A. 27103                        $6,357.33
KAPLAN STATE BANK
201 NORTH CUSHING AVENUE
KAPLAN, LA 70548 USA                               $6,349.69
BANK ZACHODNI WBK SA
OBSZAR DIRECT BANKING
POZNAN POLAND 61-894                               $6,336.59
UNITY ONE CREDIT UNION
6701 BURLINGTON BLVD
FORT WORTH, TX 76131                               $6,333.89
LEUMICARD LTD.
11 BEN-GURION ST.
BNEI BRAK ISRAEL 51260                             $6,328.93
THE TALBOT BANK OF EASTON, MARYLAND
18-20 DOVER STREET
EASTON,MARYLAND U.S.A. 21601                       $6,318.81
BANK AUDI SAL
CHARLES MALEK AVENUE SOFIL CENTER
BEIRUT LEBANON 11-2560                             $6,310.64
SKYWARD CREDIT UNION (CESSNA ECU)
4 CESSNA BOULEVARD
WICHITA, KS 67218 USA                              $6,305.78
NORTH JERSEY FEDERAL CREDIT UNION
711 UNION BOULEVARD
TOTOWA, NJ 7512 USA                                $6,304.33
OPTUM BANK INC.
2525 LAKE PARK BLVD
SALT LAKE CITY UT 84120                            $6,303.19
GLOBAL CREDIT UNION
1520 WEST THIRD AVENUE
SPOKANE, WA 99201 USA                              $6,300.34
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 117 of 362


CITY NATIONAL BANK OF SULPHUR SPRINGS
201 CONNALLY STREET
SULPHUR SPRINGS,TEXAS U.S.A. 75483                 $6,297.39
FIRST SOUTH BANK
1311 CAROLINA AVENUE
WASHINGTON, NC 27889 USA                           $6,296.66
PEOPLES BANK AND TRUST
1809 RED CRUCE COURT
BUFORD,GEORGIA U.S.A. 30518                        $6,235.58
OMAN ARAB BANK SAO
BANK AL-MARKAZI STREET
NEXT TO CHAMBER OF COMMERCE BUILDING
RUWI, 112 OMAN                                     $6,220.44
MOTOROLA EMPLOYEES CREDIT UNION
1205 EAST ALGONQUIN ROAD
SCHAUMBURG, IL 60196 USA                           $6,210.40
THE BANK OF NEW YORK MELLON
154-0510 500 ROSS STREET
PITTSBURGH PA 15262                                $6,190.31
ASB CENTRE
135 ALBERT STREET
AUCKLAND NEW ZEALAND 1140                          $6,159.74

GENERATIONS COMMUNITY FEDERAL CREDIT UNION
9311 SAN PEDRO AVE, SUITE 1100
SAN ANTONIO, TX 78216 USA                          $6,155.01
LANDMARK BANK, NATIONAL ASSOCIATION
801 EAST BROADWAY
COLUMBIA, MO 65201 USA                             $6,152.89
CAROLINA POSTAL CREDIT UNION
3601 MULBERRY CHURCH ROAD
CHARLOTTE, NC 28208 USA                            $6,147.83
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 118 of 362


BASE INTERCHANGE SYSTEM ASSOCIATION PUERTO RICO
LEAGUE INC.
1595 ALDA STREET, URBANIZACION CARIBE
SAN JUAN, 926 PUERTO RICO                           $6,144.09
RIVERVIEW COMMUNITY BANK
17205 SE MILL PLAIN BLVD
VANCOUVER,WASHINGTON U.S.A. 986883                  $6,141.36
DOVER FEDERAL CREDIT UNION BUILDING
264 CHAD & ARNOLD STREET
DOVER AIR FORCE BASE,DELAWARE U.S.A. 19902          $6,139.50

FARMERS INSURANCE GROUP FEDERAL CREDIT UNION
PO BOX 36911
LOS ANGELES, CA 90036                               $6,138.41
HEALTHCARE EMPLOYEES FEDERAL CREDIT UNION
101 CAMPUS DRIVE,
UNIVERSITY SQUARE
PRINCETON,NEW JERSEY U.S.A. 08543                   $6,138.28
MIDWEST CARPENTERS & MILLWRIGHTS FEDERAL CREDIT
UNION
680 UNION STREET
HOBART, IN 46342 USA                                $6,127.69
HIGHLANDS UNION BANK
340 WEST MAIN STREET
ABINGDON, VA 24210 USA                              $6,105.01
ISLAND FEDERAL CREDIT UNION
120 MOTOR PARKWAY
HAUPPAUGE, NY 11788-5160 USA                        $6,067.07
COUNTY EDUCATORS FEDERAL CREDIT UNION
16 EAST LINCOLN AVENUE
ROSELLE PARK,NEW JERSEY U.S.A. 07204                $6,064.90
JACKSONVILLE SAVINGS BANK
1211 WEST MORTON AVENUE
JACKSONVILLE, IL 62650 USA                          $6,062.90
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 119 of 362


BANCO DE LA REPUBLICA ORIENTAL DEL URUGUAY
CERRITO 351
MONTEVIDEO, 11000 URUGUAY                           $6,061.81
FAMILY HORIZONS CREDIT UNION
6665 EAST 21ST STREET
INDIANAPOLIS, IN 46219 USA                          $6,046.12
EVANS BANK, NATIONAL ASSOCIATION
14-16 NORTH MAIN STREET
ANGOLA, NY 14006 USA                                $6,040.58
FIRST U.S. COMMUNITY CREDIT UNION
580 UNIVERSITY AVENUE
SACRAMENTO,CALIFORNIA U.S.A. 95825                  $6,032.67
HEART OF LOUISIANA FEDERAL CREDIT UNION
303 EDGEWOOD DRIVE
PINEVILLE, LA 71360 USA                             $6,024.25
COREPLUS FEDERAL CREDIT UNION
202 SALEM TURNPIKE
NORWICH,CONNECTICUT U.S.A. 06360                    $5,996.23
PINNACLE FEDERAL CREDIT UNION
135 RARITAN CENTER PKWY
EDISON,NEW JERSEY U.S.A. 08837-3685                 $5,993.31
DIRECTIONS CREDIT UNION
5121 WHITEFORD ROAD
SYLVANIA,OHIO U.S.A. 43560                          $5,982.66
FIRST NATIONAL BANK TEXAS
PO BOX 73
KILLEEN TX 76540
ATTN: ASSET RECOVERY                                $5,968.81
BANQUE COMMERCIALE INTERNATIONALE
AVENUE AMILCAR CABRAL
BRAZZAVILLE, BP 147 CONGO                           $5,926.76
THE PARK NATIONAL BANK
PO BOX 3500
NEWARK, OH 43058                                    $5,922.79
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 120 of 362


BEACON FEDERAL CREDIT UNION
2901 SENS ROAD
LA PORTE, TX 77571 USA                             $5,918.65
PINNACLE BANK
1811 2ND AVENUE
JASPER, AL 35501 USA                               $5,910.64
MICHIGAN EDUCATIONAL CREDIT UNION
9200 HAGGERTY RD
PLYMOUTH MI 48170                                  $5,902.79
BRIDGEWATER BANK
SUITE 150 926 - 5TH AVENUE SW
CALGARY AB CANADA T2P 0N7                          $5,900.16
BANK OF NEW ZEALAND
LEVEL 2, DELOITTE CENTRE
80 QUEEN STREET
AUCKLAND 1010 NEW ZEALAND                          $5,893.05
TAIWAN COOPERATIVE BANK
7F., NO.77, KUEN-MING ST.,
TAIPEI TAIWAN 10807                                $5,878.11
NEW ORLEANS FIREMENS FEDERAL CREDIT UNION
4401 WEST NAPOLEAN
METAIRIE,LOUISIANA U.S.A. 70001                    $5,853.48
WINSLOW COMMUNITY FEDERAL CREDIT UNION
P O BOX 8117
WINSLOW,MAINE U.S.A. 04901                         $5,849.66
HEALTHCARE ASSOCIATES CREDIT UNION
1151 EAST WARRENVILLE ROAD
NAPERVILLE,ILLINOIS U.S.A. 60563-9339              $5,838.91
WATERBURY CONNECTICUT TEACHERS FEDERAL CREDIT
UNION
99 NORTH MAIN STREET
WATERBURY, CT 6722 USA                             $5,829.14
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 121 of 362


BANK OF CHINA (CANADA)
50 MINTHORN BLVD, SUITE 600
MARKHAM ON L3T 7X8, CANADA                         $5,827.10
JOINT STOCK COMMERCIAL BANK FOR FOREIGN TRADE OF
VIETNAM
198 TRAN QUANG KHAI
HANOI, VIETNAM                                     $5,810.72
FIRST HERITAGE FEDERAL CREDIT UNION
110 VILLAGE SQUARE
PAINTED POST, NY 14870 USA                         $5,810.17
ILLINOIS NATIONAL BANK
322 EAST CAPITOL AVENUE
SPRINGFIELD,ILLINOIS U.S.A. 62701                  $5,808.03
OKLAHOMA CENTRAL CREDIT UNION
P.O. BOX 471227
TULSA,OKLAHOMA U.S.A. 74147                        $5,800.79
ABRI CREDIT UNION
1350 WEST RENWICK ROAD
ROMEOVILLE, IL 60446 USA                           $5,796.08
OLD SECOND NATIONAL BANK OF AURORA
37 S RIVER ST
AURORA IL 60506-4173                               $5,770.05
THE CITIZENS BANK OF PHILADELPHIA, MISSISSIPPI
521 MAIN STREET
PHILADELPHIA, MS 39350 USA                         $5,766.16
EDWARDS FEDERAL CREDIT UNION
10 SOUTH MUROC DRIVE
EDWARDS AFB,CALIFORNIA U.S.A. 93524-1259           $5,751.47
BANK OF IRELAND (UK) PLC
BOW BELLS HOUSE 1 BREAD STREET
LONDON, EN EC4M 9BE UNITED KINGDOM                 $5,750.96
ABBOTT LABORATORIES EMPLOYEES CREDIT UNION
401 NORTH RIVERSIDE DRIVE
GURNEE,ILLINOIS U.S.A. 60031                       $5,750.82
                              Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 122 of 362


LLOYDS BANK INTERNATIONAL LIMITED
25 NEW STREET ST HELIER
JERSEY, CZ JE4 8RG UNITED KINGDOM                     $5,742.00
1ST UNITED SERVICES CREDIT UNION
6901 GIBRALTAR DRIVE
PLEASANTON, CA 94588                                  $5,736.33
FIRST BANK (NORTHWEST GA BANK)
30 SOUTH MAIN STREET
LEXINGTON, TN 38351 USA                               $5,729.45
RAIFFEISENBANK A.D., BEOGRAD
RESAVSKA 22
BEOGRAD, 11 000 REPUBLIC OF SERBIA                    $5,712.85
SOUTHERN HERITAGE BANK
3290 KEITH STREET
NORTHWEST CLEVELAND,TENNESSEE U.S.A. 37312            $5,710.52
DIME BANK
290 SALEM TURNPIKE
NORWICH, CT 6360 USA                                  $5,704.25
THE FIRST NATIONAL BANK OF SONORA
2502 SOUTHLAND BLVD
SAN ANGELO,TEXAS U.S.A. 76904                         $5,702.27
ELEMENTS FINANCIAL FEDERAL CREDIT UNION (ELI LILLY
FCU)
225 SOUTH EAST STREET, SUITE 300
INDIANAPOLIS, IN 46202 USA                            $5,700.19
WESTERN ROCKIES FEDERAL CREDIT UNION
2302 NORTH AVENUE
GRAND JUNCTION,COLORADO U.S.A. 81501                  $5,694.57
CAPITAL EDUCATORS FEDERAL CREDIT UNION
275 S STRATFORD DRIVE
MERIDIAN,IDAHO U.S.A. 83642                           $5,666.55
PACIFIC CASCADE FEDERAL CREDIT UNION
1075 OAK STREET
EUGENE,OREGON U.S.A. 97401                            $5,655.13
                          Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 123 of 362


ABU DHABI COMMERCIAL BANK
AL SALAAM STREET, 16TH FLOOR HEAD OFFICE
P.O. BOX 939
ABU DHABI, UNITED ARAB EMIRATES                   $5,643.63
NOTRE DAME WATERVILLE FEDERAL CREDIT UNION
61 GROVE STREET
WATERVILLE,MAINE U.S.A. 04901                     $5,623.45
UNIVERSITY OF IOWA COMMUNITY CREDIT UNION
PO BOX 800
NORTH LIBERTY, IA 52317                           $5,613.27
UNIBANK FOR SAVINGS
49 CHURCH STREET
WHITINSVILLE, MA 01588-1400 USA                   $5,608.19
WORLD FINANCIAL NETWORK BANK
ONE RIGHTER PARKWAY
SUITE 100
WILMINGTON DE 19803                               $5,602.31
ROCKY MOUNTAIN LAW ENFORCEMENT FEDERAL CREDIT
UNION
700 WEST 39TH AVENUE
DENVER, CO 80216 USA                              $5,593.82
DISCOVERY FEDERAL CREDIT UNION
2744 CENTURY BOULEVARD
WYOMISSING, PA 19610 USA                          $5,591.16
REPUBLIC BANK & TRUST COMPANY
601 WEST MARKET STREET
LOUISVILLE, KY 40202 USA                          $5,579.11
MAYO EMPLOYEES FEDERAL CREDIT UNION
130 23RD AVE SOUTHWEST
ROCHESTER, MN 55902 USA                           $5,569.95
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 124 of 362


SBI CARD CO. LTD.
SUMITOMOFUDOSANKUDANBLDG
1-8-10 KUDAN KITA
CHIYODA-KU
TOKYO 102 0073, JAPAN                               $5,562.21
BANCO REGIONAL S.A.
C.A. LOPEZ NO. 1348
ENCARNACION, PARAGUAY                               $5,546.86
TARJETAS DE CREDITO DE OCCIDENTE S.A.
7A. AVE. 7-41, ZONA 9
GUATEMALA, 1009 GUATEMALA                           $5,529.12
TTCU THE CREDIT UNION
3720 EAST 31ST STREET
TULSA, OK 74135 USA                                 $5,525.60
SCHOOL SYSTEMS FEDERAL CREDIT UNION
PINE WEST PLAZA #4 WASHINGTON AVENUE EXIT
ALBANY,NEW YORK U.S.A. 12205                        $5,525.09
NOTRE DAME FEDERAL CREDIT UNION
19033 DOUGLAS ROAD
SOUTH BEND, IN 46637 USA                            $5,521.21
AVADIAN CREDIT UNION (ALABAMA TELCO CU)
1 RIVERCHASE PARKWAY SOUTH
HOOVER, AL 35244 USA                                $5,512.65
CENTERSTATE BANK OF FLORIDA N.A.
400 INTERSTATE N PKWY STE 200
ATLANTA GA 30339                                    $5,496.07
ADMINISTRADORA DE TARJETAS DE CREDITO
AV. CAMACHO 1448 PISO 11
LA PAZ BOLIVIA                                      $5,486.49
CONTINENTAL DE CREDITOS S.A.
6A AVENIDA 9 - 08 ZONA 9 NIVEL 6
GUATEMALA, GUATEMALA 01009                          $5,482.13
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 125 of 362


CAPITAL CREDIT UNION
825 MORRIS AVENUE
GREEN BAY, WI 54304 USA                             $5,479.97
FEDCHOICE FEDERAL CREDIT UNION
10001 WILLOWDALE ROAD
LANHAM, MD 20706 USA                                $5,470.37
STANDARD CHARTERED BANK (PAKISTAN) LIMITED
4TH FLOOR, SCBPL I.I. CHUNDRIGAR ROAD,
KARACHI, PAKISTAN                                   $5,469.84
FLEETWOOD BANK
PO BOX 105
FLEETWOOD, PA 19522                                 $5,468.20
THE LUZERNE BANK
118 MAIN STREET
LUZERNE, PA 18709 USA                               $5,460.43
FIREFIGHTERS COMMUNITY CREDIT UNION
2300 ST. CLAIR AVENUE
CLEVELAND, OH 44114 USA                             $5,456.15
EAGLE ONE FEDERAL CREDIT UNION
2303 FRANKFORD AVENUE
PHILADELPHIA, PA 19125 USA                          $5,455.08
CNB BANK
ONE SOUTH SECOND STREET
CLEARFIELD, PA 16830 USA                            $5,446.35
UNIVERSITY + STATE EMPLOYEES CREDIT UNION
10120 PACIFIC HEIGHTS BLVD
SAN DIEGO SAN DIAGO CA 92121                        $5,437.12
US FEDERAL CREDIT UNION
1400 RIVERWOOD DRIVE
BURNSVILLE,MINNESOTA U.S.A. 55337                   $5,427.24
SHREVEPORT FEDERAL CREDIT UNION
8530 FERN AVENUE
SHREVEPORT, LA 71105 USA                            $5,422.32
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 126 of 362


HANSCOM FEDERAL CREDIT UNION
1610 EGLIN STREET
HANSCOM AFB, MA 01731                              $5,420.21
LOCAL GOVERNMENT FEDERAL CREDIT UNION
QUORUM CENTER
323 WEST JONES STREET, SUITE 600
RALEIGH, NC 27603                                  $5,396.47
DEER VALLEY CREDIT UNION
16215 NORTH 28TH AVENUE
PHOENIX, AZ 85053 USA                              $5,384.93
1ST SOURCE BANK
1704 COMMERCE DRIVE
SOUTH BEND, IN 46634                               $5,377.68
BANCO INBURSA S.A.
INSUGENTES SUR # 3500
COL. PENA POBRE
MEXICO, D.F., MEXICO 14060                         $5,354.68
HERITAGE VALLEY FEDERAL CREDIT UNION
ATTN: ROXANN BARE
2400 PLEASANT VALLEY ROAD
PO BOX 3617
YORK PA 17402                                      $5,350.75
PINNACLE BANK
150 3RD AVE SOUTH, SUITE 900
NASHVILLE, TN 37201                                $5,331.60
SCOTT CREDIT UNION
1100 BELTLINE RD
COLLINSVILLE, IL 62234                             $5,331.18
OTIS FEDERAL CREDIT UNION
P. O. BOX 27
170 MAIN STREET
JAY,MAINE U.S.A. 04239                             $5,326.23
UNKNOWN                                            $5,323.18
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 127 of 362


PEOPLES BANK OF ALTENBURG
8537 MAIN STREET
ALTENBURG, MO 63732 USA                            $5,314.30
CSE FEDERAL CREDIT UNION
2154 SWISCO ROAD
SULPHUR, LA 70665 USA                              $5,308.00
OLD WEST FEDERAL CREDIT UNION
650 WEST MAIN
JOHN DAY, OR 97845 USA                             $5,305.16
STANDARD CHARTERED BANK UGANDA LTD
5 SPEKE ROAD
KAMPALA, UGANDA                                    $5,281.84
SRI FEDERAL CREDIT UNION
333 RAVENSWOOD AVENUE
MENLO PARK, CA 94025 USA                           $5,279.88
ACME CONTINENTAL CREDIT UNION
13601 SOUTH PERRY AVENUE
RIVERDALE,ILLINOIS U.S.A. 60827                    $5,264.59
JSCB BANK OF MOSCOW
14 ZHUKOVSKOGO STR.
MOSCOW, RUSSIAN FEDERATION 105062                  $5,262.17
ING-DIBA AG
THEODOR-HEUSS-ALLEE 2
FRANKFURT AM MAIN, 60486 GERMANY                   $5,252.64
BRAGG MUTUAL FEDERAL CREDIT UNION
2917 VILLAGE DRIVE
FAYETTEVILLE,NORTH CAROLINA U.S.A. 28304           $5,233.02
FNB COMMUNITY BANK
PO BOX 10600
MIDWEST CITY, OK 73140                             $5,231.97
TRUSERVICE COMMUNITY FEDERAL CREDIT UNION
11001 HERMITAGE RD
LITTLE ROCK,ARKANSAS U.S.A. 72211                  $5,225.85
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 128 of 362


STANDARD CHARTERED BANK (VIETNAM) LIMITED
49 HAI BA TRUNG, HOAN KIEM DISTRICT
HANOI, VIETNAM                                       $5,225.65
CENTRAL NATIONAL BANK
8320 W HWY 84
WACO TX 76712                                        $5,211.61
STANDARD CHARTERED BANK
1 ALDERMANBURY SQUARE
LONDON, EN EC2V 7SB UNITED KINGDOM                   $5,176.29
FIRST NATIONAL BANK OF CHADRON
SECOND AND MAIN
CHADRON, NE 69337 USA                                $5,174.25
STANDARD CHARTERED BANK MALAYSIA BERHAD
NO.4, JALAN AMPANG
KUALA LUMPUR, 50450 MALAYSIA                         $5,155.10
NUVISION FEDERAL CREDIT UNION
7812 EDINGER AVENUE
HUNTINGTON BEACH, CA 92647 USA                       $5,147.36
LINKSER SERVICIOS BANCARIOS AUXILIARES S.A.
CALLE MANUEL IGNACIO SALVATIERRA #520
SANTA CRUZ, BOLIVIA 3024                             $5,137.81
GUARANTY BANK
4000 WEST BROWN DEER ROAD
BROWN DEER,WISCONSIN U.S.A. 53209                    $5,137.04
MEMBERS CREDIT UNION
2250 SILAS CREEK PARKWAY
WINSTON-SALEM,NORTH CAROLINA U.S.A. 27103            $5,102.22
BAY-VANGUARD FEDERAL SAVINGS BANK
7114 NORTH POINT ROAD
BALTIMORE,MARYLAND U.S.A. 21219                      $5,098.49
S.C. STATE FEDERAL CREDIT UNION
800 HUGER STREET
COLUMBIA, SC 29201 USA                               $5,087.91
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 129 of 362


ENERGY ONE FEDERAL CREDIT UNION
ATTN: CARMEN WARDEN
6100 S YALE AVE STE 100
TULSA, OK 74136                                    $5,083.38
FIRST NATIONAL BANK AND TRUST COMPANY OF
NEWTOWN
40 SOUTH STATE STREET
NEWTOWN, PA 18940 USA                              $5,066.20
ALINMA BANK
KINGDOM TOWER 23RD FLOOR
RIYADH, 11586 SAUDI ARABIA                         $5,060.28
BANCO ITAU CHILE
MONEDA 799
SANTIAGO, CHILE                                    $5,040.45
BANCO POPOLARE DI MILANO
E-MONEY SECTOR OFFICER MARKETING
VIA S. PAOLO, 16 MILAN ITALY 20121                 $5,014.44
PIRAEUS BANK (CYPRUS) LIMITED
1 SPYROU KYPRIANOU
NICOSIA, 1065 CYPRUS                               $5,011.34
BANKERS' BANK OF THE WEST
1099 18TH STREET, SUITE 2700
DENVER, CO 80202-1927 USA                          $5,007.11
CARDINAL BANK
8270 GREENSBORO DRIVE, SUITE 500
MCLEAN, VA 22102 USA                               $5,003.82
SNS BANK N.V.
PGM CROESELAAN 1
UTRECHT NETHERLANDS, THE                           $4,995.51
GEMC FEDERAL CREDIT UNION
2100 EAST EXCHANGE PLACE
TUCKER, GA 30084 USA                               $4,992.23
                              Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 130 of 362


GREAT LAKES CREDIT UNION
2525 GREEN BAY RD.
NORTH CHICAGO,ILLINOIS U.S.A. 60064                   $4,989.49
UNKNOWN                                               $4,984.51
HERITAGE OAKS BANK
545 TWELFTH STREET
PASO ROBLES, CA 93446 USA                             $4,959.08
N B A CREDIT UNION
23 COMMERCE CIRCLE
BRISTOL, PA 19007 USA                                 $4,955.94
NECHES FEDERAL CREDIT UNION
776 MAGNOLIA AVENUE
PORT NECHES, TX 77651 USA                             $4,950.96
CIMB BANK BERHAD
NO. 83, MEDAN SETIA 1 MENARA SBB, LEVEL 2, PLZ
DAMANSARA
KUALA LUMPUR MALAYSIA 50756                           $4,948.02
MERRIMACK VALLEY FEDERAL CREDIT UNION
500 MERRIMACK STREET
LAWRENCE, MA 1843 USA                                 $4,942.58
DANSKE BANK OYJ
HIILILAITURINKUJA 2
HELSINKI, 75 FINLAND                                  $4,941.44
HORIZON CREDIT UNION
13224 EAST MANSVILE AVENUE, STE 300
SPOKANE VALLEY, WA 99216 USA                          $4,934.94
TRUITY FEDERAL CREDIT UNION
501 SOUTH JOHNSTONE
BARTLESVILLE, OK 74003 USA                            $4,929.91
JEFFERSON BANK
2900 FREDERICKSBURG RD.
SAN ANTONIO,TEXAS U.S.A. 78201                        $4,926.68
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 131 of 362


PENNSYLVANIA CENTRAL FEDERAL CREDIT UNION
959 EAST PARK DRIVE
HARRISBURG, PA 17111 USA                            $4,924.93
GAZPROMBANK (JOINT STOCK COMPANY)
NAMETKINA STREET,16-1
117420 MOSCOW, RUSSIAN FEDERATION                   $4,912.64
CONNEXUS CREDIT UNION
2600 PINE RIDGE BOULEVARD
WAUSAU, WI 54401 USA                                $4,905.29
BANKFINANCIAL
VISA CHECK CARD FRAUD DEPARTMENT
48 ORLAND SQUARE DR.
ORLAND PARK, IL 60462                               $4,902.05
BRIDGEWAY FEDERAL CREDIT UNION
71 DUTCHESS TURNPIKE - 44 PLAZA
POUGHKEEPSIE, NY 12603-6422 USA                     $4,885.40
OPEN JOINT STOCK COMPANY 'BANK URALSI B'
PROFSOUZNAYA STREET 56
MOSCOW RUSSIAN FEDERATION 117393                    $4,881.07
FREMONT BANK
25151 CLAWITER ROAD
HAYWARD,CALIFORNIA U.S.A. 94545                     $4,870.42
COOSA PINES FEDERAL CREDIT UNION
33710 US HIGHWAY 280
CHILDERSBURG, AL 35044 USA                          $4,860.05
SHINHAN BANK AMERICA
330 FIFTH AVENUE 4TH FLOOR
NEW YORK,NEW YORK U.S.A. 10001                      $4,840.79
THE QUEENSTOWN BANK OF MARYLAND
7101 MAIN STREET
QUEENSTOWN, MD 21658 USA                            $4,839.18
JAX FEDERAL CREDIT UNION
562 PARK STREET
JACKSONVILLE,FLORIDA U.S.A. 32204                   $4,838.21
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 132 of 362


GCS CREDIT UNION
3970 MARYVILLE ROAD
GRANITE CITY, IL 62040 USA                          $4,831.93
BULLDOG FEDERAL CREDIT UNION
580 NORTHERN AVE
HANGERSTOWN, MD 21742                               $4,828.27
CENTER NATIONAL BANK
301 NORTH RAMSEY AVENUE
LITCHFIELD, MN 55355 USA                            $4,826.52
SBERBANK OF RUSSIA
19 VAVILOVA STR.
MOSCOW RUSSIAN FEDERATION 117997                    $4,821.88

NEW JERSEY LAW AND PUBLIC SAFETY CREDIT UNION
225 EAST STATE STREET
TRENTON, NJ 8666 USA                                $4,807.87
PACIFIC SERVICE CREDIT UNION
2850 SHADELANDS DRIVE
WALNUT CREEK,CALIFORNIA U.S.A. 94598                $4,806.87
RTN FEDERAL CREDIT UNION
600 MAIN STREET
WALTHAM, MA 02452-5537 USA                          $4,800.71
CRANE CREDIT UNION
1 WEST GATE DRIVE
ODON, IN 47562 USA                                  $4,783.54

CRDB BANK LIMITED
4TH FLOOR
ACCOMMODATION SCHEME BUILDING AZIKIWE STREET
DAR ES SALAAM, UNITED REP. OF TANZANIA              $4,770.43
LEGACY TEXAS BANK
E 707 ARAPAHO RD
RICHARDSON TX 75081                                 $4,764.53
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 133 of 362


AMERICAN TRUST BANK OF EAST TENNESSEE
256 MEDICAL PARK DRIVE
LENOIR CITY, TN 37771 USA                           $4,759.22
CFCU COMMUNITY CREDIT UNION
1030 CRAFT RD
ITHACA NY 14850                                     $4,755.42
FIRST ATLANTIC FEDERAL CREDIT UNION
468 INDUSTRIAL WAY WEST
EATONTOWN, NJ 7724 USA                              $4,754.93
PICATINNY FEDERAL CREDIT UNION
100 MINERAL SPRINGS DRIVE
DOVER, NJ 7801 USA                                  $4,750.94
SOMERSET TRUST COMPANY
151 WEST MAIN STREET
SOMERSET PA 15501                                   $4,744.41
WILDFIRE CREDIT UNION
6640 BAY ROAD
SAGINAW, MI 48604 USA                               $4,741.91
GREENEVILLE FEDERAL BANK, FSB
130 W. SUMMER STREET
GREENVILLE,TENNESSEE U.S.A. 37743                   $4,737.51
TMG FINANCIAL SERVICES, INC.
1500 NW 118TH STREET
CLIVE IA 50325                                      $4,733.65
TENNESSEE VALLEY FEDERAL CREDIT UNION
715 MARKET STREET
CHATTANOOGA, TN 37402 USA                           $4,727.10
CATHAY UNITED BANK
7, SONG REN ROAD
TAIPEI, 110
TAIWAN                                              $4,724.33
AMERICHOICE FEDERAL CREDIT UNION
20 SPORTING GREEN DRIVE
MECHANICSBURG, PA 17050 USA                         $4,713.99
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 134 of 362


UNKNOWN                                             $4,713.04

BAIDURI BANK BHD
BLK A, UNIT 1-4, KIARONG COMPLEX
LEBUHRAYA SULTAN HASSANAL BOLKIAH
BANDAR SERI BEGAWAN, BE 1318 BRUNEI DARUSSALAM      $4,704.49
PEOPLES TRUST COMPANY
888 DUNSMUIR STREET
SUITE #1400
VANCOUVER BC V6C 3K4, CANADA                        $4,699.97

HALLMARK TRUST LTD
COURTYARD PLAZA LEEWARD HWY PROVIDENCIALES
TURKS & CAICOS ISLES BWI                            $4,693.53
CENTRAL NATIONAL BANK & TRUST CO., OF ENID
324 WEST BROADWAY
ENID, OK 73701 USA                                  $4,688.99
RAIFFEISEN BANK INTERNATIONAL AG
AM STADTPARK 9
VIENNA, 1030 AUSTRIA                                $4,680.16
POINT WEST CREDIT UNION
718 NORTHEAST 12TH AVENUE
PORTLAND,OREGON U.S.A. 97232                        $4,679.26
OXFORD FEDERAL CREDIT UNION
P.O. BOX 252
MEXICO,MAINE U.S.A. 04257-0252                      $4,677.34
FIRST FEDERAL SAVINGS AND LOAN ASSOCIATION OF
PORT ANGELES
105 WEST 8TH STREET
PORT ANGELES, WA 98362 USA                          $4,672.41
JM ASSOCIATES FEDERAL CREDIT UNION
9987 PRITCHARD ROAD
JACKSONVILLE, FL 32219 USA                          $4,660.34
                         Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 135 of 362


COMMONWEALTH ONE FEDERAL CREDIT UNION
4875 EISENHOWER AVENUE #100
ALEXANDRIA, VA 22304-0797 USA                    $4,642.97
AUBURN BANK
132 NORTH GAY STREET
P. O. BOX 3110
AUBURN,ALABAMA U.S.A. 36830                      $4,640.58
BANCO DEL PAIS S.A.
EDIFICIO TORRE DEL PAíS
BOULEVARD JOSé ANTONIO PERAZA
SAN PEDRO SULA, HONDURAS                         $4,623.80
PROVIDENT STATE BANK, INC.
239 MAIN ST.
PRESTON,MARYLAND U.S.A. 21625                    $4,611.59
USX FEDERAL CREDIT UNION
1293 FREEDOM ROAD
CRANBERRY, PA 16066 USA                          $4,607.97
WESTBURY BANK
200 SOUTH MAIN ST
WEST BEND WI 53095                               $4,607.33
FORT BRAGG FEDERAL CREDIT UNION
1638 SKIBO ROAD
FAYETTEVILLE, NC 28303 USA                       $4,597.74
MBANK S.A.
PIOTRKOWSKA 148/150
LODZ POLAND 90-063                               $4,589.98
UNION BANK AND TRUST COMPANY
3643 SOUTH 48TH STREET
LINCOLN, NE 68506 USA                            $4,585.92
DAY AIR CREDIT UNION, INC.
3501 WILMINGTON PIKE
KETTERING, OH 45429 USA                          $4,584.22
UNKNOWN                                          $4,574.16
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 136 of 362


BANCO POPULAR Y DE DESARROLLO COMUNAL
50 METROS OESTE DE LA MUNICIPALIDAD DE
GOICOECHEA, SAN JOSE
SAN JOSE, COSTA RICA 10190-1000                     $4,573.65
JETSTREAM FCU
6600 COW PEN ROAD
MIAMI LAKES, FL 33014                               $4,572.75
ARMENIAN CARD
G. NJDEH 32/1
YEREVAN ARMENIA 0026                                $4,561.70
DENIZBANK AS
AYAZAGA MH. MASLAK YOLU NO5 AYAZAGA SISLI
ISTANBUL TURKEY 34396                               $4,555.28
RAIFFEISEN BANK POLSKA S.A.
ULICA PIEKNA 20
WARSZAWA, 00 549 POLAND                             $4,538.48
TELCO COMMUNITY CREDIT UNION
712 NEW LEICESTER HIGHWAY
ASHEVILLE,NORTH CAROLINA U.S.A. 28806               $4,535.24
ENVISION CREDIT UNION
440 NORTH MONROE STREET
TALLAHASSEE, FL 32301 USA                           $4,534.48
HSBC BANK MALTA PLC
116, ARCHBISHOP STREET
VALLETTA, VLT 1444 MALTA                            $4,534.27
CAYMAN NATIONAL BANK LTD
200 ELGIN AVENUE
P.O. BOX 1097
GRAND CAYMAN KY1-1102, CAYMAN ISLANDS               $4,527.34
CAPITOL CREDIT UNION
ATTN: BRIAN DUCIAUME
11902A BURNET ROAD
AUSTIN, TEXAS 78758.                                $4,518.24
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 137 of 362


BANK OF CLARKE COUNTY
2 EAST MAIN STREET
BERRYVILLE,VIRGINIA U.S.A. 22611                    $4,517.88
CASTPARTS EMPLOYEES FEDERAL CREDIT UNION
8120 SOUTH EAST LUTHER ROAD
PORTLAND, OR 97206 USA                              $4,516.16
SOLVAY BANK
1537 MILTON AVENUE
SOLVAY, NY 13209 USA                                $4,515.71
THE BANK OF N.T. BUTTERFIELD & SON, LTD.
65 FRONT STREET
HAMILTON HM 11, BERMUDA                             $4,514.26
ENERGY CAPITAL CREDIT UNION
700 LEELAND SUITE 100
HOUSTON,TEXAS U.S.A. 77252                          $4,509.64
SLOVENIAN SAVINGS & LOAN ASSOCIATION OF FRANKLIN-
CONEMAUGH
361 FIRST STREET
CONEMAUGH, PA 15909                                 $4,486.12
BENDIGO AND ADELAIDE BANK LIMITED
ACCESS & PAYMENT SYSTEMS 22 - 44 BATH LANE
BENDIGO
VIC AUSTRALIA 3550                                  $4,485.57
NEW PEOPLES BANK, INC.
102 GENT DRIVE
HONAKER,VIRGINIA U.S.A. 24260                       $4,481.38
THE NATIONAL BANK OF INDIANAPOLIS
107 N. PENNSYLVANIA STE 400
INDIANAPOLIS,INDIANA U.S.A. 46204                   $4,472.39
GREATER NEW ORLEANS FEDERAL CREDIT UNION
3105 LIME STREET
METAIRIE,LOUISIANA U.S.A. 70006                     $4,467.19
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 138 of 362


CLACKAMAS FEDERAL CREDIT UNION
270 WARNER MILNE ROAD
OREGON CITY,OREGON U.S.A. 97045                     $4,467.06
CHARLOTTE METRO CREDIT UNION
718 CENTRAL AVENUE
CHARLOTTE,NORTH CAROLINA U.S.A. 28204               $4,441.47
BRYANT STATE BANK
PO BOX 5085
SIOUX FALLS, SD 57117-5085                          $4,439.71
THE DIME SVGS. BANK OF WILLIAMSBURGH
209 HAVEMEYER STREET
BROOKLYN, NY 11211 USA                              $4,437.26
TATRA BANKA A.S.
BRATISLAVA 55
SLOVAKIA 85005                                      $4,434.22
CENTRAL JERSEY FEDERAL CREDIT UNION
380 BERRY ST.
WOODBRIDGE,NEW JERSEY U.S.A. 07095                  $4,424.63

MASPETH FEDERAL SAVINGS AND LOAN ASSOCIATION
56-18 69TH STREET
MASPETH, NY 11378 USA                               $4,419.41
VOLKSWAGEN BANK GMBH
GIFHORNER STRASSE 57
BRAUNSCHWEIG, 38112 GERMANY                         $4,412.06
VISION BANK, NATIONAL ASSOCIATION
101 E. MAIN STREET
ADA,OKLAHOMA U.S.A. 74820                           $4,403.92
POSTE ITALIANE
VIALE EUROPA 175
ROMA ITALY 00144                                    $4,393.45
CADENCE BANK, N.A.
2100 THIRD AVENUE NORTH
BIRMINGHAM, AL 35203 USA                            $4,390.90
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 139 of 362


AL RAJHI BANKING & INVESTMENT CORP.
CARDS OPERATIONS DEPARTMENT
AKARIAH PHASE 3, OLAYA,
P. O. BOX 28
RIYADH, SAUDI ARABIA 11411                          $4,390.09
FLORIDA HOSPITAL CREDIT UNION
601 E. ROLLINS STREET
ORLANDO,FLORIDA U.S.A. 32803                        $4,389.33
FOOTHILLS CREDIT UNION
7990 W ALAMEDA AVENUE
LAKEWOOD,COLORADO U.S.A. 80226                      $4,377.71

AGRICULTURE FEDERAL CREDIT UNION
P. O. BOX 44367
WASHINGTON,DISTRICT OF COLUMBIA U.S.A. 20026-4367   $4,372.45
CREDIMAX BSC
BUILDING NO 858 ROAD NO 3616
MANAMA BAHRAIN                                      $4,368.80
VONS EMPLOYEES FEDERAL CREDIT UNION
4455 ARDEN DRIVE
EL MONTE,CALIFORNIA U.S.A. 91731                    $4,360.26
FIRST LIBERTY BANK
9601 N. MAY AVE.
OKLAHOMA CITY,OKLAHOMA U.S.A. 73120                 $4,347.17
HATBORO FEDERAL SAVINGS
221 SOUTH YORK ROAD
HARTBORO,PENNSYLVANIA U.S.A. 19040                  $4,346.20
SABATTUS REGIONAL CREDIT UNION
P. O. BOX 250
2 MIDDLE ROAD
SABATTUS,MAINE U.S.A. 04280                         $4,344.59
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 140 of 362



UNITED TELETECH FINANCIAL FEDERAL CREDIT UNION
205 HANCE AVE
TINTON FALLS, NJ 07724                              $4,338.21
PROPONENT FEDERAL CREDIT UNION
536 WASHINGTON AVENUE
NUTLEY,NEW JERSEY U.S.A. 07110                      $4,324.08
SCIENT FEDERAL CREDIT UNION
60 COLVER AVENUE
GROTON, CT 6340 USA                                 $4,320.89

BANCO BILBAO VIZCAYA ARGENTARIA URUGUAY S.A.
25 DE MAYO 401
MONTEVIDEO, 11 URUGUAY                              $4,316.35
DUGOOD FEDERAL CREDIT UNION
4008 NORTH TWIN CITY HIGHWAY
NEDERLAND, TX 77627 USA                             $4,316.28
UNKNOWN                                             $4,312.12
GREAT LAKES BANKERS BANK
300 WEST WILSON BRIDGE ROAD, SUITE 220
WORTHINGTON, OH 43085                               $4,308.77
THE GULF BANK K.S.C.
MUBARAK AL KABIR STREET SAFAT
KUWAIT CITY, KUWAIT                                 $4,292.49
FAIRLESS CREDIT UNION
1900 S. PENNSYLVANIA AVE
MORRISVILLE, PA 19067                               $4,266.58
JOINT STOCK COMPANY ALFA-BANK
11 M PORYVAEVA STR.
MOSCOW, 107078 RUSSIAN FEDERATION                   $4,262.95
SUPERIOR CREDIT UNION
GERMANTOWN PIKE & CROSSKEYS ROAD
COLLEGEVILLE, PA 19426 USA                          $4,257.48
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 141 of 362


GENERAL ELECTRIC CREDIT UNION
10485 READING ROAD
CINCINNATI, OH 45241 USA                             $4,254.99
TEXAS STATE BANK
2201 SHERWOOD WAY
SAN ANGELO,TEXAS U.S.A. 76902                        $4,252.21
FISCAL CREDIT UNION
P. O. BOX 251029
GLENDALE,CALIFORNIA U.S.A. 91225-1029                $4,252.17
PULSE NETWORK LLC
1301 MCKINNEY SUITE 2500
HOUSTON TX 77010                                     $4,243.17
FIRST INTERNET BANK OF INDIANA
7820 INNOVATION BLVD SUITE 210
INDIANAPOLIS,INDIANA U.S.A. 46278                    $4,240.65

ACADEMY BANK, NATIONAL ASSOCIATION (SUNBANK)
2835 BRIARGATE BLVD.
COLORADO SPRINGS, CO 80920 USA                       $4,230.29
CAIXA ECONOMICA MONTEPIO GERAL
RUA DO OURO 219-241
LISBOA, 1100 PORTUGAL                                $4,228.61
METROPOLITAN COMMERCIAL BANK
99 PARK AVENUE, 4TH FLOOR
NEW YORK, NY 10016 USA                               $4,214.34
DSK BANK PLC
19, MOSKOVSKA STR.
SOFIA, BULGARIA 1036                                 $4,209.37
CITIZENS NATIONAL BANK OF TEXAS
200 N. ELM ST
WAXAHACHIE,TEXAS U.S.A. 75165                        $4,207.56
BANKER'S BANK OF KANSAS
555 NORTH WOODLAWN STREET
WICHITA, KS 67208 USA                                $4,201.19
                               Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 142 of 362


CPORT CREDIT UNION
50 RIVERSIDE INDUSTRIAL PARKWAY
PORTLAND, ME 4103 USA                                    $4,197.00
S.F. POLICE CREDIT UNION
2550 IRVING STREET
SAN FRANCISCO, CA 94122 USA                              $4,178.53
ALTAONE FEDERAL CREDIT UNION
701 SOUTH CHINA LAKE BOULEVARD
RIDGECREST, CA 93555 USA                                 $4,177.51
FIRST BANK
112 WEST KING STREET
STRASBURG, VA 22657 USA                                  $4,175.86
HEALTHCARE SYSTEMS FEDERAL CREDIT UNION
3300 GALLOWS ROAD
FALLS CHURCH, VA 22042 USA                               $4,175.62

CHINA MINSHENG BANKING CORP.,LTD -
RISK MGMT DEPT.
5/F, UNIT A2, OFFICE BLDG 9, NO. 6 YARD, HAIYING ROAD,
FENGTAI DISTRICT BEIJING, CHINA, PEOPLES REP. OF
100070                                                   $4,166.70
RELIANT FEDERAL CREDIT UNION
4015 PLAZA DRIVE
CASPER,WYOMING U.S.A. 82604                              $4,164.00
121 FINANCIAL CREDIT UNION
9700 TOUCHTON RD
JACKSONVILLE, FL 32246                                   $4,161.81
CHARTER OAK FEDERAL CREDIT UNION
32 CHICAGO AVENUE
GROTON, CT 6340 USA                                      $4,158.62
MIDDLESEX SAVINGS BANK
PO BOX 5210
WESTBOROUGH, MA 01581                                    $4,141.37
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 143 of 362


CAMBRIDGE SAVINGS BANK
BANK OPERATIONS
1374 MASSACHUSETTS AVENUE
CAMBRIDGE MA 02238                                  $4,123.28
BANCO FALABELLA PERU S.A.
CALLE CHINCHON NO. 1060 SAN ISIDRO
LIMA, PERU                                          $4,114.51
GUARANTY BANK AND TRUST COMPANY
1331 17TH STREET
DENVER,COLORADO U.S.A. 80202                        $4,112.44
BANCO DE ORO UNIBANK, INC.
12 ADB AVENUE, ORTIGAS CENTER,
MANDALUYONG CITY, METRO
MANILA, PHILIPPINES                                 $4,110.49
QUALSTAR CREDIT UNION
2115 152ND AVENUE NE
REDMOND,WASHINGTON U.S.A. 98052                     $4,109.86
WOORI AMERICA BANK
1250 BROADWAY
NEW YORK, NY 10001 USA                              $4,099.71
SILVER STATE SCHOOLS CREDIT UNION
P.O.BOX 12037
LAS VEGAS,NEVADA U.S.A. 89112-2037                  $4,094.61
INTERBANK - BANCO INTERNACIONAL DEL PERU
AV. RIVERA NAVARRETE 791 PISO 2,
SAN ISIDRO LIMA, PERU L-27                          $4,086.33
PACIFIC NW FEDERAL CREDIT UNION
12106 NORTHEAST MARX STREET
PORTLAND, OR 97220 USA                              $4,085.65

FIRST PEOPLES COMMUNITY FEDERAL CREDIT UNION
153 BALTIMORE STREET
CUMBERLAND, MD 21502 USA                            $4,076.93
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 144 of 362


RESOURCE BANK, N.A.
555 BETHANY ROAD
DE KALB,ILLINOIS U.S.A. 60115                        $4,076.54
BANCO AGROMERCANTIL S.A.
7MA. AVENIDA 7-30 ZONA 9 EDIFICIO BANCO
AGROMERCANTIL
GUATEMALA GUATEMALA 01009                            $4,049.63
STATE BANK OF INDIA
PAYMENT SYSTEM GROUP
GLOBAL IT CENTRE SECTOR 11, CBD BELAPUR NAVI
MUMBAI, INDIA 400614                                 $4,049.23
SELECT BANK & TRUST COMPANY
700 WEST CUMBERLAND STREET
DUNN, NC 28334 USA                                   $4,043.74
CHRISTIAN FINANCIAL CREDIT UNION
18441 UTICA ROAD
ROSEVILLE, MI 48066 USA                              $4,031.83
PIEDMONT ADVANTAGE CREDIT UNION
3810 N LIBERTY STREET
WINSTON-SALEM,NORTH CAROLINA U.S.A. 27105            $4,028.43
WAVE FEDERAL CREDIT UNION
480 GREENWICH AVE.
WARWICK,RHODE ISLAND U.S.A. 02886                    $4,026.34
ORIENT CORPORATION
2-1, KOJIMACHI 5 CHOME CHIYODA-KU
TOKYO JAPAN 102-8503                                 $4,023.22
RED CANOE CREDIT UNION
P.O. BOX 3020
LONGVIEW,WASHINGTON U.S.A. 98632                     $4,010.92
CITIZENS STATE BANK
209 8TH ST.
SOMMERVILLE,TEXAS U.S.A. 77879                       $4,004.18
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 145 of 362


360 FEDERAL CREDIT UNION
191 ELLA GRASSO TURNPIKE
WINDSOR LOCKS, CT 6096 USA                          $4,001.12
METRO CREDIT UNION
200 REVERE BEACH PARKWAY
CHELSEA, MA 02150-9001 USA                          $3,994.19
OCEANSIDE CHRISTOPHER FEDERAL CREDIT UNION
45 ATLANTIC AVENUE
OCEANSIDE, NY 11572 USA                             $3,992.24
AMERICA'S FIRST FCU
1200 4TH AVE N
BIRMINGHAM AL 35203-1631                            $3,987.05
RAIFFEISENBANK A.S.
HVEZDOVA 1716/2B
PRAGUE 4, 14078 CZECH REPUBLIC                      $3,981.37
ALIGN CREDIT UNION
40 MARKET STREET
LOWELL, MA 1852 USA                                 $3,971.54
BANK HANDLOWY W WARSZAWIE S.A.
CARDS OPERATIONS SENATORSKA 16
WARSAW POLAND 00923                                 $3,967.68
THE CHESAPEAKE BANK AND TRUST COMPANY
245 HIGH STREET
CHESTERTOWN,MARYLAND U.S.A. 21620                   $3,966.49
ALLSOUTH FEDERAL CREDIT UNION
6923 NORTH TRENHOLM ROAD
COLUMBIA, SC 29206 USA                              $3,962.05
PEOPLES BANK
418 GROVER STREET
LYNDEN, WA 98264 USA                                $3,960.21
ALOHA PACIFIC CREDIT UNION
2200 KAMEHAMEHA
HONOLULU,HAWAII U.S.A. 96819                        $3,944.90
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 146 of 362


MATANUSKA VALLEY FCU
1020 SOUTH BAILEY STREET
PALMER,ALASKA U.S.A. 99645                         $3,942.09
UNKNOWN                                            $3,935.86
COLUMBIA COMMUNITY CREDIT UNION
200 SOUTHEAST PARK PLAZA DRIVE
VANCOUVER,WASHINGTON U.S.A. 98684                  $3,933.02
IDEAL CREDIT UNION
8499 TAMARACK ROAD
WOODBURY, MN 55125 USA                             $3,918.91
JORDAN CREDIT UNION
9260 SOUTH 300
EAST SANDY,UTAH U.S.A. 84070                       $3,918.35
THE PEOPLES BANK OF BULLITT COUNTY
ATTN: SANDY HURST
P O BOX 247
SHEPHERDSVILLE, KY 40165-0247                      $3,911.55
CANYON STATE CREDIT UNION
3440 WEST DEER VALLEY ROAD
PHOENIX, AZ 85027 USA                              $3,911.34
SECTION 705 FEDERAL CREDIT UNION
1455 WEST WILLOW STREET
LAFAYETTE, LA 70506 USA                            $3,908.44
RIEGEL FEDERAL CREDIT UNION
515 MILFORD WARREN GLEN ROAD
MILFORD, NJ 8848 USA                               $3,898.92
BANCO LAFISE BANCENTRO, S.A.
EDIF. BANCENTRO,
KILOMETRO 4-1/2 CARRETERA A MASAYA.
MANAGUA, NICARAGUA                                 $3,896.63
MASSACHUSETTS INSTITUTE OF TECHNOLOGY FEDERAL
CREDIT UNION
700 TECHNOLOGY SQUARE
CAMBRIDGE, MA 2139 USA                             $3,890.26
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 147 of 362


UNITY BANK
64 OLD HIGHWAY 22
CLINTON, NJ 8809 USA                                $3,882.60
SUSQUESHANNA VALLEY FEDERAL CREDIT UNION
3850 HARTZDALE DR.
CAMP HILL,PENNSYLVANIA U.S.A. 17011                 $3,864.07
UNKNOWN                                             $3,863.03
ESSENTIAL FEDERAL CREDIT UNION
21925 HIGHWAY 1 SOUTH
PLAQUEMINE, LA 70764 USA                            $3,856.28
PREMIER MEMBERS FEDERAL CREDIT UNION
5495 ARAPAHOE AVENUE
BOULDER,COLORADO U.S.A. 80303                       $3,854.90
SANTANDER CONSUMER BANK AG
SANTANDER-PLATZ 1
MOENCHENGLADBACH, 41061 GERMANY                     $3,851.34
DUBAI ISLAMIC BANK
AL MAKTOUM STREET NEAR CLOCK TOWER R/A
DUBAI, UNITED ARAB EMIRATES                         $3,848.33
NEW WINDSOR STATE BANK
213 MAIN STREET
NEW WINDSOR, MD 21776 USA                           $3,840.34
CITIBANK BERHAD
28 MEDAN PASAR
KUALA LUMPUR, 50050 MALAYSIA                        $3,834.03
NUEVO BANCO DE ENTRE RIOS (BERSA)
GERENTE TARJETAS DE CREDITO 128 MONTE CASEROS
PARANA,
ENTRE RIOS ARGENTINA 3100                           $3,821.88
CENTRAL MAINE FEDERAL CREDIT UNION
1000 LISBON STREET
LEWISTON, ME 04240-1746 USA                         $3,814.11
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 148 of 362


EDUCATION FIRST FCU
P O BOX 26751
BEAUMONT, TEXAS 77720-6751                         $3,803.04
BURGAN BANK S.A.K.
MANAGER CARD OPERATION AL SHARQ - ABDULLAH AL
AHMED ST
AL SAFAT KUWAIT 12170                              $3,802.02
NEW HORIZONS CREDIT UNION
6320 AIRPORT BOULEVARD
MOBILE, AL 36608 USA                               $3,799.64
BANK AL ETIHAD
PRINCE SHAKER BIN ZAID STREET SHMEISANI
AMMAN, JORDAN                                      $3,779.54
WESTAMERICA BANK
1108 FIFTH AVENUE
SAN RAFAEL, CA 94901 USA                           $3,777.62
TSB BANK PLC.
6TH FLOOR 155 BISHOPSGATE
LONDON UNITED KINGDOM EC2M 3YB                     $3,767.86
BANKINTER S.A.
PASEO DE LA CASTELLANA 29
28046 MADRID, SPAIN                                $3,766.80
SOUTHWEST AIRLINES FEDERAL CREDIT UNION
2430 SHORECREST DRIVE
DALLAS, TX 75235 USA                               $3,764.56
MONEY ONE FEDERAL CREDIT UNION
9800 TECHNOLOGY WAY
LARGO, MD 20774 USA                                $3,760.20
EARTHMOVER CREDIT UNION
2195 BASELINE ROAD
OSWEGO, IL 60543 USA                               $3,755.13
HARBORSTONE CREDIT UNION
9611 GRAVELLY LAKE DR SOUTHWEST
LAKEWOOD, WA 98499 USA                             $3,753.08
                              Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 149 of 362


UNKNOWN                                               $3,749.03
PRIMEWAY FEDERAL CREDIT UNION
12811 NORTHWEST FREEWAY
HOUSTON, TX 77040 USA                                 $3,746.71
CONSUMERS CREDIT UNION
7040 STADIUM DRIVE
KALAMAZOO MI 49009                                    $3,745.09
BANK OF CLEVELAND
75 FIRST STREET, NORTHWEST
CLEVELAND, TN 37320 USA                               $3,742.08
POPA FEDERAL CREDIT UNION
13304 E ALONDRA BLVD
CERRITOS,CALIFORNIA U.S.A. 90703                      $3,718.63

AS MERIDIAN TRADE BANK
MANAGER PAYMENT CARD DEPARTMENT ELIZABETES 57
RIGA LATVIA LV-1772                                   $3,715.00
FIRE POLICE CITY COUNTY FEDERAL CREDIT UNION
3306 N. CLINTON ST.
FT. WAYNE,INDIANA U.S.A. 46805                        $3,708.10
FRANKLIN-SOMERSET FEDERAL CREDIT UNION
26 LEAVITT ST.
SKOWHEGAN,MAINE U.S.A. 04976                          $3,698.35
ATTICA BANK S.A.
23 OMIROU STREET
ATHENS, 10672 GREECE                                  $3,684.75
BANK OF LOUISIANA
VICE PRESIDENT CREDIT CARDS
3340 SEVERN AVE
METAIRIE LA 70002                                     $3,679.17
THE FIDELITY DEPOSIT AND DISCOUNT BANK
338 NORTH WASHINGTON AVENUE
SCRANTON,PENNSYLVANIA U.S.A. 18503                    $3,677.32
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 150 of 362


SANTA CRUZ COMMUNITY CREDIT UNION
512 FRONT STREET
SANTA CRUZ, CA 95060 USA                           $3,675.18
COMMUNITY NATIONAL BANK
ROUTE 5
DERBY, VT 5829 USA                                 $3,664.53
RIVER CITY BANK
2485 NATOMAS PARK DRIVE
SACRAMENTO, CA 95833 USA                           $3,649.07
HERITAGE GROVE FEDERAL CREDIT UNION
631 WINTER STREET NORTHEAST
SALEM, OR 97301 USA                                $3,646.60
COMMUNITY RESOURCE CREDIT UNION
2900 DECKER DRIVE
BAYTOWN, TX 77520 USA                              $3,644.78
FIRST FIDELITY BANK, NATIONAL ASSOCIATION
5100 NORTH CLASSEN BOULEVARD SUITE 500
OKLAHOMA CITY,OKLAHOMA U.S.A. 73118                $3,638.28
THE BANK OF TESCOTT
104 S. MAIN STREET
TESCOTT,KANSAS U.S.A. 67484                        $3,637.63
J.S.C.B. BANK STANDARD
4 AZERBAIJAN AVE.
BAKU AZERBAIJAN AZ1005                             $3,635.85
INOVA FEDERAL CREDIT UNION
358 SOUTH ELKHART AVENUE
ELKHART, IN 46516 USA                              $3,621.75
GLENDALE AREA SCHOOLS FEDERAL CREDIT UNION
P. O. BOX 556
MONTROSE,CALIFORNIA U.S.A. 91020                   $3,611.42
EASTHAMPTON SAVINGS BANK
36 MAIN STREET
EASTHAMPTON,MASSACHUSETTS U.S.A. 01027             $3,610.71
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 151 of 362


LANDINGS CREDIT UNION
2800 SOUTH MILL AVENUE
TEMPE, AZ 85282 USA                                 $3,605.92
SALAL CREDIT UNION
1515 DEXTER AVENUE
NORTH SEATTLE,WASHINGTON U.S.A. 98109               $3,601.10
FIRST COMMUNITY CREDIT UNION
17151 CHESTERFIELD AIRPORT ROAD
CHESTERFIELD, MO 63005 USA                          $3,600.18
COASTLINE FEDERAL CREDIT UNION
4651 EMERSON STREET
JACKSONVILLE, FL 32207 USA                          $3,600.18

UNABLE TO DETERMINE - MULTIPLE BANKS SAME NAME      $3,568.96
BONUSCARD.CH AG
POSTFACH ZURICH, SWITZERLAND 8021                   $3,563.63
CESKOSLOVENSKA OBCHODNI BANKA A.S.
RADLICKA 333/150
PRAGUE, 150 57 CZECH REPUBLIC                       $3,558.22
THE FIRST NATIONAL BANK OF EAGLE LAKE
100 COMMERCE STREET
EAGLE LAKE,TEXAS U.S.A. 77434                       $3,557.79
BAR HARBOR BANK & TRUST
82 MAIN STREET
BAR HARBOR, ME 4609 USA                             $3,544.01
BP FEDERAL CREDIT UNION
580 WESTLAKE PARK BOULEVARD SUITE 150
HOUSTON, TX 77079 USA                               $3,541.82
CATALYST CORPORATE FEDERAL CREDIT UNION
6801 PARKWOOD BLVD
PLANO,TEXAS U.S.A. 75024                            $3,541.54
DEPARTMENT OF COMMERCE FCU
14TH AND CONSTITUTION AVENUE ROOM B841A
WASHINGTON,DISTRICT OF COLUMBIA U.S.A. 20044        $3,540.42
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 152 of 362


KASIKORNBANK PUBLIC COMPANY LTD.
47/7 MOO 3 TAMBON BANMAI AMPHUR PAKKRET
NONTHABURI, THAILAND 11120                           $3,539.83
VERIDIAN CREDIT UNION
P. O. BOX 6000
WATERLOO,IOWA U.S.A. 50704                           $3,536.38
BANCO INTERNACIONAL DEL PERU
AV. RIVERA NAVARRETE 791
SAN ISIDRO
LIMA LIMA 27, PERU                                   $3,530.15
T.C. ZIRAAT BANKASI A.S.
GIRNE MAHALLESI NARLIDERE CADDESI NO:55
ISTANBUL, TURKEY 34840                               $3,529.48
WICHITA FEDERAL CREDIT UNION
3730 WEST 13TH STREET
WICHITA,KANSAS U.S.A. 67203                          $3,528.07
U. S. EAGLE FEDERAL CREDIT UNION (U.S. NEW MEXICO
FCU)
3939 OSUNA ROAD NORTHEAST
ALBUQUERQUE, NM 87109 USA                            $3,524.61
BAYCOAST BANK
30 BEDFORD STREET
FALL RIVER, MA 2721 USA                              $3,522.68
CHANGING SEASONS FCU (BANGOR HYDRO FCU)
193 BROAD STREET
BANGOR,MAINE U.S.A. 04401                            $3,514.48
TUSCALOOSA COUNTY CREDIT UNION
2615 6TH STREET
TUSCALOOSA,ALABAMA U.S.A. 35401                      $3,513.04
HIGHMARK FEDERAL CREDIT UNION
725 FIFTH STREET
RAPID CITY, SD 57701-3604 USA                        $3,501.21
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 153 of 362


BANK OF EAST ASIA LIMITED
33/F, BEA TOWER MILLENNIUM CITY 5 KOWLOON
HONG KONG 100125                                    $3,485.45
MARKET USA FEDERAL CREDIT UNION
8871 GERMAN ROAD
LAUREL,MARYLAND U.S.A. 20723                        $3,482.97
PT BANK MANDIRI (PERSERO), TBK.
PLAZA MANDIRI, FLOOR 11TH JL. JEND GATOT SUBROTO
KAV. 36-38
JAKARTA, INDONESIA 12190                            $3,473.01
SOUTHLAND CREDIT UNION
8545 FLORENCE AVENUE
DOWNEY,CALIFORNIA U.S.A. 90241-7022                 $3,472.56
LINCONE FEDERAL CREDIT UNION
4638 W STREET
LINCOLN, NE 68503-2833 USA                          $3,470.37
EL PASO AREA TEACHERS FEDERAL CREDIT UNION
12020 ROJAS DRIVE
EL PASO, TX 79936 USA                               $3,466.11
BROWARD HEALTHCARE FEDERAL CREDIT UNION
2350 WEST COMMERCIAL BOULEVARD
FORT LAUDERDALE,FLORIDA U.S.A. 33309                $3,465.78
LAKE CITY BANK
202 EAST CENTER STREET
WARSAW, IN 46580 USA                                $3,459.02
HEALTHFIRST FEDERAL CREDIT UNION
9 QUARRY ROAD
WATERVILLE,MAINE U.S.A. 04901                       $3,450.42
TRUMARK FINANCIAL CREDIT UNION
1000 NORTHBROOK DRIVE
TREVOSE, PA 19053 USA                               $3,449.69
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 154 of 362


FORT GORDON AND COMMUNITY CREDIT UNION
BUILDING
36305 AVE OF THE STATES AT 37TH
FORT GORDON, GA 30905 USA                           $3,449.64

VIBRANT CREDIT UNION (DHCU COMM CREDIT UNION)
1900 52ND AVENUE
MOLINE,ILLINOIS U.S.A. 61265                        $3,445.03
FIRST FINANCIAL BANK, NATIONAL ASSOCIATION
ONE FIRST FINANCIAL PLAZA
TERRE HAUTE, IN 47807 USA                           $3,441.01
MENLO SURVEY FEDERAL CREDIT UNION
345 MIDDLEFIELD ROAD
MENLO PARK, CA 94025 USA                            $3,437.12
COMMERCIAL INTERNATIONAL BANK (EGYPT)
2 ELHEGAZ ST
CEDARE BLDG HELIOPOLIS
CAIRO EGYPT 11757                                   $3,433.76
PROVIDENT SAVINGS BANK, FSB
3756 CENTRAL AVENUE
RIVERSIDE,CALIFORNIA U.S.A. 92506                   $3,432.10

ERSTE BANK DER OESTERREICHISCHEN SPARKASSEN AG
GRABEN 21
WIEN, 1010 AUSTRIA                                  $3,431.89
NATIONAL BANK OF COMMERCE
1127 TOWER AVENUE
SUPERIOR,WISCONSIN U.S.A. 54880                     $3,424.01
KIMBERLY CLARK CREDIT UNION
1520 N. SECOND STREET
MEMPHIS TN 38107                                    $3,417.00
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 155 of 362


PATRIOT FEDERAL CREDIT UNION
ATTN: SUPPORT SERVICES
PO BOX 778
CHAMBERSBURG, PA 17201                             $3,410.72
BANK OF STOCKTON
301 EAST MINER AVENUE
STOCKTON, CA 95202 USA                             $3,408.47
THE HALSTEAD BANK
314 MAIN STREET
HALSTEAD, KS 67056 USA                             $3,402.40
SENTRAL SENAYAN 3 17TH FL
JL. ASIA AFRIKA NO.8
JAKARTA PUSAT 10270, INDONESIA                     $3,394.38
RESONA BANK, LIMITED
2-1, BINGOMACHI 2-CHOME CHUO-KU
OSAKA, JAPAN                                       $3,394.21
UKRAINIAN FEDERAL CREDIT UNION
824 RIDGE ROAD EAST
ROCHESTER, NY 14621 USA                            $3,389.39
AERO FEDERAL CREDIT UNION
18301 NORTH 79TH AVENUE, BUILDING A-100
GLENDALE, AZ 85308 USA                             $3,387.43
BANK OF THE CASCADES
PO BOX 369
BEND, OR 97709                                     $3,386.12
REDSTONE BANK (GREEN BANK)
109 N. POST OAK LANE SUITE 100
HOUSTON,TEXAS U.S.A. 77027                         $3,371.72
NORTHERN STAR CREDIT UNION, INCORPORATED
5100 GEORGE WASHINGTON HIGHWAY
PORTSMOUTH, VA 23702 USA                           $3,369.12
UNIVERSITY CREDIT UNION
1500 SOUTH SEPULVEDA BOULEVARD
LOS ANGELES, CA 90025-3312 USA                     $3,366.79
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 156 of 362



CORNERSTONE COMMUNITY FINANCIAL CREDIT UNION
2955 UNIVERSITY DRIVE
AUBURN HILLS, MI 48326 USA                           $3,363.08
WHITAKER BANK
2001 PLEASANT RIDGE DRIVE
LEXINGTON, KY 40505 USA                              $3,348.50
BANCO ACTINVER S.A. INSTITUCION DE BANCA MULTIPLE,
GRUPO FINANCIERO ACTINVER
GUILLERMO GONZALEZ CAMARENA #1200 PISO 5,9 Y 10
COL. CENTRO CIUDAD SANTA FE
MEXICO D.F., 1210 MEXICO                             $3,347.79
SC CITADELE BANKA
REPUBLIKAS SQUARE 2A
RIGA LV-1010, LATVIA                                 $3,343.93
VALLEY VIEW STATE BANK
7500 WEST 95TH STREET
OVERLAND PARK,KANSAS U.S.A. 66212                    $3,343.59
CTBC BANK CO., LTD.
11F., NO. 188, JINGMAO 2ND ROAD
TAIPEI, 115 TAIWAN                                   $3,331.12
BANCO CATHAY DE COSTA RICA S.A.
SYLVANIA-PAVAS, 500 MTS. OESTE
SAN JOSE, COSTA RICA                                 $3,330.75
FALL RIVER MUNICIPAL EMPLOYEES CREDIT UNION
333 MILLIKEN BOULEVARD
FALL RIVER, MA 2721 USA                              $3,305.11
FIRST SOUTHWEST BANK
720 MAIN STREET
ALAMOSA, CO 81101 USA                                $3,287.10
SPIRE CREDIT UNION
2025 LARPENTEUR AVENUE W
FALCON HEIGHTS, MN 55113 USA                         $3,278.33
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 157 of 362


SNO FALLS CREDIT UNION
9025 MEADOWBROOK WAY SW
SNOQUALMIE,WASHINGTON U.S.A. 98065                  $3,271.36
AIR FORCE FEDERAL CREDIT UNION
1560 CABLE RANCH ROAD, SUITE 200
SAN ANTONIO, TX 78245 USA                           $3,269.16
TAMPA BAY FEDERAL
P.O. BOX 7492
TAMPA, FL 33673-7492                                $3,262.77
KRUNGTHAI CARD PUBLIC COMPANY LIMITED
591 UBC II, 23 FL., SUKHUMVIT 33 RD.
BANGKOK THAILAND 10110                              $3,261.62
BANCO SAFRA SA
SUPERINTENDENT CARDS
AV PAULISTA, 2.100 14TH FLOOR
SAO PAULO BRAZIL 01310930                           $3,259.51
TAIPEI FUBON COMMERCIAL BANK CO., LTD.
6F, NO.50, SEC. 2
CHUNGSHAN N. ROAD
CHUNGSHAN DISTRICT
TAIPEI 10419, TAIWAN                                $3,258.37
NAS JRB CREDIT UNION NAVAL AIR STATION,
BUILDING 262
NEW ORLEANS, LA 70143-5999 USA                      $3,251.79
MACQUARIE BANK LIMITED
1 SHELLEY STREET
SYDNEY NSW 2000, AUSTRALIA                          $3,250.28
WRIGHT-PATT CREDIT UNION, INC.
3560 PENTAGON BLVD
BEAVERCREEK,OHIO U.S.A. 45431                       $3,245.36

ISTITUTO CENTRALE DELLE BANCHE DI CREDIT
MANAGER SERVIZIO E-BANK VIA LUCREZIA ROMANA, 41
ROME ITALY 00178                                    $3,244.96
                          Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 158 of 362


LINCOLN MAINE FEDERAL CREDIT UNION
PO BOX 220
LINCOLN, ME 04457                                 $3,239.03
ALABAMA ONE CREDIT UNION
1215 VETERANS MEMORIAL PARKWAY
TUSCALOOSA, AL 35404 USA                          $3,235.21
THE CITY NATIONAL BANK & TRUST COMPANY
500 MONTGOMERY SQUARE
LAWTON,OKLAHOMA U.S.A. 73501                      $3,227.28
AMERICAN 1 FEDERAL CREDIT UNION
718 EAST MICHIGAN AVENUE
JACKSON,MICHIGAN U.S.A. 49201                     $3,225.17
CITIZENS BUSINESS BANK
AVP BANKCARD OPERATIONS
701 N HAVEN AVENUE
ONTARIO CA 91764                                  $3,225.00
CREDITO EMILIANO SPA
HEAD OF CREDIT CARDS
VIA EMILIA SAN PIETRO 4 REGGIO
EMILIA ITALY                                      $3,222.05
FARM BUREAU BANK FSB
2165 GREEN VISTA DRIVE
SPARKS, NV 89431 USA                              $3,221.07
UNKNOWN                                           $3,217.24
ONTARIO-MONTCLAIR SCHOOL EMPLOYEES FEDERAL
CREDIT UNION
1520 N. PALMETTO AVE.
ONTARIO,CALIFORNIA U.S.A. 91762                   $3,214.20
UNKNOWN                                           $3,205.76
HILLTOP NATIONAL BANK
300 COUNTRY CLUB ROAD
CASPER, WY 82609 USA                              $3,200.11
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 159 of 362


CONSOLIDATED FEDERAL CREDIT UNION
2021 NORTHEAST SANDY BLVD.
PORTLAND,OREGON U.S.A. 97232                       $3,178.35

MERCED SCHOOL EMPLOYEES FEDERAL CREDIT UNION
1021 OLIVEWOOD DRIVE
MERCED,CALIFORNIA U.S.A. 95348                     $3,173.20

EAST ALABAMA MEDICAL CENTER FEDERAL CREDIT UNION
509 EAST THOMASON CIRCLE
OPELIKA,ALABAMA U.S.A. 36801                       $3,171.96
FINANCIAL PLUS CREDIT UNION
800 CHESTNUT STREET
OTTAWA, IL 61350 USA                               $3,171.50
AO RAIFFEISENBANK
17/1, TROITZKAYA STREET
MOSCOW, 129090 RUSSIAN FEDERATION                  $3,158.15
HERITAGE BANK LIMITED
400 RUTHVEN STREET TOOWOOMBA
QUEENSLAND 4350 QLD AUSTRALIA                      $3,154.73
KATAHDIN TRUST COMPANY
11 MAIN STREET
PATTEN, ME 4765 USA                                $3,148.94
SAMSUNG CARD CO. LTD.
SAMSUNG MAIN BUILDING
SEOUL SOUTH KOREA                                  $3,128.53
FIRST BANK
30 SOUTH MAIN STREET
LEXINGTON, TN 38351 USA                            $3,120.07
FIRST BASIN CREDIT UNION
2740 NORTH COUNTY ROAD WEST
ODESSA, TX 79764                                   $3,118.73
                               Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 160 of 362


DIAMOND BANK LIMITED
PLOT 1261 ADEOLA HOPEWELL STREET
VICTORIA ISLAND
LAGOS, NIGERIA                                         $3,107.75
LEHIGH VALLEY FEDERAL CREDIT UNION
2218 WALBERT AVENUE
ALLENTOWN,PENNSYLVANIA U.S.A. 18104-1439               $3,100.69
COMMUNITY TRUST BANK, INC.
346 NORTH MAYO TRAIL
PIKEVILLE, KY 41501 USA                                $3,098.67
FAMILY FIRST OF NY CREDIT UNION
2520 BROWNCROFT BLVD.
ROCHESTER,NEW YORK U.S.A. 14625-1526                   $3,096.00
ST. GEORGES BANK & COMPANY INC.
CALLE 50 Y 74 ESTE, SAN FRANCISCO EDIFICIO ST.
GEORGES BANK
PANAMA, PANAMA                                         $3,095.05
MEMBERS CHOICE CREDIT UNION
14960 PARK ROW
HOUSTON,TEXAS U.S.A. 77084                             $3,094.80
MERCEDES-BENZ BANK AG
SIEMENSSTRASSE 7
STUTTGART, 70469 GERMANY                               $3,091.52
SG HAMBROS BANK LIMITED
NORFOLK HOUSE 31 ST JAMES'S SQUARE
LONDON, EN SW1Y 4JJ UNITED KINGDOM                     $3,089.76
FIRST AMERICAN NATIONAL BANK
1251 FIRST AMERICAN DRIVE
IUKA, MS 38852 USA                                     $3,084.02
LOS ANGELES POLICE FEDERAL CREDIT UNION
16150 SHERMAN WAY
VAN NUYS, CA 91406 USA                                 $3,083.15
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 161 of 362


CENTRAL ONE FEDERAL CREDIT UNION
714 MAIN STREET
SHREWSBURY,MASSACHUSETTS U.S.A. 01545               $3,072.32
FOUR SEASONS FEDERAL CREDIT UNION
2915 PEPPERELL PARKWAY
OPELIKA, AL 36801 USA                               $3,065.01
CREDIT UNION OF AMERICA
711 WEST DOUGLAS
WICHITA, KS 67213 USA                               $3,064.20
NORTH SHORE BANK, FSB
15700 W BLUEMOUND RD
BROOKFIELD WI 53005-6024                            $3,063.90
FIDELITY BANK
100 EAST ENGLISH STREET
WICHITA, KS 67202 USA                               $3,055.82
BOULDER VALLEY CREDIT UNION
5505 ARAPAHOE AVENUE
BOULDER,COLORADO U.S.A. 80303                       $3,053.53
RAILROAD & INDUSTRIAL FEDERAL CREDIT UNION
3710 50TH STREET NORTH
TAMPA, FL 33619 USA                                 $3,051.92

FARMERS & MERCHANTS BANK OF CENTRAL CALIFORNIA
121 WEST PINE STREET
LODI, CA 95242 USA                                  $3,050.54
MEMBERSOURCE CREDIT UNION
10100 RICHMOND AVE.
HOUSTON,TEXAS U.S.A. 77042                          $3,045.88
THE FIRST NATIONAL BANK OF MIFFLINTOWN
2 NORTH MAIN STREET
MIFFLINTOWN, PA 17059 USA                           $3,043.62
UNKNOWN                                             $3,033.22
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 162 of 362


FORCHT BANK, NATIONAL ASSOCIATION
2404 SIR BARTON WAY
LEXINGTON, KY 40509 USA                            $3,029.70
ARTISANS’ BANK
2961 CENTERVILLE RD
WILMINGTON, DE 19808                               $3,024.61
CITIBANK COLOMBIA
CALLE 70 #7-30 PISO 5
BOGOTA, COLOMBIA                                   $3,017.11
FARMERS BANK & TRUST COMPANY
200 EAST MAIN STREET
MAGNOLIA, AR 71753 USA                             $3,005.79
YADKIN BANK
110 WEST MARKET STREET
ELKIN, NC 28621 USA                                $3,000.67
THE FIDELITY BANK
100 SOUTH MAIN STREET
FUQUAY-VARINA, NC 27526 USA                        $2,990.32
LANGLEY FEDERAL CREDIT UNION
721 LAKEFRONT COMMONS, SUITE 400
NEWPORT NEWS, VA 23606 USA                         $2,976.86
PEOPLES BANK NATIONAL ASSOCIATION
138 PUTNAM ST
MARIETTA OH 45750-2923                             $2,975.59
REGIONAL FEDERAL CREDIT UNION
7144 KENNEDY AVENUE
HAMMOND, IN 46323 USA                              $2,972.60
MERCANTILE BANK OF MICHIGAN
5610 BYRON CENTER AVENUE SOUTH WEST
WYOMING, MI 49519 USA                              $2,966.82
UNKNOWN                                            $2,965.16
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 163 of 362


FIRST FEDERAL SAVINGS AND LOAN ASSOCIATION OF
LORAIN
3721 OBERLIN AVENUE
LORAIN, OH 44053-2761 USA                           $2,960.83
WASHINGTON TRUST BANK
P.O. BOX 2127
SPOKANE, WA, 99210-2127                             $2,957.61
ESSEX BANK
323 PRINCE STREET
TAPPAHANNOCK, VA 22560 USA                          $2,952.51
CITIZENS SAVINGS BANK
1725 SULLIVAN DRIVE
BOGALUSA, LA 70427 USA                              $2,951.74
PEAPACK-GLADSTONE BANK
500 HILLS DRIVE
BEDMINSTER,NEW JERSEY U.S.A. 07921                  $2,948.95
BANCO CORPBANCA COLUMBIA S.A.
GERENTE MEDIOS DE PAGO
CRA 7 NO. 99- 53 PISO 20
BOGOTA COLOMBIA                                     $2,942.00
THE COMMERCIAL SAVINGS BANK
118 SOUTH SANDUSKY AVENUE
UPPER SANDUSKY, OH 43351 USA                        $2,936.45
MERCHANTS COMMERCIAL BANK
PORT OF SALE MALL SUITE 15
ST. THOMAS, 00802-3602 U.S. VIRGIN ISLANDS          $2,929.79
ALTANA FEDERAL CREDIT UNION
3212 CENTRAL AVE
BILLINGS, MT 59102-6646 USA                         $2,916.27
BAC INTERNATIONAL BANK
EDIFICIO LNTERSECO PISO 7
PANAMA, PANAMA                                      $2,912.29
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 164 of 362


BATON ROUGE TELCO FEDERAL CREDIT UNION
13404 AIRLINE HWY
BATON ROUGE,LOUISIANA U.S.A. 70817-5917              $2,904.07
OAS STAFF FEDERAL CREDIT UNION
1889 F STREET NORTHWEST
WASHINGTON, DC 20006 USA                             $2,883.27
TELHIO CREDIT UNION
96 NORTH 4TH ST.
COLUMBUS,OHIO U.S.A. 43215                           $2,879.83
MID AMERICA BANK + TRUST COMPANY
960 S. BISHOP
ROLLA MO 65401                                       $2,870.00
SEA WEST COAST GUARD FEDERAL CREDIT UNION
PO BOX 4949
OAKLAND, CA 94605                                    $2,856.13
ENERGY FEDERAL CREDIT UNION
5 CHOKE CHERRY ROAD SUITE 110
ROCKVILLE,MARYLAND U.S.A. 20850                      $2,853.15
PEOPLES BANK
518 WEST C STREET
NEWTON, NC 28658-0467 USA                            $2,844.74

NONGHYUP BANK
9F, NH NEW BLDG, #85, CHUNGJEONGNO 1-GA, JUNG-GU,
SEOUL SOUTH KOREA 100707                             $2,834.62
UNKNOWN                                              $2,829.03
AGILLITAS SOLUCOES DE PAGAMENTOS LTDA.
AVENIDA BRIGADEIRO FARIA LIMA, 2066 18° ANDAR - JD
PAULISTANO
SAO PAULO, SP 1451905 BRAZIL                         $2,827.24

FIDELITY BANK (FIDELITY HOMESTEAD SAVINGS BANK)
201 SAINT CHARLES AVENUE
NEW ORLEANS, LA 70170 USA                            $2,823.40
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 165 of 362


SUTTON BANK
1 SOUTH MAIN STREET
ATTICA, OH 44807 USA                                $2,823.03
VENTURA COUNTY CREDIT UNION
6026 TELEPHONE ROAD
VENTURA, CA 93006 USA                               $2,821.66
CECIL COUNTY SCHOOL EMPLOYEES' FEDERAL CREDIT
UNION
203 BOOTH STREET
ELKTON,MARYLAND U.S.A. 21921                        $2,821.34
MIDDLETOWN VALLEY BANK
24 WEST MAIN STREET
MIDDLETOWN,MARYLAND U.S.A. 21769                    $2,816.34
SAVINGS BANK OF DANBURY
220 MAIN STREET
DANBURY, CT 6810 USA                                $2,810.84
MIAMI POSTAL SERVICE CREDIT UNION
2190 NORTHWEST 72 AVENUE
MIAMI, FL 33122 USA                                 $2,809.48
POWERCO FEDERAL CREDIT UNION
241 RALPH MCGILL BOULEVARD
ATLANTA, GA 30308 USA                               $2,803.70
INDIANA MEMBERS CREDIT UNION
C/O MEMBER SERVICES
PO BOX 47769
INDIANAPOLIS, IN 46247                              $2,802.97
UNKNOWN                                             $2,800.00
FIRST NATIONAL BANK OF BOTSWANA LIMITED
PLOT 54362
GBD GABORONE
PO BOX 1552
GABORONE                                            $2,797.69
                               Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 166 of 362


CLEAR MOUNTAIN BANK
MORGANTOWN STREET
BRUCETON MILLS, WV 26525 USA                           $2,792.91
FIRST CENTRAL CREDIT UNION
6201 SANGER
WACO,TEXAS U.S.A. 76710                                $2,791.88

SAUDI HOLLANDI BANK
HEAD OFFICE - AL DHABAB STREET AL RASHID CENTRE
RIYADH, 11431 SAUDI ARABIA                             $2,791.19
TURKIYE VAKIFLAR BANKASI T.A.O.
BASIN EKSPRES YOLU GÜNESLI -
ISTANBUL TURKEY                                        $2,788.53
UNKNOWN                                                $2,786.21
PALMETTO STATE BANK
601 FIRST STREET WEST
HAMPTON,SOUTH CAROLINA U.S.A. 29924                    $2,783.49
KEB HANA CARD CO.,LTD.
24, NAMDAEMUN-RO 9-GIL JUNG-GU
SEOUL, 100-180 SOUTH KOREA                             $2,778.54
CORNER POST FEDERAL CREDIT UNION
566 SOUTH MAIN STREET
WILKES-BARRE, PA 18701 USA                             $2,777.78
BANKPLUS
385 A HIGHLAND COLONY PARKWAY SUITE 110
RIDGELAND,MISSISSIPPI U.S.A. 39157                     $2,777.10
BANK SNB
608 SOUTH MAIN STREET
STILLWATER, OK 74074 USA                               $2,776.41
I.H. MISSISSIPPI VALLEY CREDIT UNION
2121 47TH STREET
MOLINE,ILLINOIS U.S.A. 61265                           $2,774.84
                              Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 167 of 362


TRAILHEAD FEDERAL CREDIT UNION
221 NORTHWEST SECOND AVENUE
PORTLAND, OR 97209-3905 USA                           $2,773.34

EAST WEST BANKING CORPORATION
1ST FLOOR, THE BEAUFORT,
5TH AVE CORNER 23RD STREET,
FORT BONIFACIO CITY TAGUIG CITY, 1630 PHILIPPINES     $2,770.27
CAPITAL BANK INC.
CALLE 50, PH GLOBAL PLAZA
PLAZA BAJA
PANAMA 0823-05992, PANAMA                             $2,767.67
NEW SYMBOL UNIVERSAL COMMERCIAL BANK
FORHUMANITARIAN INVESTMENTS CJSC
8, 2ND SILIKATNY PROEZD
MOSCOW, 123007 RUSSIAN FEDERATION                     $2,761.94
NCPD FEDERAL CREDIT UNION
1490 FRANKLIN AVENUE
MINEOLA, NY 11501 USA                                 $2,761.67
FIRST NATIONAL BANK ALASKA
1753 GAMBELL STE 316
ANCHORAGE AK 99501                                    $2,753.77
ADVANCED FINANCIAL FEDERAL CREDIT UNION
785 CENTRAL AVENUE
NEW PROVIDENCE,NEW JERSEY U.S.A. 07974                $2,753.13
NEW GENERATIONS FEDERAL CREDIT UNION
1700 ROBIN HOOD ROAD
RICHMOND, VA 23220 USA                                $2,747.84
WINONA NATIONAL BANK
204 MAIN STREET
WINONA, MN 55987 USA                                  $2,746.98
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 168 of 362


BANCO DEL BAJIO, S.A.
AV. MANUEL J. CLOUTHIER 508
COL. JARDINES DEL CAMPESTRE
LEON, GTO. MEXICO C.P., MEXICO 37128                 $2,745.39
INDUSTRIAL FEDERAL CREDIT UNION
1115 SAGAMORE PARKWAY SOUTH
LAFAYETTE, IN 47905 USA                              $2,740.31
JORDAN AHLI BANK
SHMESANI ST
AMMAN JORDAN 11181                                   $2,739.04
ALLIANCE BANK
100 WEST JEFFERSON ST.
SULPHUR SPRINGS,TEXAS U.S.A. 75482                   $2,738.95
ORION FEDERAL CREDIT UNION
7845 HIGHWAY 64
MEMPHIS, TN 38133 USA                                $2,736.75
LAFCU
106 NORTH MARKETPLACE BOULEVARD
LANSING, MI 48917 USA                                $2,726.99
BANKATLANTIC
2100 WEST CYPRESS CREEK RD
FT LAUDERDALE, FL 33309                              $2,726.27
COUNTY FIRST BANK
202 E. CENTENNIAL STREET
LAPLATA,MARYLAND U.S.A. 20646                        $2,724.28
ECOBANK NIGERIA LIMITED
2 AJOSE ADEOGUN STREET
VICTORIA ISLAND LAGOS, NIGERIA                       $2,721.33
BANKERS TRUST COMPANY
SECURITY DEPARTMENT
ATTN: RESTITUTION PAYMENT
453 7TH ST
DES MOINES, IA 50309                                 $2,715.62
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 169 of 362


MOCSE FEDERAL CREDIT UNION
3600 COFFEE ROAD
MODESTO, CA 95355 USA                              $2,708.39
TEXAS GULF BANK, N.A.
200 WEST SECOND ST.
FREEPORT,TEXAS U.S.A. 77541                        $2,704.30
S C TELCO FEDERAL CREDIT UNION
10 TOY STREET
GREENVILLE, SC 29601 USA                           $2,702.24
ULSTER BANK IRELAND LIMITED
ULSTER BANK GROUP CENTRE GEORGE'S QUAY
DUBLIN, 2 REPUBLIC OF IRELAND                      $2,695.31
BANCO ITAU ARGENTINA S.A.
CERRITO 740 PISO 19
CIUDAD AUTONOMA DE BUENOS
BUENOS AIRES, ARGENTINA                            $2,694.60
WAUKESHA STATE BANK
ATTN: CARD SERVICES DEPT
151 E ST PAUL AVE
PO BOX 648
WAUKESHA WI 53187-0648                             $2,689.27
VELOCITY COMMUNITY FEDERAL CREDIT UNION
2801 PGA BLVD
PALM BEACH GARDENS,FLORIDA U.S.A. 33410            $2,686.50
FRANKENMUTH CREDIT UNION
580 NORTH MAIN
FRANKENMUTH,MICHIGAN U.S.A. 48734                  $2,682.48
AXIS BANK LIMITED
6TH FLOOR, GIGAPLEX, PLOT NO. IT-5, MIDC
AIROLI KNOWLEDGE PARK
NAVI, MAHARASHTRA, INDIA 400708                    $2,679.11
SOUTHWEST OKLAHOMA FEDERAL CREDIT UNION
1806 LIBERTY
LAWTON, OK 73507 USA                               $2,671.43
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 170 of 362


UNKNOWN                                             $2,655.44
ISRAEL DISCOUNT BANK OF NEW YORK
511 FIFTH AVENUE
NEW YORK, NY 10017 USA                              $2,654.27
GUARDIAN CREDIT UNION (PBC CREDIT UNION)
3469 SUMMIT BOULEVARD
WEST PALM BEACH, FL 33406-4193 USA                  $2,642.17
CONESTOGA BANK
165 POTTSTOWN PIKE
CHESTER SPRINGS, PA 19425                           $2,639.79
STRATEGIC FEDERAL CREDIT UNION
22110 PACIFIC BOULEVARD SUITE 100
STERLING, VA 20116 USA                              $2,639.33
AFENA FEDERAL CREDIT UNION
424 N. BRADNER AVENUE
MARION,INDIANA U.S.A. 46952                         $2,633.57
FIRST FLIGHT FEDERAL CREDIT UNION
1815 KILDAIRE FARM ROAD, SUITE A
CARY,NORTH CAROLINA U.S.A. 27518                    $2,617.65
KSW FEDERAL CREDIT UNION
222 COLLEGE AVENUE
WATERVILLE,MAINE U.S.A. 04901                       $2,616.16
JOURDANTON STATE BANK
WALTON STREET AND HIGHWAY 97
JOURDANTON, TX 78026 USA                            $2,602.77
THE NATIONAL CAPITAL BANK OF WASHINGTON
316 PENNSYLVANIA AVENUE S.E.
WASHINGTON, DC 20003 USA                            $2,597.98

DEPARTMENT OF THE INTERIOR FEDERAL CREDIT UNION
1849 C STREET NW ROOM 4045
WASHINGTON,DISTRICT OF COLUMBIA U.S.A. 20240        $2,592.53
                              Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 171 of 362


ALLIANCE CREDIT UNION OF FLORIDA (FIRST CU OF
GAINESVILLE)
412 EAST UNIVERSITY AVE
GAINESVILLE, FL 32601 USA                             $2,587.74

BANCO INVEX S.A. INSTITUCION DE BANCA MULTIPLE
BLVD. MANUEL AVILA CAMACHO NO. 40
COL.LOMAS DE CHAPULTEPEC-DEL. A.
OBREGON MEXICO D.F., 11000 MEXICO                     $2,587.13
THE PENNSVILLE NATIONAL BANK
170 SOUTH BROADWAY
PENNSVILLE, NJ 8070 USA                               $2,575.70
INTERSTATE UNLIMITED FEDERAL CREDIT UNION
1147 WEST CHERRY STREET
JESUP, GA 31545 USA                                   $2,573.43
UNION BANK OF TAIWAN
5F NO. 399 RUEIGUANG ROAD NEIHU DISTRICT
TAIPEI CITY, TAIWAN 114                               $2,570.94
AMERICA'S CHRISTIAN CREDIT UNION
2100 EAST ROUTE 66
GLENDORA, CA 91740 USA                                $2,570.92
SUMMIT FEDERAL CREDIT UNION
100 WHEELER STREET
AKRON, OH 44311 USA                                   $2,570.61
THINK MUTUAL BANK
5200 MEMBERS PARKWAY NW
ROCHESTER, MN 55901 USA                               $2,566.84
THINKWISE FEDERAL CREDIT UNION (SAN BERNARDINO
SCHOOL EFCU)
2441 NORTH SIERRA WAY
SAN BERNARDINO, CA 92405 USA                          $2,566.80
SEA COMM FEDERAL CREDIT UNION
30 STEARNS STREET
MASSENA, NY 13662 USA                                 $2,561.97
                              Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 172 of 362


OPTION 1 CREDIT UNION
630 32ND STREET SOUTHEAST
GRAND RAPIDS, MI 49548 USA                            $2,558.56
FIRST CAPITAL BANK
4101 DOMINION BLVD.
GLENN ALLEN,VIRGINIA U.S.A. 23060                     $2,551.88
CALL FEDERAL CREDIT UNION
4605 COMMERCE ROAD
RICHMOND, VA 23234 USA                                $2,548.41

GENERAL ELECTRIC EMPLOYEES FEDERAL CREDIT UNION
3135 EASTON TURNPIKE WS23
FAIRFIELD,CONNECTICUT U.S.A. 06431                    $2,547.39
1ST ED CREDIT UNION
1156 KENNEBEC DRIVE
CHAMBERSBURG, PA 17201 USA                            $2,547.26
EDUCATIONAL COMMUNITY CREDIT UNION
1551 S 9TH ST
KALAMAZOO MI 49009-9404                               $2,541.48
CAPE SAVINGS BANK
225 N MAIN STREET
CAPE MAY COURT HOUSE,NEW JERSEY U.S.A. 08210          $2,534.43
ALERUS FINANCIAL
2401 DEMERS AVENUE
GRAND FORKS,NORTH DAKOTA U.S.A. 58201                 $2,532.06
XPLORE FEDERAL CREDIT UNION
701 POYDRAS STREET, SUITE P100
NEW ORLEANS,LOUISIANA U.S.A. 70139                    $2,523.70
JSC TBC BANK
7, MARJANISHVILI STR.
TBILISI, GEORGIA 0102                                 $2,517.79
SOUNDVIEW FINANCIAL CREDIT UNION
14 RESEARCH DRIVE
BETHEL, CT 06801                                      $2,513.21
                               Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 173 of 362


FIRST MID-ILLINOIS BANK & TRUST, N.A.
1515 CHARLESTON AVENUE
MATTOON,ILLINOIS U.S.A. 61938                          $2,507.61
HAPO COMMUNITY CREDIT UNION
601 WILLIAMS BLVD.
RICHLAND,WASHINGTON U.S.A. 99354                       $2,507.21

AMERICA'S CREDIT UNION, A FEDERAL CREDIT UNION
12TH AND PENDELTON
FORT LEWIS,WASHINGTON U.S.A. 98433                     $2,506.82
SANTA CLARA COUNTY FEDERAL CREDIT UNION
1641 NORTH FIRST STREET, SUITE 245
SAN JOSE, CA 95112-4519 USA                            $2,504.86
BAYOU FEDERAL CREDIT UNION
5880 FLORIDA BLVD.
BATON ROUGE,LOUISIANA U.S.A. 70806                     $2,500.24
PROSPERITY BANK
1301 NORTH MECHANIC STREET
EL CAMPO, TX 77437 USA                                 $2,499.54
ON THE GRID FINANCIAL FEDERAL CREDIT UNION (GA
POWER FCU)
5901 PEACHTREE DUNWOODY RD SUITE A275
ATLANTA, GA 30328-7173 USA                             $2,491.53
UNKNOWN                                                $2,483.09
BANCO DAVIVIENDA
AV DORADO NO 68C-61
PISO 10
BOGOTA 111321, COLUMBIA                                $2,482.97
MAINE HIGHLANDS FEDERAL CREDIT UNION
73 MAIN STREET
DEXTER, ME 4930 USA                                    $2,476.62
MEMBERS "FIRST" CREDIT UNION
1201 NORTH 24TH
QUINCY,ILLINOIS U.S.A. 62306                           $2,474.26
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 174 of 362


FARMERS AND MECHANICS FEDERAL SAVINGS AND LOAN
ASSOCIATION
225 EAST MAIN STREET
BLOOMFIELD, IN 47424 USA                           $2,470.07
RAIFFEISEN BANK LTD
AKADEMIA U 6
BUDAPEST 1054, HUNGARY                             $2,467.98
FIVE POINTS BANK
2015 NORTH BROADWELL AVENUE
GRAND ISLAND, NE 68803 USA                         $2,465.53
MARION & POLK SCHOOLS CREDIT UNION
451 DIVISION STREET
SALEM,OREGON U.S.A. 97301                          $2,453.11
FIRST NATIONAL BANK OF FORT SMITH
600 GARRISON AVE.
FORT SMITH,ARKANSAS U.S.A. 72901                   $2,445.87
INFINITY FEDERAL CREDIT UNION
202 LARRABEE ROAD
WESTBROOK, ME 4092 USA                             $2,444.07
THE OLD POINT NATIONAL BANK OF PHOEBUS
1 WEST MELLEN STREET
HAMPTON, VA 23663                                  $2,437.01
THE CITIZENS BANK
124 EAST MAIN STREET
OLANTA, SC 29114 USA                               $2,435.76
EVERENCE FEDERAL CREDIT UNION
2160 LINCOLN HWY E, STE 20
LANCASTER, PA 17602-1150                           $2,426.20
FINANCIAL CENTER CREDIT UNION
18 SOUTH CENTER STREET
STOCKTON, CA 95202-2803 USA                        $2,424.40
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 175 of 362


BANCO SABADELL SA
CARDS MANAGER CARDS DEPARTMENT PLAÇA DE
CATALUNYA,
1 SABADELL SPAIN                                    $2,423.17
COFIDIS S.A.
RUE DU GLATEGNIES 4
TOURNAI, 7500 BELGIUM                               $2,418.91
ENTREPRISE DES POSTES ET TELECOMMUNICATIONS
8A AVENUE MONTEREY
LUXEMBOURG, L-2020 LUXEMBOURG                       $2,417.13
LIBERTY BANK AND TRUST COMPANY
6600 PLAZA DRIVE, SUITE 600
NEW ORLEANS, LA 70127 USA                           $2,414.05
ERIE FEDERAL CREDIT UNION
MASTERCARD COORDINATOR
1109 E 38TH ST
ERIE PA 16504                                       $2,399.71
STATE BANK OF LIZTON
206 N. STATE STREET
LIZTON,INDIANA U.S.A. 46149                         $2,397.38

MERCER COUNTY N J TEACHERS FEDERAL CREDIT UNION
2271 STATE HIGHWAY 33, SUITE 108
HAMILTON SQUARE, NJ 8690 USA                        $2,397.26
WINTHROP AREA FEDERAL CREDIT UNION
P O BOX 55 HIGHLAND AVE.
WINTHROP,MAINE U.S.A. 04364                         $2,395.23
WALLKILL VALLEY FEDERAL SAVINGS AND LOAN
ASSOCIATION
23 WALLKILL AVENUE
WALLKILL,NEW YORK U.S.A. 12589                      $2,393.16
THE FORT SILL NATIONAL BANK
1647 RANDOLPH ROAD
FORT SILL,OKLAHOMA U.S.A. 73503                     $2,391.80
                              Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 176 of 362


BNY MELLON NATIONAL ASSOCIATION
525 WILLIAM PENN PLACE SUITE 1105
PITTSBURGH PA 15259                                   $2,389.16
EW #401 CREDIT UNION
2713 E. 4TH STREET
RENO,NEVADA U.S.A. 89512                              $2,382.29
IRVIN WORKS FEDERAL CREDIT UNION
1301 CAMP HOLLOW ROAD WEST
MIFFLIN,PENNSYLVANIA U.S.A. 15122                     $2,382.23
SUNFLOWER BANK, NATIONAL ASSOCIATION
3025 CORTLAND CIRCLE
SALINA, KS 67401 USA                                  $2,371.54
BANK OF STAR VALLEY
384 WASHINGTON STREET
AFTON, WY 83110 USA                                   $2,371.42
MEMBERS ALLIANCE CREDIT UNION
2550 SOUTH ALPINE ROAD
ROCKFORD,ILLINOIS U.S.A. 61108                        $2,369.68
GREAT RIVER FEDERAL CREDIT UNION
1532 WEST ST. GERMAIN STREET
ST. CLOUD, MN 56301 USA                               $2,368.72
PACIFICARD S.A.
P.ICAZA #200 Y PICHINCHA, 6TO. PISO BANCO DEL
PACIFICO - MATRIZ GUAYAQUIL
ECUADOR 09-01-7011                                    $2,364.91
WANIGAS CREDIT UNION
1837 BAGLEY STREET
SAGINAW, MI 48602 USA                                 $2,360.09
THE CENTRAL TRUST BANK
238 MADISON STREET
JEFFERSON CITY, MO 65101 USA                          $2,344.93
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 177 of 362


CITYWIDE BANKS
ATM CHECKCARD DEPT.
13731 EAST MISSISSIPPI AVENUE
AURORA,COLORADO U.S.A. 80012                         $2,338.74
ACCESS FEDERAL CREDIT UNION
6 FRANKLIN AVE
CLINTON,NEW YORK U.S.A. 13323                        $2,333.40
ANZ BANK NEW ZEALAND LIMITED
LEVEL 10, 170-186 FEATHERSTON STREET
WELLINGTON, 6011 NEW ZEALAND                         $2,332.93
BANK OF PRAIRIE VILLAGE
3515 WEST 75TH STREET
PRAIRIE VILLAGE, KS 66208 USA                        $2,331.47

BANCO PAN SA
AV PAULISTA, 1374 9 ANDAR PLANEJAMENTO CARTOES
SAO PAULO/SP BRAZIL 01310916                         $2,331.22
FIDELITY BANK (CAYMAN) LIMITED
36A DOCTOR ROY'S DRIVE
GEORGETOWN, CAYMAN ISLANDS                           $2,327.64
SIGNATURE BANK
6400 NORTH NORTHWEST HIGHWAY
CHICAGO, IL 60631 USA                                $2,326.42
WASHINGTONFIRST BANK
11636 PLAZA AMERICA DRIVE
RESTON, VA 20190 USA                                 $2,325.33
HIGH POINT BANK AND TRUST COMPANY
300 NORTH MAIN STREET
HIGH POINT,NORTH CAROLINA U.S.A. 27261-2270          $2,323.13
KEESLER FEDERAL CREDIT UNION
2602 PASS ROAD
BILOXI, MS 39531 USA                                 $2,323.08
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 178 of 362


MANATEE COMMUNITY FEDERAL CREDIT UNION
604 13TH AVENUE EAST
BRADENTON, FL 34208 USA                             $2,317.77
LATROBE AREA HOSPITAL FEDERAL CREDIT UNION
121 WEST 2ND AVENUE
LATROBE,PENNSYLVANIA U.S.A. 15650-1096              $2,316.09
INDUE LTD.
LEVEL 3, 601 CORONATION DRIVE TOOWONG,
QUEENSLAND, AUSTRALIA 4066                          $2,311.76
KOHLER CREDIT UNION
850 WOODLAKE ROAD
KOHLER, WI 53044 USA                                $2,298.36
SEBASTICOOK VALLEY FEDERAL CREDIT UNION
505 SOMERSET AVENUE
PITTSFIELD, ME 4967 USA                             $2,297.71
POLICE FEDERAL CREDIT UNION
300 INDIANA AVENUE NW # 4067
WASHINGTON,DISTRICT OF COLUMBIA U.S.A. 20001        $2,294.77
TRANSIT EMPLOYEES FEDERAL CREDIT UNION
2000 BLADENSBURG ROAD NE
WASHINGTON,DISTRICT OF COLUMBIA U.S.A. 20018        $2,292.78
GARDEN SAVINGS FEDERAL CREDIT UNION
129 LITTLETON ROAD
PARSIPPANY, NJ 07054-1869 USA                       $2,290.25
TOWN & COUNTRY FEDERAL CREDIT UNION
P. O. BOX 9420
SOUTH PORTLAND,MAINE U.S.A. 04106                   $2,286.52
APCO EMPLOYEES CREDIT UNION
1608 7TH AVENUE NORTH
BIRMINGHAM,ALABAMA U.S.A. 35203                     $2,283.94
BEACH MUNICIPAL FCU
4164 VIRGINIA BEACH BLVD
VIRGINIA BEACH, VA 23452                            $2,279.52
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 179 of 362


FIRST CAPITAL FEDERAL CREDIT UNION
1601 KENNETH ROAD
YORK, PA 17404-2228 USA                             $2,278.64
ABA CARD SOLUTIONS
1120 CONNECTICUT AVE. NW 8TH FLOOR
WASHINGTON, DC 20036                                $2,271.48
PLAZA BANK (BANK OF MANHATTAN)
18200 VON KARMEN AVENUE SUITE 500
IRVINE, CA 92612 USA                                $2,268.22
HILLS BANK AND TRUST COMPANY
131 MAIN STREET
HILLS, IA 52235 USA                                 $2,263.63

VECTRA BANK COLORADO, NATIONAL ASSOCIATION
2000 EAST 20TH STREET
FARMINGTON, NM 87401 USA                            $2,258.93
POLONIA BANK
3393 HUNTINGDON PIKE
HUNTINGDON VALLEY,PENNSYLVANIA U.S.A. 19006         $2,255.74
PROFED FEDERAL CREDIT UNION
1710 ST. JOE RIVER DRIVE
FORT WAYNE, IN 46805-1436 USA                       $2,255.24
AB SEB BANKAS
GEDIMINO PR. 12
VILNIUS, LITHUANIA
LT-01103                                            $2,251.70
INTEGRITY BANK, SSB
4040 WASHINGTON AVENUE
HOUSTON, TX 77007 USA                               $2,251.59
NATIONAL INSTITUTES OF HEALTH FEDERAL CREDIT
UNION
111 ROCKVILLE PIKE, SUITE 500
ROCKVILLE, MD 20850 USA                             $2,247.85
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 180 of 362


SVYAZNOY BANK JSC
27 BLD.1 ERMOLAEVSKY LANE
123001 MOSCOW, RUSSIAN FEDERATION                   $2,247.10
BLACKHAWK COMMUNITY CREDIT UNION
2640 WEST COURT STREET
JANESVILLE, WI 53548 USA                            $2,245.55
MEMBERS FIRST CREDIT UNION OF FLORIDA
64 SOUTH REUS STREET
PENSACOLA, FL 32501 USA                             $2,245.12
BANK OF ST. PETERSBURG
777 PASADENA AVENUE SOUTH
ST. PETERSBURG,FLORIDA U.S.A. 33707                 $2,242.67
HELM BANK USA
999 BRICKELL AVE
MIAMI, FL 33131                                     $2,240.44
SEABOARD FEDERAL CREDIT UNION
177 MAIN STREET
BUCKSPORT,MAINE U.S.A. 04416                        $2,239.32
THE BANK OF GLEN BURNIE
101 CRAIN HIGHWAY SOUTHEAST
GLEN BURNIE, MD 21061 USA                           $2,238.79
SPIRIT OF ALASKA FEDERAL CREDIT UNION
1417 GILLAM WAY
FAIRBANKS,ALASKA U.S.A. 99707                       $2,235.15
KEYS FEDERAL CREDIT UNION
PO BOX 1898
KEY WEST, FL 33041                                  $2,232.73
THE CITIZENS BANK
THIRD AND COLLEGE STREETS
BATESVILLE, AR 72501 USA                            $2,227.61
MILLINGTON BANK
1902 LONG HILL ROAD
MILLINGTON, NJ 7946 USA                             $2,217.59
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 181 of 362


SALISBURY BANK + TRUST COMPANY
5 BISSELL ST
LAKEVILLE CT 06039-1212                            $2,215.84
BANQUE DE DEVELOPPEMENT DU MALI
AVENUE MOBIDO KEITA
BAMAKO, MALI                                       $2,215.79
PUBLIC JOINT STOCK COMPANY COMMERCIAL BA
50 NABEREZHNAYA POBEDY ST
DNIPROPETROVSK 49094, UKRAINE                      $2,213.36
O BEE CREDIT UNION
3900 CLEVELAND AVENUE SE
TUMWATER,WASHINGTON U.S.A. 98501                   $2,207.00
S.M.W. 104 FEDERAL CREDIT UNION
1750 ABRAM COURT
SAN LEANDRO,CALIFORNIA U.S.A. 94577                $2,204.02
BANCO DO BRASIL AMERICAS
2 S BISCAYNE BLVD SUITE # 3870
MIAMI, FL 33131 USA                                $2,202.97
AMERICAN HERITAGE BANK
2 SOUTH MAIN STREET
SAPULPA, OK 74066 USA                              $2,201.37
BANK OF AMERICAN FORK
33 E MAIN ST.
AMERICAN FORK, UT 84003                            $2,201.00

MEGA INTERNATIONAL COMMERCIAL BANK CO., LTD.
100 CHI LIN ROAD
TAIPEI, 10424 TAIWAN                               $2,200.39
ALTRA FEDERAL CREDIT UNION
2715 LOSEY BOULEVARD SOUTH
LA CROSSE, WI 54601 USA                            $2,200.18
CAPITAL AREA FEDERAL CREDIT UNION
P. O. BOX 2626
AUGUSTA,MAINE U.S.A. 04338-2626                    $2,190.22
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 182 of 362


WELD SCHOOLS CREDIT UNION
2555 47TH AVENUE
GREELEY,COLORADO U.S.A. 80634                      $2,188.24
FIRST RELIANCE FEDERAL CREDIT UNION
205 COLLINS INDUSTRIAL BLVD.
ATHENS,GEORGIA U.S.A. 30601                        $2,188.08
ADIRONDACK REGIONAL FEDERAL CREDIT UNION
280 PARK STREET
TUPPER LAKE,NEW YORK U.S.A. 12986                  $2,187.90
NOVA LJUBLJANSKA BANKA D.D. LJUBLJAN A
SMARTINSKA 132 CARD DEVELOPMENT AREA
LJUBLJANA SLOVENIA 1520                            $2,176.52
LIBERTY BANK OF ARKANSAS
2901 E HIGHLAND DR
JONESBORO AR 72401                                 $2,170.13
BANCO BONSUCESSO CONSIGNADO, S.A.
RUA ALVARENGA PEIXOTO, 974, 8 ANDAR
BELO HORIZONTE, MG 30180-120 BRAZIL                $2,164.76
UNKNOWN                                            $2,156.03
BENCHMARK BANK
5700 LEGACY DRIVE
PLANO,TEXAS U.S.A. 75024                           $2,148.31
MUTUALBANK
110 EAST CHARLES STREET
MUNCIE, IN 47305 USA                               $2,147.17
UNKNOWN                                            $2,144.47
CENTURY FEDERAL CREDIT UNION
1240 EAST 9TH STREET
CLEVELAND, OH 44199 USA                            $2,138.61
RABOBANK AUSTRALIA LIMITED
LEVEL 8, 115 PITT STREET
SYDNEY NSW, WA 2000 AUSTRALIA                      $2,134.26
UNKNOWN                                            $2,134.15
                          Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 183 of 362


BANK ALFALAH LIMITED
B.A BUILDING, I I CHUNDRIGAR ROAD,
KARACHI, PAKISTAN                                 $2,133.26
GREATER SPRINGFIELD CREDIT UNION
1030 WILBRAHAM ROAD
SPRINGFIELD, MA 1109 USA                          $2,131.77
NEIGHBORS FEDERAL CREDIT UNION
12529 PERKINS ROAD
BATON ROUGE, LA 70810 USA                         $2,131.40
SUDAMERIS BANK S.A.E.C.A.
INDEPENDENCIA NACIONAL 513 ESQ. CERRO CORA
ASUNCION, PARAGUAY                                $2,121.34
OAK TRUST CREDIT UNION
1 S. 4650 SUMMIT AVENUE SUITE 290
OAKBROOK TERRACE,ILLINOIS U.S.A. 60181            $2,118.56
ALABAMA STATE EMPLOYEES CREDIT UNION
1000 INTERSTATE PARK DRIVE
MONTGOMERY, AL 36109 USA                          $2,116.06
ABILENE TEACHERS FEDERAL CREDIT UNION
3849 ANTILLEY ROAD
ABILENE, TX 79606 USA                             $2,114.50
HARBORONE BANK
68 LEGION PARKWAY
BROCKTON, MA 2301 USA                             $2,111.63
BANK OF EARLY
P. O. BOX 527
BLAKELY,GEORGIA U.S.A. 31723                      $2,111.39
THE FARMERS AND MERCHANTS NATIONAL BANK OF
FAIRVIEW
312 NORTH MAIN
FAIRVIEW, OK 73737-1625 USA                       $2,103.12
THE FIRST STATE BANK & TRUST CO. OF LARNED
116 WEST SIXTH STREET
LARNED, KS 67550 USA                              $2,102.95
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 184 of 362


UNKNOWN                                              $2,094.60
PT. BANK DANAMON INDONESIA
JLN. PRAPATAN NO. 50 3RD FLOOR
JAKARTA INDONESIA 10110                              $2,087.25
UNKNOWN                                              $2,086.99
HORIZONS NORTH CREDIT UNION
11455 PEARL STREET
NORTHGLENN,COLORADO U.S.A. 80233-3400                $2,086.35
AMERICAN PARTNERS FEDERAL CREDIT UNION
P. O. BOX 1198 618 N. SCALES STREET
REIDSVILLE,NORTH CAROLINA U.S.A. 27323-1198          $2,083.37
GRAND BANK, NATIONAL ASSOCIATION
1 EDINBURG ROAD
HAMILTON, NJ 8619 USA                                $2,080.94
TEXAS CHAMPION BANK
6124 S STAPLES
CORPUS CHRISTI, TX 78413                             $2,077.97
UNICREDIT BANK SERBIA JSC BELGRAD
RAJICEVA 27-29
BEOGRAD, 11000 REPUBLIC OF SERBIA                    $2,074.10
BUTLER ARMCO EMPLOYEES CREDIT UNION
101 HOLLYWOOD DRIVE
BUTLER,PENNSYLVANIA U.S.A. 16003                     $2,068.24
WASHINGTON GAS LIGHT FCU
ATTN: MIRIAM ORELLANA
PO BOX 1607
SPRINGFIELD, VA 22151                                $2,066.31
AL KHALIJ COMMERCIAL BANK (Q.S.C.)
AL JAZI TOWER, ASIA STREET 60 WEST BAY
DOHA, QATAR                                          $2,064.19
BANCO ATLANTIDA, S.A.
AGENCIA EL TRAPICHE, BLVD. SUYAPA
TEGUCIGALPA, HONDURAS 4076                           $2,063.82
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 185 of 362


ISABELLA COMMUNITY CREDIT UNION
PO BOX 427
MT PLEASANT, MI 48804                               $2,061.41
CITY + COUNTY CREDIT UNION
144 11TH ST EAST
ST PAUL, MN 55101                                   $2,061.09
RIVERFRONT FEDERAL CREDIT UNION
430 SOUTH FOURTH STREET
READING, PA 19602-2698 USA                          $2,059.89
QATAR INTERNATIONAL ISLAMIC BANK
GRAND HAMAD STREET
DOHA, QATAR 664                                     $2,059.61
MARINE BANK, SPRINGFIELD
3050 WABASH AVE.
SPRINGFIELD,ILLINOIS U.S.A. 62704                   $2,057.98
STATE BANK OF MAURITIUS LTD.
LEVEL 10-STATE BANK TOWER
1 QUEEN ELIZABETH II AVE.
PORT LOUIS 230, MAURITIUS                           $2,048.75
FIRST GULF BANK
CONSUMER BANKING
7TH STREET,
P.O. BOX 6316
ABU DHABI UNITED ARAB EMIRATES 6316                 $2,048.53
CAROLINA FOOTHILLS FEDERAL CREDIT UNION
520 NORTH CHURCH STREET
SPARTANBURG,SOUTH CAROLINA U.S.A. 29304             $2,044.39
EGYPTIAN BANKS CO. FOR TECHNOLOGICAL
ADVANCEMENT,
EVERGREEN TOWER 15TH FLR
10 TALAAT HARB ST
CAIRO EGYPT 11522                                   $2,042.98
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 186 of 362


THE MAURITIUS COMMERCIAL BANK LIMITED
SIR WILLIAM NEWTON STREET
PORT LOUIS, MAURITIUS                              $2,042.73
KAZKOMMERTSBANK BANK
CARDS DEPARTMENT GAGARIN ST. #135 ZH
ALMATY, KAZAKHSTAN 480060                          $2,040.42
HIGHWAY FEDERAL CREDIT UNION
140 INDUSTRIAL DRIVE
PITTSTON, PA 18640-9605 USA                        $2,035.54
HERITAGE BANK
110 EAST 9TH STREET
WOOD RIVER, NE 68883 USA                           $2,030.43
BANCO G+T CONTINENTAL S.A.
7A. AV. 1-86
ZONA 4
4TO. NIVEL
GUATEMALA 01004, GUATEMALA                         $2,027.70
FIRST CAROLINA BANK
137 NORTH WINSTEAD AVENUE
ROCKY MOUNT, NC 27804 USA                          $2,023.05
SAMPATH BANK PLC
110, SIR JAMES PIERIS MAWATHA
COLOMBO, 2 SRI LANKA                               $2,022.40
OCEAN CITY HOME BANK
1777 NEW ROAD
LINWOOD,NEW JERSEY U.S.A. 08221                    $2,020.78
PSE CREDIT UNION, INC.
5255 REGENCY DRIVE
PARMA, OH 44129 USA                                $2,020.11
UNKNOWN                                            $2,019.76
CREATION FINANCIAL SERVICES LIMITED
CHADWICK HOUSE
BLENHEIM COURT
SOLIHULL, WEST MIDLANDS B91 2AA, UK                $2,014.89
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 187 of 362


ALLENTOWN FEDERAL CREDIT UNION
1325 OXFORD DRIVE
ALLENTOWN, PA 18103 USA                            $2,008.28
THE FARMERS BANK OF WILLARDS
7484 MARKET STREET
WILLARDS, MARYLAND 21874                           $2,007.06
NEW YORK UNIVERSITY FEDERAL CREDIT UNION
726 BROADWAY SUITE 110
NEW YORK, NY 10003 USA                             $2,005.86
TOPLINE FEDERAL CREDIT UNION
9353 JEFFERSON HIGHWAY
MAPLE GROVE, MN 55369 USA                          $2,003.03
FIRST FEDERAL BANK, F.S.B.
2315 9TH STREET
TUSCALOOSA,ALABAMA U.S.A. 35401                    $2,002.43
WAUCHULA STATE BANK
106 EAST MAIN STREET
WAUCHULA, FL 33873 USA                             $1,999.23
TEXAS HEALTH RESOURCES CREDIT UNION
10670 NORTH CENTRAL EXPRESSWAY SUITE 110
DALLAS,TEXAS U.S.A. 75231                          $1,994.13
COMMUNITYONE BANK, NATIONAL ASSOCIATION
101 SUNSET AVENUE
ASHEBORO, NC 27203 USA                             $1,986.29
CITIZENS SAVINGS BANK
45 POCONO BLVD.
MOUNT POCONO, PA 18503 USA                         $1,984.10
BANCO CONTINENTAL
AVE. REPUBLICA DE PANAMA NO. 3055
SAN ISIDRO LIMA, PERU 01                           $1,981.89
ABBEY CREDIT UNION, INC.
800 FALLS CREEK DRIVE
VANDALIA, OH 45377 USA                             $1,980.50
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 188 of 362



BAY FEDERAL CREDIT UNION (SANTA CRUZ COUNTY ECU)
3333 CLARES STREET
CAPITOLA, CA 95010 USA                              $1,980.00
FIRST MIDWEST BANK (NATIONAL BANK & TRUST
SYCAMORE)
ONE PIERCE PLACE, SUITE 1500
ITASCA, IL 60143 USA                                $1,979.96
DEMOCRACY FEDERAL CREDIT UNION (HEW FCU)
400 NORTH COLUMBUS STREET
ALEXANDRIA, VA 22314 USA                            $1,971.34
MIDDLETON COMMUNITY BANK
3207 WEST BELTLINE HIGHWAY
MIDDLETON, WI 53562 USA                             $1,966.43
HOME TRUST COMPANY
145 KING STREET WEST SUITE 2300
TORONTO, ON M5H 1J8 CANADA                          $1,965.14
ANCHOR D BANK
222 WEST MAIN STREET
TEXHOMA, OK 73949 USA                               $1,964.20
HARBOR CREDIT UNION
800 WEISE STREET
GREEN BAY, WI 54305 USA                             $1,964.11
NATIONAL BANK TRUST (OJSC)
SPARTAKOVSKAYA STR. 5, BLD. 1
MOSCOW, RUSSIAN FEDERATION 105066                   $1,962.03
THE BANK OF CASTILE
50 MAIN STREET
CASTILE, NY 14427 USA                               $1,960.86
COLORADO CREDIT UNION
8331 CONTINENTAL DIVIDE BOULEVARD
LITTLETON, CO 80127 USA                             $1,960.83
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 189 of 362


VILLAGE BANK
307 AUBURN ST
AUBURNDALE, MA 02466                               $1,955.74
DEPARTMENT OF LABOR FEDERAL CREDIT UNION
200 CONSTITUTION AVENUE, NORTH WEST #S3220
WASHINGTON, DC 20210 USA                           $1,953.16
WESTERN HERITAGE CREDIT UNION
103 EAST FIRST STREET
ALLIANCE,NEBRASKA U.S.A. 69301                     $1,952.88
CENTRAL SUSQUEHANNA COMMUNITY FEDERAL CREDIT
UNION
308 RAILROAD STREET
DANVILLE, PA 17821 USA                             $1,942.67
EMPIRE STATE BANK
68 NORTH PLANK ROAD
NEWBURGH, NY 12550 USA                             $1,939.92
STANDARD CHARTERED BANK (THAI) PUBLIC COMPANY
LIMITED
90 NORTH SATHORN ROAD SILOM,
BANGRAK BANGKOK, 10500 THAILAND                    $1,935.49
HEARTLAND FEDERAL CREDIT UNION (AFFINIA FCU)
3400 OFFICE PARK DRIVE
DAYTON, OH 45439 USA                               $1,935.15
BANKMED SAL,
CARD BUSINESS OPERATIONS
CHARLES MALEK AVENUE
TABARIS HEAD OFFICE - P.O. BOX: 11-034
BEIRUT, LEBANON 2022 9302                          $1,932.55
HSH NORDBANK AG
GERHART-HAUPTMANN-PLATZ 50
HAMBURG, 20095 GERMANY                             $1,929.51
MULTICREDIT S.A.
4TA AVENIDA 10-01, ZONA 10
GUATEMALA, 1010 GUATEMALA                          $1,923.25
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 190 of 362


THE STATE BANK AND TRUST COMPANY
401 CLINTON STREET
DEFIANCE, OH 43512 USA                               $1,917.31
PRIMETRUST FINANCIAL CREDIT UNION
3700 WEST BETHEL AVENUE
MUNCIE,INDIANA U.S.A. 47304                          $1,914.96
GOLOMT BANK OF MONGOLIA
SUKHBAATAR SQUARE 6/3 ULAANBAATAR 210620A
MONGOLIA, MONGOLIA                                   $1,911.09
ISLANDERS BANK
225 BLAIR STREET
FRIDAY HARBOR, WA 98250 USA                          $1,909.71
REPUBLIC BANK OF CHICAGO
2221 CAMDEN COURT
OAK BROOK, IL 60523 USA                              $1,903.28
PANHANDLE EDUCATORS FEDERAL CREDIT UNION
2718 HIGHWAY 77
PANAMA CITY,FLORIDA U.S.A. 32405                     $1,898.37
SBI CARDS AND PAYMENT SERVICES PTE LTD
TOWER-C, DLF INFINITY TOWERS, BLOCK-2 BLDG 3, 10TH
FL. DLF CYBER CITY,
PHASEII GURGAON, HARYANA, INDIA 122 002              $1,896.25
UNION YES FEDERAL CREDIT UNION
1918 WEST CHAPMAN AVENUE, SUITE 100
ORANGE, CA 92868 USA                                 $1,896.11

FIRST CITIZENS BANK LIMITED
31-33 ABERCROMBY STREET 3RD FLOOR-TEMPLE COURT
PORT OF SPAIN, TRINIDAD AND TOBAGO                   $1,894.45

SCHOOL EMPLOYEES LORAIN COUNTY CREDIT UNION
340 GRISWOLD ROAD
ELYRIA,OHIO U.S.A. 44035                             $1,890.40
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 191 of 362


WESTCONSIN CREDIT UNION
3333 SCHNEIDER AVENUE
MENOMONIE, WI 54751 USA                             $1,887.70
ROCKWOOD BANK
219 THRESHER DRIVE
EUREKA, MO 63025 USA                                $1,885.39
CONNEX CREDIT UNION, INC.
412 WASHINGTON AVENUE
NORTH HAVEN,CONNECTICUT U.S.A. 06473                $1,882.23
CONNECTS FEDERAL CREDIT UNION
OPERATIONS MANAGER
7700 SHRADER ROAD
RICHMOND,VIRGINIA U.S.A. 23228                      $1,879.24
BANCO DE LA PROVINCIA DE BUENOS AIRES
BARTOLOME MITRE 457
BUENOS AIRES, 1036 ARGENTINA                        $1,876.09
QUINCY CREDIT UNION
100 QUINCY AVENUE
QUINCY, MA 2169 USA                                 $1,875.56
CITIZENS BANK
300 BROAD STREET
ELIZABETHTON, TN 37643 USA                          $1,875.22
UNKNOWN                                             $1,872.55
GATEWAY METRO CREDIT UNION
1001 PINE STREET
ST. LOUIS,MISSOURI U.S.A. 63101                     $1,871.45
ASHLAND CREDIT UNION
1300 CENTRAL AVENUE
ASHLAND, KY 41101 USA                               $1,870.96
CORNER BANK, NA
900 MAIN
WINFIELD,KANSAS U.S.A. 67156-0545                   $1,867.02
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 192 of 362


C & G SAVINGS BANK
1201 12TH STREET
ALTOONA,PENNSYLVANIA U.S.A. 16601                   $1,862.42
YORKSHIRE BUILDING SOCIETY
YORKSHIRE HOUSE YORKSHIRE DRIVE
BRADFORD, EN BD5 8LJ UNITED KINGDOM                 $1,858.11
ITAU UNIBANCO FINANCEIRA S.A. - CREDITO
FINANCIAMENTO E INVESTIMENTO
PRACA ALFREDO EGIDIO DE SOUZA ARANHA
100 T. CONCEICAO 7 AND.
SAO PAULO, SP 04-344-902 BRAZIL                     $1,857.46
CITIZENS & NORTHERN BANK
90-92 MAIN STREET
WELLSBORO, PA 16901 USA                             $1,850.03
TAMPA POSTAL FEDERAL CREDIT UNION
15916 N FLORIDA AVE
LUTZ FL 335496127                                   $1,846.46
LEOMINSTER CREDIT UNION
20 ADAMS STREET
LEOMINSTER, MA 1453 USA                             $1,839.77
APPLE BANK FOR SAVINGS
122 EAST 42ND STREET
NEW YORK,NEW YORK U.S.A. 10168                      $1,837.92
CEDYNA FINANCIAL CORPORATION
CARD PLANNING DEPARTMENT
2-16-4, KONAN, MINATO-KU
TOKYO JAPAN 108-8117                                $1,834.68
DELAWARE COUNTY BANK & TRUST COMPANY
P.O. BOX 1001
LEWIS CENTER,OHIO U.S.A. 43035                      $1,833.21

IBEW AND UNITED WORKERS FEDERAL CREDIT UNION
9955 SOUTHEAST WASHINGTON
PORTLAND, OR 97216-2439 USA                         $1,831.63
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 193 of 362


KOTAK MAHINDRA BANK LTD
36-38A NARIMAN BHAVAN 227 NARIMAN POINT
MUMBAI, MH 400 021 INDIA                           $1,828.81
BREWTON MILL FEDERAL CREDIT UNION
2549 SOUTH BOULEVARD
BREWTON, AL 36426 USA                              $1,825.36
ARAPAHOE CREDIT UNION
3999 EAST ARAPAHOE ROAD
LITTLETON,COLORADO U.S.A. 80122-2076               $1,825.10
BANK OF RIPLEY
134 NORTH JEFFERSON STREET
RIPLEY, TN 38063-0269 USA                          $1,824.97
BANCO CITIBANK DE COSTA RICA S.A.
PO BOX 189-1230
SAN JOSE, COSTA RICA                               $1,823.93
COLUMBIA BANK
19-01 ROUTE 208 NORTH
FAIR LAWN,NEW JERSEY U.S.A. 07410                  $1,823.04
HARFORD BANK
8 WEST BEL AIR AVENUE
ABERDEEN, MD 21001 USA                             $1,822.13
MOUNTAINCREST CREDIT UNION
1328 BROADWAY
EVERETT, WA 98201 USA                              $1,821.76
PYRAMAX BANK, FSB
7001 WEST EDGERTON AVENUE
GREENFIELD, WI 53220-0927 USA                      $1,820.04
FRANKLIN FIRST FEDERAL CREDIT UNION
57 NEWTON ST
GREENFIELD, MA 01301                               $1,816.40
BANKNEWPORT
10 WASHINGTON SQUARE
NEWPORT, RI 2840 USA                               $1,815.84
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 194 of 362


IKANO BANK SE
LENSMANSLIA 4 ASKER, 1372
NORWAY                                              $1,813.94
THE OCULINA BANK
1100 COLONNADES DRIVE
FT. PIERCE,FLORIDA U.S.A. 34949                     $1,813.55
UNKNOWN                                             $1,813.22
CHESSIE FEDERAL CREDIT UNION
15 COMMERCE DRIVE
P.O. BOX 689
CUMBERLAND, MD 21502                                $1,813.10
EVANSVILLE TEACHERS FEDERAL CREDIT UNION
4401 THEATER DRIVE
EVANSVILLE, IN 47715 USA                            $1,803.11

ELAVON FINANCIAL SERVICES LIMITED
CHERRYWOOD SCIENCE & TECHNOLOGY PARK BLOCK E,
LOUGLINSTOWN DUBLIN, 18 REPUBLIC OF IRELAND         $1,802.09
GARDINER FEDERAL CREDIT UNION
RR5 BOX 105
GARDINER,MAINE U.S.A. 04345                         $1,802.07
MISSOULA FEDERAL CREDIT UNION
3600 BROOKS ST
MISSOULA, MT 59801                                  $1,799.98
GRANITE FEDERAL CREDIT UNION
3675 SOUTH 900 EAST
SALT LAKE CITY,UTAH U.S.A. 84106-1964               $1,799.79
NEXTTIER BANK, N.A.
222 MARKET STREET
KITTANNING, PA 16201 USA                            $1,799.27
SABADELL UNITED BANK, NATIONAL ASSOCIATION
1111 BRICKELL AVENUE
MIAMI, FL 33131 USA                                 $1,798.42
UNKNOWN                                             $1,794.16
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 195 of 362


FIRST VOLUNTEER BANK
728 BROAD STREET
CHATTANOOGA, TN 37402 USA                           $1,792.72
CREDOMATIC DE MEXICO S.A.
DE C.V. AVENIDA LAZARO CARDENAS NUM. 3590
JARDINES DE LOS ARCOS
GUADALAJARA, 44120 MEXICO                           $1,790.76
WESTSTAR CREDIT UNION
2775 SOUTH RAINBOW BOULEVARD
LAS VEGAS, NV 89146 USA                             $1,789.48
BOULDER DAM CREDIT UNION
P.O. BOX 61410
BOULDER CITY,NEVADA U.S.A. 89006-1410               $1,776.93
ULSTER BANK LIMITED
47 DONEGALL PLACE
BELFAST, NI BT1 5AL UNITED KINGDOM                  $1,774.31
MASS BAY CREDIT UNION
147 WEST FOURTH STREET
SOUTH BOSTON, MA 2127 USA                           $1,774.29
INDUSIND BANK LIMITED
425, DADASAHEB BHADKAMKAR MARG
MUMBAI, MH 400 004 INDIA                            $1,769.87
MERCANTIL C.A. BANCO UNIVERSAL
TORRE MERCANTIL,
AV. ANDRES BELLO SAN BERNARDINO
CARACAS, 1010-A VENEZUELA                           $1,768.59
LATAH FEDERAL CREDIT UNION
912 SOUTH WASHINGTON
MOSCOW,IDAHO U.S.A. 83843                           $1,766.44
RESOURCE ONE CREDIT UNION
PO BOX 660077
DALLAS, TX 75266                                    $1,765.55
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 196 of 362


PREMIER VALLEY BANK
255 EAST RIVER PARK CIRCLE SUITE 180
FRESNO, CA 93720 USA                                 $1,763.54
ACCESS BANK PLC
999C DANMOLE STREET
VICTORIA ISLAND LAGOS, NIGERIA                       $1,755.31
PENN STATE FEDERAL CREDIT UNION
1937 NORTH ATHERTON STREET
STATE COLLEGE,PENNSYLVANIA U.S.A. 16803              $1,751.08

RIVERFALL CREDIT UNION (TUSCALOOSA TEACHERS CU)
2520 6TH STREET
TUSCALOOSA, AL 35401 USA                             $1,750.90
CENTURY BANK, FEDERAL SAVINGS BANK
100 SOUTH FEDERAL PLACE
SANTA FE,NEW MEXICO U.S.A. 87501                     $1,750.10
SURUGA BANK, LTD.
500, SURUGADAIRA, NAGAIZUMI-CHO SUNTO-GUN,
SHIZUOKA-KEN, JAPAN 411-8689                         $1,748.61
WOODSBORO BANK
5 NORTH MAIN STREET
WOODSBORO, MD 21798 USA                              $1,747.72
NEW CUMBERLAND FEDERAL CREDIT UNION
345 LEWISBERRY ROAD
NEW CUMBERLAND, PA 17070 USA                         $1,746.86
PAYBOX BANK AG
LASSALLESTRASSE 9
VIENNA, 1020 AUSTRIA                                 $1,746.83
PYRAMID FEDERAL CREDIT UNION
7740 EAST SPEEDWAY BOULEVARD
TUCSON, AZ 85710 USA                                 $1,745.06
AMERICA'S CREDIT UNION
2154 FOREST LANE
GARLAND, TX 75042 USA                                $1,743.05
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 197 of 362


DIAMOND VALLEY FEDERAL CREDIT UNION
840 DIAMOND AVENUE
EVANSVILLE, IN 47711 USA                            $1,741.59
AS DNB BANKA
12 SKANSTES STREET
RIGA, LATVIA LV-1013                                $1,740.91
BANK OF TRAVELERS REST
42 PLAZA DRIVE
TRAVELERS REST, SC 29690-1688 USA                   $1,740.88
TRADITION BANK
1515 SOUTH GRAND PARKWAY
BELLAIRE,TEXAS U.S.A. 77081                         $1,736.39
UNITED OVERSEAS BANK (MALAYSIA) BERHAD
LEVEL 4, MENARA UOB JALAN RAJA LAUT
KUALA LUMPUR MALAYSIA 50350                         $1,734.18
EAGLE LOUISIANA FEDERAL CREDIT UNION
P.O. BOX 64630
BATON ROUGE,LOUISIANA U.S.A. 70896                  $1,731.61
CREDITO SA
CENTRO BAC KM.4.5 CARRETERA MASAYA
MANAGUA NICARAGUA                                   $1,730.05
BRAINTREE COOPERATIVE BANK
1010 WASHINGTON STREET
BRAINTREE,MASSACHUSETTS U.S.A. 02184                $1,728.64
WESTERN VISTA FEDERAL CREDIT UNION
3207 SPARKS ROAD
CHEYENNE, WY 82001 USA                              $1,726.83
ANAHUAC NATIONAL BANK
HWY 563 & BELTON LANE
ANAHUAC,TEXAS U.S.A. 77514                          $1,726.29
FAR EASTERN BANK
RUSSIAN FEDERATION, ZIP 690990,
VLADIVOSTOK, VERKHNEPORTOVAYA STR., 27А.            $1,717.20
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 198 of 362


NORTHFIELD BANK
1731 VICTORY BOULEVARD
STATEN ISLAND, NY 10314-3598 USA                   $1,716.88
HOME FEDERAL BANK OF TENNESSEE, F.S.B.
515 MARKET STREET
KNOXVILLE,TENNESSEE U.S.A. 37902                   $1,711.34
AEA FCU
1780 SOUTH 1ST AVE
YUMA, AZ 85364                                     $1,709.64
SANDIA AREA FEDERAL CREDIT UNION
1850 WYOMING BLVD SOUTHEAST
ALBUQUERQUE, NM 87112-2864 USA                     $1,707.48
WORCESTER CREDIT UNION
520 WEST BOYLSTON STREET
WORCESTER, MA 1606 USA                             $1,706.76
SOUTH CENTRAL BANK, INC.
208 SOUTH BROADWAY
GLASGOW, KY 42141 USA                              $1,699.98
HERITAGE FAMILY CREDIT UNION
30 ALLEN STREET
RUTLAND, VT 05701                                  $1,699.16
VIA CREDIT UNION
4505 SOUTH ADAMS STREET
MARION, IN 46953 USA                               $1,697.05
CITIZENS BANK OF CANADA
183 TERMINAL AVENUE
VANCOUVER,BRITISH COLUMBIA CANADA V6A 4G2          $1,696.49
ALABAMA CENTRAL CREDIT UNION
3601 4TH AVENUE SOUTH
BIRMINGHAM, AL 35222 USA                           $1,690.09
FIRST COMMONWEALTH BANK
495 NORTH KELLER ROAD SUITE 400
MAITLAND FL 32751                                  $1,687.58
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 199 of 362


FAIRFIELD FEDERAL CREDIT UNION
206 HIGHWAY 81 NORTH
PINE BLUFF, AR 71611 USA                            $1,685.25
UNKNOWN                                             $1,684.77
COMMUNITY CREDIT UNION
144 PINE STREET
LEWISTON, ME 4240 USA                               $1,681.23
KERN FEDERAL CREDIT UNION
1717 TRUXTUN AVENUE
BAKERSFIELD, CA 93301 USA                           $1,679.91
CENTRAL BANK OF KANSAS CITY
2301 INDEPENDENCE BLVD
KANSAS CITY,MISSOURI U.S.A. 64124                   $1,679.65
ACNB BANK
16 LINCOLN SQUARE
GETTYSBURG, PA 17325-0129 USA                       $1,676.73
NATIONAL BANK FOR FOREIGN ECONOMIC ACTIVITY OF
THE REPUBLIC OF UZBEKISTAN
23, AKHUNBABAEVA STR.
TASHKENT, 700047 UZBEKISTAN                         $1,676.31
SIGNATURE FEDERAL CREDIT UNION (NAPUS)
12 HERBERT STREET
ALEXANDRIA, VA 22305 USA                            $1,674.66
SJN BANK OF KANSAS
THIRD AND BROADWAY
ST JOHN, KS 67576 USA                               $1,674.00
SUMITOMO MITSUI TRUST CLUB CO. LTD.
TOKYO 1046037, JAPAN                                $1,672.77
BANCO CITIBANK (PANAMA), S.A.
PO BOX 555
PANAMA, PANAMA                                      $1,666.20
ELECTRO SAVINGS CREDIT UNION
1850 CRAIGSHIRE DRIVE SUITE 203
ST. LOUIS,MISSOURI U.S.A. 63146                     $1,664.78
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 200 of 362


FREMONT FEDERAL CREDIT UNION
315 CROGHAN STREET
FREMONT, OH 43420 USA                                $1,664.67
FIRST NATIONAL BANK SOUTH
423 W. 12TH STREET
ALMA,GEORGIA U.S.A. 31510                            $1,664.51
FINANCEIRA ITAU CBD S.A. CREDITO FINANCIAMENTO E
INVESTIMENTO
AV. BRIGADEIRO LUIZ ANTONIO,
3172
SAO PAULO - SP, 01402-002 BRAZIL                     $1,663.34
CORNERSTONE FEDERAL CREDIT UNION
5 EAST GATE DRIVE
CARLISLE, PA 17013 USA                               $1,660.59
MONTGOMERY BANK, NATIONAL ASSOCIATION
1 MONTGOMERY BANK PLAZA
SIKESTON, MO 63801 USA                               $1,659.02
XCEED FINANCIAL FEDERAL CREDIT UNION
888 NORTH NASH STREET
EL SEGUNDO, CA 90245 USA                             $1,658.28
DOWNEY FEDERAL CREDIT UNION
8237 THIRD STREET
DOWNEY,CALIFORNIA U.S.A. 90241                       $1,657.11
SOUTHSIDE BANK (ONMIAMERICAN BANK)
1201 SOUTH BECKHAM STREET
TYLER, TX 75701 USA                                  $1,653.67
HOME STATE BANK
2695 W.EISENHOWER BLVD.
LOVELAND CO 80537                                    $1,652.70
SEVERNY MORSKOY PUT' OPEN JOINT STOCK C
2ND VLADIMIRSKAYA, 26 A
111401 MOSCOW, RUSSIAN FEDERATION                    $1,650.97
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 201 of 362


SERV U FEDERAL CREDIT UNION
9823 SCIENCE CENTER RD.
PAINTED POST,NEW YORK U.S.A. 14870                  $1,648.33
ITHMAAR BANK B.S.C.
AL SEEF TOWER SEEF DISTRICT
MANAMA BAHRAIN                                      $1,648.25
FIRST FEDERAL SAVINGS BANK
633 LASALLE STREET
OTTAWA, IL 61350 USA                                $1,647.83
EDUCATIONAL COMMUNITY CREDIT UNION
1221 EAST GRAND
SPRINGFIELD, MO 65804 USA                           $1,646.46
KATAHDIN FEDERAL CREDIT UNION
1000 CENTRAL STREET
MILLINOCKET, ME 04462                               $1,645.81
UNKNOWN                                             $1,645.10
CAMINO FEDERAL CREDIT UNION
520 NORTH TAYLOR AVENUE
MONTEBELLO, CA 90640 USA                            $1,641.85
FIRST CALIFORNIA FEDERAL CREDIT UNION
2525 EAST SHIELDS AVENUE
FRESNO,CALIFORNIA U.S.A. 93726                      $1,640.70
THE FIRST STATE BANK
660 CENTRAL AVENUE
BARBOURSVILLE, WV 25504 USA                         $1,640.20
SELF-HELP FEDERAL CREDIT UNION
301 WEST MAIN STREET
DURHAM, NC 27701 USA                                $1,634.40
PACIFIC PREMIER BANK
17901 VON KARMAN AVENUE, SUITE 1200
IRVINE, CA 92614 USA                                $1,633.53
QUALTRUST CREDIT UNION
P. O. BOX 165448
IRVING,TEXAS U.S.A. 75016-5448                      $1,625.95
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 202 of 362


Y-12 FEDERAL CREDIT UNION
501 LAFAYETTE DRIVE
OAK RIDGE, TN 37831 USA                             $1,624.86
TRADEMARK FEDERAL CREDIT UNION
44 EDISON DRIVE
AUGUSTA,MAINE U.S.A. 04332-1056                     $1,623.87

CRNOGORSKA KOMERCIJALNA BANKA AD PODGORICA
MOSKOVSKA BB PODGORICA, MONTENEGRO 81000            $1,623.30
BEACON CREDIT UNION
641 SOUTH MIAMI STREET
WABASH, IN 46992 USA                                $1,622.99
THE ADIRONDACK TRUST COMPANY
473 BROADWAY
SARATOGA SPRINGS, NY 12866-0326 USA                 $1,618.02
OJSC DEMIRBANK
GARABAKH STR, 31
BAKU AZERBAIJAN AZ1008                              $1,617.88
FAA FEDERAL CREDIT UNION
3920 WHITEBROOK DRIVE
MEMPHIS, TN 38181 USA                               $1,615.83
LANCASTER RED ROSE CREDIT UNION
1010 NEW HOLLAND AVENUE
LANCASTER, PA 17601 USA                             $1,615.03
FARMERS & MERCHANTS BANK
116 SOUTH GRAND STREET
CRESCENT, OK 73028 USA                              $1,614.27
TOLLESON PRIVATE BANK
5500 PRESTON ROAD, SUITE B
DALLAS,TEXAS U.S.A. 75205                           $1,612.86
MONEY FEDERAL CREDIT UNION
PO BOX 957
SYRACUS, NY 13201                                   $1,603.59
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 203 of 362


COMMERCIAL STATE BANK
407 N. BIG SPRING STREET
MIDLAND,TEXAS U.S.A. 79701                           $1,603.13
THE ELMIRA SAVINGS BANK, FSB
333 EAST WATER STREET
ELMIRA, NY 14901 USA                                 $1,599.97
FLORIDA BUSINESS BANK
340 NORTH HARBOR CITY BOULEVARD
MELBOURNE, FL 32935 USA                              $1,599.93
THE CITIZENS BANK OF EDMOND
1 EAST FIRST STREET
EDMOND,OKLAHOMA U.S.A. 73034                         $1,599.88
PALISADES FEDERAL CREDIT UNION
300 MIDDLETOWN ROAD
PEARL RIVER,NEW YORK U.S.A. 10965                    $1,599.35
VALLEY OAK CREDIT UNION
40870 SIERRA DRIVE
THREE RIVERS, CA 93271 USA                           $1,597.94
WILSHIRE BANK
3200 WILSHIRE BOULEVARD
LOS ANGELES, CA 90010 USA                            $1,597.83
RED ROCKS FEDERAL CREDIT UNION
9325 DORCHESTER STREET
HIGHLANDS RANCH,COLORADO U.S.A. 80129                $1,597.55
CME FEDERAL CREDIT UNION
150 EAST MOUND STREET, SUITE 100
COLUMBUS,OHIO U.S.A. 43215                           $1,597.05
BANCO CREDITO INVERSIONES
GERENTE BANCO RETAIL EL GOLF 125 PISO 16
SANTAGO CHILE 8320000                                $1,595.55
CLEARPATH FEDERAL CREDIT UNION
340 ARDEN AVENUE
GLENDALE, CA 91203 USA                               $1,590.51
UNKNOWN                                              $1,589.56
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 204 of 362


NESC FEDERAL CREDIT UNION
310 LOWELL STREET
ANDOVER, MA 1810 USA                                $1,588.10
FIVE STAR BANK
6810 FIVE STAR BOULEVARD
ROCKLIN, CA 95765 USA                               $1,587.10
PLATTE VALLEY BANK
1212 CIRCLE DRIVE
SCOTTSBLUFF, NE 69361 USA                           $1,585.50
MY PERSONAL CREDIT UNION
1414 BURTON SOUTHWEST
WYOMING, MI 49509-1488 USA                          $1,584.27
GOLDENWEST FEDERAL CREDIT UNION
5025 S. ADAMS AVENUE
OGDEN,UTAH U.S.A. 84403                             $1,582.78
SOONER STATE BANK
2 SOUTHEAST FOURTH
TUTTLE, OK 73089 USA                                $1,579.82
CASCADE FEDERAL CREDIT UNION
18020 80TH AVENUE
SOUTH KENT,WASHINGTON U.S.A. 98032                  $1,579.13
COOPERATIVE CENTER FEDERAL CREDIT UNION
P. O. BOX 248
BERKELEY,CALIFORNIA U.S.A. 94701                    $1,578.28
NEW ALLIANCE FEDERAL CREDIT UNION
835 MERCHANT STREET
AMBRIDGE,PENNSYLVANIA U.S.A. 15003                  $1,576.64
BANCO NACIONAL DE BOLIVIA S.A.
CHUQIOSACA
SUCRE, BOLIVIA                                      $1,574.68
NORTHEAST COMMUNITY BANK
325 HAMILTON AVENUE
WHITE PLAINS, NY 10601 USA                          $1,572.52
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 205 of 362


AMERICAN NATIONAL BANK
PO BOX 2139
OMAHA, NE 68103                                     $1,570.73
CPM FEDERAL CREDIT UNION
1066 EAST MONTAGUE AVENUE
CHARLESTON, SC 29405 USA                            $1,570.03
BANKIA S.A.
GABRIEL GARCIA MARQUEZ 1
LAS ROZAS
MADRID SPAIN 28232                                  $1,569.54
CHEMUNG CANAL TRUST COMPANY
ONE CHEMUNG CANAL PLAZA
ELMIRA, NY 14901                                    $1,568.93
CAPITAL HOUSE 2, BRUNTCLIFFE WAY,
MORLEY
LEEDS LS27 0JG, UNITED KINGDOM                      $1,568.70
PEOPLES BANK (THE NATIONAL BANK AND TRUST
COMPANY)
138 PUTNAM STREET
MARIETTA, OH 45750 USA                              $1,567.38
BANCO COOPERATIVO DO BRASIL SA
SQS QUADRA 06 BLOCO A N 5 DISTRITO FEDERAL
BRASILIA BRAZIL 70 306 902                          $1,566.99
HOMESTREET BANK (SIMPLICITY BANK)
2000 TWO UNION SQUARE,
601 UNION STREET
SEATTLE, WA 98101-2326 USA                          $1,566.66
COMMERCIAL BANK
1901 MAIN STREET
PARSONS,KANSAS U.S.A. 67357-3336                    $1,564.59
FIRST MISSOURI STATE BANK OF CAPE COUNTY
2 SOUTH MOUNT AUBURN ROAD
CAPE GIRARDEAU, MO 63703 USA                        $1,564.02
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 206 of 362


BANK OF CYPRUS LIMITED
97 KERYNIAS AVENUE PLATY AGLANTZIA
NICOSA, CYPRUS 2114                                 $1,558.67
BANK OF DUDLEY
P. O. BOX 7
DUDLEY,GEORGIA U.S.A. 31022                         $1,557.40

GLYNN COUNTY FEDERAL EMPLOYEES CREDIT UNION
C/O FLETC BUILDING 86
GLYNCO,GEORGIA U.S.A. 31524                         $1,556.24
OLD OCEAN FEDERAL CREDIT UNION
COUNTY RD 359 @ FM524
OLD OCEAN,TEXAS U.S.A. 77463                        $1,555.27
THE NATIONAL BANK OF MALVERN
KING STREET & WARREN AVENUE
MALVERN,PENNSYLVANIA U.S.A. 19355                   $1,551.53
NORTHRIM BANK
PO BOX 241489
ANCHORAGE, AK 99524                                 $1,548.71
VISION ONE CREDIT UNION
3279 RAMOS CIRCLE
SACRAMENTO,CALIFORNIA U.S.A. 95827                  $1,548.63
FORT HOOD NATIONAL BANK
PO BOX 73
KILLEEN TX 76540
ATTN: ASSET RECOVERY                                $1,542.59
DENVER FIRE DEPARTMENT FEDERAL CREDIT UNION
2201 FEDERAL BOULEVARD
DENVER, CO 80211 USA                                $1,535.06
ASSEMBLIES OF GOD CREDIT UNION
1535 NORTH CAMPBELL AVENUE
SPRINGFIELD, MO 65803-2733 USA                      $1,535.04
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 207 of 362


VALLEY FIRST CREDIT UNION
1117 L STREET
MODESTO, CA 95353 USA                               $1,528.95
FIRST NATIONAL BANK OF CROSSETT
210 MAIN STREET
CROSSETT, AR 71635 USA                              $1,528.19
MIRAMAR FEDERAL CREDIT UNION
9494 MIRAMAR ROAD
SAN DIEGO, CA 92126 USA                             $1,525.98
FORTERA FEDERAL CREDIT UNION (FORT CAMPBELL)
2050 LOWE'S DRIVE
CLARKSVILLE, TN 37040 USA                           $1,525.32
BARCLAYS BANK OF ZIMBABWE LIMITED
BARCLAY HOUSE
JASON MOYO AVENUE/1ST STREET
HARARE, ZIMBABWE                                    $1,524.48
PALMETTO CITIZENS FEDERAL CREDIT UNION
1320 WASHINGTON STREET
COLUMBIA,SOUTH CAROLINA U.S.A. 29201                $1,523.43
UNKNOWN                                             $1,521.21
GLENVIEW STATE BANK
 800 WAUKEGAN RD
GLENVIEW IL 60025-4381                              $1,519.39
BANK OF SPRINGFIELD
3400 WEST WABASH
SPRINGFIELD, IL 62711 USA                           $1,518.01
TICONDEROGA FEDERAL CREDIT UNION
WICKER ST. P. O. BOX 30
TICONDEROGA,NEW YORK U.S.A. 12883                   $1,515.85
DANVILLE CITY EMPLOYEES FEDERAL CREDIT UNION
320 OLD RIVERSIDE DRIVE
DANVILLE, VA 24541 USA                              $1,512.76
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 208 of 362


NEW MEXICO BANK & TRUST
320 GOLD STREET, SOUTH WEST
ALBUQUERQUE, NM 87102 USA                          $1,512.28
COMMUNITY VALLEY BANK
203 SOUTH IMPERIAL AVENUE
EL CENTRO, CA 92243 USA                            $1,511.59
DELTA SCHOOLS FEDERAL CREDIT UNION
701 W. 18TH STREET
ANTIOCH,CALIFORNIA U.S.A. 94509                    $1,508.21
CLARIEN BANK LIMITED
PRODUCT MANAGER CARD SERVICES
19 REID STREET HAMILTON BERMUDA HM11               $1,505.95
SOUTHEASTERN ARIZONA FEDERAL CREDIT UNION
1019 F AVENUE
DOUGLAS, AZ 85608-1059 USA                         $1,505.04
PJSC MTS-BANK
18, BLD. 1. ANDROPOVA AVENUE
MOSCOW, 115432 RUSSIAN FEDERATION                  $1,504.82
CITIZENS BANK
33 NORTH INDIANA STREET
MOORESVILLE, IN 46158 USA                          $1,504.58
BANCO CITIBANK DE HONDURAS S.A.
EDIFICO CENTRO FINANCIERO
BOSCO
MORAZAN TEGUCIAGALPA, HONDURAS                     $1,502.98
BANK OF ST. CROIX, INC.
5025 ANCHOR WAY, GALLOWS BAY
ST. CROIX, 820 U.S. VIRGIN ISLANDS                 $1,502.06
FIRST STATE BANK
422 DIBRELL AVENUE
THREE RIVERS, TX 78071 USA                         $1,499.99
ADVANCED PAYMENT SOLLUTIONS LTD
COTTONS CENTRE, COTTONS LANE
LONDON SE1 2QG, UNITED KINGDOM                     $1,499.36
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 209 of 362



PINELLAS COUNTY EMPLOYEES FEDERAL CREDIT UNION
10273 ULMERTON ROAD
LARGO,FLORIDA U.S.A. 33771-4118                     $1,498.70
ACIPCO FEDERAL CREDIT UNION
2930 NORTH 16TH STREET
BIRMINGHAM, AL 35207 USA                            $1,492.65
CHARLOTTE FIRE DEPARTMENT CREDIT UNION
2100 COMMONWEALTH AVE.
CHARLOTTE,NORTH CAROLINA U.S.A. 28205               $1,492.21
SEB KORT BANK AB (HELSINKI BRANCH)
UNIONINKATU 30
HELSINKI 00100, FINLAND                             $1,491.61
UNKNOWN                                             $1,489.94
EVERGREEN CREDIT UNION
P.O. BOX 1038
PORTLAND,MAINE U.S.A. 04104                         $1,488.04
EXCEL FEDERAL CREDIT UNION
5070 PEACHTREE INDUSTRIAL BOULEVARD
NORCROSS, GA 30071 USA                              $1,486.57
GULF WINDS FEDERAL CREDIT UNION
220 EAST NINE MILE ROAD
PENSACOLA, FL 32534 USA                             $1,485.31
WARREN FEDERAL CREDIT UNION
PO BOX 3200
CHEYENNE, WY 82003-3200                             $1,481.94
MEMBERS CHOICE CREDIT UNION
145 RUSSELL ROAD
ASHLAND, KY 41101 USA                               $1,479.00
ZIA CREDIT UNION
1001 CENTRAL AVENUE
LOS ALAMOS, NM 87544 USA                            $1,473.09
UNKNOWN                                             $1,472.05
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 210 of 362


MEMBER ONE FEDERAL CREDIT UNION
202 4TH STREET NORTHEAST
ROANOKE, VA 24016 USA                               $1,471.14

INDEPENDENT BANK (HOUSTON COMMUNITY BANK)
3090 CRAIG DRIVE
MCKINNEY, TX 75070 USA                              $1,469.97
HOLY ROSARY CREDIT UNION
133 BROCK STREET
ROCHESTER, NH 3867 USA                              $1,469.86
CITIZENS AND FARMERS BANK
EIGHTH & MAIN STREET
WEST POINT, VA 23181 USA                            $1,469.38
UNKNOWN                                             $1,468.35
WEST MILTON STATE BANK
940 HIGH STREET
WEST MILTON,PENNSYLVANIA U.S.A. 17886               $1,459.49
1ST MIDAMERICA CREDIT UNION
731 E BETHALTO DR
BETHALTO, IL 62010                                  $1,453.19
DOWN EAST CREDIT UNION
23 3RD AVENUE
BAILEYVILLE, ME 4694 USA                            $1,452.48
STANDARD CHARTERED BANK ZAMBIA PLC
STANDARD CHARTERED HOUSE
CAIRO ROAD
LUSAKA, ZAMBIA                                      $1,451.14
LES FEDERAL CREDIT UNION
950 NORTH 22ND STREET SUITE C
BATON ROUGE,LOUISIANA U.S.A. 70802                  $1,447.86
SELFRELIANCE UKRAINIAN AMERICAN FEDERAL CREDIT
UNION
2332 WEST CHICAGO AVENUE
CHICAGO, IL 60622 USA                               $1,447.48
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 211 of 362


STANDARD BANK ISLE OF MAN LIMITED
STANDARD BANK HOUSE
ONE CIRCULAR ROAD
DOUGLAS,ISLE OF MAN UNITED KINGDOM IM1 1SB           $1,446.94
SECURITY CREDIT UNION
3801 WEST BOULEVARD DRIVE
FLINT, MI 48505 USA                                  $1,446.92
AMERICAN CHARTERED BANK
1199 EAST HIGGINS ROAD
SCHAUMBURG,ILLINOIS U.S.A. 60173                     $1,445.74
METRO CREDIT UNION
447 SOUTH CAMPBELL STREET
SPRINGFIELD, MO 65806 USA                            $1,445.62
WYHY FEDERAL CREDIT UNION
1715 SILLWATER AVENUE
CHEYENNE,WYOMING U.S.A. 82009                        $1,443.87
CARTER FEDERAL CREDIT UNION
119 SOUTH MAIN STREET
SPRINGHILL,LOUISIANA U.S.A. 71075                    $1,439.34
BANK OF RICHMONDVILLE
5 EAST MAIN
RICHMONDVILLE, NY 12149 USA                          $1,433.66
FIELDPOINT PRIVATE BANK & TRUST
100 FIELD POINT ROAD
GREENWICH, CT 6830 USA                               $1,426.53

THE SECURITY NATIONAL BANK OF SIOUX CITY, IOWA
601 PIERCE STREET
SIOUX CITY, IA 51101 USA                             $1,425.31
TRANSPORTATION ALLIANCE BANK INC.
4185 S HARRISON BLVD SUITE 200
OGDEN UT 84403                                       $1,424.13
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 212 of 362


SHARON SAVINGS BANK
3 CHESTER PIKE
DARBY,PENNSYLVANIA U.S.A. 19023                     $1,423.32
ING BANK FSB
1 SOUTH ORANGE STREET
WILMINGTON DE 19801                                 $1,422.59
THE VALLEY STATE BANK
502 NORTH MERCHANT STREET
BELLE PLAINE, KS 67013 USA                          $1,421.07
THE HARBOR BANK OF MARYLAND
25 WEST FAYETTE STREET
BALTIMORE,MARYLAND U.S.A. 21201                     $1,420.81
HOMELAND CREDIT UNION, INC.
310 CALDWELL STREET
CHILLICOTHE, OH 45601 USA                           $1,412.33
XCEL FEDERAL CREDIT UNION
1460 BROAD STREET
BLOOMFIELD, NJ 7003 USA                             $1,411.45
NATIONAL BANK OF DOMINICA
64 HILLSBOROUGH STREET
ROSEAU, DOMINICA                                    $1,411.06
SCOTIABANK (BELIZE) LTD
#4A ALBERT ST
PO BOX 708
BELIZE CITY, BELIZE                                 $1,410.74

GUARANTY BANK & TRUST, NATIONAL ASSOCIATION
100 WEST ARKANSAS STREET
MT. PLEASANT, TX 75455 USA                          $1,407.39
CAPITAL BANK OF NEW JERSEY
ATTENTION: DEPOSIT OPERATIONS
245 BELLEVUE AVE
HAMMONTON, NJ 08037                                 $1,404.19
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 213 of 362



AIR LINE PILOTS ASSOCIATION FEDERAL CREDIT UNION
825 MIDWAY DRIVE
WILLOWBROOK, IL 60527 USA                            $1,403.64
DUTRAC COMMUNITY CREDIT UNION
3465 ASBURY ROAD
DUBUQUE IA 52004                                     $1,401.55
RICHMOND POSTAL CREDIT UNION
1601 OWNBY LANE
RICHMOND, VA 23220-1318 USA                          $1,397.97
BANESCO S.A.
AV. SAMUEL LEWIS - TORRE HONG KONG BANK
PANAMA, PANAMA                                       $1,397.81
POPULAR BANK LTD. INC.
TORRE POPULAR AV. J.F.KENNEDY ESQ. AV.
MAXIMO GOMEZ
SANTO DOMINGO, REPUBLICA DOMINICANA                  $1,397.40
CHACO CREDIT UNION, INC.
601 PARK AVENUE
HAMILTON, OH 45013 USA                               $1,391.92
FIRST NATIONAL BANK OF LA GRANGE
620 W BURLINGTON AVE
LA GRANGE, IL 60525                                  $1,390.49
BANK OF LEE'S SUMMIT
210 SOUTH MAIN LEE'S
SUMMIT,MISSOURI U.S.A. 64063                         $1,389.72
THE HENRY COUNTY BANK
122 EAST WASHINGTON STREET
NAPOLEON,OHIO U.S.A. 43545                           $1,388.83
MEMBERS CHOICE FEDERAL CREDIT UNION
507 WEST DAVIS STREET
BLOOMINGTON, IN 47403-4724 USA                       $1,387.72
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 214 of 362


PIONEER BANK
252 EAST MAIN STREET
STANLEY,VIRGINIA U.S.A. 22851                       $1,386.64
NORSTATE FEDERAL CREDIT UNION
78 FOX STREET
MADAWASKA,MAINE U.S.A. 04756                        $1,385.79
COMMUNITY ONE CREDIT UNION OF OHIO
6583 FRANK AVENUE NORTHWEST
NORTH CANTON, OH 44720 USA                          $1,384.15
FIRST CALIFORNIA BANK
72-750 EL PASEO
SUITE C-1
PALM DESERT CA 92260                                $1,383.74
MEMORIAL CREDIT UNION
6800 LONGVIEW ROAD
CHATANOOGA, TN 37421                                $1,383.28
ANCHORBANK
25 WEST MAIN STREET
MADISON,WISCONSIN U.S.A. 53703                      $1,382.92
CATHOLIC UNITED FINANCIAL CREDIT UNION
3499 NORTH LEXINGTON
ST. PAUL, MN 55126 USA                              $1,381.53
HERITAGE BANK
2700 FORT CAMPBELL BOULEVARD
HOPKINSVILLE, KY 42240 USA                          $1,379.21
ROME FEDERAL CREDIT UNION
937 SENECA STREET
ROME, NY 13440 USA                                  $1,378.19
FIRST AND CITIZENS BANK
MAIN & SPRUCE
MONTEREY, VA 24465 USA                              $1,377.82
DIRECT FEDERAL CREDIT UNION
50 CABOT STREET
NEEDHAM HEIGHTS, MA 02194-2808 USA                  $1,377.58
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 215 of 362


MID-SOUTHERN SAVINGS BANK, FSB
300 NORTH WATER STREET
SALEM,INDIANA U.S.A. 47167-1700                     $1,374.37
BAKER FEDERAL CREDIT UNION
501 BALTIMORE STREET
PHILLIPSBURGH,NEW JERSEY U.S.A. 08865               $1,373.67
DELCO POSTAL CREDIT UNION
P. O. BOX 195
UPPER DARBY,PENNSYLVANIA U.S.A. 19082               $1,373.43
DEPARTMENT OF VETERANS AFFAIRS FEDERAL CREDIT
UNION
810 VERMONT AVENUE, NW (831)
WASHINGTON,DISTRICT OF COLUMBIA U.S.A. 20420        $1,371.49
VALLEY BANK AND TRUST CO.
1701 FIRST AVENUE
SCOTTSBLUFF, NE 69361 USA                           $1,371.04
RIVERVIEW BANK
200 FRONT STREET
MARYSVILLE, PA 17053 USA                            $1,369.39
PERRY POINT FEDERAL CREDIT UNION
FIFTH STREET AND AVENUE D
PERRY POINT,MARYLAND U.S.A. 21902                   $1,368.00
BANCO PROMERICA DE COSTA RICA
OFICENTRO EL CEDRAL, EDIFICIO #2
TREJOS MONTEALEGRE, CONTIGUO A WALMART
SAN JOSE, COSTA RICA 1289-1200                      $1,367.56

VIETNAM PROSPERITY JOINT STOCK COMMERCIAL BANK
NO 362 HUE STREET HAI BA TRUNG DISTRICT
HANOI VIETNAM                                       $1,365.59
CITIBANK, NATIONAL ASSOCIATION
701 EAST 60TH STREET NORTH
SIOUX FALLS, SD 57104 USA                           $1,364.80
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 216 of 362


APEX COMMUNITY FEDERAL CREDIT UNION
540 OLD READING PIKE
STOWE, PA 19464 USA                                  $1,364.25
FIRST NEW YORK FEDERAL CREDIT UNION
1776 UNION STREET
SCHENECTADY, NY 12309 USA                            $1,364.01
MCGRAW-HILL FCU
120 WINDSOR CENTER DRIVE EAST
WINDSOR,NEW JERSEY U.S.A. 08520                      $1,363.20
SEAPORT FEDERAL CREDIT UNION
5080 MCLESTER STREET
ELIZABETH, NJ 7201 USA                               $1,359.67
ROCKLAND FEDERAL CREDIT UNION
241 UNION ST
ROCKLAND, MA 02370                                   $1,359.58
WALTERS BANK AND TRUST COMPANY
201 NORTH BROADWAY
WALTERS, OK 73572 USA                                $1,358.21
UNKNOWN                                              $1,356.03
GLATCO CREDIT UNION
53 S MAIN ST
SPRING GROVE,PENNSYLVANIA U.S.A. 17362               $1,353.80
BANK OF ENGLAND
123 SOUTH MAIN
ENGLAND,ARKANSAS U.S.A. 72046                        $1,352.24

THE FIRST INTERNATIONAL BANK OF ISRAEL LIMITED
42 ROTHSCHILD BLVD
TEL-AVIV, 66883 ISRAEL                               $1,351.32
BANCO DO ESTADO DO RIO GRANDE DO SUL SA
RUA CAPITAO MONTANHA, 177
PORTO ALEGRE BRAZIL 90018900                         $1,350.30
                               Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 217 of 362



COOPERATIVA NACIONAL DE EDUCADORES R.L.
(COOPENAE R.L.)
CALLE 0, AVENIDAS 12 Y 14 50 NORTE DE CLINICA BIBLICA
SAN JOSE, 10097 1000 COSTA RICA                         $1,348.72
LION'S SHARE FEDERAL CREDIT UNION
850 HARRISON ROAD
SALISBURY, NC 28147 USA                                 $1,347.77
CIBANK JSC
1 TZAR BORIS IIII BLVD
SOFIA, BULGARIA 1612                                    $1,347.66
PEOPLES BANK SB
9204 COLUMBIA AVENUE
MUNSTER, IN 46321 USA                                   $1,346.73
GUARDIAN CREDIT UNION
1789 CONGRESSMAN W.L. DICKINSON DRIVE
MONTGOMERY, AL 36109-0199 USA                           $1,339.58
ARBUTHNOT LATHAM & CO. LIMITED
ARBUTHNOT HOUSE
7 WILSON STREET
LONDON,ENGLAND UNITED KINGDOM EC2M 2SN                  $1,339.45
SECNY FEDERAL CREDIT UNION
4727 WEST SENECA TURNPIKE
SYRACUSE, NY 13215-0040 USA                             $1,337.49
FIREFIGHTERS FIRST CREDIT UNION
P.O. BOX 60890
LOS ANGELES,CALIFORNIA U.S.A. 90099                     $1,337.44
IROQUOIS FEDERAL SAVINGS & LOAN ASSOCIATION
201 E. CHERRY ST.
WATSEKA,ILLINOIS U.S.A. 60970                           $1,333.72
THE CONVERSE COUNTY BANK
322 WALNUT STREET P.O. BOX 689
DOUGLAS,WYOMING U.S.A. 82633                            $1,325.74
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 218 of 362


CORNERSTONE BANK
529 SOUTH LINCOLN AVENUE
YORK, NE 68467 USA                                  $1,322.35
CHARTER BANK
1721 MEDICAL PARK DRIVE
BILOXI, MS 39531 USA                                $1,316.98
BANCO INTERNACIONAL DO FUNCHAL S.A. (BANIF)
RUA JOAO TAVIRA NO. 30
FUNCHAL-MADEIRA, 9000-509 PORTUGAL                  $1,316.50
AMERICAN COMMERCE BANK, N.A.
400 U.S. HIGHWAY 27 BYPASS
BREMEN, GA 30110 USA                                $1,316.45
SIERRA PACIFIC FEDERAL CREDIT UNION
6100 NEIL ROAD, SUITE 150
RENO,NEVADA U.S.A. 89511                            $1,315.37
SHAREFAX CREDIT UNION, INC.
1147 OLD STREET RT. 74
BATAVIA, OH 45103 USA                               $1,314.03
SECURITY NATIONAL BANK OF OMAHA
1120 SOUTH 101 STREET
OMAHA, NE 68124 USA                                 $1,312.53
BANCO CITIBANK DE EL SALVADOR, S.A.
PIRAMIDE CUSCATLAN,
KM. 10 1/2 CARRETERA A SANTA TECLA
SAN SALVADOR, EL SALVADOR                           $1,310.19
FIRST COMMUNITY BANK OF EAST TENNESSEE
1101 E. MCKINNEY AVE
ROGERSVILLE,TENNESSEE U.S.A. 37857                  $1,308.23
TRAVELEX JAPAN
6F ORIX AKASAKA 2-CHOME BUILDING 2-9-11
AKASAKA MINATO-KU TOKYO 107-0052                    $1,300.67
AURGROUP FINANCIAL CREDIT UNION
8811 HOLDEN BOULEVARD
FAIRFIELD, OH 45014-2109 USA                        $1,297.56
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 219 of 362


MAJID AL FUTTAIM FINANCE LLC
5TH FLOOR, MAF TOWER, DEIRA
PO BOX 60811
DUBAI, UNITED ARAB EMIRATES                          $1,296.83
PUBLIC BANK BERHAD
BANGUNAN PUBLIC BANK, 21ST FLOOR NO. 6, JALAN
SULTAN SULAIMAN
KUALA LUMPUR, 50000 MALAYSIA                         $1,294.86
HERITAGE INTERNATIONAL BANK + TRUST LIM
35 BARRACK ROAD, 1ST FLOOR
BELIZE CITY, BELIZE                                  $1,291.84
CAPITEC BANK LIMITED
CARD SERVICES, BUSINESS DEVELO TECHNOPARK,
10 QUANTUM ROAD
STELLENBOSCH SOUTH AFRICA 7600                       $1,291.42
HENRICO FEDERAL CREDIT UNION
9401 WEST BROAD STREET
HENRICO, VA 23294 USA                                $1,282.43
UNIVERSITY OF NEBRASKA FEDERAL CREDIT UNION
1720 P STREET
LINCOLN, NE 68508 USA                                $1,282.36
THE CECILIAN BANK
104 EAST MAIN
CECILIA, KY 42724 USA                                $1,279.46
ROYAL BANK OF CANADA
200 BAY STREET, ROYAL BANK PLAZA 8TH FLOOR, SOUTH
TOWER
TORONTO, ON M5J 2J5 CANADA                           $1,277.26
BELGRADE STATE BANK
401 MAIN STREET
BELGRADE, MO 63622 USA                               $1,275.52
WEPCO FEDERAL CREDIT UNION
204 NORTH BRANCH AVENUE
BLOOMINGTON, MD 21523 USA                            $1,275.16
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 220 of 362


PERFECT CIRCLE CREDIT UNION
327 EAST MAIN STREET
HAGERSTOWN,INDIANA U.S.A. 47346                     $1,274.49
FIVEPOINT FEDERAL CREDIT UNION
3700 SKYLINE DR
PO BOX 1366
NEDERLAND, TX 77627                                 $1,273.56
NARFE PREMIER FEDERAL CREDIT UNION
6462 LITTLE RIVER TURNPIKE
ALEXANDRIA, VA 22312                                $1,273.09

P & G MEHOOPANY EMPLOYEES FEDERAL CREDIT UNION
51 WARREN STREET
MEHOOPANY,PENNSYLVANIA U.S.A. 18657                 $1,271.78
SECURITY STATE BANK
402 BROADWAY
CHEYENNE, OK 73628 USA                              $1,268.77
MID AMERICAN CREDIT UNION
8404 WEST KELLOGG DRIVE
WICHITA, KS 67209-1897 USA                          $1,268.05
SKYLINE FINANCIAL FEDERAL CREDIT UNION (WATERBURY
TELEPHONE FCU)
2457 EAST MAIN STREET
WATERBURY, CT 6705 USA                              $1,266.48
ARLINGTON FEDERAL CREDIT UNION
909 WEST SANFORD
ARLINGTON,TEXAS U.S.A. 76012                        $1,264.47
SECURITY STATE BANK
1930 SOUTH GOLD STREET
CENTRALIA, WA 98531 USA                             $1,264.33
LATITUDE 32 FEDERAL CREDIT UNION
1845 SAM RITTENBERG BOULEVARD
CHARLESTON, SC 29407 USA                            $1,264.16
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 221 of 362


BANCO CITIBANK DE GUATEMALA S.A.
15 CALLE 1-04, ZONA 10
CIUDAD DE GUATEMALA, 1010 GUATEMALA                 $1,261.08
INSTITUTION FOR SAVINGS IN NEWBURYPORT AND ITS
VICINITY
93 STATE STREET
NEWBURYPORT,MASSACHUSETTS U.S.A. 01950              $1,259.75
COVANTAGE CREDIT UNION
PO BOX 107
ANTIGO WI 54409-0107                                $1,257.09
COMMONWEALTH CREDIT UNION
563 WILLIAM R LATHAM SENIOR DRIVE
BOURBONNAIS, IL 60914 USA                           $1,255.22
RIVER CITY FEDERAL CREDIT UNION
610 AUGUSTA STREET
SAN ANTONIO,TEXAS U.S.A. 78215                      $1,254.02
MARTIN FEDERAL CREDIT UNION
1727 ORLANDO CENTRAL PKWY
ORLANDO, FL 32809                                   $1,253.80
BANK OF MARIN
504 REDWOOD BOULEVARD
NOVATO, CA 94947 USA                                $1,253.79
GLASS CAP FEDERAL CREDIT UNION
202 WEST PARK AVENUE SOUTH
CONNELLSVILLE,PENNSYLVANIA U.S.A. 15425             $1,252.64
LA LOMA FEDERAL CREDIT UNION
PO BOX 906
LOMA LINDA,CALIFORNIA U.S.A. 92354                  $1,249.89
NUTMEG STATE FINANCIAL CREDIT UNION, INC.
521 CROMWELL AVENUE
ROCKY HILL, CT 06067-0066 USA                       $1,247.15
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 222 of 362


FIRST CHOICE AMERICA COMMUNITY FEDERAL CREDIT
UNION
3501 MAIN STREET
WEIRTON, WV 26062 USA                               $1,242.25
UNKNOWN                                             $1,236.57
PEARLAND STATE BANK
2301 NORTH MAIN
PEARLAND,TEXAS U.S.A. 77588                         $1,233.64
JSTC EMPLOYEES FEDERAL CREDIT UNION
211 COLLEGE PARK PLAZA
 JOHNSTOWN, PA 15904 USA                            $1,230.20
AEON FINANCIAL SERVICE CO., LTD.
1-1 NISHIKI-CHO KANDA CHIYODA-KU
TOKYO, 101-0054 JAPAN                               $1,227.30
AMERICAN SAVINGS BANK, FSB
1001 BISHOP STREET, SUITE 100
HONOLULU, HI 96813 USA                              $1,226.40
MERCANTILE BANK LIMITED
142 WEST STREET, SANDOWN SANDTON
GAUTENG, SOUTH AFRICA 2196                          $1,224.86
FIRST EDUCATION FEDERAL CREDIT UNION
120 WEST CARLSON STREET
CHEYENNE, WY 82009 USA                              $1,223.09
BANK OF QUEENSLAND, LTD.
LEVEL 15/259 QUEEN STREET
UNIT/GROUP RISK
BRISBANE,QUEENSLAND AUSTRALIA 4000                  $1,222.68
UNION BANK OF NIGERIA PLC
36 MARINA LAGOS STALLION PLAZA
LAGOS, NIGERIA 01234                                $1,222.65
HERITAGE COMMUNITY CREDIT UNION
P. O. BOX 790
RANCHO CORDOVA,CALIFORNIA U.S.A. 95741-0790         $1,221.83
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 223 of 362


FIRST NATIONAL BANK OF HUNTSVILLE
P.O. BOX 659
HUNTSVILLE,TEXAS U.S.A. 77342                       $1,221.40
UTAH FIRST FEDERAL CREDIT UNION
200 EAST SOUTH TEMPLE
SALT LAKE CITY,UTAH U.S.A. 84111                    $1,220.79
AEROQUIP EMPLOYEES CREDIT UNION
901 PLYMOUTH ST.
JACKSON,MICHIGAN U.S.A. 49201                       $1,218.95
UNKNOWN                                             $1,218.48
STURGIS BANK TRUST COMPANY
125 EAST CHICAGO RD.
STURGIS,MICHIGAN U.S.A. 49091                       $1,214.52
BANCA AFIRME SA
AV.FELIX U GOMEZ4204 NTE
COL.VALLE DEL NOGALAR
AZTECA HID MEXICO 66480                             $1,213.93
NORTHEAST FAMILY FEDERAL CREDIT UNION
233 MAIN STREET
MANCHESTER, CT 6040 USA                             $1,213.84

GSA FEDERAL CREDIT UNION
ACCOUNTING DEPT 18TH & F STREET NW, ROOM G-112
WASHINGTON,DISTRICT OF COLUMBIA U.S.A. 20405        $1,213.40
FARMERS AND MERCHANTS BANK
213 SOUTH MAIN STREET
LAOTTO, IN 46763 USA                                $1,213.32
GLASS CITY FEDERAL CREDIT UNION
1340 ARROWHEAD DRIVE
MAUMEE, OH 43537 USA                                $1,212.23
POTLATCH NO. 1 FEDERAL CREDIT UNION
654 SOUTHWAY AVENUE
LEWISTON, ID 83501-0497 USA                         $1,207.69
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 224 of 362


COMMUNITY BANK AND TRUST - WEST GEORGIA
201 BROAD STREET
LAGRANGE,GEORGIA U.S.A. 30240                      $1,205.88
TEACHERS CREDIT UNION (LAKESIDE FCU)
110 SOUTH MAIN STREET
SOUTH BEND, IN 46601 USA                           $1,205.19
CALIFORNIA COMMUNITY CREDIT UNION
3113 WISSEMANN DRIVE
SACRAMENTO, CA 95826 USA                           $1,200.22
NEIGHBORS CREDIT UNION
6300 SOUTH LINDBERGH
SAINT LOUIS, MO 63123 USA                          $1,197.97
MID OREGON FEDERAL CREDIT UNION
1386 NE CUSHING DRIVE
BEND,OREGON U.S.A. 97701                           $1,197.20
AVENTA CREDIT UNION
2735 DUBLIN BOULEVARD
COLORADO SPRINGS, CO 80918 USA                     $1,194.66
HORIZON FEDERAL CREDIT UNION
1007 EAST THIRD STREET
WILLIAMSPORT, PA 17701 USA                         $1,193.17
CINFED FEDERAL CREDIT UNION
550 MAIN STREET, ROOM 5510
CINCINNATI, OH 45202-3275 USA                      $1,191.50
ASSOCIATED HEALTHCARE CU
360 SHERMAN ST STE B-10
ST PAUL, MN 55102                                  $1,190.74
CALIFORNIA BEAR CREDIT UNION
350 S. FIGUEROA ST# 180
LOS ANGELES,CALIFORNIA U.S.A. 90071                $1,189.49
DACOTAH BANK
308 SOUTH MAIN STREET
ABERDEEN, SD 57401-4146 USA                        $1,188.30
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 225 of 362


FORT WORTH CITY CREDIT UNION
2309 MONTGOMERY
FORT WORTH, TX 76107 USA                            $1,186.65
EASTMILL FEDERAL CREDIT UNION
60 MAIN ST.
EAST MILLINOCKET,MAINE U.S.A. 04430                 $1,185.83
AMARILLO NATIONAL BANK
410 SOUTH TAYLOR
AMARILLO, TX 79101 USA                              $1,177.00
NEWBRIDGE BANK
1501 HIGHWOODS BOULEVARD, SUITE 400
GREENSBORO, NC 27410 USA                            $1,173.46
EAST COUNTY SCHOOLS FEDERAL CREDIT UNION
(GROSSMONT)
1069 GRAVES AVENUE SUITE 100
EL CAJON, CA 92021 USA                              $1,171.45
FIRST LIBERTY FCU
6200 3RD AVE N
GREAT FALLS, MT 59405                               $1,170.30
L. A. HEALTHCARE FEDERAL CREDIT UNION
637 SOUTH LUCAS, GROUND FLOOR
LOS ANGELES,CALIFORNIA U.S.A. 90017                 $1,168.68
RAIFFEISENBANK AUSTRIA D.D.
PETRINJSKA 59
ZAGREB, 10000 CROATIA                               $1,168.23
PEOPLE FIRST FEDERAL CREDIT
2141 DOWNYFLAKE LANE
ALLENTOWN,PENNSYLVANIA U.S.A. 18103-4774            $1,168.00
CONSUM.IT.S.P.A.
VIA VITTORIO EMANUELE,
10 CALENZANO
FLORENCE ITALY 50041                                $1,165.16
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 226 of 362


POWER ONE FEDERAL CREDIT UNION
1520 SPY RUN AVENUE
FORT WAYNE, IN 46805 USA                           $1,163.55
KEMBA CREDIT UNION, INC.
8763 UNION CENTRE BOULEVARD
WEST CHESTER, OH 45069 USA                         $1,158.12
OLD NATIONAL BANK
1 MAIN STREET
EVANSVILLE,INDIANA U.S.A. 47708                    $1,157.54
CENTRIC FEDERAL CREDIT UNION
1091 THOMAS ROAD
WEST MONROE, LA 71292 USA                          $1,154.32
BAC COMMUNITY BANK
2021 WEST MARCH LANE
STOCKTON, CA 95207 USA                             $1,152.18
CHAFFEY FEDERAL CREDIT UNION
410 N. LEMON AVE.
ONTARIO,CALIFORNIA U.S.A. 91764                    $1,151.41
ONE BANK & TRUST, NATIONAL ASSOCIATION
300 WEST CAPITOL AVENUE
LITTLE ROCK,ARKANSAS U.S.A. 72201                  $1,151.29
CREDIT UNION 1
1941 ABBOTT ROAD
ANCHORAGE, AK 99507                                $1,147.95
THOMASTON SAVINGS BANK
203 MAIN STREET
THOMASTON, CT 6787 USA                             $1,142.00
FIRST COMMUNITY BANK
438 FIRST STREET
SANTA ROSA, CA 95404 USA                           $1,141.77
BRIDGEWATER CREDIT UNION
75 MAIN STREET
BRIDGEWATER,MASSACHUSETTS U.S.A. 02324             $1,140.44
                          Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 227 of 362


A.O.D. FEDERAL CREDIT UNION
334 HARRY AYERS DRIVE
BYNUM,ALABAMA U.S.A. 36253                        $1,140.25
ALLEGANY COUNTY MARYLAND TEACHERS FEDERAL
CREDIT UNION
14316 NATIONAL HIGHWAY SOUTHWEST
LA VALE,MARYLAND U.S.A. 21502                     $1,138.59
COMMUNITY BANK OF THE SOUTH
3016 ATLANTA ROAD
SMYRNA, GA 30080 USA                              $1,138.14
PROCREDIT BANK
86 BOZHENKA VUL.
KYIV, 3150 UKRAINE                                $1,137.69
UNITED COMMERCIAL BANK
60, MOTIJHEEL COMMERCIAL AREA
DHAKA, 1000 BANGLADESH                            $1,136.50
RIVERSET CREDIT UNION
1700 JANE STREET
PITTSBURGH, PA 15203 USA                          $1,133.04
CONNECTED CREDIT UNION
15 UNIVERISTY DRIVE
AUGUSTA, ME 4330 USA                              $1,132.26
TRUCHOICE FEDERAL CREDIT UNION
PO BOX 10659
PORTLAND, ME 04104                                $1,131.46
COASTWAY COMMUNITY BANK
ONE COASTWAY BLVD
WARWICK, RI 2886 USA                              $1,129.83
QATAR NATIONAL BANK, S. A. Q.
C-RING ROAD
PO BOX 1000 DOHA, QATAR                           $1,129.26
U.S. EMPLOYEES CREDIT UNION
230 SOUTH DEARBORN, SUITE 2982
CHICAGO,ILLINOIS U.S.A. 60604                     $1,124.55
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 228 of 362


COMMUNITY BANK & TRUST, WACO, TEXAS
1800 WASHINGTON AVENUE
WACO, TX 76701 USA                                   $1,124.47
KELLOGG MIDWEST FEDERAL CREDIT UNION
1724 NORTH 120TH STREET
OMAHA, NE 68154 USA                                  $1,124.35
AMERICAN SOUTHWEST CREDIT UNION
3090 EAST FRY BOULEVARD
SIERRA VISTA, AZ 85635 USA                           $1,122.45
NEW BEDFORD CREDIT UNION
1150 PURCHASE STREET
NEW BEDFORD,MASSACHUSETTS U.S.A. 02740               $1,118.02
SOCIETE GENERALE HAITIENNE DE BANQUE S.A.
(SOGEBANK S.A.)
DELMAS ROAD
PORT-AU-PRINCE, HAITI                                $1,117.46
MASSMUTUAL FEDERAL CREDIT UNION
1295 STATE STREET
SPRINGFIELD, MA 1111 USA                             $1,116.58
MOTION FEDERAL CREDIT UNION
1400 PARK AVENUE
LINDEN, NJ 7036 USA                                  $1,116.50
FIRST CHATHAM BANK
111 BARNARD STREET
SAVANNAH, GA 31401 USA                               $1,116.03
POSTAL FAMILY FEDERAL CREDIT UNION
657 2ND AVENUE NORTH, ROOM 360
FARGO, ND 58108-2663 USA                             $1,111.87
FIRST NATIONAL BANK OF MUSCATINE
300 EAST SECOND STREET
MUSCATINE, IA 52761                                  $1,107.95
UNITED CREDIT UNION
802 EAST BRECKENRIDGE
MEXICO, MO 65265-2687 USA                            $1,105.97
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 229 of 362


FAMILY BANK
134 HAND AVENUE
PELHAM, GA 31779 USA                                $1,101.29
CNLBANK
450 SOUTH ORANGE AVENUE
ORLANDO,FLORIDA U.S.A. 32801                        $1,096.73
ABN AMRO BANK N.V
PO BOX 22764
DIEMEN 1100 DG, NETHERLANDS                         $1,089.85
HUGHES FEDERAL CREDIT UNION
951 EAST HERMANS ROAD
TUCSON, AZ 85706 USA                                $1,087.47
RIVER BANK & TRUST
2611 LEGENDS DRIVE
PRATTVILLE, AL 36066 USA                            $1,086.03
BAY ATLANTIC FEDERAL CREDIT UNION
101 WEST ELMER ROAD
VINELAND, NJ 8360 USA                               $1,085.19

CANTON SCHOOL EMPLOYEES FEDERAL CREDIT UNION
1380 MARKET AVE NORTH
CANTON, OH 44714 USA                                $1,077.98
PRINCETON FEDERAL CREDIT UNION
104 CARNEGIE CENTER, SUITE 103
PRINCETON, NJ 8540 USA                              $1,077.27
OTERO FEDERAL CREDIT UNION
823 10TH STREET
ALAMOGORDO, NM 88310 USA                            $1,075.18
RURAL COOPERATIVES CREDIT UNION, INC.
4515 BISHOP LANE
LOUISVILLE, KY 40218 USA                            $1,072.32
THE NATIONAL BANK OF COXSACKIE
3-7 REED STREET
COXSACKIE, NY 12051-0400 USA                        $1,066.96
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 230 of 362


FIRST FEDERAL SAVINGS BANK OF TWIN FALLS
383 SHOSHONE STREET NORTH
TWIN FALLS, ID 83301 USA                             $1,066.72
VASCO FEDERAL CREDIT UNION
432 DEPOT STREET
LATROBE, PA 15650-1567 USA                           $1,066.60

HOUSTON TEXAS FIREFIGHTERS FEDERAL CREDIT UNION
PO BOX 70009
HOUSTON, TX 77270                                    $1,064.98
SIU CREDIT UNION
395 NORTH GIANT CITY ROAD
CARBONDALE, IL 62902 USA                             $1,064.28

GLENS FALLS NATIONAL BANK AND TRUST COMPANY
250 GLEN STREET
GLENS FALLS, NY 12801 USA                            $1,061.69
THE PARK BANK
2401 SOUTH PARK STREET
MADISON, WI 53713-2099 USA                           $1,060.84
UNKNOWN                                              $1,057.92
THE FIRST NATIONAL BANK OF HUTCHINSON
1 NORTH MAIN STREET
HUTCHINSON, KS 67501 USA                             $1,055.79
MALAGA BANK F.S.B.
2514 VIA TEJON
PALOS VERDES PENINSULA, CA 90274 USA                 $1,054.94
UNKNOWN                                              $1,051.67
BANCO SANTANDER INTERNATIONAL
1401 BRICKELL AVE
SUITE 1500
MIAMI, FL 33131                                      $1,050.57
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 231 of 362


N.G.H. CREDIT UNION
1818 ALBION STREET
NASHVILLE, TN 37208 USA                             $1,050.49
HITACHI CAPITAL CORPORATION
2-15-12,NISHISHIMBASHI, MINATO-KU
TOKYO JAPAN 105-8712                                $1,049.66
UNICREDIT BULBANK AD
7 SVETA NEDELYA SQUARE
SOFIA, 1000 BULGARIA                                $1,048.38
UNKNOWN                                             $1,048.29
BELMONT SAVINGS BANK
TWO LEONARD STREET
BELMONT, MA 2478 USA                                $1,046.82
BANCO BILBAO VIZCAYA ARGENTARIA, CHILE
HUERFANOS 1234
SANTIAGO, CHILE                                     $1,044.34
UNKNOWN                                             $1,043.69
MEMBERS FIRST CREDIT UNION
5444 SOUTH STAPLES STREET, SUITE- 101
CORPUS CHRISTI, TX 78411-4663 USA                   $1,042.33
MINERS EXCHANGE BANK
US ALTERNATE 58
COEBURN, VA 24230 USA                               $1,041.60
UNKNOWN                                             $1,037.34
UNITED BANK INC.
514 MARKET ST
VIENNA WV 26105-5190                                $1,035.59
HOMESTREET BANK
2000 TWO UNION SQUARE,
601 UNION STREET
SEATTLE, WA 98101-2326 USA                          $1,034.95
SEASONS FEDERAL CREDIT UNION
524 SOUTH MAIN STREET
MIDDLETOWN, CT 6457 USA                             $1,034.75
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 232 of 362


OHIO CATHOLIC FEDERAL CREDIT UNION
13623 ROCKSIDE ROAD
GARFIELD HEIGHTS, OH 44125-5196 USA                  $1,031.95
COMMERCE BANK
306 SOUTH CASS STREET
CORINTH, MS 38834 USA                                $1,031.69
BANK AL JAZIRA
AL AMIR FAHD STREET
JEDDAH, 21442 SAUDI ARABIA                           $1,026.72
SCHOOLS FEDERAL CREDIT UNION
2200 WEST ARTESIA BOULEVARD
RANCHO DOMINGUEZ, CA 90220 USA                       $1,025.95
HEARTLAND BANK
212 S CENTRAL AVE
ST. LOUIS MO 631053506                               $1,023.62

CAIXA CENTRAL DE CREDITO AGRICOLA MUTUO C.R.L.
RUA CASTILLO 223-233
LISBOA, PORTUGAL 1099-004                            $1,021.71
WING LUNG BANK LIMITED
45 DES VOEUX ROAD CENTRAL
HONG KONG, HONG KONG, CHINA                          $1,017.00
UNKNOWN                                              $1,016.56
BANCO BAC SAN JOSE S.A.
CALLE 0 AVENIDA 3 Y 4
SAN JOSE, COSTA RICA                                 $1,016.24
BANK OF MILLBROOK
3263 FRANKLIN AVENUE
MILLBROOK, NY 12545 USA                              $1,015.83
BANCO BICE
TEATINOS 220
SANTIAGO, CHILE                                      $1,013.90
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 233 of 362


EVABANK
4113 EVA ROAD EVA,
ALABAMA U.S.A. 35621                                $1,013.10
UNITED BANK (MONROE COUNTY BANK)
400 GRIFFIN STREET
ZEBULON, GA 30295 USA                               $1,011.14
VALLEY CREDIT UNION
200 EAST 6TH STREET
TUSCUMBIA,ALABAMA U.S.A. 35674                      $1,005.54
ST. LAWRENCE FEDERAL CREDIT UNION
800 COMMERCE PARK DRIVE
OGDENSBURG,NEW YORK U.S.A. 13669                    $1,000.36
TEXAS FEDERAL CREDIT UNION
1100 COMMERCE STREET, SUITE 745
DALLAS, TX 75242 USA                                $1,000.08
ALLEGHENY VALLEY BANK OF PITTSBURGH
5137 BUTLER STREET
PITTSBURGH, PA 15201 USA                            $1,000.00
UNKNOWN                                             $1,000.00
HERITAGE SOUTH CREDIT UNION
60 GENE E. STEWART BLVD
SYLACAUGA,GEORGIA U.S.A. 35151                      $1,000.00

BANCO BRADESCARD SA
ALAMEDA RIO NEGRO, 585 EDIFICIO PADAURI BARUERI
BRAZIL 06454000                                      $997.66
RSI BANK
1500 IRVING STREET
RAHWAY,NEW JERSEY U.S.A. 07065                       $996.93
LANCO FEDERAL CREDIT UNION
349 WEST ROSEVILLE ROAD
LANCASTER, PA 17601 USA                              $995.40
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 234 of 362


COPOCO COMMUNITY CREDIT UNION
4265 EAST WILDER ROAD
BAY CITY, MI 48706-2298 USA                          $994.65

ALLIANCE BLACKSTONE VALLEY FEDERAL CREDIT UNION
594 CENTRAL AVENUE
PAWTUCKET,RHODE ISLAND U.S.A. 02861                  $994.58
IRON WORKERS SAVINGS BANK
249 CONCORD ROAD
ASTON, PA 19014 USA                                  $993.84
VERMONT FEDERAL CREDIT UNION
84 PINE STREET
BURLINGTON, VT 5401 USA                              $992.54
INNOVATIONS FEDERAL CREDIT UNION
910 THOMAS DRIVE
PANAMA CITY,FLORIDA U.S.A. 32408                     $989.72
THE STOCK EXCHANGE BANK, CALDWELL, KANSAS
103 SOUTH MAIN STREET
CALDWELL, KS 67022-1607 USA                          $988.79
DUPACO COMMUNITY CREDIT UNION
3999 PENNSYLVANIA AVE
DUBUQUE IA 52002                                     $988.74
CITIZENS BANK OF BLOUNT COUNTY
330 EAST BROADWAY
MARYVILLE,TENNESSEE U.S.A. 37804                     $988.46
AMERICAN BANK
4029 WEST TILGHMAN STREET
ALLENTOWN, PA 18104 USA                              $987.89
FIRST FINANCIAL CREDIT UNION
5550 WEST TOUHY AVENUE, SUITE 102
SKOKIE, IL 60077 USA                                 $987.26
BLUE RIDGE BANK
17 WEST MAIN STREET
LURAY, VA 22835 USA                                  $985.43
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 235 of 362


WEST MICHIGAN CREDIT UNION
1319 FRONT STREET, NW
GRAND RAPIDS, MI 49504 USA                          $985.18
THE PAULS VALLEY NATIONAL BANK
101 WEST PAUL AVENUE
PAULS VALLEY, OK 73075 USA                          $984.88
HADDON SAVINGS BANK
201 WHITE HORSE PIKE
HADDON HEIGHTS, NJ 8035 USA                         $983.11
ASSOCIATED SCHOOL EMPLOYEES CREDIT UNION
1690 SOUTH CANFIELD NILES ROAD
YOUNGSTOWN, OH 44515 USA                            $983.01
FARMERS BANK
914 MAIN STREET
BUHL, ID 83316 USA                                  $980.84
EAGLEBANK
7815 WOODMONT AVENUE
BETHESDA, MD 20814 USA                              $980.38
MEDIA MEMBERS FEDERAL CREDIT UNION
400 NORTH BROAD STREET
PHILADELPHIA, PA 19130-4099 USA                     $980.00
MONMOUTH FEDERAL CREDIT UNION
1176 MAIN STREET
MONMOUTH,MAINE U.S.A. 04259                         $978.73
WYO CENTRAL FEDERAL CREDIT UNION
190 SOUTH DAVID STREET
CASPER, WY 82601 USA                                $976.58
HAMILTON STATE BANK
1907 HIGHWAY 211
HOSCHTON, GA 30548 USA                              $975.48
UNKNOWN                                             $974.79
CHICAGO PATROLMEN'S FEDERAL CREDIT UNION
1407 W. WASHINGTON
CHICAGO, IL 60607 USA                               $974.07
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 236 of 362


PITTSBURGH CENTRAL FEDERAL CREDIT UNION
1711 BABCOCK BOULEVARD
PITTSBURGH,PENNSYLVANIA U.S.A. 15209                  $973.31
THE FIRST, A NATIONAL BANKING ASSOCIATION
6480 HIGHWAY 98 W.
HATTIESBURG,MISSISSIPPI U.S.A. 39402                  $971.09
FIO BANKA A.S.
V CELNICI 10
PRAGUE CZECH REPUBLIC                                 $970.85
NEXTTIER BANK, N.A. (EUREKA BANK)
222 MARKET STREET
KITTANNING, PA 16201 USA                              $970.58
PROFESSIONAL FIRE FIGHTERS CREDIT UNION
6015 HEARNE AVENUE
SHREVEPORT, LA 71108 USA                              $970.27
DNB FIRST, NATIONAL ASSOCIATION
4 BRANDYWINE AVENUE
DOWNINGTON,PENNSYLVANIA U.S.A. 19335                  $967.88
LEWISTON MUNICIPAL FEDERAL CREDIT UNION
P.O. BOX 60
LEWISTON,MAINE U.S.A. 04240                           $967.28
UNCLE CREDIT UNION
2100 LAS POSITAS COURT
LIVERMORE,CALIFORNIA U.S.A. 94550                     $967.19
CENTRAL CREDIT UNION OF MARYLAND
8501 LASALLE ROAD
BALTIMORE MD 21286                                    $966.10
KIWIBANK LIMITED
RADIO NEW ZEALAND HOUSE 155 THE TERRACE
WELLINGTON NEW ZEALAND                                $963.41
BANK OF JAMESTOWN
PUBLIC SQUARE P. O. BOX 6
JAMESTOWN,KENTUCKY U.S.A. 42629                       $962.03
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 237 of 362


OWEN COUNTY STATE BANK
201 WEST MORGAN STREET
SPENCER,INDIANA U.S.A. 47460                         $960.60
UNIVERSITY OF MICHIGAN CREDIT UNION
340 EAST HURON, SUITE 100
ANN ARBOR,MICHIGAN U.S.A. 48104                      $960.06
UNKNOWN                                              $955.79
NEFFS NATIONAL BANK
5629 ROUTE 873
NEFFS,PENNSYLVANIA U.S.A. 18065                      $954.95
UNKNOWN                                              $953.47
BANK OF PERRY COUNTY
102 S. MAIN ST.
LOBELVILLE,TENNESSEE U.S.A. 37097                    $952.84
BELLCO FEDERAL CREDIT UNION
609 SPRING STREET
WYOMISSING,PENNSYLVANIA U.S.A. 19610                 $951.16
WUESTENROT BANK AG PFANDBRIEFBANK
WUESTENROTSTRASSE 1
LUDWIGSBURG, 71638 GERMANY                           $951.12
UWHARRIE BANK/BANK OF STANLY
P. O. BOX 338
ALBEMARLE,NORTH CAROLINA U.S.A. 28002-0388           $950.90
DEGUSSA BANK AG
THEODOR-HEUSS-ALLEE 74
FRANKFURT AM MAIN, 60486 GERMANY                     $947.22
SBERBANK HUNGARY LTD
RAKOCZI UT. 7
BUDAPEST 1088, HUNGARY                               $947.10
RUTGERS FEDERAL CREDIT UNION
100 COLLEGE AVENUE
NEW BRUNSWICK, NJ 8901 USA                           $946.91
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 238 of 362



BETHLEHEM 1ST FEDERAL CREDIT UNION (TEACHERS)
2317 EASTON AVENUE
BETHLEHEM, PA 18017-5099 USA                         $945.67
NORDSTROM FEDERAL CREDIT UNION
4221 WINSLOW PLACE NORTH
SEATTLE, WA 98103 USA                                $941.59
COMMUNITY TRUST CREDIT UNION
1313 SKOKIE HIGHWAY
GURNEE, IL 60031 USA                                 $940.84
M E A FEDERAL CREDIT UNION
6333 WHITESVILLE ROAD
COLUMBUS,GEORGIA U.S.A. 31904                        $939.59

HERITAGE BANK/SOUTHERN BANK AND TRUST COMPANY
100 NORTH CENTER STREET
MOUNT OLIVE, NC 28365 USA                            $937.96
HONEYWELL PHILADELPHIA DIVISION FEDERAL CREDIT
UNION
512 VIRGINIA DRIVE
FORT WASHINGTON, PA 19034 USA                        $937.22
UNKNOWN                                              $936.54
JL. JEND.SUDIRMAN KAV.1
JAKARTA 10220, INDONESIA                             $928.48
FIRST KEYSTONE COMMUNITY BANK
111 WEST FRONT STREET
BERWICK, PA 18603 USA                                $928.14
UNKNOWN                                              $927.00
WATERFORD BANK, N.A.
3900 NORTH MCCORD ROAD
TOLEDO, OH 43617 USA                                 $924.25
YOUR HOMETOWN FEDERAL CREDIT UNION
2338 STREET ROUTE 45 NORTH
MAYFIELD, KY 42066 USA                               $923.71
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 239 of 362


FIRST FEDERAL BANK
200 EAST DIVINE STREET
DUNN, NC 28335 USA                                  $923.04
METHODIST HEALTHCARE FEDERAL CREDIT UNION
7130 GOODLETT FARMS PARKWAY
CORDOVA, TN 38016 USA                               $922.62
CTBC BANK CORP. (USA)
801 SOUTH FIGUEROA STREET
LOS ANGELES, CA 90017 USA                           $922.04
GREYLOCK FEDERAL CREDIT UNION
150 WEST STREET
PITTSFIELD, MA 01201-4396 USA                       $920.88
FIRST COMMUNITY FINANCIAL BANK
14150 SOUTH ROUTE 30
PLAINFIELD, IL 60544 USA                            $916.70
RELIANCE FEDERAL CREDIT UNION
20102 VALLEY FORGE CIRCLE
KING OF PRUSSIA,PENNSYLVANIA U.S.A. 19406           $916.01
MTCU
1505 NORTH MIDLAND DRIVE
MIDLAND, TX 79703 USA                               $912.97
TACONNET FEDERAL CREDIT UNION
60 BENTON AVE
WINSLOW,MAINE U.S.A. 04901                          $912.75
V.A.C.EMPLOYEES FEDERAL CREDIT UNION
2 WILSON AVENUE
BATH, NY 14810 USA                                  $911.70

PT. BANK SINARMAS
WISMA BANK SINARMAS JALAN MH. THAMRIN NO. 51
JAKARTA, 10350 INDONESIA                            $911.04
DEL NORTE CREDIT UNION
1911 CENTRAL AVENUE
LOS ALAMOS, NM 87544 USA                            $908.04
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 240 of 362


1880 BANK (EASTON BANK & TRUST)
304 HIGH STREET
CAMBRIDGE, MD 21613 USA                               $907.60
AL BILAD BANK
SALAHUDDIN ROAD (AL SITTEEN STREET)
RIYADH, SAUDI ARABIA                                  $904.92

JEFFERSON PARISH EMPLOYEES FEDERAL CREDIT UNION
1221 ELMWOOD PARK BLVD. RM. 207
HARAHAN,LOUISIANA U.S.A. 70123                        $904.42
ICON BANK OF TEXAS NA
7908 NORTH SAM HOUSTON PARKWAY WEST
HOUSTON, TX 77064                                     $904.28
SECURITY BANK USA
1025 PAUL BUNYAN DRIVE NORTHWEST
BEMIDJI, MN 56601 USA                                 $904.22
UNKNOWN                                               $902.51
UNKNOWN                                               $900.99
VIJAYA BANK
4 1/2 , M G ROAD KARNATAKA
BANGALORE,KARNATAKA INDIA 560 001                     $900.42
FINANCIAL FEDERAL CREDIT UNION
22 EAST FLAGLER STREET 6TH FLOOR
MIAMI, FL 33131 USA                                   $899.66
THE PADUCAH BANK AND TRUST COMPANY
555 JEFFERSON STREET
PADUCAH, KY 42001 USA                                 $898.53
SCOTIABANK EL SALVADOR S.A.
TORRE SCOTIABANK AV. OLIMPICA NO. 129
SAN SALVADOR, EL SALVADOR                             $897.88
THE TENNESSEE CREDIT UNION
1400 EIGHT AVENUE SOUTH
NASHVILLE, TN 37203 USA                               $897.60
                              Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 241 of 362


GIBSLAND BANK & TRUST COMPANY
1246 THIRD STREET
GIBSLAND, LA 71028 USA                                 $896.63
HEARTLAND CREDIT UNION
5325 HIGH CROSSING BLVD
MADISON,WISCONSIN U.S.A. 53718                         $896.56
CAPITAL BANK
625 BATTLEFIELD PARKWAY
FORT OGLETHORPE,GEORGIA U.S.A. 30742                   $894.76
CLASSIC BANK, NATIONAL ASSOCIATION
102 NORTH HOUSTON
P. O. BOX 835
CAMERON,TEXAS U.S.A. 76520                             $894.38
PITTSFORD FEDERAL CREDIT UNION
20 TOBEY VILLAGE OFFICE ROAD
PITTSFORD,NEW YORK U.S.A. 14534                        $894.25
CORNERSTONE FINANCIAL CREDIT UNION
1701 21ST AVENUE SOUTH
NASHVILLE, TN 37212-0729 USA                           $893.47
GREENWOOD CREDIT UNION
2669 POST ROAD
WARWICK,RHODE ISLAND U.S.A. 02886                      $893.00
SISTEMAS INTERNACIONALES S.A. DE C.V.
55 AVENIDA SUR E/ AL. ROOSEVELT Y AVE. OLIMPICA -
EDIFICIO CREDOMATIC
SAN SALVADOR, EL SALVADOR                              $890.53
FIRST BANK
1221 SOUTH BLACK HORSE PIKE
WILLIAMSTOWN, NJ 8094 USA                              $890.10
RABUN COUNTY BANK
121 RICKMAN STREET
CLAYTON, GA 30525 USA                                  $889.74
UNKNOWN                                                $882.26
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 242 of 362


FIRST KANSAS BANK
101 NORTH MAIN
HOISINGTON, KS 67544 USA                              $882.00
PEOPLE DRIVEN CREDIT UNION
24333 LAHSER ROAD
SOUTHFIELD, MI 48034-6041 USA                         $880.54
INTERCOMMERCIAL BANK LIMITED
DSM PLAZA, OLD SOUTHERN MAIN ROAD
CHAGUANAS, TRINIDAD, TRINIDAD AND TOBAGO              $880.47
GRAND VALLEY BANK
925 NORTH 7TH STREET
GRAND JUNCTION, CO 81501 USA                          $879.50
ANECA FEDERAL CREDIT UNION
4361 YOUREE DRIVE
SHREVEPORT, LA 71105 USA                              $878.40
ASHEVILLE SAVINGS BANK, FSB
P. O. BOX 652
ASHEVILLE,NORTH CAROLINA U.S.A. 28802                 $877.58
CENTRAL-EUROPEAN INTERNATIONAL BANK
PETREZSELYEM UTCA 2-8
BUDAPEST HUNGARY 1024                                 $876.20
NATIONAL BANK & TRUST
145 WEST COLORADO STREET
LA GRANGE, TX 78945 USA                               $874.44
(FINCEN ACTIONED) FBME CARD SERVICES LIMITED
90 ARCH. MAKARIOS III AVENUE
NICOSIA, 1077 CYPRUS                                  $874.35
PIONEER FEDERAL CREDIT UNION
250 WEST 3RD SOUTH
MOUNTAIN HOME,IDAHO U.S.A. 83647                      $874.34
UNKNOWN                                               $874.09
BANK OF MONTGOMERY
1000 CADDO STREET
MONTGOMERY, LA 71454 USA                              $874.06
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 243 of 362


OTP BANK PLC
PO BOX 1023
BUDAPEST 1023, HUNGARY                               $873.98

MISSISSIPPI NATIONAL GUARD FEDERAL CREDIT UNION
142 MILITARY DRIVE
JACKSON, MS 39232 USA                                $873.54
UTAH POWER CREDIT UNION
957 EAST 6600 SOUTH
SALT LAKE CITY, UT 84121 USA                         $871.87
TRANSPORTATION FEDERAL CREDIT UNION
400 7TH STREET, SOUTH WEST
WASHINGTON, DC 20590 USA                             $869.82
MISSION BANK
1330 TRUXTUN AVENUE
BAKERSFIELD,CALIFORNIA U.S.A. 93301                  $869.37
GULF COAST COMMUNITY FEDERAL CREDIT UNION
12364 HIGHWAY 49
GULFPORT, MS 39503 USA                               $868.93
PEOPLES BANK AND TRUST COMPANY
101 SOUTH MAIN STREET
MCPHERSON, KS 67460 USA                              $868.76
CONNECTICUT COMMUNITY BANK, NATIONAL
ASSOCIATION
1495 POST ROAD EAST
WESTPORT, CT 6880 USA                                $868.65
CITIZENS BANK AND TRUST COMPANY
515 WASHINGTON STREET
CHILLICOTHE, MO 64601 USA                            $864.83
LOS ALAMOS NATIONAL BANK
1200 TRINITY DRIVE
LOS ALAMOS,NEW MEXICO U.S.A. 87544                   $862.73
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 244 of 362


LISBON COMMUNITY FEDERAL CREDIT UNION
325 LISBON STREET
LISBON,MAINE U.S.A. 04250                           $861.52
MOODY NATIONAL BANK
2302 POST OFFICE STREET
GALVESTON,TEXAS U.S.A. 77550-1913                   $859.71
SUNCORP-METWAY LIMITED
G.P.O. BOX 1453 (FI008)
BRISBANE, AUSTRALIA QLD 4001                        $858.90
ALLIANCE CREDIT UNION
3315 ALMADEN EXPRESSWAY, SUITE 55
SAN JOSE, CA 95118 USA                              $858.12
PATTERSON STATE BANK
1130 HIGHWAY 90 WEST
PATTERSON, LA 70392 USA                             $856.57
ADVANTAGE FEDERAL CREDIT UNION
1975 BUFFALO ROAD
ROCHESTER, NY 14624 USA                             $852.83
YAMPA VALLEY BANK
600 SOUTH LINCOLN AVENUE
STEAMBOAT SPRINGS, CO 80487 USA                     $850.52
UNIWYO FEDERAL CREDIT UNION
1610 EAST REYNOLDS STREET
LARAMIE,WYOMING U.S.A. 82072                        $848.84
MALVERN FEDERAL SAVINGS BANK
42 EAST LANCASTER AVE.
MALVERN,PENNSYLVANIA U.S.A. 19301                   $848.24
ASIAN BANK
815-837 ARCH STREET
PHILADELPHIA, PA 19107 USA                          $848.06
HERITAGE FEDERAL CREDIT UNION
5388 OLD STATE ROAD 66
NEWBURGH,INDIANA U.S.A. 47630                       $844.49
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 245 of 362



THE SUFFOLK COUNTY NATIONAL BANK OF RIVERHEAD
6 WEST SECOND STREET
RIVERHEAD, NY 11901 USA                             $843.01
MARINERS BANK
935 RIVER ROAD
EDGEWATER, NJ 7020 USA                              $841.97
DECATUR EARTHMOVER CREDIT UNION
260 WEST MARION AVENUE
FORSYTH, IL 62535 USA                               $841.16
KIT FEDERAL CREDIT UNION
3415 BARDSTOWN ROAD SUITE 103A
LOUISVILLE,KENTUCKY U.S.A. 40218                    $837.46
THE BENNINGTON STATE BANK
2130 SOUTH OHIO STREET
SALINA, KS 67401 USA                                $836.55
VALLEY PREMIER BANK (STATE BANK OF HAWLEY)
416 SIXTH STREET
HAWLEY, MN 56549 USA                                $835.98
ENERGY PLUS CREDIT UNION
1230 WEST MORRIS STREET
INDIANAPOLIS,INDIANA U.S.A. 46221                   $833.93
BUFFALO SERVICE CREDIT UNION
130 SOUTH ELMWOOD AVENUE
BUFFALO, NY 14202 USA                               $832.65
PARTNER COLORADO CREDIT UNION
6221 SHERIDAN BOULEVARD
ARVADA, CO 80003 USA                                $831.80
MONTEREY CREDIT UNION
P.O. BOX 3288
MONTEREY,CALIFORNIA U.S.A. 93942                    $828.65
LEXINGTON AVENUE FEDERAL CREDIT UNION
1275 LEXINGTON AVENUE
ROCHESTER,NEW YORK U.S.A. 14606                     $828.36
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 246 of 362


NBC OKLAHOMA
13401 NORTH PENNSYLVANIA AVENUE
OKLAHOMA CITY,OKLAHOMA U.S.A. 73120                 $827.57
UNKNOWN                                             $827.34
HERITAGE BANK OF CENTRAL ILLINOIS
615 NORTH TRIVOLI AVENUE
TRIVOLI,ILLINOIS U.S.A. 61569                       $824.61
THE EVANGELINE BANK AND TRUST COMPANY
497 WEST MAIN STREET
VILLE PLATTE, LA 70586 USA                          $823.94
POST OAK BANK, N. A.
2000 WEST LOOP SOUTH, SUITE 100
HOUSTON, TX 77027 USA                               $822.43
OLYMPIA CREDIT UNION
202 9TH AVENUE SE
OLYMPIA,WASHINGTON U.S.A. 98501                     $819.00

FARMERS & MERCHANTS BANK OF SOUTH CAROLINA
8624 OLD STATE ROAD
HOLLY HILL,SOUTH CAROLINA U.S.A. 29059              $818.17
GRAND RAPIDS STATE BANK
MAIN STREET
GRAND RAPIDS, MN 55744 USA                          $817.52
WIRECARD CARD SOLUTIONS LIMITED
3-5 HOOD STREET 3RD FLOOR
GRAINGER CHAMBERS
NEWCASTLE UPON TYNE UNITED KINGDOM NE1 6JQ          $817.40
LAKEVIEW FEDERAL CREDIT UNION
2909 STATE ROAD
ASHTABULA, OH 44004 USA                             $817.24
DEPARTMENT OF CORRECTIONS CREDIT UNION
504 MAYFLOWER ST. BLDG 5
BATON ROUGE,LOUISIANA U.S.A. 70802                  $815.29
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 247 of 362


MONROE EDUCATION EMPLOYEES FEDERAL CREDIT
UNION
456 S. ALA AVENUE
MONROEVILLE,ALABAMA U.S.A. 36461                     $813.39
ANDHRA BANK KOTI SULTAN BAZAR, 2ND FLOOR
CREDIT CARD DIVISION
HYDERBAD,ANDHRA PRADESH INDIA 500095                 $811.60

NORTH CAROLINA COMMUNITY FEDERAL CREDIT UNION
2401 EAST ASH STREET
GOLDSBORO, NC 27534 USA                              $811.60
AMERICAN UNITED FAMILY OF CREDIT UNIONS FEDERAL
CREDIT UNION
500 FOOTHILL DRIVE
SALT LAKE CITY, UT 84148 USA                         $810.27
UNKNOWN                                              $807.58
THE FEDERAL SAVINGS BANK
7900 COLLEGE BLVD
OVERLAND PARK, KS 66210 USA                          $805.96
UNKNOWN                                              $805.24
LIBERTY BANK FOR SAVINGS
2392 NORTH MILWAUKEE AVENUE
CHICAGO, IL 60647 USA                                $800.66
TEXAS CITIZENS BANK,NATIONAL ASSOCIATION
4130 FAIRMONT PARKWAY
PASADENA, U.S.A. 77504                               $800.66
NIAGARA'S CHOICE FEDERAL CREDIT UNION
3619 PACKARD ROAD
NIAGARA FALLS, NY 14303 USA                          $800.51
THE BANK OF NEW GLARUS
501 FIRST STREET
NEW GLARUS, WI 53574-0129 USA                        $800.00
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 248 of 362


STATE BANK OF LINCOLN
P. O. BOX 529
LINCOLN,ILLINOIS U.S.A. 62656                        $798.19
SOUTHERN FEDERAL CREDIT UNION
PO BOX 2765
HOUSTON, TX 77252                                    $793.14
FLINT AREA SCHOOL EMPLOYEES CREDIT UNION
4411 CALKINS ROAD
FLINT, MI 48532 USA                                  $789.95
SPACE AGE FCU
2495 S HAVANA STREET F 18
AURORA,COLORADO U.S.A. 80014                         $789.07
FREEDOM BANK
209 W. MEDCALF STREET
DALE,INDIANA U.S.A. 47523                            $789.05
COREFIRST BANK & TRUST
3035 SOUTH TOPEKA AVENUE
TOPEKA, KS 66611 USA                                 $788.82

GREATER HARTFORD POLICE FEDERAL CREDIT UNION
50 JENNINGS ROAD
HARTFORD,CONNECTICUT U.S.A. 06120                    $787.96
NEW CENTURY FEDERAL CREDIT UNION
971 N. COLLINS STREET
JOLIET,ILLINOIS U.S.A. 60432                         $787.36
IVY BANK (CLOSED JOINT-STOCK COMPANY):
125195, MOSCOW, LENINGRADSKOE SH.,. 59               $787.10
CITIZENS STATE BANK
2000 SOUTH BYRON BUTLER PARKWAY
PERRY, FL 32348 USA                                  $786.78
THE JONES NATIONAL BANK AND TRUST COMPANY OF
SEWARD
203 SOUTH SIXTH
SEWARD, NE 68434-0469 USA                            $786.47
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 249 of 362


PS BANK
ROUTE 6 EAST
WYALUSING, PA 18853 USA                              $786.29
LAS COLINAS FEDERAL CREDIT UNION
P. O. BOX 152072
IRVING,TEXAS U.S.A. 75015-2072                       $786.24
SUMMIT HAMPTON ROADS FEDERAL CREDIT UNION
150 KINGSLEY LANE
NORFOLK,VIRGINIA U.S.A. 23505                        $784.32
SPENCER SAVINGS BANK, SAVINGS AND LOAN
ASSOCIATION
34 OUTWATER LANE
GARFIELD,NEW JERSEY U.S.A. 07026                     $782.83
THE CAPE COD FIVE CENTS SAVINGS BANK
532 MAIN STREET
HARWICH PORT, MA 2646 USA                            $782.70

VALLEY HEALTH AND POSTAL EMPLOYEES CREDIT UNION
2096 MISSION STREET SOUTHEAST
SALEM, OR 97302 USA                                  $782.37
NRL FEDERAL CREDIT UNION
5440 CHEROKEE AVENUE SUITE 200
ALEXANDRIA, VA 22312 USA                             $781.17
MERCHANTS & FARMERS BANK & TRUST COMPANY
501 SOUTH FIFTH STREET
LEESVILLE,LOUISIANA U.S.A. 71446                     $780.95
FLORIDA DEPARTMENT OF TRANSPORTATION DISTRICT 3
CREDIT UNION
640 EAST GAINES STREET
TALLAHASSEE, FL 32301 USA                            $780.86
PINNACLE BANK (MAGNA BANK)
211 COMMERCE STREET
NASHVILLE, TN 37201 USA                              $779.49
UNKNOWN                                              $778.08
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 250 of 362


COMMUNITYWIDE FEDERAL CREDIT UNION
1555 WEST WESTERN AVENUE
SOUTH BEND, IN 46619-3742 USA                        $777.66
WESTMARK CREDIT UNION
1050 FOOTE DRIVE
IDAHO FALLS, ID 83403 USA                            $777.33
CAPITAL BANK, NATIONAL ASSOCIATION
ONE CHURCH STREET
ROCKVILLE, MD 20850 USA                              $777.15
LIBERTY SAVINGS FEDERAL CREDIT UNION
666 NEWARK AVENUE
JERSEY CITY, NJ 7306 USA                             $776.44
THE LYONS NATIONAL BANK
35 WILLIAMS STREET
LYONS, NY 14489 USA                                  $776.25
COLLEGEDALE CREDIT UNION
5000 FLEMING PLAZA
COLLEGEDALE, TN 37315 USA                            $775.14
SABADELL UNITED BANK, NATIONAL ASSOCIATION (JGB
BANK)
1111 BRICKELL AVENUE
MIAMI, FL 33131 USA                                  $774.59
MID MINNESOTA FEDERAL CREDIT UNION
13283 ISLE DR
BAXTER, MN 56425 USA                                 $773.03
CHESTERFIELD FEDERAL CREDIT UNION
6737 PUBLIC SAFETY WAY
CHESTERFIELD, VA 23832 USA                           $770.31
THE MIDDLEBURG BANK
111 WEST WASHINGTON STREET
MIDDLEBURG, VA 20117 USA                             $769.36
WYOCHEM FEDERAL CREDIT UNION
520 WILKES DRIVE, SUITE 17
GREEN RIVER, WY 82935 USA                            $766.76
                              Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 251 of 362


BANESCO USA
150 ALHAMBRA CIRCLE, SUITE 100
CORAL GABLES, FL 33134 USA                             $766.04
TRUITY FEDERAL CREDIT UNION (66 FED CU)
PO BOX 1358
BARTLESVILLE, OK 74005                                 $765.92
THE BANK N.A.
P. O. BOX 1067
MCALESTER,OKLAHOMA U.S.A. 74502                        $764.09
COMMUNITY NATIONAL BANK
1271 MARKET STREET
DAYTON, TN 37321 USA                                   $762.09
SKY FEDERAL CREDIT UNION
111 NORTH B STREET
LIVINGSTON,MONTANA U.S.A. 59047                        $760.89
RIVER BANK
145 NORTH MAIN STREET
STODDARD, WI 54658-0280 USA                            $758.00
1ST SECURITY BANK OF WA
WASHINGTON CREDIT UNION
6920-220TH ST SW, SUITE 300
MOUNTLAKE, TERRACE, WA 98043                           $757.16
SAFE FEDERAL CREDIT UNION
ATTN: ROBIN KELLY
PO BOX 2008
SUMTER, SC 29151                                       $756.52
TOMPKINS COUNTY TRUST COMPANY
THE COMMONS BOX 460
ITHACA,NEW YORK U.S.A. 14851                           $753.01

STERLING HEIGHTS COMMUNITY FEDERAL CREDIT UNION
34236 VAN DYKE AVENUE
STERLING HEIGHTS, MI 48312 USA                         $752.25
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 252 of 362


THUNDERBOLT AREA FEDERAL CREDIT UNION
12 BEACON AVENUE
MILLVILLE MUNICIPAL AIRPORT
MILLVILLE,NEW JERSEY U.S.A. 08332                     $752.17
FIREFIGHTERS CREDIT UNION
501 NORTH NEW JERSEY STREET
INDIANAPOLIS, IN 46204 USA                            $751.89
USPLK EMPLOYEES FEDERAL CREDIT UNION
16055 SANTA FE TRAIL
LEAVENWORTH, KS 66048 USA                             $747.46
HEARTLAND FEDERAL CREDIT UNION
3400 OFFICE PARK DRIVE
DAYTON, OH 45439 USA                                  $747.18

UNITED BANK FOR AFRICA (UBA) PLC
2éME ETAGE IMMEUBLE KHARRAT BLVD.
BOTREAU ROUSSEL ABIDJAN, 17 BP 808 COTE D'IVOIRE      $746.57
SETEFI S.P.A.
VIALE GIULIO RICHARD 7
20143 MILANO, ITALY                                   $746.35
PILOT BANK
2901 EAST FOWLER AVENUE
TAMPA, FL 33612 USA                                   $745.16
PORTLAND LOCAL NO. 8 FEDERAL CREDIT UNION
2435 NORTHWEST FRONT AVE SUITE A
PORTLAND, OR 97209 USA                                $745.00
UNKNOWN                                               $744.30
TULSA FEDERAL CREDIT UNION
9323 EAST 21ST STREET
TULSA, OK 74129 USA                                   $744.09
TOMAH AREA CREDIT UNION
940 N SUPERIOR AVE
TOMAH, WI 54660                                       $743.28
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 253 of 362


LINN-CO FEDERAL CREDIT UNION
485 SECOND STREET
LEBANON, OR 97355 USA                                $741.59
SAGELINK CREDIT UNION
311 NORTH SAGINAW STREET
DURAND, MI 48429 USA                                 $740.16
GREENVILLE FEDERAL
690 WAGNER AVENUE
GREENVILLE, OH 45331 USA                             $739.31
COMMONWEALTH BANK AND TRUST COMPANY
4350 BROWNSBORO ROAD, SUITE 310
LOUISVILLE, KY 40207 USA                             $738.27
PARTNERS FINANCIAL FEDERAL CREDIT UNION
1200 NEW YORK AVENUE
GLEN ALLEN, VA 23060 USA                             $738.08
UNKNOWN                                              $737.20
PEOPLES BANK & TRUST COMPANY
101 N. MAIN STREET
OWENTON, KY 40359 USA                                $736.44
CHEVRON VALLEY CREDIT UNION
8200 GRANITE FALLS DRIVE
BAKERSFIELD, CA 93312                                $732.36
NORTHWEST UNITED FEDERAL CREDIT UNION
6320 OLDE WADSWORTH BOULEVARD
ARVADA, CO 80003 USA                                 $731.79
GERMAN AMERICAN BANCORP
711 MAIN STREET
JASPER, IN 47546 USA                                 $730.87
UKRAINIAN SELFRELIANCE FEDERAL CREDIT UNION
1729 COTTMAN AVENUE
PHILADELPHIA, PA 19111 USA                           $729.75
TEXOMA EDUCATORS FEDERAL CREDIT UNION
506 W. LAMAR STREET
SHERMAN,TEXAS U.S.A. 75090                           $729.68
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 254 of 362


AVIDBANK
400 EMERSON STREET
PALO ALTO, CA 94301 USA                              $729.56
NUCOR EMPLOYEE'S CREDIT UNION
1202 N. CASHUA DR.
FLORENCE,SOUTH CAROLINA U.S.A. 29501                 $729.39
KANSAS CITY CREDIT UNION
5110 ARARAT DRIVE
KANSAS CITY,MISSOURI U.S.A. 64129                    $728.30
UNKNOWN                                              $726.42

THOMAS COOK (INDIA) LIMITED
WORLDWIDE HOUSE, THORPE WOOD PETERBOROUGH
UNITED KINGDOM PE3 6SB                               $724.19
EAST BOSTON SAVINGS BANK
P.O. BOX 111
EAST BOSTON, MA 02128                                $720.71
UNKNOWN                                              $719.67
ANTHEM BANK & TRUST
PO BOX 341569
LAKEWAY, TX 78734                                    $719.26
BEACON CREDIT UNION
107 LEROY BOWEN DRIVE
LYNCHBURG, VA 24502 USA                              $717.94
KAIPERM NW FCU
500 NE MULTNOMAH STREET SUITE 320
PORTLAND, OR 97232                                   $717.66
EBS BUILDING SOCIETY
UNIT 33 BLACKTHORN ROAD
SANDYFORD
DUBLIN 18 IRELAND                                    $717.50
IRCO COMMUNITY FEDERAL CREDIT UNION
450 HILLCREST BOULEVARD
PHILLIPSBURG, NJ 8865 USA                            $715.71
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 255 of 362


UNKNOWN                                             $715.56
PIONEER WEST VIRGINIA FCU
1320 KANAWHA BLVD E
CHARLESTON,WEST VIRGINIA U.S.A. 25301               $714.71
PLUS CREDIT UNION
1900 S JONES BOULEVARD
LAS VEGAS, NV 89146 USA                             $713.44
BANKTENNESSEE
1125 WEST POPLAR AVENUE
COLLIERVILLE, TN 38017 USA                          $713.06
THE CENTREVILLE NATIONAL BANK OF MARYLAND
109 N. COMMERCE STREET
CENTREVILLE,MARYLAND U.S.A. 21617                   $710.27
UNKNOWN                                             $709.01
LEA COUNTY STATE BANK
1017 NORTH TURNER
HOBBS, NM 88241 USA                                 $707.98
1ST SUMMIT BANK
125 DONALD LANE
JOHNSTOWN, PA 15904                                 $705.50
RIVERMARK COMMUNITY CREDIT UNION
8505 SOUTHWEST CREEKSIDE PLACE
BEAVERTON, OR 97008 USA                             $702.20
WAUNA FEDERAL CREDIT UNION
101 SOUTH EAST TRUHAAK
CLATSKANIE, OR 97016 USA                            $701.26
JEFFERSON SECURITY BANK
PRINCESS AND WASHINGTON STREETS
SHEPHERDSTOWN,WEST VIRGINIA U.S.A. 25443            $700.20
MINNCO CREDIT UNION
235 1ST AVENUE WEST
CAMBRIDGE, MN 55008 USA                             $700.00
                          Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 256 of 362


AS SEB PANK
CARDS AND PAYMENT SYSTEMS
TORNIMÄE 2
TALLINN ESTONIA                                    $699.58
DCH CREDIT UNION
424 PAUL BRYANT DR. E.
TUSCALOOSA,ALABAMA U.S.A. 35401                    $699.03
DEUTSCHE BANK TRUST COMPANY AMERICAS
60 WALL STREET
NEW YORK, NY 10005 USA                             $698.68
PJSC TASCOMBANK
15,A KURENIVSKA STR
KYIV, 4073 UKRAINE                                 $697.54
SOUTH BAY CREDIT UNION
2304 ARTESIA BOULEVARD
REDONDO BEACH, CA 90278 USA                        $696.78
NW PREFERRED FEDERAL CREDIT UNION
13333 SOUTHWEST 68TH PARKWAY
TIGARD, OR 97223 USA                               $695.04
KEMBA DELTA FEDERAL CREDIT UNION
4095 AMERICAN WAY, SUITE 10
MEMPHIS, TN 38118 USA                              $693.11
CAPITOL NATIONAL BANK
200 WASHINGTON SQUARE NORTH
LANSING, MI 48933 USA                              $692.88
UNKNOWN                                            $692.17
ISRAEL DISCOUNT BANK LTD.
HERZL STREET 160
TEL AVIV 68101, ISRAEL                             $691.42
PEOPLES BANK OF ALABAMA
811 2ND AVENUE SOUTHWEST
CULLMAN, AL 35055 USA                              $690.44
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 257 of 362



FARMERS-MERCHANTS NATIONAL BANK OF PAXTON
101 NORTH TAFT STREET
PAXTON,ILLINOIS U.S.A. 60957                        $690.40
BANCO DE VENEZUELA S.A.
AVE. UNIVERSIDAD ESQ.
SOCIEDAD TORRE BANCO DE VENEZUELA
CARACAS, 1010 VENEZUELA                             $690.00
LEE BANK AND TRUST COMPANY
600 WEST MORGAN AVENUE
PENNINGTON GAP, VA 24277 USA                        $689.10
CENTRAL COAST FEDERAL CREDIT UNION
4242 GIGLING ROAD
SEASIDE,CALIFORNIA U.S.A. 93955                     $687.85
BANESCO BANCO UNIVERSAL C.A.
TORRE BANESCO I, AV. PPAL.
LAS MERCEDES C/C GUAICAIPURO EL ROSAL,
CARACAS, 1060 VENEZUELA                             $687.37
PACIFIC COMMUNITY CREDIT UNION
401 EAST IMPERIAL HIGHWAY
FULLERTON,CALIFORNIA U.S.A. 92635-1199              $686.62
TOWN OF HEMPSTEAD EMPLOYEES FEDERAL CREDIT
UNION
1830 GRAND AVENUE
BALDWIN,NEW YORK U.S.A. 11510-2416                  $685.65
CREDIT UNION OF GEORGIA
3048 EAGLE DRIVE
WOODSTOCK, GA 30189 USA                             $684.62
NORTH MIDDLESEX SAVINGS BANK
7 MAIN STREET
AYER, MA 1432 USA                                   $684.32
POST COMMUNITY CREDIT UNION
275 CLIFF STREET
BATTLE CREEK, MI 49016 USA                          $683.90
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 258 of 362


EMPRISE BANK -
DEPOSIT OPERATIONS
257 NORTH BROADWAY
WICHITA,KANSAS U.S.A. 67201                           $683.21
VIRGINIA NATIONAL BANK
1180 SEMINOLE TRAIL
CHARLOTTESVILLE,VIRGINIA U.S.A. 22901                 $682.60
WESTMINSTER FEDERAL CREDIT UNION
7280 IRVING STREET
WESTMINSTER,COLORADO U.S.A. 80030                     $680.64
LEDYARD NATIONAL BANK
320 MAIN ST
NORWICH, VT 05055                                     $678.81
FRIEND BANK
220 E LAWRENCE HARRIS HWY
SLOCOMB,ALABAMA U.S.A. 36375                          $677.38
MERIDIAN TRUST FEDERAL CREDIT UNION
4349 EAST LINCOLNWAY
CHEYENNE, WY 82001 USA                                $676.07
TRI COUNTIES BANK
63 CONSTITUTION DRIVE
CHICO, CA 95973 USA                                   $673.42
THE BANK OF GREENE COUNTY
P O BOX 470
CATSKILL,NEW YORK U.S.A. 12414                        $673.34
PARK STATE BANK & TRUST
710 W HWY 24 (PO BOX 9)
WOODLAND PARK CO 80866                                $672.05
SPC COOPERATIVE CREDIT UNION
204 NORTH FIFTH STREET
HARTSVILLE,SOUTH CAROLINA U.S.A. 29550                $671.83
COUNTYBANK
419 MAIN STREET
GREENWOOD, SC 29646 USA                               $671.42
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 259 of 362


THE NATIONAL UNION BANK OF KINDERHOOK
ONE HUDSON STREET
KINDERHOOK,NEW YORK U.S.A. 12106                    $671.28
KS BANK, INC.
103 W. BRIGHTLEAF BLVD
SMITHFIELD,NORTH CAROLINA U.S.A. 27577              $671.27
FIRST STATE BANK OF UVALDE
PO BOX 1908
UVALDE, TX 78802                                    $670.90
ILWU CREDIT UNION
1134 NORTH AVALON BLVD.
WILMINGTON,CALIFORNIA U.S.A. 90748                  $669.79
UNKNOWN                                             $669.45
BNC NATIONAL BANK
322 EAST MAIN AVENUE
BISMARCK,NORTH DAKOTA U.S.A. 58504                  $668.22
AMERISERV FINANCIAL BANK
216 FRANKLIN STREET
JOHNSTOWN, PA 15901 USA                             $665.53
MERIDIAN BANK
9 OLD LINCOLN HWY
MALVERN, PA 19355 USA                               $664.21
BFG FEDERAL CREDIT UNION
445 SOUTH MAIN STREET
AKRON,OHIO U.S.A. 44311                             $662.26
ADVIA CREDIT UNION
550 SOUTH RIVERVIEW DRIVE
PARCHMENT, MI 49004 USA                             $659.83
UNKNOWN                                             $658.64
CENTRAL MINNESOTA FEDERAL CREDIT UNION
20 SOUTH 4TH AVENUE
EAST MELROSE,MINNESOTA U.S.A. 56352                 $658.41
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 260 of 362


MISSION CITY FEDERAL CREDIT UNION
1391 FRANKLIN STREET
SANTA CLARA, CA 95050 USA                           $658.13
PEOPLESCHOICE CREDIT UNION
PO BOX 463
BIDDEFORD, ME 04005                                 $657.11
CONVERSE BANK CORPORATION
26/1 V. SARGSYAN STR.
YEREVAN, ARMENIA 0010                               $657.09
BRB-BANCO DE BRASILIA S.A.
SBS QUADRA 01 BLOCO E EDIF.
BRASILIA BRASILIA, DF 70072-900 BRAZIL              $656.19
DISTRICT GOVERNMENT EMPLOYEES FEDERAL CREDIT
UNION
2000 14TH STREET NW, 2ND FLOOR
WASHINGTON,DISTRICT OF COLUMBIA U.S.A. 20009        $656.16
TRADE & DEVELOPMENT BANK OF MONGOLIA
KHUDALDAANY 7
ULAANBAATAR, 11 MONGOLIA                            $656.15
GHS FEDERAL CREDIT UNION
910 FRONT STREET
BINGHAMTON,NEW YORK U.S.A. 13905                    $655.43
SANTA BARBARA COUNTY FEDERAL CREDIT UNION
2623 DE LA VINA STREET
SANTA BARBARA, CA 93105 USA                         $652.24
JSC PROCREDIT BANK
TAMAR MEPHE AVE 18
TBILISI, 112 GEORGIA                                $652.16
PRAIRIE STATE BANK AND TRUST
340 MAIN STREET
MT. ZION,ILLINOIS U.S.A. 62549                      $651.97
SUPERIOR CREDIT UNION INC.
1205 EAST KIBBY STREET
LIMA, OH 45804 USA                                  $649.88
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 261 of 362


PARTNERSHIP FINANCIAL CREDIT UNION
5940 LINCOLN AVENUE
MORTON GROVE, IL 60053 USA                          $649.75
THRIVE FEDERAL CREDIT UNION (INDUSTRIAL CENTRE
FEDERAL CREDIT UNION)
4501 SOUTH DELAWARE DRIVE
MUNCIE, IN 47302 USA                                $649.48
COMMERCIAL BANK 'RENAISSANCE CREDIT' (LI
KOZHEVNICHESKAYA ST. 14
115114 MOSCOW, RUSSIAN FEDERATION                   $648.29
POST OFFICE EMPLOYEES CREDIT UNION
4624 W. NAPOLEON
METAIRIE,LOUISIANA U.S.A. 70001                     $648.14
COAST-TEL FEDERAL CREDIT UNION
45 WEST ALISAL STREET
SALINAS, CA 93901 USA                               $644.86
CAPSTAR BANK
201 4TH AVENUE NORTH, SUITE 950
NASHVILLE, TN 37219 USA                             $642.16
CLEVELAND BRADLEY COUNTY TEACHERS FEDERAL CREDIT
UNION
P. O. BOX 4168
CLEVELAND,TENNESSEE U.S.A. 37320                    $641.89
STREATOR ONIZED CREDIT UNION
912 NORTH SHABBONA STREET
STREATOR, IL 61364 USA                              $641.77
SANTA BARBARA BANK & TRUST, NA
490 S. FAIRVIEW STE 110
GOLETA CA 93117                                     $641.68
ALIOR BANK SPOLKA AKCYJNA
?OPUSZA?SKA 38D OPERATIONAL DEPARTMENT
WARSZAWA POLAND 02-232                              $641.17
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 262 of 362


COAST360 FEDERAL CREDIT UNION
450 ROUTE 8
MAITE, 96910 GUAM                                   $640.02
ANB BANK
3033 EAST FIRST AVENUE
DENVER, CO 80206 USA                                $639.90
ARROWHEAD BANK
108 W. SANDSTONE
LLANO,TEXAS U.S.A. 78643                            $638.04
GRAND JUNCTION FEDERAL CREDIT UNION
910 MAIN ST.
GRAND JUNCTION,COLORADO U.S.A. 81501                $637.29
UNKNOWN                                             $636.70
ST. HELENS COMMUNITY FEDERAL CREDIT UNION
1720 ST. HELENS STREET
ST. HELENS, OR 97051 USA                            $636.53
AUBURN UNIVERSITY FEDERAL CREDIT UNION
543 WEST MAGNOLIA AVENUE
AUBURN,ALABAMA U.S.A. 36830                         $636.30
CIT BANK, NATIONAL ASSOCIATION
155 NORTH LAKE AVENUE
PASADENA, CA 91101 USA                              $635.37
SEAMEN'S BANK
221 COMMERCIAL STREET
PROVINCETOWN, MA 2657 USA                           $634.00
ALAMO FEDERAL CREDIT UNION
6577 FIRST PARK TEN BOULEVARD
SAN ANTONIO, TX 78213 USA                           $633.65
SOUTHERN MISSISSIPPI FEDERAL CREDIT UNION
3318 HARDY STREET
HATTIESBURG, MS 39401 USA                           $632.72
DOCO SCHOOL EMPLOYEES FEDERAL CREDIT UNION
P.O. BOX 71389
ALBANY,GEORGIA U.S.A. 31708                         $632.44
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 263 of 362


TEUTOPOLIS STATE BANK
106 EAST MAIN STREET
TEUTOPOLIS, IL 62467 USA                              $631.48
THE PATASKALA BANKING COMPANY
354 SOUTH MAIN STREET
PATASKALA, OH 43062-9626 USA                          $628.49

FIRST CITIZENS STATE BANK (PALMYRA STATE BANK)
207 WEST MAIN STREET
WHITEWATER, WI 53190 USA                              $628.06
APS BANK LTD
APS CENTRE TOWER STREET
BKARA, BKR 4012 MALTA                                 $627.93

LOYOLA UNIVERSITY EMPLOYEES FEDERAL CREDIT UNION
2160 SOUTH FIRST AVENUE
MAYWOOD, IL 60153 USA                                 $627.87
MAGNOLIA STATE BANK
28 HIGHWAY 528
BAY SPRINGS, MS 39422 USA                             $627.19
PORTAGE COUNTY BANK
1155 WEST COUNTY ROAD D
ALMOND, WI 54909 USA                                  $625.97
UNICREDIT BANK SLOVAKIA A.S.
SANCOVA 1/A
BRATISLAVA, 81333 SLOVAKIA                            $623.32
RIVER VALLEY BANK
327 NORTH SEVENTEENTH AVENUE
WAUSAU, WI 54401 USA                                  $623.19
MAINSTREET CREDIT UNION
13001 W 95TH ST
LENEXA KS 66215-3726                                  $623.19
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 264 of 362


BANK OF CAMILLA
50 EAST BROAD STREET
CAMILLA, GA 31730 USA                               $621.23
ASPIRE FEDERAL CREDIT UNION
67 WALNUT AVENUE
CLARK, NJ 7066 USA                                  $621.01
HOPE FEDERAL CREDIT UNION
4 OLD RIVER PLACE, SUITE A
JACKSON,MISSISSIPPI U.S.A. 39202                    $618.20
STANBIC BANK UGANDA LTD
45 KAMPALA ROAD
KAMPALA, UGANDA                                     $615.47
ST. LOUIS COMMUNITY CU
3651 FOREST PARK AVENUE
ST. LOUIS,MISSOURI U.S.A. 63108                     $612.64
FIBERGLAS FEDERAL CREDIT UNION
215 DEO DRIVE
NEWARK OH 43055
(NAME CHANGING TO "TRUECORE FEDERAL CREDIT
UNION 2/1/15)                                       $610.21
CORTRUST BANK NATIONAL ASSOCIATION
100 EAST HAVENS & MAIN
MITCHELL SD 57301                                   $610.17
CB UNIASTRUM BANK
1 SUVOROVSKAYA SQ.
MOSCOW, 127473 RUSSIAN FEDERATION                   $609.98
AAA FEDERAL CREDIT UNION
ATTN: PAM HARDMAN
60600 US 31 S
SOUTH BEND, IN 46614                                $609.65
THE CITIZENS NATIONAL BANK OF MERIDIAN
512 22ND AVENUE
MERIDIAN, MS 39301 USA                              $607.48
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 265 of 362


HOWLAND-ENFIELD FEDERAL CREDIT UNION
4 COFFIN STREET
P.O. BOX 405
HOWLAND,MAINE U.S.A. 04448-0405                       $607.47
GOLDEN PLAINS CREDIT UNION
1714 EAST KANSAS AVENUE
GARDEN CITY, KS 67846 USA                             $605.03
WILSON & MUIR BANK & TRUST CO.
P. O. BOX 346
BARDSTOWN,KENTUCKY U.S.A. 40004                       $602.42
SUMMIT CREDIT UNION
8210 WEST MARKET STREET
GREENSBORO, NC 27409 USA                              $601.41
EMORY ALLIANCE CREDIT UNION
1237 CLAIRMONT ROAD
DECATUR, GA 30030 USA                                 $600.46
IDAHO UNITED CREDIT UNION
333 NORTH 13TH STREET
BOISE,IDAHO U.S.A. 83702                              $600.00
BANCO DOMINICANO DEL PROGRESO S.A. - BANCO
MULTIPLE
AVE. JOHN F. KENNEDY #3 EDIFICIO BANCO DEL
PROGRESO
SANTO DOMINGO, REPUBLICA DOMINICANA                   $599.72
BANCO BNP PARIBAS
PERSONAL FINANCE SA TORRES DE LISBOA TORRE G - 15º
ANDAR
LISBOA PORTUGAL 1600-209                              $599.20
VERMONT STATE EMPLOYEES CREDIT UNION
ONE BAILEY AVENUE
MONTPELIER, VT 5602 USA                               $595.00
SOLARITY CREDIT UNION
110 NORTH 5TH AVENUE
YAKIMA,WASHINGTON U.S.A. 98902                        $593.20
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 266 of 362


ARK VALLEY CREDIT UNION
1501 NORTH SUMMIT
ARKANSAS CITY, KS 67005 USA                           $593.15
IDAHO INDEPENDENT BANK
1260 WEST RIVERSTONE DRIVE
COEUR D'ALENE, ID 83814 USA                           $590.75
SAINT VINCENT ERIE FEDERAL CREDIT UNION
2314 SASSAFRAS STREET SUITE 100
ERIE, PA 16502 USA                                    $590.12
SAFE 1 CREDIT UNION
1400 MILL ROCK WAY
BAKERSFIELD, CA 93311
ATTN: PAT JACKSON, OPERATIONS MANAGER                 $588.05
WEST PLAINS BANK AND TRUST COMPANY
11 COURT SQUARE
WEST PLAINS, MO 65775 USA                             $587.57
CAMPCO FEDERAL CREDIT UNION
1110 EAST BOXELDER ROAD
GILLETTE, WY 82718 USA                                $584.84
FINANCIAL HEALTH FEDERAL CREDIT UNION
1515 NORTH SENATE AVENUE
INDIANAPOLIS, IN 46206 USA                            $583.58
S-PANKKI OY (S-BANK LIMITED)
FLEMINGINKATU 34
HELSINKI, 510 FINLAND                                 $583.27
THE FIRST NATIONAL BANK OF LOUISBURG
1201 WEST AMITY
LOUISBURG, KS 66053 USA                               $581.75
INTEGRA BANK NATIONAL ASSOCIATION
21 SE THIRD ST
EVANSVILLE IN 47708                                   $579.97
CITY NATIONAL BANK OF FLORIDA
25 WEST FLAGER STREET
MIAMI, FL 33130 USA                                   $578.80
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 267 of 362


FIRST BRISTOL FEDERAL CREDIT UNION
25 NORTH STREET
P.O. BOX 698
BRISTOL,CONNECTICUT U.S.A. 06010                     $578.40
HOMETOWN BANK OF PENNSYLVANIA
306 WEST MAIN STREET
EVERETT, PA 15537 USA                                $577.80
FLAG CREDIT UNION
3115 CONNER BOULEVARD
TALLAHASSEE, FL 32311 USA                            $576.74
NEW RESOURCE BANK
405 HOWARD STREET, SUITE 110
SAN FRANCISCO, CA 94105 USA                          $576.64
UNKNOWN                                              $576.17
TECHNICOLOR FEDERAL CREDIT UNION
434 WEST ALAMEDA AVENUE
BURBANK,CALIFORNIA U.S.A. 91506                      $574.70
REGIONAL MEMBERS FEDERAL CREDIT UNION
3610 GENTIAN BOULEVARD
COLUMBUS, GA 31907 USA                               $574.22
JURA ALUNANA STR. 2
RIGA LV-1010, LATVIA                                 $574.02
FIRST INTERNATIONAL BANK & TRUST
100 NORTH MAIN STREET
PO BOX 607
WATFORD CITY,NORTH DAKOTA U.S.A. 58854               $573.44
CAROLINA TRUST BANK
901 EAST MAIN STREET
LINCOLNTON,NORTH CAROLINA U.S.A. 28093               $571.75
ROCKET CITY FEDERAL CREDIT UNION
2401 TRIANA BOULEVARD
HUNTSVILLE, AL 35805 USA                             $570.66
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 268 of 362


MIAMI FIREFIGHTERS FCU
1111 NW 7TH ST
MIAMI, FL 33136                                      $567.86
PLANTERS BANK & TRUST COMPANY
212 CATCHINGS STREET
INDIANOLA, MS 38751 USA                              $565.66
FREEDOM FIRST FEDERAL CREDIT UNION
5240 VALLEYPARK DRIVE
ROANOKE, VA 24019 USA                                $563.93
SI VALE MEXICO S.A. DE C.V.
PASEO DE LA REFORMA 284 COL JUAREZ MEXICO DIF
MEXICO 06600                                         $563.79
NASSAU FINANCIAL FEDERAL CREDIT UNION
865 MERRICK AVENUE, SUITE 250N
WESTBURY, NY 11590 USA                               $562.94
HUDSON RIVER COMMUNITY CREDIT UNION
312 PALMER AVENUE
CORINTH, NY 12822-9989 USA                           $562.46
TNCONNECT CREDIT UNION
6211 MIDDLEBROOK PIKE
KNOXVILLE, TN 37909 USA                              $562.39
PACIFIC NORTHWEST IRONWORKERS FEDERAL CREDIT
UNION
11620 NE AINSWORTH CIRCLE SUITE 400
PORTLAND,OREGON U.S.A. 97220                         $561.92
COMMUNITY BANK OF PLEASANT HILL
2401 NORTH HIGHWAY 7
PLEASANT HILL, MO 64080 USA                          $561.91
PJSC UKRSIBBANK
60, MOSKOVSKY AVE.
KHARKIV, 61005 UKRAINE                               $561.04
AURORA FEDERAL CREDIT UNION
12028 EAST MISSISSIPPI AVENUE UNIT-J
AURORA, CO 80012 USA                                 $560.22
                              Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 269 of 362


USX FEDERAL CREDIT UNION (NABCO FCU)
1293 FREEDOM ROAD
CRANBERRY, PA 16066 USA                                $559.97
SELF- HELP CREDIT UNION
301 W MAIN ST
DURHAM, NC 27701                                       $558.44
ACCESS CREDIT UNION
1807 WEST CERMAK ROAD
BROADVIEW, IL 60155 USA                                $555.55
GENERAL CARD SERVICES LTD
1-6,8-11 FL CAPITAL TOWER ALL SEASONS PLACE,
87/1 WIRELESS RD
BANGKOK THAILAND                                       $554.95
CASHMERE VALLEY BANK
117 APLETS WAY
CASHMERE,WASHINGTON U.S.A. 98815                       $554.89
ESCAMBIA COUNTY BANK
400 RINGOLD
FLOMATON,ALABAMA U.S.A. 36411                          $554.76
ST. JOHNS BANK & TRUST
8924 ST. CHARLES ROCK ROAD
ST. JOHNS,MISSOURI U.S.A. 63114                        $553.80
EXCHANGE NATIONAL BANK & TRUST CO.
600 COMMERCIAL STREET
ATCHISON, KS 66002 USA                                 $552.29
ENTRUST FINANCIAL CREDIT UNION
1801 DABNEY ROAD
RICHMOND, VA 23230 USA                                 $551.97
U S #1364 FEDERAL CREDIT UNION
8400 BROADWAY
MERRILLVILLE, IN 46410 USA                             $550.68
UNKNOWN                                                $550.66
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 270 of 362


THE FIRST NATIONAL BANK OF TRENTON
106 HAMILTON STREET
TRENTON, TX 75490 USA                                $550.35
NEW TRIPOLI BANK
MARKET AND MADISON STREET
NEW TRIPOLI, PA 18066-0468 USA                       $547.16
BANK OF GUAM
111 CHALAN SANTO PAPA,
HAGATNA, 96910 GUAM                                  $546.43
AMERICAN SAVINGS BANK, FSB
503 CHILLICOTHE STREET
PORTSMOUTH, OH 45662 USA                             $546.20
FIRST NATIONAL BANK IN FAIRFIELD
100 EAST BURLINGTON
FAIRFIELD,IOWA U.S.A. 52556                          $546.04
STEUBEN TRUST COMPANY
ONE STEUBEN SQUARE
HORNELL,NEW YORK U.S.A. 14843                        $545.72
POLICE FINANCIAL SERVICES LIMITED
121 CARDIGAN STREET
CARLTON, VI 3053 AUSTRALIA                           $544.82
GREATER WATERTOWN FEDERAL CREDIT UNION
48 WOODRUFF AVENUE
WATERTOWN, CT 06795-2532 USA                         $543.92
FIRST CHOICE BANK (FIRST NATIONAL BANK OF
PONTOTOC)
19 SOUTH MAIN STREET
PONTOTOC, MS 38863 USA                               $543.91
EASYBANK AG
QUELLENSTRASSE 51-55
VIENNA, A-1100 AUSTRIA                               $543.25
METROPOLITAN BANK
201 SOUTH JACKSON STREET
CRYSTAL SPRINGS, MS 39059-0837 USA                   $543.20
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 271 of 362


THE CITIZENS BANK OF LOGAN, OHIO
188 WEST MAIN STREET
LOGAN, OH 43138                                      $542.61
FIRST NATIONAL BANK OF SOUTHERN CALIFORNIA
3727 ARLINGTON AVENUE, STE 202 A
RIVERSIDE, CA 92506 USA                              $542.55
BEDFORD LOAN & DEPOSIT BANK
P.O. BOX 276 45 HIGHWAY 42
EAST BEDFORD,KENTUCKY U.S.A. 40006                   $541.88
OLD LINE BANK
1525 POINTER RIDGE PLACE
BOWIE, MD 20716 USA                                  $541.39
CITIZENS BANK OF LAS CRUCES
505 SOUTH MAIN STREET
LAS CRUCES,NEW MEXICO U.S.A. 88001                   $539.81
DOUGLAS COUNTY BANK
609 NORTH 291 HIGHWAY
LEES SUMMIT, MO 64086                                $539.51
NORTH COAST CREDIT UNION
1100 DUPONT STREET
BELLINGHAM, WA 98225 USA                             $539.42
ROCK VALLEY FEDERAL CREDIT UNION
1201 CLIFFORD AVENUE
LOVES PARK,ILLINOIS U.S.A. 61111                     $538.61
PT BANK PANIN TBK
JI.JEND SUDIRMAN (SENAYAN)
JAKARTA, 10270 INDONESIA                             $537.76
COMMUNITY BANK DELAWARE
16982 KINGS HIGHWAY
LEWES,DELAWARE U.S.A. 19958                          $537.73
NEWBANK
146-01 NORTHERN BLVD
FLUSHING,NEW YORK U.S.A. 11354                       $537.73
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 272 of 362


BRAZOS VALLEY SCHOOLS CREDIT UNION
438 FM 1463
KATY, TX 77494 USA                                  $532.96
FEDFINANCIAL FEDERAL CREDIT UNION
1616-D ROCKVILLE PIKE
ROCKVILLE, MD 20852 USA                             $532.82
PASADENA FEDERAL CREDIT UNION
1038 SOUTH FAIR OAKS AVENUE
PASADENA, CA 91105 USA                              $532.39
STALEY CREDIT UNION
3330 NORTH WOODFORD STREET
DECATUR, IL 62526 USA                               $531.50
MERCY CREDIT UNION
1444 EAST SUNSHINE STREET
SPRINGFIELD, MO 65804 USA                           $530.69
UNB BANK
1 NORTH OAK STREET
P.O. BOX 367
MOUNT CARMEL, PA 17851 USA                          $530.24
SCOTIABANK CHILE
MORANDE 226
SANTIAGO, CHILE                                     $530.00
MERIDIAN MUTUAL FEDERAL CREDIT UNION
809 26TH AVENUE
MERIDIAN, MS 39302 USA                              $528.16
TEXAR FEDERAL CREDIT UNION
2301 RICHMOND RD
TEXARKANA, TX 75503                                 $525.46
FIELDSTONE CREDIT UNION
395 NORTH KINZIE AVENUE
BRADLEY, IL 60915 USA                               $525.38
CENTRAL BANK & TRUST CO.
300 WEST VINE STREET
LEXINGTON, KY 40507 USA                             $525.02
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 273 of 362


SAVANNAH FEDERAL CREDIT UNION
124 BARNARD STREET, ROOM B110
SAVANNAH, GA 31401 USA                                $524.36
SABINE STATE BANK AND TRUST COMPANY
297 ELIZABETH STREET
MANY, LA 71449 USA                                    $522.78
ORLANDO FEDERAL CREDIT UNION
1117 SOUTH WESTMORELAND DRIVE
ORLANDO, FL 32805 USA                                 $521.70
BANK OF SUNSET AND TRUST COMPANY
863 NAPOLEON AVENUE
SUNSET, LA 70584 USA                                  $520.54
TOWN SQUARE BANK
1500 CARTER AVENUE
ASHLAND, KY 41101-7695 USA                            $519.95
MCKESSON EFCU
ONE POST STREET, #300
SAN FRANCISCO,CALIFORNIA U.S.A. 94104                 $519.47
CREDIT UNION SOUTH
400 VETERANS AVE BLDG 18
BILOXI,MISSISSIPPI U.S.A. 39531                       $519.21
BANCO NACIONAL DE COSTA RICA
EN SAN PEDRO, TERCER PISO DE LA SUCURSAL DEL BANCO
NACIONAL
SAN JOSE COSTA RICA 2580-1000                         $517.84
PROVIDENCE BANK, LLC
630 EAST 162ND STREET
SOUTH HOLLAND, IL 60473 USA                           $516.39
ENTERPRISE BANK, N.A.
12800 W. CENTER ROAD
OMAHA,NEBRASKA U.S.A. 68144                           $515.34
BANKPACIFIC, LIMITED
151 ASPINALL AVENUE,
HAGATNA GUAM, 96910 GUAM                              $514.42
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 274 of 362


STANDARD CHARTERED BANK OF BOTSWANA LTD
STANDARD HOUSE, THE MALL
 GABORONE, BOTSWANA                                 $513.82
MERIDIAN BANK
9 OLD LINCOLN HWY
MALVERN, PA 19355 USA                               $512.76
CITIZENS BANK OF FLORIDA
156 GENEVA DRIVE
OVIEDO, FL 32765 USA                                $509.88
NSWC FEDERAL CREDIT UNION
1600 JENKINS ROAD
DAHLGREN, VA 22448 USA                              $509.85
GREATER EASTERN CREDIT UNION
2110 MOUNTCASTLE DRIVE
JOHNSON CITY, TN 37604-2514 USA                     $508.47
NEW YORK COMMERCIAL BANK
1601 VETERANS MEMORIAL HIGHWAY, STE. 120
ISLANDIA, NY 11749 USA                              $508.47
ROLLSTONE BANK & TRUST
780 MAIN STREET
FITCHBURG, MA 1420 USA                              $507.73
FMS BANK
520 SHERMAN STREET
FORT MORGAN, CO 80701 USA                           $507.03
TENSAS STATE BANK
307 VERONA STREET
NEWELLTON, LA 71357 USA                             $506.97
RESOURCE BANK
70533 HIGHWAY 21
COVINGTON, LA 70433 USA                             $506.48
KAW VALLEY BANK
1110 NORTH KANSAS AVENUE
TOPEKA, KS 66608 USA                                $506.44
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 275 of 362


ING BANK SLASKI SA
UL. SOKOLSKA 34
KATOWICE, 40-086 POLAND                              $506.10
CREDIT UNION OF OHIO
5500 BRITTON PARKWAY
HILLIARD,OHIO U.S.A. 43026                           $505.76
PARSONS FEDERAL CREDIT UNION
100 WEST WALNUT STREET
PASADENA,CALIFORNIA U.S.A. 91124-3635                $505.34
GLACIER HILLS CREDIT UNION
2150 SOUTH MAIN STREET
WEST BEND,WISCONSIN U.S.A. 53095                     $504.76
ALLIED HEALTHCARE FEDERAL CREDIT UNION
2801 ATLANTIC AVENUE
LONG BEACH, CA 90801 USA                             $504.17
AMERICAN PATRIOT BANK
3095 EAST ANDREW JOHNSON HWY
GREENEVILLE,TENNESSEE U.S.A. 37745                   $503.81
AMERICU CREDIT UNION
1916 BLACK RIVER BOULEVARD
ROME, NY 13440 USA                                   $503.28
SPACE CITY CREDIT UNION
3101 HARRISBURG
BOULEVARD HOUSTON, TX 77003 USA                      $503.17
ROCKFORD BELL CREDIT UNION
4225 PERRYVILLE RD
LOVES PARK,ILLINOIS U.S.A. 61111                     $501.88

NORTH SHORE HEALTH SYSTEM FEDERAL CREDIT UNION
972 BRUSH HOLLOW ROAD
WESTBURY,NEW YORK U.S.A. 11590                       $501.84
NATIONAL EXCHANGE BANK AND TRUST
130 SOUTH MAIN STREET
FOND DU LAC, WI 54935-4248 USA                       $501.73
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 276 of 362


CAPITAL CREDIT UNION
204 WEST THAYER AVENUE
BISMARCK, ND 58501 USA                               $501.72
FEDERAL EMPLOYEES CREDIT UNION
1509 4TH AVENUE SOUTH
BIRMINGHAM, AL 35233 USA                             $501.63
BANCO CITIBANK DE NICARAGUA SA
MANAGUA, NICARAGUA                                   $498.20
CERDO BANKPARTNER AB
RONNOWSGATAN 6
HELSINGBORG 25106, SWEDEN                            $497.89
THE JACKSONVILLE BANK
100 N LAURA STREET, 6TH FLOOR
JACKSONVILLE,FLORIDA U.S.A. 32202                    $497.71
HASKELL NATIONAL BANK
P.O. BOX 998
HASKELL,TEXAS U.S.A. 79521                           $496.86
P?K JANA PA?UBICKIEGO 2
80-175 GDANSK, POLAND                                $496.04
FIRST STATE BANK AND TRUST COMPANY, INC.
100 W. THIRD STREET
CARUTHERVILLE,MISSOURI U.S.A. 63830                  $495.54
UNKNOWN                                              $495.00
FARMERS STATE BANK
103 EAST 2ND STREET
PINE BLUFFS, WY 82082 USA                            $495.00
THE FIRST NATIONAL BANK & TRUST COMPANY OF
ROCHELLE
340 MAY MART DRIVE
ROCHELLE, IL 61068 USA                               $494.41
SHELBY COUNTY FEDERAL CREDIT UNION
157 POPLAR AVENUE, SUITE 401
MEMPHIS, TN 38103-1948 USA                           $494.33
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 277 of 362


FIRST COMMUNITY BANK AND TRUST
1111 DIXIE HWY
BEECHER IL 60401                                      $493.80
BANK OF COMMERCE
101 WEST MAIN STREET
CHANUTE, KS 66720 USA                                 $493.08
JSB PROBUSINESSBANK
18/2 BLD. 1 PETROVKA STREET
MOSCOW, RUSSIAN FEDERATION 127051                     $492.44
GRAND COUNTY CREDIT UNION
725 NORTH MAIN
MOAB, UT 84532 USA                                    $491.64
BANK OF ANN ARBOR
125 SOUTH FIFTH AVENUE
ANN ARBOR, MI 48104 USA                               $490.80

PHILADELPHIA LETTER CARRIERS FEDERAL CREDIT UNION
900 MARKET STREET, ROOM 101
PHILADELPHIA, PA 19107 USA                            $489.61
UNKNOWN                                               $489.52
UNKNOWN                                               $489.27
NORTH SHORE BANK (SAUGUSBANK)
248 ANDOVER ST
PEABODY, MA 01960                                     $489.14
WILSON BANK & TRUST
623 WEST MAIN STREET
LEBANON,TENNESSEE U.S.A. 37087                        $488.99
FORT FINANCIAL FEDERAL CREDIT UNION
3102 SPRING STREET
FORT WAYNE, IN 46808-2998 USA                         $487.50
CHINA GUANGFA BANK CO. LTD
NO.10 ZHUJIANG WEST ROAD,
ZHUJIANG NEW TOWN, GUANGZHOU PEOPLES REPUBLIC
OF CHINA                                              $487.13
                          Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 278 of 362


BAYOU CITY FEDERAL CREDIT UNION
6414 FANNIN STREET G50
HOUSTON, TX 77030 USA                              $487.06
ARMENIAN ECONOMY DEVELOPMENT BANK OJSC
23/1 AMIRYAN STREET
YEREVAN, 2 ARMENIA                                 $486.75
THE CLINTON NATIONAL BANK
235 6TH AVENUE SOUTH
CLINTON, IA 52732 USA                              $485.63
GREAT LAKES CREDIT UNION INC.
624 WEST SOUTH BOUNDARY
PERRYSBURG, OH 43551 USA                           $484.61
TEXAS BANK AND TRUST COMPANY
300 E. WHALEY
LONGVIEW,TEXAS U.S.A. 75601                        $483.95
ORANGE COUNTY TRUST COMPANY
212 DOLSON AVENUE
MIDDLETOWN, NY 10940 USA                           $483.65
GREATER CHAUTAUQUA FEDERAL CREDIT UNION
51 EAST MAIN STREET
FALCONER, NY 14733 USA                             $482.70
EAST IDAHO CREDIT UNION
865 SOUTH WOODRUFF
IDAHO FALLS, ID 83401 USA                          $482.56
BANK OF LABOR
756 MINNESOTA AVENUE
KANSAS CITY, KS 66101 USA                          $481.78
RIVER VALLEY CREDIT UNION
7575 EAST FULTON
ADA, MI 49301 USA                                  $481.71
CITY EMPLOYEES CREDIT UNION
1720 WESTERN AVE
KNOXVILLE, TN 37921 USA                            $480.56
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 279 of 362


FIRST CHEYENNE FEDERAL CREDIT UNION
2360 EAST PERSHING BLVD
CHEYENNE, WY 82001 USA                              $480.00
CITIZENS BANK
MAIN STREET
AMSTERDAM, MO 64723 USA                             $479.75
INDIANA FIRST BANK
935 PHILADELPHIA STREET
INDIANA,PENNSYLVANIA U.S.A. 15701                   $478.50
ALLIANCE BANK CENTRAL TEXAS
4721 BOSQUE BOULEVARD
WACO, TX 76710 USA                                  $477.71
ALGONQUIN STATE BANK, NATIONAL ASSOCIATION
2400 HUNTINGTON DRIVE NORTH
ALGONQUIN,ILLINOIS U.S.A. 60102                     $477.22
PPL GOLD CREDIT UNION
4703 HAMILTON BOULEVARD
ALLENTOWN,PENNSYLVANIA U.S.A. 18103                 $477.16
KALSEE CREDIT UNION
2501 MILLCORK
KALAMAZOO, MI 49001 USA                             $475.25
NEWCASTLE PERMANENT BUILDING SOCIETY, LTD.
307 KING STREET
NEWCASTLE NSW, AUSTRALIA 2302                       $474.46
GREAT FALLS REGIONAL FEDERAL CREDIT UNION
34 BATES STREET
LEWISTON,MAINE U.S.A. 04240                         $473.39
CAYUGA LAKE NATIONAL BANK
3 NORTH CAYUGA STREET
UNION SPRINGS, NY 13160 USA                         $473.25
GREER STATE BANK
601 NORTH MAIN STREET
GREER,SOUTH CAROLINA U.S.A. 29652                   $472.13
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 280 of 362


FREEDOM BANK, INC.
315 CRIM AVENUE
BELINGTON, WV 26250 USA                               $471.94

AVANTCARD LIMITED
DUBLIN ROAD
CARRICK ON SHANNON, Co Leitrim REPUBLIC OF IRELAND    $470.97
NUMARK CREDIT UNION
1654 TERRY DRIVE AND ROUTE 6
JOLIET, IL 60436 USA                                  $470.74
MOBILE EDUCATORS CREDIT UNION
3150 AIRPORT BOULEVARD
MOBILE, AL 36606 USA                                  $469.68
UNION BANK, INC.
107 DODD STREET
MIDDLEBOURNE, WV 26149 USA                            $468.47
ANDERSON FEDERAL CREDIT UNION
P. O. BOX 4146
ANDERSON,SOUTH CAROLINA U.S.A. 29622                  $468.20
UNKNOWN                                               $467.98
TURK EKONOMI BANKASI A.S.
TEB KAMPUS SARAY MAHALLESI SOKULLU CAD NO
7A, UMRANIYE
ISTANBUL, 34768 TURKEY                                $465.99
WASATCH PEAKS COMMUNITY CREDIT UNION
2780 ADAMS AVENUE
OGDEN,UTAH U.S.A. 84403                               $464.49
CATHOLIC FEDERAL CREDIT UNION
6180 STATE STREET
SAGINAW, MI 48603 USA                                 $463.96

INDIANA STATE UNIVERSITY FEDERAL CREDIT UNION
444 N 3RD ST TERRE
HAUTE,INDIANA U.S.A. 47807                            $462.62
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 281 of 362



CENTRAL ALLIANCE CREDIT UNION (KIMCENTRAL CU)
625 DEERWOOD AVENUE
NEENAH, WI 54956 USA                                 $462.14
BROKAW CREDIT UNION
300 EVEREST AVENUE
BROKAW, WI 54417 USA                                 $460.53
GEOVISTA FEDERAL CREDIT UNION
111 WEST HENDRY STREET
HINESVILLE, GA 31313 USA                             $460.20
HSBC FRANCE
103 AVENUE DES CHAMPS-ELYSEES
PARIS CEDEX 08, 75419 FRANCE                         $459.55
PRIORITY ONE CREDIT UNION
1631 HUNTINGTON DRIVE SOUTH
PASADENA,CALIFORNIA U.S.A. 91030                     $457.63
IH CREDIT UNION, INC.
5000 URBANA ROAD
SPRINGFIELD, OH 45502 USA                            $457.61
IW BANK S.P.A.
PIAZZALE FRATELLI ZAVATTARI 12
MILANO, 20149 ITALY                                  $457.58
HERITAGE SOUTH COMMUNITY CREDIT UNION
763 N MAIN ST
SHELBYVILLE,TENNESSEE U.S.A. 37160                   $457.28
BANCO AGROMERCANTIL DE GUATEMALA S.A.
7A. AVENIDA 7-30, ZONA 9
GUATEMALA, GUATEMALA                                 $456.75
FARMERS STATE BANK
1240 EIGHTH AVENUE
MARION, IA 52302 USA                                 $456.18
WORKERS CREDIT UNION
815 MAIN STREET
FITCHBURG, MA 1420 USA                               $456.08
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 282 of 362


HOOSIER HILLS CREDIT UNION
630 LINCOLN AVENUE
BEDFORD, IN 47421 USA                               $455.95
PEOPLES FEDERAL SAVINGS BANK OF DEKALB C
212 W SEVENTH ST
AUBURN IN 46706                                     $455.62
A.H.E. PLANT 3 FEDERAL CREDIT UNION
720 WEST FRANKLIN STREET
WINCHESTER, IN 47394                                $454.72
NORTHWOODS CREDIT UNION
POTLATCH CORP MILL AVENUE
CLOQUET, MN 55720 USA                               $454.52
TUCSON OLD PUEBLO CREDIT UNION
2500 EAST 22ND STREET
TUCSON, AZ 85713 USA                                $454.51
UNKNOWN                                             $454.28
BENCHMARK COMMUNITY BANK
100 SOUTH BROAD STREET
KENBRIDGE, VA 23944 USA                             $454.24
TUSCALOOSA CREDIT UNION
1100 21ST AVE.
TUSCALOOSA,ALABAMA U.S.A. 35401                     $453.07
FIRST BANK & TRUST
820 CHURCH STREET
EVANSTON, IL 60201 USA                              $451.12
PUBLIC SERVICE FEDERAL CREDIT UNION
619 UNION AVE
MIDDLESEX, NJ 08846                                 $450.87
ALLUS CREDIT UNION
20 WEST MARKET STREET
SALINAS,CALIFORNIA U.S.A. 93901                     $450.51
PENINSULA COMMUNITY FEDERAL CREDIT UNION
521 WEST RAILROAD AVENUE
SHELTON, WA 98584 USA                               $449.16
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 283 of 362


PRIMESOUTH BANK
301 MAIN STREET
TALLASSEE, AL 36078 USA                              $449.00
THE FIRST NATIONAL BANK OF GILMER
P.O. BOX 520
GILMER,TEXAS U.S.A. 75664                            $448.95
FIRST SOURCE FEDERAL CREDIT UNION
4451 COMMERCIAL DRIVE
NEW HARTFORD, NY 13413 USA                           $448.61

QUINNIPIAC VALLEY COMMUNITY FEDERAL CREDIT UNION
163 WASHINGTON STREET
WALLINGFORD, CT 6492 USA                             $448.55
UNION STATE BANK OF FARGO
4530 17TH AVENUE SOUTH
FARGO, ND 58103 USA                                  $448.47
STANBIC BANK ZAMBIA LIMITED
6TH FLOOR, WOODGATE HOUSE, CAIRO ROAD
LUSAKA, ZAMBIA                                       $448.02
UNITED ADVANTAGE NW FEDERAL CREDIT UNION
1430 NORTH KILLINGSWORTH STREET
PORTLAND, OR 97217 USA                               $447.34
UNKNOWN                                              $447.20
BANCO POPULAR ESPANOL S.A.
CALLE FRANCISCO SANCHA, 12
28034 MADRID, SPAIN                                  $446.89
JERSEY SHORE STATE BANK
115 SOUTH MAIN STREET
JERSEY SHORE, PA 17740 USA                           $445.56
UNKNOWN                                              $445.28
TULARE COUNTY FEDERAL CREDIT UNION
334 NORTH 'K' STREET
TULARE, CA 93274 USA                                 $443.20
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 284 of 362


CHOICE ONE COMMUNITY FEDERAL CREDIT UNION
101 HAZLE STREET
WILKES-BARRE, PA 18702 USA                          $443.15
SAI GON HA NOI COMMERCIAL JOINT STOCK
77 TRAN HUNG DAO STREET
HOAN KIEM DISTRICT
HANOI 84, VIET NAM                                  $442.78
CESKOSLOVENSKA OBCHODNA BANKA A.S.
MICHALSKA 18
BRATISLAVA, 815 63 SLOVAKIA                         $442.26
AMERICAN BANK, NATIONAL ASSOCIATION
200 WEST STATE HIGHWAY 6
WOODWAY, TX 76710 USA                               $440.54
BENTON COUNTY SCHOOLS CREDIT UNION
2101 NORTHWEST PROFESSIONAL DRIVE
CORVALLIS, OR 97330 USA                             $440.18
BANKFIVE
79 NORTH MAIN STREET
FALL RIVER, MA 2720 USA                             $439.97
UNKNOWN                                             $439.89
UNKNOWN                                             $438.97
HEALTH ASSOCIATES FEDERAL CREDIT UNION
P.O. BOX 5159
ORANGE,CALIFORNIA U.S.A. 92868                      $438.73
PROGRESSIVE NATIONAL BANK OF DESOTO PARISH
300 WASHINGTON AVENUE
MANSFIELD, LA 71052 USA                             $437.87
OTP BANK ROMANIA S.A.
66 - 68 BUZESTI AVENUE SECTOR 1
BUCHAREST, 11017 ROMANIA                            $437.13
CITY BANK & TRUST CO.
2929 PINE LAKE ROAD
LINCOLN, NE 68516 USA                               $435.45
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 285 of 362


CITIZENS BANK
128 SOUTH BROAD STREET
CAIRO, GA 31728 USA                                   $435.25
UNKNOWN                                               $435.16
BYRON BANK
200 NORTH WALNUT
BYRON, IL 61010 USA                                   $434.43
AFFILIATED TRADES CREDIT UNION (LOCAL #380)
3900 RIDGE PIKE
COLLEGEVILLE, PA 19426 USA                            $434.41
FOOD INDUSTRIES CREDIT UNION
3030 GATEWAY LOOP
SPRINGFIELD, OR 97477 USA                             $434.40
LIBRA BANK S.A.
SEMILUNEI STREET NO 4-6,
DISTRICT 2 BUCHAREST, ROMANIA 020797                  $434.07
EQUITABLE FEDERAL CREDIT UNION
2000 BRITTAIN ROAD
(INSIDE KAUFMAN'S STORE)
AKRON, OH 44310 USA                                   $433.95
IDBI BANK LTD
IDBI TOWER,WTC COMPLEX
CUFFE PARADE, COLABA, MUMBAI 400005                   $433.56
FARMERS BANK & CAPITAL TRUST COMPANY
125 WEST MAIN STREET
FRANKFORT, KY 40601 USA                               $433.09
AS SEB BANKA
MEISTARU 1, VALDLAUCI
KEKAVAS PAGASTS, KEKAVAS NOVADS
RIGA, LATVIA LV-1076                                  $432.68
SIDNEY FEDERAL CREDIT UNION
42 UNION STREET
SIDNEY,NEW YORK U.S.A. 13838                          $431.95
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 286 of 362


FAYSAL HOUSE
ST-02 SHAHRAH-E-FAISAL
Karachi Pakistan 75500                              $431.90
FIRST BANK KANSAS
235 SOUTH SANTA FE
SALINA, KS 67402 USA                                $431.63
PREMIER COMMUNITY CREDIT UNION
3255 WEST BENJAMIN HOLT DRIVE
STOCKTON, CA 95219 USA                              $430.96
BANCO COOPERATIVO SICREDI S.A.
AV ASSIS BRASIL NO. 3940, 12 ANDAR
PORTO ALEGRE - RS, RS 91010-003 BRAZIL              $430.60
GEAUGA SAVINGS BANK
10800 KINSMAN ROAD
NEWBURY, OH 44065 USA                               $430.38
SOUTHERN MIDDLESEX COUNTY TEACHERS FEDERAL
CREDIT UNION
39 BRUNSWICK WOODS DRIVE
EAST BRUNSWICK, NJ 08816-5601 USA                   $429.76
OCONEE STATE BANK
35 NORTH MAIN ST.
WATKINSVILLE,GEORGIA U.S.A. 30677                   $428.13
BLUEOX CREDIT UNION (UNITED ED CU)
115 RIVERSIDE DRIVE
BATTLE CREEK, MI 49016 USA                          $425.39
THE FIRST NATIONAL BANK OF SANTA FE
THE PLAZA WEST
SANTA FE, NM 87501 USA                              $424.28
LA JOYA AREA FEDERAL CREDIT UNION
214 EAST HIGHWAY 83
LA JOYA, TX 78560 USA                               $424.26
THE METAMORA STATE BANK
120 EAST MAIN STREET
METAMORA, OH 43540 USA                              $424.21
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 287 of 362


WOODSFIELD SAVINGS BANK
600 LEWISVILLE ROAD
WOODSFIELD, OH 43793 USA                            $424.09
BAR-CONS FEDERAL CREDIT UNION
1142 NORTH MARR ROAD
COLUMBUS,INDIANA U.S.A. 47201                       $422.93
FOCUS CREDIT UNION
303 EAST WASHINGTON STREET
CHATTAHOOCHEE, FL 32324-0119 USA                    $422.93
SOUTHERN LAKES CREDIT UNION
3000 80TH STREET
KENOSHA, WI 53142 USA                               $422.64
NORTHWESTERN MUTUAL CREDIT UNION
720 EAST WISCONSIN AVENUE
MILWAUKEE, WI 53202 USA                             $421.52
CHICAGO MUNICIPAL EMPLOYEES CREDIT UNION
33 NORTH LASALLE STREET, SUITE 300
CHICAGO, IL 60602 USA                               $420.80
VALLEY BANK AND TRUST
4900 EAST BROMLEY LANE
BRIGHTON, CO 80601 USA                              $419.56
STONEHAMBANK, A CO-OPERATIVE BANK
80 MONTVALE AVENUE
STONEHAM, MA 2180 USA                               $419.55
PAPER CITY SAVINGS ASSOCIATION
4200 EIGHTH STREET SOUTH
WISCONSIN RAPIDS, WI 54494 USA                      $419.20
TEXELL CREDIT UNION
17 SOUTH 1ST STREET
TEMPLE,TEXAS U.S.A. 76501                           $419.00
SISKIYOU CENTRAL CREDIT UNION
P. O. BOX 1125
YREKA,CALIFORNIA U.S.A. 96097                       $418.13
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 288 of 362


METRUM COMMUNITY CREDIT UNION
6980 S. HOLLY CIRCLE
CENTENNIAL,COLORADO U.S.A. 80112                    $417.24
ACTORS FEDERAL CREDIT UNION
165 WEST 46TH STREET
NEW YORK,NEW YORK U.S.A. 10036                      $416.77
BANK OF KEYSTONE
MAIN STREET
KEYSTONE, NE 69144 USA                              $416.52
BANCO BIC PORTUGUES S.A.
AVENIDA ANTONIO AUGUSTO DE AGUIAR NO 132
LISBOA, 1050-020 PORTUGAL                           $416.13
VISION FINANCIAL FEDERAL CREDIT UNION
214 PACIFIC AVENUE
DURHAM,NORTH CAROLINA U.S.A. 27704                  $414.86
REACH FEDERAL CREDIT UNION
3715 HAVEN AVENUE, SUITE 200
MENLO PARK, CA 94025 USA                            $414.81
SOUTHWEST MISSOURI BANK
300 WEST THIRD STREET
CARTHAGE, MO 64836 USA                              $414.44
NORTHERN INDIANA FEDERAL CREDIT UNION
8121 GRAND BOULEVARD
MERRILLVILLE, IN 46410 USA                          $413.23
COLUMBIA CREDIT UNION
310 EAST WALNUT STREET
COLUMBIA, MO 65201 USA                              $410.99
WHITE RIVER CREDIT UNION
P. O. BOX 35
ENUMCLAW,WASHINGTON U.S.A. 98022                    $409.90

ROANOKE VALLEY COMMUNITY FEDERAL CREDIT UNION
723 FIFTH STREET NORTHEAST
ROANOKE, VA 24016 USA                               $409.37
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 289 of 362


BANCO DE LA PRODUCCION, S.A.
CENTRO CORPORATIVO BANPRO,
ROTONDA EL GUEGUENSE 1C. ESTE.
MANAGUA, NICARAGUA                                   $408.15
TOTAL COMMUNITY CREDIT UNION
25155 GOODARD
TAYLOR,MICHIGAN U.S.A. 48180                         $408.06
COMMUNITY CREDIT UNION
1030 SOUTH US HIGHWAY 1
ROCKLEDGE, FL 32955 USA                              $407.81
ALL AMERICA BANK
200 SOUTH ROCKWELL AVENUE
OKLAHOMA CITY, OK 73128 USA                          $407.03
FIRST NATIONAL BANK, CORTEZ
140 WEST MAIN
CORTEZ,COLORADO U.S.A. 81321                         $407.02
RELIANCE SAVINGS BANK
1119 12TH STREET
ALTOONA,PENNSYLVANIA U.S.A. 16603-3419               $406.76
LEYDEN CREDIT UNION
2701 NORTH 25TH AVENUE
FRANKLIN, IL 60131 USA                               $406.26
SAN LUIS VALLEY FEDERAL BANK
401 EDISON AVENUE
ALAMOSA, CO 81101 USA                                $405.46
KENTUCKY EMPLOYEES CREDIT UNION
100 MOORE DRIVE
FRANKFORT, KY 40601-8295 USA                         $405.25
FIRST BANK RICHMOND, NATIONAL ASSOCIATION
20 NORTH 9TH STREET
RICHMOND, IN 47374 USA                               $404.95
UNKNOWN                                              $404.83
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 290 of 362


CENTRAL MISSOURI COMMUNITY CREDIT UNION
201 S. HOLDEN
WARRENSBURG,MISSOURI U.S.A. 64093                   $404.68
ABNB FEDERAL CREDIT UNION (GUARDIAN FCU)
830 GREENBRIER CIRCLE
CHESAPEAKE, VA 23320 USA                            $404.44
SINGING RIVER FEDERAL CREDIT UNION
6006 HIGHWAY 63
MOSS POINT, MS 39563 USA                            $403.35
FNBC BANK
636 ASH FLAT DRIVE
ASH FLAT, AR 72513 USA                              $403.00
LEADERS CREDIT UNION
214 OIL WELL ROAD
JACKSON TN 38305                                    $402.96
COMMUNITY NATIONAL BANK
901 EAST HIGHWAY 60
MONETT, MO 65708 USA                                $402.80
CENTURY BANK OF KENTUCKY, INC.
201 WEST WOODFORD STREET
LAWRENCEBURG, KY 40342 USA                          $401.69
UNKNOWN                                             $401.69
INNER LAKES FEDERAL CREDIT UNION
19-21 EAST MAIN STREET
WESTFIELD, NY 14787 USA                             $401.31
THE AMERICAN NATIONAL BANK OF SIDNEY
901 10TH AVENUE
SIDNEY, NE 69162 USA                                $400.71
LANIER FEDERAL CREDIT UNION
3640 MUNDY MILL ROAD SUITE 178
GAINESVILLE,GEORGIA U.S.A. 30504                    $399.07
FIRST BANK
341 NORTH MAIN STREET
TROY, NC 27371                                      $398.84
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 291 of 362


MUTUAL CREDIT UNION
1604 CHERRY STREET
VICKSBURG,MISSISSIPPI U.S.A. 39180-3586              $398.34
CALIFORNIA ADVENTIST FEDERAL CREDIT UNION
1441 EAST CHEVY CHASE DRIVE
GLENDALE,CALIFORNIA U.S.A. 91206                     $397.85
GULF COAST BANK AND TRUST COMPANY
200 ST. CHARLES AVENUE
NEW ORLEANS LA 70130                                 $396.78
MIDWEST BANKCENTRE
2191 LEMAY FERRY ROAD
LEMAY, MO 63125 USA                                  $396.27
COMMERCIAL BANK
6710 CUMBERLAND GAP PARKWAY
HARROGATE, TN 37752 USA                              $394.39
SOUTHERN SELECT COMMUNITY CREDIT UNION
169 DALE EARNHARDT BOULEVARD
KANNAPOLIS, NC 28081 USA                             $391.42
USSCO JOHNSTOWN FEDERAL CREDIT UNION
532 OAKRIDGE DRIVE
JOHNSTOWN, PA 15904 USA                              $391.19
FOX COMMUNITIES CREDIT UNION
3401 EAST CALUMET STREET
APPLETON,WISCONSIN U.S.A. 54915                      $390.46
TOWN AND COUNTRY CREDIT UNION
1215 SOUTH BROADWAY
MINOT, ND 58702 USA                                  $390.28
FRESNO POLICE DEPARTMENT CREDIT UNION
1004 VAN NESS
FRESNO,CALIFORNIA U.S.A. 93728                       $390.00
STATEWIDE FEDERAL CREDIT UNION
295 EAST LAYFAIR DRIVE
FLOWOOD, MS 39232 USA                                $387.95
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 292 of 362



GOVERNMENT PRINTING OFFICE FEDERAL CREDIT UNION
732 NORTH CAPITOL STREET NW
WASHINGTON, DC 20401 USA                            $387.43
BROWN COUNTY STATE BANK
101-103 EAST MAIN STREET
MOUNT STERLING, IL 62353-1033 USA                   $386.86
TRANSWEST CREDIT UNION
6189 SOUTH REDWOOD ROAD
TAYLORSVILLE,UTAH U.S.A. 84123                      $386.65
THE URAL BANK FOR RECONSTRUCTION & DEVELOPMENT
JSC
67 SAKKO I VANTSETTI STREET
EKATERINBURG, RUSSIAN FEDERATION 620014             $386.04
FIRST FINANCIAL BANK
1630 4TH AVENUE NORTH
BESSEMER, AL 35020 USA                              $385.64
LOWER COLUMBIA LONGSHOREMEN'S FEDERAL CREDIT
UNION
629 14TH AVENUE
LONGVIEW, WA 98632 USA                              $385.60
FIRST STATE BANK OF THE FLORIDA KEYS
1201 SIMONTON STREET
KEY WEST,FLORIDA U.S.A. 33040                       $385.14
FINGER LAKES FEDERAL CREDIT UNION
27 SENECA STREET
GENEVA, NY 14456 USA                                $384.65
POSTEL FAMILY CREDIT UNION
3410 MCNIEL AVENUE
WICHITA FALLS,TEXAS U.S.A. 76308                    $382.07
PROMOTORA CMR FALABELLA S.A.
AHUMADA 236, PISO 7 OF. 715
SANTIAGO, CHILE                                     $381.44
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 293 of 362


BANK ZENIT
9 BANNY PEREULOK
MOSCOW, RUSSIAN FEDERATION 129110                   $381.35
MID-KANSAS CREDIT UNION
104 SOUTH AVENUE B
MOUNDRIDGE, KS 67107 USA                            $380.62
MEMBERSFIRST CREDIT UNION
675 CAMPBELL HILL STREET
MARIETTA, GA 30060 USA                              $380.11
DENMARK STATE BANK
103 EAST MAIN ST.
DENMARK,WISCONSIN U.S.A. 54208                      $379.01

PATENT AND TRADEMARK OFFICE FEDERAL CREDIT UNION
501 DULANY STREET
ALEXANDRIA, VA 22314 USA                            $377.78
SOUTHWEST FINANCIAL FEDERAL CREDIT UNION
7610 STEMMONS FREEWAY STE 110
DALLAS,TEXAS U.S.A. 75247                           $377.47
LEGACY FEDERAL CREDIT UNION
2148 NW OVERTON
PORTLAND,OREGON U.S.A. 97210                        $376.68
PEOPLES BANK OF KENTUCKY
120 FRONTIER BLVD.
STANFORD,KENTUCKY U.S.A. 40484-0366                 $376.54
IAB FINANCIAL BANK
118 EAST LUDWIG ROAD
FORT WAYNE,INDIANA U.S.A. 46825                     $376.39
CITIZENS STATE BANK OF NEW CASTLE, INDIANA
1238 BROAD STREET
NEW CASTLE, IN 47362 USA                            $374.50
COLUMBIA-GREENE FEDERAL CREDIT UNION
207 A GREEN STREET
HUDSON, NY 12534 USA                                $374.19
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 294 of 362


PT BANK MEGA TBK
MENARA BANK MEGA KUNINGAN CARD CENTER
JL.RS.MATA AINI KAV 5-6 KUNIGAN,SETIABUD
JAKARTA SELATAN, INDONESIA 12920                     $372.70
MOUNTAIN COMMERCE BANK
201 SOUTH MAIN STREET
ERWIN, TN 37650 USA                                  $370.47
PROVIDENCE FEDERAL CREDIT UNION
6400 SOUTHEAST LAKE ROAD, SUITE 125
MILWAUKIE, OR 97222 USA                              $370.00
TUCOEMAS FEDERAL CREDIT UNION
5222 W. CYPRESS AVENUE
VISALIA,CALIFORNIA U.S.A. 93277                      $369.92
THE PEOPLES STATE BANK
601 EAST TEMPERANCE STREET
ELLETTSVILLE, IN 47429-1532 USA                      $369.17
COMMUNITY CHOICE CREDIT UNION
8404 NORTH WEST 62ND AVENUE
JOHNSTON, IA 50131 USA                               $368.58
BAY RIDGE FEDERAL CREDIT UNION
9000 4TH AVENUE
BROOKLYN, NY 11209 USA                               $368.37
C.A.H.P. CREDIT UNION
2843 MANLOVE ROAD
SACRAMENTO, CA 95826 USA                             $365.95
ULSTER SAVINGS BANK
PO BOX 3337
KINGSTON, NY 12402                                   $365.44

MEMBERS FIRST OF MARYLAND FEDERAL CREDIT UNION
535 DUNDALK AVENUE
BALTIMORE, MD 21224 USA                              $364.83
                              Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 295 of 362


NORTHERN COMMUNITIES CREDIT UNION
3311 WEST ARROWHEAD ROAD
DULUTH, MN 55811 USA                                   $363.93
PATRIOT BANK, NATIONAL ASSOCIATION
900 BEDFORD STREET
STAMFORD, CT 6901 USA                                  $363.64
THE FARMERS SAVINGS BANK
111 WEST MAIN STREET
SPENCER, OH 44275 USA                                  $363.62
FIRST ILLINOIS BANK
327 MISSOURI AVENUE
EAST ST. LOUIS, IL 62201 USA                           $363.34
THE BANK OF MARION
102 WEST MAIN STREET
MARION, VA 24354-2599 USA                              $363.19
MEMPHIS CITY EMPLOYEES CREDIT UNION
2608 AVERY AVENUE
MEMPHIS, TN 38112-4896 USA                             $362.52
SUNSET SCIENCE PARK FEDERAL CREDIT UNION
1100 N.W. MURRAY BLVD. SUITE 200
PORTLAND,OREGON U.S.A. 97229                           $360.34
HAWAII COMMUNITY FEDERAL CREDIT UNION
73-5611 OLOWALU STREET
KAILUA KONA, HI 96740 USA                              $360.03
THE FIRST NATIONAL BANK OF GERMANTOWN
17 NORTH MAIN STREET
GERMANTOWN, OH 45327 USA                               $359.90
ALL TRANS FINANCIAL SERVICES CREDIT UNION LTD.
107 ATLANTIC AVE STE. STE. 201
TORONTO, ON M6K 1Y2 CANADA                             $359.33
AMERICAN TRUST & SAVINGS BANK
9TH AND MAIN STREETS
DUBUQUE, IA 52001 USA                                  $357.90
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 296 of 362


EVERGREEN DIRECT CREDIT UNION
1018 EAST UNION AVENUE
OLYMPIA, WA 98501 USA                                $357.90
BUILDING TRADES FEDERAL CREDIT UNION
12080 73RD AVENUE N
MAPLE GROVE, MN 55369-5260 USA                       $357.75
COMMERCE BANK OF ARIZONA
698 EAST WETMORE, SUITE 424
TUSCON, AZ 85705 USA                                 $357.18
TCT FEDERAL CREDIT UNION
416 ROWLAND STREET
BALLSTON SPA, NY 12020 USA                           $356.27
GRANCO FEDERAL CREDIT UNION
217 ALDER STREET SOUTHWEST
EPHRATA,WASHINGTON U.S.A. 98823                      $354.03
CENTRAL KEYSTONE FEDERAL CREDIT UNION
1000 MARKET STREET
SUNBURY,PENNSYLVANIA U.S.A. 17801-0234               $353.79
FIRST PRIORITY CREDIT UNION
3165 SOUTH 27TH STREET
ABILENE,TEXAS U.S.A. 79605                           $353.50
HERSHEY FEDERAL CREDIT UNION
232 HERSHEY ROAD
HUMMELSTOWN,PENNSYLVANIA U.S.A. 17036                $353.49
DISTRICT OF COLUMBIA TEACHERS FEDERAL CREDIT
UNION
9TH & D STREETS, NE
WASHINGTON,DISTRICT OF COLUMBIA U.S.A. 20002         $352.72
VITAL FEDERAL CREDIT UNION
1000 ASHEVILLE HIGHWAY
SPARTANBURG, SC 29303 USA                            $351.69
FIRST CAROLINA PEOPLE'S CREDIT UNION
201 E ASH ST.
GOLDSBORO, NC 27530 USA                              $351.46
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 297 of 362


FIRST FARMERS AND MERCHANTS BANK
816 SOUTH GARDEN STREET
COLUMBIA, TN 38401 USA                               $351.39
STANDARD BANK, PASB
2640 MONROEVILLE BLVD.
MONROEVILLE,PENNSYLVANIA U.S.A. 15146-2300           $350.74
UNKNOWN                                              $350.00
EAST RIVER BANK
4341 RIDGE AVENUE
PHILADELPHIA, PA 19129 USA                           $350.00
NW PRIORITY CREDIT UNION
12630 SE DIVISION
PORTLAND,OREGON U.S.A. 97236                         $350.00
ING BANK (AUSTRALIA) LIMITED
347 KENT STREET
SYDNEY, NS 2000 AUSTRALIA                            $349.42
LEBANON FEDERAL CREDIT UNION
300 SCHNEIDER DR.
LEBANON,PENNSYLVANIA U.S.A. 17046                    $348.86
PRIORITY ONE CREDIT UNION OF FLORIDA
3000 N. UNIVERSITY DRIVE
SUNRISE, FL 33322 USA                                $348.56
CITIZENSFIRST/VERVE
PO BOX 3046
OSHKOSH, WI 54903                                    $347.74
GRANITE HILLS CREDIT UNION
266 NORTH MAIN STREET
BARRE, VT 05641-4126 USA                             $347.74
THE FIRST NATIONAL BANK IN COOPER
11 WEST SIDE SQUARE
COOPER, TX 75432 USA                                 $347.66
HOME STATE BANK N.A.
40 GRANT ST
CRYSTAL LAKE IL 60014-4314                           $346.43
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 298 of 362


WATERTOWN SAVINGS BANK
111 CLINTON ST.
WATERTOWN,NEW YORK U.S.A. 13601                     $346.01
CENCOSUD S.A.
GERENTE DE OPERACIONES OPERACIONES PARANA 3617
ED 100
BUENOS AIRES ARGENTINA 1640                         $344.18
GWINNETT COMMUNITY BANK
2775 BUFORD HIGHWAY
DULUTH, GA 30096 USA                                $343.51
PEOPLES TRUST AND SAVINGS BANK
132 SOUTH 3RD STREET
BOONVILLE, IN 47601 USA                             $341.13
PULASKI SAVINGS BANK
3156 SOUTH MORGAN STREET
CHICAGO, IL 60608 USA                               $340.33
BANCO NACIONAL DEL EJERCITO, FUERZA AEREA Y
ARMADA, S.N.C.
AV. INDUSTRIA MILITAR 1055 COLONIA LOMAS DE
SOTELO
MEXICO D.F., 11200 MEXICO                           $340.27
SALEM FIVE CENTS SAVINGS BANK
71 WASHINGTON STREET
SALEM, MA 1970 USA                                  $340.00
AFL CIO EMPLOYEES FEDERAL CREDIT UNION
1750 NEW YORK AVENUE NORTHWEST
WASHINGTON, DC 20006 USA                            $338.31
LESCO FEDERAL CREDIT UNION
6 AVENUE D
LATROBE, PA 15650 USA                               $337.91
THE FIRST NATIONAL BANK OF MCGREGOR
P.O. BOX 387
MCGREGOR,TEXAS U.S.A. 76657                         $337.76
                               Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 299 of 362


U.P.S. EMPLOYEES FEDERAL CREDIT UNION
8000 SOUTH PAINTER AVENUE
WHITTIER, CA 90602 USA                                  $337.47
OXFORD BANK & TRUST
1111 WEST 22ND STREET SUITE 800
OAK BROOK, IL 60523 USA                                 $336.67
HANCOCK COUNTY SAVINGS BANK, F.S.B.
351 CAROLINA AVENUE
CHESTER, WV 26034 USA                                   $336.07
ENCOMPASS FEDERAL CREDIT UNION
201 NORTH MAIN STREET
TIPTON, IN 46072 USA                                    $334.97
C1 BANK
9001 BELCHER ROAD
PINELLAS PARK FL 33781                                  $334.58
PREFERRED BANK
P.O. BOX 160
CASEY,ILLINOIS U.S.A. 62420                             $333.38
BANK OF MINGO
ROUTE 65 & US HIGHWAY 52
NAUGATUCK, WV 25685 USA                                 $331.66
THE FIRST NATIONAL BANK OF ABSECON
106 NEW JERSEY AVENUE
ABSECON, NJ 8201 USA                                    $331.32
BANCO CREDITO AGRICOLA DE CARTAGO
AVE. 2, CALLE 2 Y 4 EDIFICIO GALERIA LA PAZ
SAN JOSE, COSTA RICA                                    $331.18
U.S. EMPLOYEES O.C. FEDERAL CREDIT UNION
4301 SOUTH WEST I-44
OKLAHOMA CITY, OK 73119 USA                             $330.40
UNITED HEALTH CREDIT UNION
1860 EL CAMINO REAL, SUITE 100
BURLINGAME, CA 94010 USA                                $329.95
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 300 of 362


COMMUNITY FIRST GUAM FEDERAL CREDIT UNION
810 WEST MARINE DRIVE, ROUTE ONE,
HAGATNA, 96932 GUAM                                 $329.68
COUNTY BANK
19927 SHUTTLE ROAD
REHOBOTH BEACH, DE 19971 USA                        $328.73
UNION BUILDING TRADES FEDERAL CREDIT UNION
205 CHERRY HILL ROAD
PARSIPPANY, NJ 7054 USA                             $328.71
UNKNOWN                                             $328.69
TEB J.S.C.
STR. AGIM RAMADANI NR. 15
PRISHTINE, KOSOVO                                   $328.64

PLYMOUTH COUNTY TEACHERS FEDERAL CREDIT UNION
2203 CRANBERRY HIGHWAY
WEST WAREHAM, MA 2576 USA                           $328.49
VALLEY BANK OF KALISPELL
41 THIRD STREET WEST
KALISPELL, MT 59903-0048 USA                        $327.26
FIRST FINANCIAL BANK
214 NORTH WASHINGTON STREET
EL DORADO, AR 71730 USA                             $327.03
FIVEPOINT CREDIT UNION
3700 SKYLINE DRIVE
NEDERLAND, TX 77627 USA                             $326.91

CORNERSTONE COMMUNITY FEDERAL CREDIT UNION
6485 SOUTH TRANSIT ROAD
LOCKPORT,NEW YORK U.S.A. 14094                      $326.08
ILLINOIS COMMUNITY CREDIT UNION
508 WEST STATE STREET
SYCAMORE, IL 60178 USA                              $325.92
                          Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 301 of 362


FARMERS STATE BANK
108 EAST ADAMS STREET
PITTSFIELD, IL 62363 USA                           $325.25
LAMAR BANK AND TRUST COMPANY
1000 BROADWAY
LAMAR,MISSOURI U.S.A. 64759                        $325.08
AEROSPACE FEDERAL CREDIT UNION
2350 EAST EL SEGUNDO BOULEVARD
EL SEGUNDO, CA 90245 USA                           $324.00
AMERIANA BANK
2118 BUNDY AVENUE
NEW CASTLE, IN 47362 USA                           $323.75
CORNHUSKER BANK
1101 CORNHUSKER HIGHWAY
LINCOLN, NE 68521 USA                              $323.69
THE FAUQUIER BANK
10 COURTHOUSE SQUARE
WARRENTON, VA 20186 USA                            $323.59
SIGNET FEDERAL CREDIT UNION
1600 CLARK STREET
PADUCAH, KY 42001 USA                              $321.00
INTERBANK
4921 NORTH MAY AVENUE
OKLAHOMA CITY, OK 73112 USA                        $320.56
UNKNOWN                                            $320.19
MANUFACTURERS & TRADERS TRUST COMPANY
FINANCIAL SERV CTR
1100 N MARKET ST
WILMINGTON DE 19801                                $319.54
MINEOLA COMMUNITY BANK, S.S.B.
215 WEST BROAD
MINEOLA, TX 75773 USA                              $317.95
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 302 of 362



BANCO MULTIPLE PROMERICA DE LA REPUBLICA
DOMINICANA, C. POR A.
AVENIDA SAN MARTIN NO. 253 EDIFICIO SANTA ANITA
SANTO DOMINGO, REPUBLICA DOMINICANA                  $317.15
MUNICIPAL EMPLOYEES CREDIT UNION OF OKLAHOMA
CITY
101 NORTH WALKER
OKLAHOMA CITY, OK 73102 USA                          $317.14
METRO BANK
3801 PAXTON ST.
HARRISBURG,PENNSYLVANIA U.S.A. 17111                 $316.45
STANBIC IBTC BANK PLC
IBTC PLACE, WALTER CARRINGTON CRESCENT VICTORIA
ISLAND
LAGOS, NIGERIA                                       $316.30
PEOPLES FEDERAL CREDIT UNION
419 FIRST AVENUE SOUTH
NITRO, WV 25143 USA                                  $316.08
BOX ELDER COUNTY FEDERAL CREDIT UNION
30 EAST 700 SOUTH STREET
BRIGHAM CITY, UT 84302 USA                           $315.64
SACO VALLEY CREDIT UNION
312 MAIN STREET
SACO,MAINE U.S.A. 04072                              $314.99
UNKNOWN                                              $314.71
TRI COUNTIES BANK (NORTH VALLEY BANK)
63 CONSTITUTION DRIVE
CHICO, CA 95973 USA                                  $314.53
CASCADE COMMUNITY FEDERAL CREDIT UNION
1123 WEST HARVARD AVENUE
ROSEBURG, OR 97470 USA                               $314.45
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 303 of 362


MIAMI FEDERAL CREDIT UNION
51 SOUTH WEST FIRST AVENUE, SUITE 604
MIAMI, FL 33130-1679 USA                             $313.85
UNKNOWN                                              $313.52
THE FIRST NATIONAL BANK
432 W. GALLATIN ST.
VANDALIA,ILLINOIS U.S.A. 62471                       $313.08
CENTRAL VALLEY COMMUNITY BANK
600 POLLASKY AVENUE
CLOVIS,CALIFORNIA U.S.A. 93612                       $312.59
TENNESSEE STATE BANK
2210 PARKWAY
PIGEON FORGE,TENNESSEE U.S.A. 37883                  $312.33
ECLIPSE BANK, INC.
3827 SHELBYVILLE ROAD
LOUISVILLE, KY 40207 USA                             $312.07
WESTAR FEDERAL CREDIT UNION
2565 HAMBLETONIAN WAY
CAMILLUS, NY 13031 USA                               $311.91
COLORADO EAST BANK & TRUST
100 WEST PEARL STREET
LAMAR, CO 81052 USA                                  $311.84
UNKNOWN                                              $311.63
WEST DENVER COMMUNITY CREDIT UNION
3299 WEST ALAMEDA
DENVER, CO 80219 USA                                 $311.10
UNKNOWN                                              $310.82
ADAMS BANK & TRUST
315 NORTH SPRUCE STREET
OGALLALA, NE 69153                                   $310.36
UNICREDIT BANK D.D.
KARDINALA STEPINCA BB MOSTAR,
BOSNIA AND HERZEGOVINA 88000                         $310.14
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 304 of 362


BANCO MULTIPLE ADEMI, S.A.
AVE PEDRO HENRIQUEZ URENA NO. 78
SANTO DOMINGO, REPUBLICA DOMINICANA                   $309.64
MORTON COMMUNITY BANK
721 WEST JACKSON STREET
MORTON, IL 61550-1535 USA                             $309.62
SUPERIOR NATIONAL BANK & TRUST COMPANY
235 QUINCY STREET
HANCOCK, MI 49930 USA                                 $309.15
CASS COUNTY BANK, INC.
2020 WEST HOLDREDGE STREET
PLATTSMOUTH, NE 68048 USA                             $308.98
BROOKLINE MUNICIPAL CREDIT UNION
334 WASHINGTON STREET
BROOKLINE, MA 02447-0776 USA                          $308.70
UNITED SOUTHERN BANK
750 NORTH CENTRAL AVENUE
UMATILLA,FLORIDA U.S.A. 32784                         $307.80
PEOPLES BANK & TRUST COMPANY OF HAZARD
524 MAIN STREET
HAZARD, KY 41701 USA                                  $307.28
BANK OF THE SIERRA (SANTA CLARA VALLEY BANK)
PO BOX 1930
PORTERVILLE, CA 93258                                 $307.10
SHANGHAI COMMERCIAL BANK LIMITED
47, CATCHICK STREET KENNEDY TOWN KOWLOON,
HONG KONG, CHINA                                      $306.59
DAMASCUS COMMUNITY BANK
26500 RIDGE ROAD
DAMASCUS, MD 20872 USA                                $306.00
EAST WISCONSIN SAVINGS BANK, S.A.
109 WEST SECOND STREET
KAUKAUNA, WI 54130 USA                                $305.93
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 305 of 362


MECHANICS AND FARMERS BANK
116 WEST PARRISH STREET
DURHAM,NORTH CAROLINA U.S.A. 27701                   $305.76
RAIFFEISEN BANK AVAL PJSC
9 LESKOVA STR.
KIEV, 1011 UKRAINE                                   $305.17
UNKNOWN                                              $304.95
ELECTRUS FEDERAL CREDIT UNION
7100 BROOKLYN BOULEVARD
BROOKLYN CENTER, MN 55429 USA                        $304.05
METROPOLITAN COMMERCIAL BANK
402 S BROAD STREET
SCOTTSBORO, AL 35768                                 $303.98
THE BANK OF SOUTH CAROLINA
256 MEETING STREET
CHARLESTON, SC 29401 USA                             $303.67
MARIN COUNTY FEDERAL CREDIT UNION
30 NORTH SAN PEDRO RD. #115
SAN RAFAEL,CALIFORNIA U.S.A. 94903                   $300.60
BANCO BICENTENARIO
AV. VENEZUELA, TRR BICENTENARIO, PS 8,,
GERENCIA GRAL OPERACIONES
CARACAS VENEZUELA 1050                               $300.00
COMMUNITY SAVINGS
425 MAIN STREET
CALDWELL, OH 43724 USA                               $300.00
LOMBARD BANK MALTA P.L.C.
LEVEL 3, COBALT HOUSE, NOTABILE ROAD MRIEHEL
MALTA BKR 3000                                       $300.00
THE FIRST NATIONAL BANK OF DENNISON
105 GRANT STREET
DENNISON,OHIO U.S.A. 44621                           $300.00
                          Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 306 of 362


CASCADE CENTRAL CREDIT UNION
1206 12TH STREET
HOOD RIVER, OR 97031-1604 USA                      $297.90
THE LINCOLN NATIONAL BANK OF HODGENVILLE
(KENTUCKY HOME BANK)
MAIN STREET
HODGENVILLE, KY 42748 USA                          $295.68
FIRST WESTROADS BANK, INC.
10855 WEST DODGE ROAD
OMAHA, NE 68154 USA                                $295.49
EVER $ GREEN FEDERAL CREDIT UNION
2761 EAST HENRIETTA ROAD
HENRIETTA, NY 14467 USA                            $294.99
HOME FEDERAL BANK
225 S MAIN AVE
SIOUX FALLS SD 57104                               $294.83
HOME SAVINGS & LOAN ASSOCIATION OF OKLAHOMA
CITY
3301 SOUTH WESTERN STREET
OKLAHOMA CITY, OK 73109 USA                        $294.11
FIRST BANK OF NEWTON
128 EAST BROADWAY
NEWTON, KS 67114 USA                               $293.84
COMMUNITY GUARANTY SAVINGS BANK
28 SOUTH MAIN STREET
PLYMOUTH, NH 3267 USA                              $292.73
COVENTRY BUILDING SOCIETY
P.O. BOX 9, HIGH STREET
WEST MIDLANDS, UNITED KINGDOM CVI 5ON              $290.75
METUCHEN SAVINGS BANK
429 MAIN STREET
METUCHEN, NJ 08840-0431 USA                        $290.66
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 307 of 362


APPLETREE CREDIT UNION
11333 WEST GREENFIELD AVENUE
WEST ALLIS, WI 53214 USA                             $290.61

WRIGHT EXPRESS FINANCIAL SERVICES CORPORATION
5353 SOUTH 960 EAST
SUITE 200
SALT LAKE CITY UT 84117                              $290.19
BANCA COMERCIALA ROMANA S.A.
CALEA VICTORIEI 15, SECTOR 3
BUCHAREST, ROMANIA 030027                            $289.55
LOUISIANA USA FEDERAL CREDIT UNION
10289 AIRLINE HIGHWAY
BATON ROUGE, LA 70816 USA                            $288.66
PORTAGE COMMUNITY BANK
1311 EAST MAIN STREET
RAVENNA, OH 44266 USA                                $288.36
PINNACLE CREDIT UNION
536 NORTH AVENUE, NE
ATLANTA, GA 30308 USA                                $288.25
ARKANSAS EMPLOYEES FEDERAL CREDIT UNION
306 SOUTH CROSS STREET
LITTLE ROCK, AR 72201 USA                            $287.68
IOWA - NEBRASKA STATE BANK
2021 DAKOTA AVENUE
SOUTH SIOUX CITY, NE 68776-0037 USA                  $286.29
SKYE BANK PLC
3 AKIN ADESOLA STREET VICTORIA ISLAND
LAGOS, NIGERIA                                       $286.00
WEST CENTRAL BANK
400 EAST BUCHANAN
ASHLAND, IL 62612 USA                                $285.97
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 308 of 362


FORT WORTH COMMUNITY CREDIT UNION
P.O. BOX 210848
BEDFORD, TX 76095-7848 USA                          $285.65

NORDDEUTSCHE LANDESBANK GIROZENTRALE NORD LB
FRIEDRICHSWALL 10
HANNOVER, 30159 GERMANY                             $285.56
GREENVILLE HERITAGE FEDERAL CREDIT UNION
75 REEDY VIEW DRIVE
GREENVILLE,SOUTH CAROLINA U.S.A. 29601              $285.12
SOUTHEAST FINANCIAL CREDIT UNION
220 SOUTH ROYAL OAKS
FRANKLIN, TN 37064 USA                              $285.09
SECURITY FIRST NATIONAL BANK OF HUGO
100 SOUTH BROADWAY
HUGO, OK 74743-4418 USA                             $285.02
HOLLEY CREDIT UNION
1107 MINERAL WELLS AVENUE
PARIS, TN 38242 USA                                 $284.69
COMMUNITY BANK AND TRUST
100 SOUTH WOOD STREET
NEOSHO,MISSOURI U.S.A. 64850                        $284.42
WYROPE WILLIAMSPORT FEDERAL CREDIT UNION
1536 RIVERSIDE DRIVE
SOUTH WILLIAMSPORT, PA 17702 USA                    $283.99

HOMEFIELD CREDIT UNION (GRAFTON SUBURBAN CU)
86 WORCESTER STREET
NORTH GRAFTON, MA 1536 USA                          $283.50
CATHAY BANK
777 NORTH BROADWAY
LOS ANGELES,CALIFORNIA U.S.A. 90012                 $283.27
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 309 of 362


DEUTSCHE BANK POLSKA S.A.
AL. ARMII LUDOWEJ 26
WARSAW, 00-609 POLAND                               $283.10
ALLEGENT COMMUNITY FEDERAL CREDIT UNION
1001 LIBERTY AVENUE, SUITE 100
PITTSBURGH, PA 15222 USA                            $282.98
RELYANCE BANK, NATIONAL ASSOCIATION
912 SOUTH POPLAR STREET
PINE BLUFF, AR 71611 USA                            $280.44
UNITED METHODIST FEDERAL CREDIT UNION
5405 ARROW HIGHWAY, #104
MONTCLAIR, CA 91763 USA                             $280.00
TUSCOLA NATIONAL BANK
900 SOUTH PROGRESS BLVD.
TUSCOLA,ILLINOIS U.S.A. 61953                       $279.27
UNKNOWN                                             $279.19
HARVESTER'S FEDERAL CREDIT UNION
480 HIGHWAY 29 SOUTH
CANTONMENT, FL 32533 USA                            $278.94
TRI-TOWN TEACHERS FEDERAL CREDIT UNION
61 JESUP ROAD
WESTPORT,CONNECTICUT U.S.A. 06881                   $278.43
CSD CREDIT UNION
8510 E. BANNISTER RD.
KANSAS CITY,MISSOURI U.S.A. 64134                   $277.95
TELCOMM CREDIT UNION
2155 EAST SUNSHINE STREET
SPRINGFIELD, MO 65804 USA                           $276.88
WOODSTONE CREDIT UNION
1825 S 316TH STREET
FEDERAL WAY, WA 98003- USA                          $276.62
GREATER IOWA CREDIT UNION
801 LINCOLN WAY
AMES, IA 50010-0665 USA                             $276.20
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 310 of 362


UNITED BANK OF PHILADELPHIA
300 NORTH 3RD STREET
PHILADELPHIA, PA 19106 USA                           $274.91
SAN ANTONIO CITIZENS FEDERAL CREDIT UNION
12542 NORTH CURLEY ROAD
SAN ANTONIO,TEXAS U.S.A. 33576                       $274.77
DEPOSIT BANK OF CARLISLE
102 EAST MAIN STREET
CARLISLE, KY 40311 USA                               $273.10
DOMINION CREDIT UNION
701 EAST CARY STREET
RICHMOND, VA 23261 USA                               $272.54
FIRST UNITED CREDIT UNION
3140 IVANREST AVENUE SOUTHWEST
GRANDVILLE, MI 49418 USA                             $271.17
THE HONDO NATIONAL BANK
1112 18TH STREET
HONDO,TEXAS U.S.A. 78861                             $271.13
UNKNOWN                                              $270.83
DEMOTTE STATE BANK
P. O. BOX 400
DEMOTTE,INDIANA U.S.A. 46310                         $270.81
FOUNDATION BANK
3001 112TH AVENUE NORTHEAST
BELLEVUE, WA 98004 USA                               $269.99
GRANDVIEW BANK
SECOND AND CRINER STREETS
GRANDVIEW, TX 76050 USA                              $269.92
BANK OF WIGGINS
109 WEST PINE AVENUE
WIGGINS, MS 39577 USA                                $269.01
COASTLAND FEDERAL CREDIT UNION
1301 CLEARVIEW BLVD
METAIRIE,LOUISIANA U.S.A. 70001                      $268.98
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 311 of 362


ECO CREDIT UNION
105 FRANKFURT CIRCLE
BIRMINGHAM, AL 35211 USA                             $268.80
OKLAHOMA STATE BANK
120 WEST CANADIAN STREET
VINITA, OK 74301 USA                                 $268.43
CATHOLIC FAMILY FEDERAL CREDIT UNION
1902 WEST DOUGLAS
WICHITA,KANSAS U.S.A. 67203-5732                     $268.35
NEW CASTLE COUNTY DELAWARE EMPLOYEES FEDERAL
CREDIT UNION
100 NEW CHURCHMANS ROAD
NEW CASTLE, DE 19720 USA                             $267.86
REDSTONE BANK
15765 EAST ARAPAHOE ROAD
CENTENNIAL, CO 80016 USA                             $266.70
VALLEY BANK OF NEVADA
3000 WEST ANN ROAD, SUITE 107
LAS VEGAS, NV 89130 USA                              $266.65
VACI UTCA 38.
BUDAPEST 1056, HUNGARY                               $266.45

UNIVERSITY OF SOUTH ALABAMA FEDERAL CREDIT UNION
67 SOUTH UNIVERSITY BLVD.
MOBILE,ALABAMA U.S.A. 36608                          $265.90
CREDIT AGRICOLE BANK POLSKA S.A.
BANK ZACHODNI WBK S.A.
PL. ANDERSA 5 POZNAN, POLAND 61-894                  $265.84
NUSENDA FEDERAL CREDIT UNION
4100 PAN AMERICAN FREEWAY NORTHEAST
ALBUQUERQUE, NM 87107 USA                            $265.14
LOTTE CARD COMPANY, LIMITED
157, SAMSUNG-DONG GANGNAM-GU
SEOUL, 135-974 SOUTH KOREA                           $265.00
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 312 of 362


PORTALLIANCE FEDERAL CREDIT UNION
5670 RABY ROAD
NORFOLK,VIRGINIA U.S.A. 23502                        $264.30
COMMUNITY NEIGHBOR BANK
3 WATER STREET
CAMDEN, AL 36726 USA                                 $263.95
FARMERS SAVINGS BANK
305 DOTY STREET
MINERAL POINT, WI 53565 USA                          $263.73
ERSTE BANK HUNGARY ZRT.
NEPFURDO UTCA 24-26
BUDAPEST, 1138 HUNGARY                               $262.95
KITSAP BANK
619 BAY STREET
PORT ORCHARD, WA 98366 USA                           $262.65
THE FIRST NATIONAL BANK-FOX VALLEY
550 S. GREEN BAY ROAD
NEENAH,WISCONSIN U.S.A. 54956-0629                   $261.90
OPEN BANK
1000 WILSHIRE BOULEVARD, SUITE 100
LOS ANGELES, CA 90017 USA                            $261.58
CROSS KEYS BANK
307 PLANK ROAD
SAINT JOSEPH, LA 71366 USA                           $260.43
WHITE EAGLE CREDIT UNION
2830 OHIO
AUGUSTA, KS 67010 USA                                $260.06
THE BANK OF OLD MONROE
101 LOCUST STREET
OLD MONROE, MO 63369 USA                             $259.95
DESCO FEDERAL CREDIT UNION
401 CHILLICOTHE STREET
PORTSMOUTH, OH 45662 USA                             $259.90
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 313 of 362


FINANCIAL PLUS CREDIT UNION
G 3381 VAN SLYKE ROAD
FLINT, MI 48507 USA                                   $259.71
METRO HEALTH SERVICES FEDERAL CREDIT UNION
14509 F STREET
OMAHA,NEBRASKA U.S.A. 68137                           $258.00
CAROLINA COOPERATIVE CREDIT UNION
6502 MCMAHON DRIVE
CHARLOTTE,NORTH CAROLINA U.S.A. 28226                 $257.84
CORNERSTONE BANK
115 WEST A STREET
WATONGA, OK 73772 USA                                 $257.34
UNKNOWN                                               $256.73
CHESAPEAKE BANK
97 NORTH MAIN STREET
KILMARNOCK,VIRGINIA U.S.A. 22482                      $256.72

BRITISH AIRWAYS EMPLOYEES FEDERAL CREDIT UNION
75-20 ASTORIA BLVD
JACKSON HEIGHTS,NEW YORK U.S.A. 11370                 $256.37
FARMERS-MERCHANTS BANK & TRUST COMPANY
100 SOUTH MAIN STREET
BREAUX BRIDGE, LA 70517 USA                           $255.95
CONSUMERS NATIONAL BANK
614 EAST LINCOLN WAY
MINERVA,OHIO U.S.A. 44657                             $255.28
UNIVERSITY OF VIRGINIA COMMUNITY CREDIT UNION INC.
(NORTHERN PIEDMONT FCU)
3300 BERKMAR DRIVE
CHARLOTTESVILLE, VA 22901 USA                         $254.94
THE UNION STATE BANK
127 S. SUMMIT STREET
ARKANSAS CITY,KANSAS U.S.A. 30601                     $254.57
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 314 of 362


BEAVER VALLEY FEDERAL CREDIT UNION
601 37TH ST.
BEAVER FALLS,PENNSYLVANIA U.S.A. 15010-3441           $254.57
UNKNOWN                                               $253.95
SEB BANKAS AB
DEV GEDIMINO AVE 12
VILNIUS LITHUANIA LT-01103                            $251.57
BEEHIVE FEDERAL CREDIT UNION
P. O. BOX 40
REXBURG,IDAHO U.S.A. 83440-0040                       $250.28
MEMBERS EXCHANGE CREDIT UNION
107 MARKETRIDGE DRIVE
RIDGELAND,MISSISSIPPI U.S.A. 39157                    $250.00
STATE BANK LLC
BAGATOIRUU 7/1, 1ST KHOROO, CHINGELTEI
ULAANBAATAR, MONGOLIA                                 $250.00
INDUSTRIAL BANK
4812 GEORGIA AVENUE, NW
WASHINGTON, DC 20011 USA                              $249.98
RHINEBECK BANK
6414 MONTGOMERY STREET
RHINEBECK, NY 12572 USA                               $249.09
SERVICE ONE CREDIT UNION, INC
1609 CAMPBELL LANE
BOWLING GREEN, KY 42104-4196 USA                      $248.00
FIRST BANK OF TENNESSEE
369 FRONT STREET
SPRING CITY, TN 37381 USA                             $244.66
FIRST SOUTHERN NATIONAL
27 PUBLIC SQUARE
LANCASTER, KY 40444 USA                               $243.04
BANK OF AYUDHYA PUBLIC COMPANY LIMITED
550 PLOENCHIT ROAD, PATHUMWAN
BANGKOK, 10330 THAILAND                               $242.80
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 315 of 362


CHELINDBANK
80 KARL MARX STREET
CHELYABINSK, RUSSIAN FEDERATION 454091               $242.60
THE CITIZENS STATE BANK
201 SOUTH CHRISTIAN
MOUNDRIDGE, KS 67107 USA                             $241.38
THE NATIONAL BANK OF GEORGIA
2234 WEST BROAD STREET
ATHENS, GA 30606 USA                                 $239.55
BOWATER EMPLOYEES CREDIT UNION
454 HIGHWAY 163
CALHOUN, TN 37309 USA                                $239.24
ST. CLOUD FEDERAL CREDIT UNION
3030 SOUTH 1ST STREET
ST. CLOUD, MN 56301 USA                              $239.12
OJSC BPS-SBERBANK
6, BLVD. LUNACHARSKOGO
MINSK, 220071 BELARUS                                $238.61
LONG ISLAND COMMUNITY FEDERAL CREDIT UNION
P.O. BOX 467
PORT JEFFERSON STATION,NEW YORK U.S.A. 11776         $238.12
MUSKOGEE FEDERAL CREDIT UNION
1910 WEST SHAWNEE
MUSKOGEE, OK 74401 USA                               $237.68
T & I CREDIT UNION
600 NORTH MAIN STREET
CLAWSON, MI 48017 USA                                $237.51
MAINSOURCE BANK
201 N. BROADWAY
GREENSBURG,INDIANA U.S.A. 47240                      $236.63
PRIVREDNA BANKA ZAGREB D.D.
RADNICKA 44
ZAGREB, CROATIA 10000                                $235.98
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 316 of 362



JOINT STOCK COMMERCIAL BANK FOR INVESTMENT AND
DEVELOPMENT
VINCOM TOWER, BLOCK A, 191 BA TRIEU HAI BA TRUNG,
HANOI, VIETNAM HANOI VIETNAM                          $235.77
FREEHOLD SAVINGS AND LOAN ASSOCIATION
68 WEST MAIN STREET
FREEHOLD,NEW JERSEY U.S.A. 07728                      $235.64
MTC FEDERAL CREDIT UNION
517C MICHELIN ROAD
GREENVILLE, SC 29605 USA                              $235.59
BOSTON PRIVATE BANK & TRUST COMPANY
10 POST OFFICE SQUARE
BOSTON,MASSACHUSETTS U.S.A. 02109                     $235.00
KCB BANK
950 WEST 92 HIGHWAY
KEARNEY, MO 64060 USA                                 $234.99
UNKNOWN                                               $234.92

PRICE CHOPPER EMPLOYEES FEDERAL CREDIT UNION
404 PRINCETOWN ROAD
SCHENECTADY, NY 12306 USA                             $234.42
OSHKOSH COMMUNITY CREDIT UNION
250 PEARL AVENUE
OSHKOSH, WI 54901 USA                                 $234.20
CANNON FEDERAL CREDIT UNION
4205 NORTH PRINCE STREET
CLOVIS, MN 55102 USA                                  $234.01
PIEDMONT CREDIT UNION
366 PINEY FOREST RD
DANVILLE, VA 24540 USA                                $233.58
BANK OF HAMPTON ROADS
641 LYNNHAVEN PARKWAY
VIRGINIA BEACH, VA 23452 USA                          $233.48
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 317 of 362


CORP BANCA
845 THIRD AVE.
5TH FLOOR
NEW YORK NY 10022                                   $232.56
NMA FEDERAL CREDIT UNION
4920 HAYGOOD ROAD
VIRGINIA BEACH, VA 23455 USA                        $231.84
EXCHANGE BANK AND TRUST COMPANY, NATCHITOCHES,
LOUISIANA
700 FRONT STREET
NATCHITOCHES, LA 71457 USA                          $230.37
UNKNOWN                                             $230.21
SUNSOUTH BANK
108 JAMESTOWN BOULEVARD
DOTHAN, AL 36301 USA                                $229.98
CLACKAMAS COUNTY BANK
P. O. BOX 38
SANDY,OREGON U.S.A. 97055                           $229.96
PREMIER FEDERAL CREDIT UNION
1400 YANCEYVILLE STREET
GREENSBORO, NC 27405 USA                            $228.21
MICARD CO., LTD
5-17-18, SHINJUKU, SHINJUKU-KU
TOKYO, 160-0022 JAPAN                               $227.68
UNKNOWN                                             $227.57
PUEBLO HORIZONS FEDERAL CREDIT UNION
1825 HOOD AVENUE
PUEBLO, CO 81003 USA                                $227.30
SEKERBANK T.A.S.
CUMHURIYET MAH. A.IPEKCI CAD KARMAN SOK NO:9
YAKACIK KARTAL
ISTANBUL, TURKEY 34878                              $226.82
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 318 of 362


CIVISTA BANK (THE CITIZENS BANKING COMPANY)
100 EAST WATER STREET
SANDUSKY, OH 44870 USA                                $226.26
BANCO POPOLARE SOCIETA COOPERATIVA
DR. MARKETING RETAIL VIA QUINTINO SELLA,
4 VERONA ITALY 37121                                  $226.25
COLLINS COMMUNITY CREDIT UNION
1150 42ND STREET, N.E.
CEDAR RAPIDS,IOWA U.S.A. 52402                        $226.21
SPOKANE FEDERAL CREDIT UNION
601 WEST MALLON
SPOKANE, WA 99201 USA                                 $225.64
SOUTHCOAST FEDERAL CREDIT UNION
101 PAGE STREET
NEW BEDFORD, MA 2740 USA                              $225.51
NORTH COUNTY CREDIT UNION
17045 VIA DEL CAMPO
SAN DIEGO, CA 92127 USA                               $225.15
JAX METRO CREDIT UNION
30 EAST 27TH STREET
JACKSONVILLE, FL 32206 USA                            $224.73
ALPINE CREDIT UNION
1510 NORTH STATE
OREM, UT 84057 USA                                    $223.92
THE BANK OF BOURBONNAIS
ONE HERITAGE PLAZA
BOURBONNAIS, IL 60914-1367 USA                        $223.41
CITY OF BOSTON CREDIT UNION
ONE UNION STREET
BOSTON, MA 2108 USA                                   $222.22
MIDWEST FAMILY FEDERAL CREDIT UNION
U.S. HIGHWAY 12
PORTAGE, IN 46368 USA                                 $220.85
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 319 of 362


COMMUNITY STATE BANK
207 SOUTH SAGINAW
ST CHARLES, MI 48655 USA                             $220.00

JACKSONVILLE POSTAL AND PROFESSIONAL CREDIT UNION
1820 ROGERO ROAD
JACKSONVILLE, FL 32211 USA                           $219.42
GREATER BUILDING SOCIETY LIMITED
103 TUDOR STREET
HAMILTON, NS 2303 AUSTRALIA                          $219.24
BANK DHOFAR ALOMANI ALFRANSI (S.A.O.C.)
P. O. BOX 1507
RUWI, OMAN 112                                       $218.70
LOUDOUN CREDIT UNION
112A SOUTH STREET SE
LEESBURG,VIRGINIA U.S.A. 20175                       $218.60
COLUMBUS UNITED FEDERAL CREDIT UNION
2472 39TH AVENUE
COLUMBUS, NE 68601 USA                               $218.27
5 STAR BANK
455 W PAINE STREET
PETERSON AFB
COLORADO SPRINGS,COLORADO U.S.A. 80914               $218.19

THE AMERICAN NATIONAL BANK OF MOUNT PLEASANT
301 SOUTH MADISON AVENUE
MOUNT PLEASANT, TX 75455 USA                         $217.57
JOINT STOCK COMPANY COMMERCIAL BANK CITI
8-10 GASHEKA ST.
125047 MOSCOW, RUSSIAN FEDERATION                    $217.45
COUNTRY FEDERAL CREDIT UNION
602 SOUTH 6TH STREET
MACCLENNY, FL 32063 USA                              $217.36
UNKNOWN                                              $216.81
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 320 of 362


PORTLAND FEDERAL CREDIT UNION
223 CHARLOTTE STREET
PORTLAND, MI 48875 USA                               $216.79
AMERICAN MOMENTUM BANK
4830 WEST KENNEDY BOULEVARD, SUITE 200
TAMPA, FL 33609 USA                                  $216.21
MOBILOIL FEDERAL CREDIT UNION
1810 NORTH MAJOR DRIVE
BEAUMONT, TX 77706 USA                               $215.87
ORANGE COUNTY’S CREDIT UNION
1701 E ST. ANDREW PLACE
SANTA ANA, CA 92705                                  $215.53
THE UNION BANK OF MENA
303 HIGHWAY 71 N
MENA, AR 71953                                       $214.25
ROYAL BANK
202 MAIN STREET
ELROY, WI 53929 USA                                  $214.06
HAMLIN NATIONAL BANK
231 S. CENTRAL AVENUE
HAMLIN,TEXAS U.S.A. 79520                            $213.87
COORS CREDIT UNION
816 WASHINGTON AVENUE
GOLDEN, CO 80401 USA                                 $213.69
SORG BAY WEST FEDERAL CREDIT UNION
400 NORTH BROAD STREET
MIDDLETOWN, OH 45042 USA                             $213.44
RESONA CARD CO. LTD.
2-20,TOYO 2-CHOME, KOTO-KU
TOKYO JAPAN 135-0016                                 $212.83
ALCOA TENN FEDERAL CREDIT UNION
124 NORTH HALL ROAD
ALCOA, TN 37701 USA                                  $212.36
                          Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 321 of 362


PRIORBANK JSCB
31/A V.KHORUZHEY STREET
MINSK, 220002 BELARUS                              $212.00
BAC FLORIDA BANK
169 MIRACLE MILE, SUITE R10
CORAL GABLES, FL 33134 USA                         $211.90
CIVIS BANK
210 EAST MAIN STREET
ROGERSVILLE, TN 37857 USA                          $211.90
FRANKLIN SAVINGS BANK
387 CENTRAL STREET
FRANKLIN, NH 03235-1601 USA                        $210.95
NORTHWEST HILLS CREDIT UNION
339 NORTH ELM STREET
TORRINGTON, CT 6790 USA                            $210.95
WINNSBORO STATE BANK & TRUST COMPANY
3875 FRONT STREET
WINNSBORO, LA 71295 USA                            $210.94
EASTERN INDIANA FEDERAL CREDIT UNION
801 S. MEMORIAL DRIVE
NEW CASTLE,INDIANA U.S.A. 47362                    $210.75
ALCOA PITTSBURGH FEDERAL CREDIT UNION
ABSC BUILDING, SUITE 100
30 ISABELLA STREET
PITTSBURGH, PA 15212 USA                           $210.03
THE CITIZENS STATE BANK OF CHENEY, KANSAS
306 NORTH MAIN STREET P.O. BOX 509
CHENEY,KANSAS U.S.A. 67025-0509                    $210.00
METROWEST COMMUNITY FEDERAL CREDIT UNION
200 CONCORD STREET
FRAMINGHAM, MA 1702 USA                            $209.87
SOO SELECT CREDIT UNION
1100 VAN ROOY DRIVE
THIEF RIVER FALLS, MN 56701-2010 USA               $209.53
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 322 of 362


CONSOL EMPLOYEES CREDIT UNION
CNX CENTER, 1000 CONSOL ENERGY DRIVE
CANONSBURG, PA 15317 USA                            $209.00
BRADESCARD MEXICO, S. DE R.L.
AV. CAMINO AL ITESO NO. 8310 COL.
PARQUE INDUSTRIAL EL BOSQUE I TLAQUEPAQUE,
JALISCO, 45609 MEXICO                               $208.82
UNITED FIDELITY BANK, FSB 1
8 NORTHWEST FOURTH STREET
EVANSVILLE, IN 47706-1347 USA                       $208.55
DELTA BANK, NATIONAL ASSOCIATION
611 NORTH MAIN STREET
MANTECA, CA 95336 USA                               $208.04
THE EDUCATION CREDIT UNION
4400 I-40 WEST
AMARILLO, TX 79106 USA                              $207.91
UNKNOWN                                             $207.66
DUBOIS-PIKE FEDERAL CREDIT UNION
124 STAAT STRASSE
JASPER,INDIANA U.S.A. 47547                         $207.59
CENTURY CREDIT UNION
1540 LEMAY FERRY
SAINT LOUIS, MO 63125 USA                           $206.95
MONONA STATE BANK
5515 MONONA DRIVE
MONONA,WISCONSIN U.S.A. 53716                       $206.95
ZAGREBACKA BANKA DD
TRG BANA JOSIPA JELACICA
ZAGREB, 10000 CROATIA                               $206.09
FARMERS STATE BANK
103 MAIN STREET
VICTOR, MT 59875 USA                                $206.03
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 323 of 362


THE FIRST STATE BANK OF SHELBY
320 MAIN STREET
SHELBY, MT 59474 USA                                  $206.00
EDUCATION 1ST CREDIT UNION
1250 COUNTRY HILLS DRIVE
OGDEN, UT 84403 USA                                   $205.95
OSSIAN STATE BANK
102 NORTH JEFFERSON STREET
OSSIAN, IN 46777 USA                                  $205.95

THE MERCHANTS NATIONAL BANK OF SACRAMENTO
1015 SEVENTH STREET
SACRAMENTO, CA 95814 USA                              $205.83
HORIZON BANK
1167 MAIN STREET
FYFFE, AL 35971 USA                                   $205.64
THE NORTH SALEM STATE BANK
7 NORTH BROADWAY STREET
NORTH SALEM, IN 46165 USA                             $205.61
AMERICAN SAVINGS BANK
135 CITY CENTRE MALL
MIDDLETOWN, OH 45042 USA                              $205.44
SELECT SEVEN FEDERAL CREDIT UNION (JOHNSON CITY
FCU)
333 EAST MAIN STREET
JOHNSON CITY, TN 37604 USA                            $204.95
SPRING MILL EMPLOYEES FEDERAL CREDIT UNION
7533 WOODBURY PIKE
ROARING SPRING, PA 16673 USA                          $204.95
F & M BANK
204 NORTH MAIN STREET
WEST POINT, NE 68788 USA                              $203.90
UNKNOWN                                               $203.34
UNKNOWN                                               $203.21
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 324 of 362


THE BANK OF WAYNESBORO
201 S MAIN STREET
WAYNESBORO,TENNESSEE U.S.A. 38485                    $202.50
MINSTER BANK
96 WEST FOURTH STREET
MINSTER, OH 45865 USA                                $202.30
GULF COAST FEDERAL CREDIT UNION
2633 RODD FIELD RD
CORPUS CHRISTI, TX 78414                             $202.25
AURORA SCHOOLS FEDERAL CREDIT UNION
751 CHAMBERS ROAD
AURORA, CO 80011-7151 USA                            $201.23
SALIN BANK AND TRUST COMPANY
8455 KEYSTONE CROSSING DRIVE
INDIANAPOLIS, IN 46240                               $201.10
FIRST AMERICAN BANK + TRUST
2785 LOUISIANA HWY 20 WEST
VACHERIE, LA 70090                                   $200.51
UNKNOWN                                              $200.39
CAPAHA BANK
1 SOUTH MAIN ST.
CAPE GIRARDEAU,MISSOURI U.S.A. 63703                 $200.08

OSWEGO TEACHERS EMPLOYEES FEDERAL CREDIT UNION
113 WEST ALBANY STREET
OSWEGO, NY 13126 USA                                 $200.00
SUMA YONKERS FEDERAL CREDIT UNION
125 CORPORATE BLVD
YONKERS,NEW YORK U.S.A. 10701                        $200.00
U OF P FEDERAL CREDIT UNION
3900 CHESTNUT STREET
PHILADELPHIA, PA 19104-3111 USA                      $200.00
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 325 of 362


WEST PLAINS BANK
200 NORTH MAIN STREET
AINSWORTH, NE 69210 USA                              $200.00
1ST UNITED BANK
430 NW FOUTH ST
FARIBAULT, MN 55021                                  $199.80
VICTORIABANK
31 AUGUST STREET NR 141
KISHINEV, 2004 MOLDOVA, REPUBLIC OF                  $199.80
ACADIA FEDERAL CREDIT UNION
FORT KENT FEDREAL CREDIT UNION
6 EAST MAIN ST.
FORT KENT,MAINE U.S.A. * 04743                       $199.23
THE FIRST NATIONAL BANK OF OTTAWA
701 LASALLE STREET
OTTAWA, IL 61350 USA                                 $198.84
COMMERCIAL CAPITAL BANK
311 BROADWAY
DELHI, LA 71232 USA                                  $198.40
FIRST SOUTHERN BANK
301 SOUTH COURT STREET
FLORENCE, AL 35630 USA                               $197.95
RED RIVER EMPLOYEES FEDERAL CREDIT UNION
4405 SUMMERHILL ROAD
TEXARKANA, TX 75503 USA                              $197.80
CORE BANK
12100 WEST CENTER ROAD
OMAHA, NE 68144 USA                                  $197.60
RIEGELWOOD FEDERAL CREDIT UNION
183 JOHN RIEGEL
RIEGELWOOD, NC 28456 USA                             $197.45
UNITED MINNESOTA BANK
105 CENTRAL AVENUE
NEW LONDON, MN 56273 USA                             $195.93
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 326 of 362


THE MONONGAHELA VALLEY BANK, INC.
301 VIRGINIA AVENUE
FAIRMONT,WEST VIRGINIA U.S.A. 26554                   $195.85
KONE EMPLOYEES CREDIT UNION
ONE KONE COURT
MOLINE, IL 61265 USA                                  $195.76
UNKNOWN                                               $194.59
BANCO CETELEM S.A
ALAMEDA TOCANTINS, 125, 19 ANDAR
ALPHAVILLE
BARUERI - 06455020, BRAZIL                            $193.67
M.P.D. COMMUNITY CREDIT UNION
2711 OLD LEBANON ROAD
NASHVILLE,TENNESSEE U.S.A. 37214                      $192.56
INVESTMENT BANK OF CHELYABINSK JS
CHELYABINVESTBANK
REVOLYUTSIL SQ 8
CHELYABINSK, 454113 RUSSIAN FEDERATION                $191.56
SAN DIEGO PRIVATE BANK
801 ORANGE AVENUE # 101
CORONADO, CA 92118 USA                                $191.48

MERIDIAN MISSISSIPPI ANG FEDERAL CREDIT UNION
6503 M STREET BUILDING 305
MERIDIAN, MS 39307 USA                                $190.00
PEE DEE FEDERAL CREDIT UNION
305 WEST PINE STREET
FLORENCE, SC 29503 USA                                $189.94
FIRST NATIONAL BANK & TRUST
P. O. DRAWER 1327
FORT WALTON BEACH,FLORIDA U.S.A. 32549                $189.72
UNITED LOCAL CREDIT UNION
3650 EAST ASHLAN AVENUE
FRESNO, CA 93726-3533 USA                             $189.71
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 327 of 362


PUGET SOUND COOPERATIVE CREDIT UNION
10885 NE 4TH STREET - SUITE 650
BELLEVUE,WASHINGTON U.S.A. 98009                     $189.14
BANCA MONTE DEI PASCHI DI SIENA S.P.A.
PIAZZA SALIMBENI 3
SIENA, 53100 ITALY                                   $188.86
FIRST PALMETTO SAVINGS BANK, FSB
407 DEKALB STREET
CAMDEN,SOUTH CAROLINA U.S.A. 29020-4427              $187.32
BUTTE COMMUNITY FEDERAL CREDIT UNION
2901 GRAND AVENUE
BUTTE, MT 59701 USA                                  $187.00
NORTHERN BANK & TRUST COMPANY
215 LEXINGTON STREET
WOBURN, MA 1801 USA                                  $186.65
FRANKLIN BANK & TRUST COMPANY
317 NORTH MAIN STREET
FRANKLIN, KY 42134 USA                               $186.55
BANCO MULTIPLE SANTA CRUZ S.A.
AV. LOPE DE VEGA NO. 21
SANTO DOMINGO, REPUBLICA DOMINICANA                  $186.48
EMERALD COAST FEDERAL CREDIT UNION
502 WOODWARD AVENUE
PORT SAINT JOE, FL 32456 USA                         $186.44
MIDWEST HERITAGE BANK, FSB
1025 BRADEN AVENUE
CHARITON,IOWA U.S.A. 50049                           $185.88
CITIZENS BANK & TRUST COMPANY
222 NORTH NEW HAMPSHIRE STREET
COVINGTON, LA 70433 USA                              $185.29
MONROE TELCO FEDERAL CREDIT UNION
3220 LOUISVILLE AVENUE
MONROE, LA 71201 USA                                 $183.77
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 328 of 362


RIVERBANK
202 EAST SPOKANE FALLS BOULEVARD SUITE 500
SPOKANE, WA 99202 USA                                 $182.70
BAYER CREDIT UNION
8400 HAWTHORNE ROAD
KANSAS CITY, MO 64120-2301 USA                        $182.13
UNKNOWN                                               $181.81
FIRST STATE BANK OF COLORADO
102 EAST BRIDGE STREET
HOTCHKISS, CO 81419 USA                               $180.79

MICHIGAN LEGACY CREDIT UNION (AFFINITY GROUP CU)
144 EAST PIKE STREET
PONTIAC, MI 48342 USA                                 $180.68
ALBINA COMMUNITY BANK
2002 N.E. MARTIN LUTHER KING JR. BLVD.
PORTLAND, OR 97212-3722 USA                           $180.61
CAPROCK FEDERAL CREDIT UNION
205 NORTH AVENUE F
LAMESA, TX 79331 USA                                  $180.59
SUNWEST EDUCATIONAL CREDIT UNION
4141 SOVEREIGN CIRCLE
PUEBLO,COLORADO U.S.A. 81005                          $180.00
FIRST STATE BANK AND TRUST
400 BURY STREET
TONGANOXIE,KANSAS U.S.A. 66086                        $179.48
FIRST NATIONAL BANK OF OKLAHOMA
1501 EAST PROSPECT AVENUE
PONCA CITY, OK 74604 USA                              $179.24
SHAREPOINT CREDIT UNION
750 SECOND STREET NORTHEAST
HOPKINS, MN 55343 USA                                 $178.44
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 329 of 362


CONCORDIA BANK & TRUST COMPANY
904 CARTER STREET
VIDALIA, LA 71373 USA                                $178.13
AMERICAN BANK & TRUST COMPANY
307 EAST LANDRY STREET
OPELOUSAS, LA 70570 USA                              $177.74
TRADITIONAL BANK, INC.
49 WEST MAIN STREET
MOUNT STERLING, KY 40353 USA                         $176.68
FIRST FLORIDA BANK
2000 NINETY-EIGHT PALMS BOULEVARD
DESTIN, FL 32541 USA                                 $176.57
ALDEN CREDIT UNION
710 GRATTAN STREET
CHICOPEE, MA 1020 USA                                $176.56
MOUNTAIN VALLEY BANK
810 RANKIN AVENUE NORTH
DUNLAP, TN 37327 USA                                 $176.46
MOUNTAIN STATES CREDIT UNION
400 N. STATE OF FRANKLIN ROAD
JOHNSON CITY, TN 37604-6094 USA                      $175.80
TEAM ONE CREDIT UNION
520 HAYDEN ST
SAGINAW,MICHIGAN U.S.A. 48607                        $174.95
COMMUNITY BANK OF RAYMORE
801 WEST FOXWOOD DRIVE
RAYMORE, MO 64083-9195 USA                           $174.94
FIRST CLOVER LEAF BANK N.A.
300 ST. LOUIS STREET
EDWARDSVILLE, IL 62025 USA                           $174.76
FIRST NATIONAL BANK OF ALVIN
STATE HIGHWAY 6 AND STATE HWY 35 BYPASS
ALVIN, TX 77511 USA                                  $174.42
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 330 of 362


PAC FEDERAL CREDIT UNION
2889 EAST MAPLE ROAD
TROY, MI 48083                                       $174.29
HEALTHSHARE CREDIT UNION
1200 NORTH ELM STREET
GREENSBORO, NC 27401 USA                             $173.27
BAPTIST HEALTH FEDERAL CREDIT UNION
9000 KANIS ROAD
LITTLE ROCK, AR 72205 USA                            $172.75
IBEW 26 FEDERAL CREDIT UNION
4371 PARLIAMENT PLACE, SUITE C
LANHAM, MD 20706-1807 USA                            $171.89
FIRST OPTION BANK
601 MAIN STREET
OSAWATOMIE, KS 66064 USA                             $171.42
ENNIS STATE BANK
815 WEST ENNIS AVENUE
ENNIS, TX 75119 USA                                  $170.89
HOMESTEAD BANK
915 MERIDIAN AVENUE
COZAD, NE 69130 USA                                  $170.69
INFUZE CREDIT UNION (MID MISSOURI)
PO BOX 80/5000 ILLINOIS AVE
FORT LEANARD WOOD, MO 65473                          $170.69
MOBILITY CREDIT UNION
8384 NORTH BELT LINE ROAD
IRVING, TX 75063 USA                                 $170.65
MINNEQUA WORKS CREDIT UNION
1549 E ABRIENDO AVE
PUEBLO CO 81004-3403                                 $169.80
FIRST FEDERAL BANK OF OHIO
140 N. COLUMBUS STREET
GALION,OHIO U.S.A. 44833                             $169.77
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 331 of 362


SOUTHEAST FEDERAL CREDIT UNION
11 MILL STREET
WARE SHOALS, SC 29692 USA                            $169.63
DMB COMMUNITY BANK
321 NORTH MAIN STREET
DE FOREST, WI 53532 USA                              $168.55
BIG BEND BANKS, NATIONAL ASSOCIATION
P. O. BOX S
MARFA,TEXAS U.S.A. 79843                             $168.44
CENTRAL CITY CREDIT UNION
222 EAST UPHAM STREET
MARSHFIELD, WI 54449-0790 USA                        $168.31
TLCU FINANCIAL
1816 NORTH MAIN STREET
MISHAWAKA, IN 46545 USA                              $168.01
UNKNOWN                                              $167.97
GREATER ALLIANCE FEDERAL CREDIT UNION
40 WEST CENTURY ROAD
PARAMUS, NJ 7652 USA                                 $166.66
PROFINANCE FEDERAL CREDIT UNION
7700 BROADWAY
MERRILLVILLE, IN 46410 USA                           $165.84
SIOUX FALLS FEDERAL CREDIT UNION
700 EAST 14TH STREET
SIOUX FALLS,SOUTH DAKOTA U.S.A. 57104                $165.42
THE MISSION BANK
5201 JOHNSON DRIVE
MISSION,KANSAS U.S.A. 66205                          $164.70
SUN FEDERAL CREDIT UNION (SUBURBAN FCU)
1627 HOLLAND ROAD
MAUMEE, OH 43537 USA                                 $162.40
BUSINESS FIRST BANK
8440 JEFFERSON HIGHWAY SUITE 101
BATON ROUGE, LA 70808 USA                            $162.36
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 332 of 362


CFSBANK
101 MCKEAN AVENUE
CHARLEROI, PA 15022 USA                               $162.24
ACMG FEDERAL CREDIT UNION
1753 MILTON AVENUE
SOLVAY,NEW YORK U.S.A. 13209                          $161.62
IBEW MEMBERS + CREDIT UNION
1875 ARNOLD DRIVE SUITE 101
MARTINEZ,CALIFORNIA U.S.A. 94553-4251                 $161.41
FIRST CHOICE BANK
669 WHITEHEAD ROAD
LAWRENCEVILLE, NJ 8648 USA                            $159.96
LINK FEDERAL CREDIT UNION
5212 ROCKVILLE ROAD
INDIANAPOLIS, IN 46224 USA                            $159.38
CONNECTONE BANK
180 SYLVAN AVENUE
ENGLEWOOD CLIFFS, NJ 7632 USA                         $157.64

EVERGREEN FEDERAL SAVINGS AND LOAN ASSOCIATION
969 SOUTHEAST SIXTH STREET
GRANTS PASS, OR 97526 USA                             $156.79
STOCKMAN BANK OF MONTANA
700 MAIN STREET
MILES CITY, MT 59301 USA                              $156.38
BUFFALO METROPOLITAN FEDERAL CREDIT UNION
62 SOUTH ELMWOOD AVENUE
BUFFALO, NY 14202 USA                                 $156.32
FIRST STATE BANK
201 WEST MAIN STREET
MONTICELLO, IL 61856 USA                              $156.00
ARAB BANK
TARFAH BIN ALABID AVENUE
MANAMA BAHRAIN                                        $155.26
                          Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 333 of 362


FIRST STATE BANK
3103 EAST MAIN STREET
RUSSELLVILLE, AR 72802 USA                         $155.25
FIRST NATIONAL BANK OF WAUCHULA
406 NORTH SIXTH AVENUE
WAUCHULA, FL 33873-2202 USA                        $154.95
MERIDIA COMMUNITY FEDERAL CREDIT UNION
4500 SOUTHWESTERN BOULEVARD
HAMBURG, NY 14075 USA                              $154.23
CHABOT FEDERAL CREDIT UNION
7080 DONLON WAY
DUBLIN, CA 94568 USA                               $153.95
WEST-AIRCOMM FEDERAL CREDIT UNION
485 BUFFALO STREET
BEAVER, PA 15009 USA                               $153.77
NIKKEI CREDIT UNION
18425 S. WESTERN AVENUE
GARDENA, CA 90248 USA                              $153.05
COMMUNITY HEALTHCARE FEDERAL CREDIT UNION
1321 COLBY AVE
EVERETT,WASHINGTON U.S.A. 98201                    $152.84
DATCU CREDIT UNION
225 W MULBERRY
DENTON TX 76201                                    $152.20
INVESTAR BANK
7244 PERKINS ROAD
BATON ROUGE, LA 70808 USA                          $151.45
COMMERCIAL BANK & TRUST COMPANY
101 NORTH POPLAR STREET
PARIS,TENNESSEE U.S.A. 38242                       $151.32
THE FAMILY CREDIT UNION
1530 WEST 53RD STREET
DAVENPORT, IA 52806 USA                            $150.53
                          Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 334 of 362


AUGUSTA METRO FEDERAL CREDIT UNION
2338 LUMPKIN ROAD
AUGUSTA, GA 30906 USA                              $150.00
BANK 2
909 SOUTH MERIDIAN
OKLAHOMA CITY, OK 73108 USA                        $150.00
UNKNOWN                                            $150.00
ASCENTRA CREDIT UNION
1710 GRANT STREET
BETTENDORF, IA 52722 USA                           $148.95
WEST GATE BANK
6003 OLD CHENEY ROAD SUITE 100
LINCOLN, NE 68516 USA                              $147.98
CES CREDIT UNION, INC.
1215 YAUGER ROAD
MOUNT VERNON, OH 43050 USA                         $147.27
KAIPERM DIABLO FEDERAL CREDIT UNION
1600 SOUTH MAIN, GROUND FLOOR
WALNUT CREEK, CA 94596 USA                         $147.15
CHARTER BANK
10502 LEOPARD STREET
CORPUS CHRISTI, TX 78410-2621 USA                  $147.00
MIDWEST COMMUNITY FEDERAL CREDIT UNION
08770 STATE ROUTE 66 NORTH
DEFIANCE, OH 43512 USA                             $146.34
WESTERN ALLIANCE BANK (BRIDGE BANK)
2701 EAST CAMELBACK ROAD
PHOENIX, AZ 85016 USA                              $145.73
VELOCITY CREDIT UNION
610 EAST 11TH STREET
AUSTIN TX 78701                                    $144.17
UNKNOWN                                            $144.11
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 335 of 362


ALPINE BANK & TRUST CO.
1700 NORTH ALPINE ROAD
ROCKFORD, IL 61107 USA                              $144.00
THE FIRST NATIONAL BANK OF CARROLLTON
604 HIGHLAND AVENUE
CARROLLTON, KY 41008 USA                            $143.50
NORTHWEST ADVENTIST FEDERAL CREDIT UNION
10333 SOUTH EAST MAIN STREET
PORTLAND, OR 97216 USA                              $142.86
ALLIANCE BANK & TRUST COMPANY
2227 UNION ROAD
GASTONIA, NC 28054 USA                              $141.22
SIMMESPORT STATE BANK
HIGHWAY 1 AND LAUREL STREET
SIMMESPORT, LA 71369 USA                            $141.22
EVERETT CO-OPERATIVE BANK
419 BROADWAY
EVERETT, MA 2149 USA                                $140.05
BRIGHTON BANK
7101 HIGHLAND DRIVE
SALT LAKE CITY, UT 84121 USA                        $139.49
UNKNOWN                                             $138.16
BANK OF LAKE MILLS
136 EAST MADISON STREET
LAKE MILLS, WI 53551 USA                            $137.54
TRIANGLE FEDERAL CREDIT UNION
BUILDING 160
COLUMBUS AFB, MS 39701 USA                          $136.04
BANCO MULTIPLE CARIBE INTERNACIONAL S.A.
AV. 27 DE FEBRERO NO. 208, EL VERGEL
SANTO DOMINGO, DOMINICAN REPUBLIC                   $135.48
GREATER WOODLAWN FEDERAL CREDIT UNION
3811 LAKE SHORE ROAD
BLASDELL, NY 14219 USA                              $134.43
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 336 of 362


EVANSVILLE FEDERAL CREDIT UNION
6209 VOGEL ROAD
EVANSVILLE, IN 47712 USA                            $134.39
CUMBERLAND COUNTY BANK
225 WEST AVENUE
CROSSVILLE, TN 38555 USA                            $134.20
COMMUNITY BANK
609 NORTH MAIN STREET
JOSEPH, OR 97846 USA                                $133.59
NEW CARLISLE FEDERAL SAVINGS BANK
400 N. MAIN ST.
NEW CARLISLE,OHIO U.S.A. 45344                      $133.32
UBS (MONACO) S.A.
2 AV. DE GRANDE BRETAGNE
MONTE CARLO - B.P. 189
MONACO CEDEX MC 98007, MONACO                       $133.28
VOLUNTEER FEDERAL SAVINGS BANK
108 MAIN STREET
MADISONVILLE, TN 37354-1439 USA                     $133.09
LOGAN BANK & TRUST COMPANY
P. O. BOX 597
LOGAN,WEST VIRGINIA U.S.A. 25601                    $133.05
NEWPORT FEDERAL BANK
170 WEST BROADWAY
NEWPORT, TN 37821 USA                               $132.32
BROADWAY FEDERAL BANK, F. S. B.
4800 WILSHIRE BOULEVARD
LOS ANGELES, CA 90010 USA                           $132.00
TREASURY DEPARTMENT FEDERAL CREDIT UNION
P.O. BOX 27301
WASHINGTON, DC 20038-7301                           $131.79
THURSTON FIRST BANK
204 PEAR STREET NORTHEAST
OLYMPIA, WA 98501 USA                               $131.62
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 337 of 362


CITIZENS BANK OF KANSAS, N.A.
300 N. MAIN
KINGMAN,KANSAS U.S.A. 67068                         $131.05
UNKNOWN                                             $130.76
FIRST NATIONAL BANK OF KANSAS
600 NORTH FOURTH STREET
BURLINGTON, KS 66839 USA                            $130.20
MERCHANTS BANK, NATIONAL ASSOCIATION
100-106 EAST THIRD STREET
WINONA, MN 55987 USA                                $130.06
LEGENCE BANK
946 FOURTH STREET
ELDORADO, IL 62930 USA                              $129.99
PACIFIC POSTAL CREDIT UNION
1040 LEIGH AVENUE
SAN JOSE, CA 95126-4152 USA                         $129.59
STAR OF TEXAS CREDIT UNION
114 EAST HUNTLAND DRIVE
AUSTIN, TX 78752 USA                                $129.55
BLUESTEM COMMUNITY CREDIT UNION
1407 WEST CENTRAL
EL DORADO, KS 67042 USA                             $129.07
PARK SIDE FINANCIAL CREDIT UNION (GATEWAY COMM
FCU)
1300 BAKER AVENUE
WHITEFISH, MT 59937 USA                             $127.84
BARKSDALE FEDERAL CREDIT UNION
2701 VILLAGE LANE
BOSSIER CITY, LA 71112 USA                          $127.81
THE CITIZENS BANK OF CLOVIS
FIFTH AND PILE STREETS
CLOVIS, NM 88101 USA                                $127.61
UNKNOWN                                             $127.36
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 338 of 362


TEXAS CAPITAL BANK, NATIONAL ASSOCIATION
6060 N. CENTRAL EXPRESSWAY
DALLAS,TEXAS U.S.A. 75206                            $126.75
OKLAHOMA FEDERAL CREDIT UNION
517 NORTH EAST 36TH STREET
OKLAHOMA CITY, OK 73105 USA                          $125.81
FORT DAVIS STATE BANK
P.O. BOX 1808
FORT DAVIS,TEXAS U.S.A. 79734                        $125.29
FARMERS FEDERAL CREDIT UNION
6611 DUNN AVENUE
JACKSONVILLE, FL 32218 USA                           $125.00
TRANSACT NETWORK LIMITED
VICTORIA HOUSE SUITE 11
26 MAIN STREET
GIBRALTAR, GIBRALTAR                                 $124.69
FIRST COUNTY FEDERAL CREDIT UNION
1100 WEST 11TH STREET
MUNCIE, IN 47302 USA                                 $124.03
LAND OF LINCOLN CREDIT UNION
4850 EAST PROSPERITY PLACE
DECATUR, IL 62521 USA                                $123.97
STAMFORD FEDERAL CREDIT UNION
888 WASHINGTON BOULEVARD
STAMFORD, CT 6901 USA                                $122.69
SEAWAY BANK AND TRUST COMPANY
645 EAST 87TH STREET
CHICAGO, IL 60619 USA                                $122.00
PREFERRED CREDIT UNION
3767 SPARKS DRIVE, S.E.
GRAND RAPIDS,MICHIGAN U.S.A. 49546                   $121.57
WESTERN BANK
500 WEST BROADWAY
COAHOMA, TX 79511 USA                                $120.10
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 339 of 362


THE FIRST NATIONAL BANK OF MOUNT DORA
714 NORTH DONNELLY STREET
MOUNT DORA, FL 32757 USA                            $119.90
MID-ILLINI CREDIT UNION
1811 EASTLAND DRIVE
BLOOMINGTON, IL 61704 USA                           $119.08
EDGEWATER BANK
321 MAIN ST.
ST JOSEPH MI 49085                                  $118.75
INDUSTRIAL CREDIT UNION
126 STATE STREET
BOSTON, MA 02109-2305 USA                           $118.74

HAWAII LAW ENFORCEMENT FEDERAL CREDIT UNION
1537 YOUNG ST 3RD FLOOR
HONOLULU, HI 96826 USA                              $118.56
MIDLAND TEACHERS CREDIT UNION
1505 N MIDLAND DR MIDLAND,
TEXAS U.S.A. 79703                                  $118.17
THE FIRST NATIONAL BANK OF ELMER
ATTN: CINDI MITCHELL
PO BOX 980
ELMER NJ 08318                                      $117.82
GREAT BASIN FEDERAL CREDIT UNION
ATTN: ACCOUNTING DEPARTMENT
9770 SOUTH VIRGINIA ST
RENO, NV 89511                                      $117.81
PEOPLES NATIONAL BANK
5175 N ACADEMY BLVD
COLORADO SPRINGS, CO 80918                          $117.61
BILLINGS FEDERAL CREDIT UNION
P. O. BOX 1779
BILLINGS,MONTANA U.S.A. 59103                       $117.25
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 340 of 362


MIDWESTONE BANK
102 SOUTH CLINTON STREET
IOWA CITY, IA 52244 USA                               $117.16
WEST TEXAS STATE BANK
1900 26TH STREET
SNYDER, TX 79549 USA                                  $116.86
FIDELITY BANK OF TEXAS
1901 W. LAKESIDE DRIVE
WACO,TEXAS U.S.A. 76708                               $116.51
FORT MCCLELLAN CREDIT UNION
1731 NOBLE STREET
ANNISTON,ALABAMA U.S.A. 36201                         $116.29
APPLE RIVER STATE BANK
103 NORTH MAIN STREET
APPLE RIVER, IL 61001 USA                             $116.25
ADVANTA BANK CORP
PO BOX 9217
OLD BETHPAGE, NY 11804                                $115.04
UNKNOWN                                               $114.90
THE FIRST NATIONAL BANK OF LAS ANIMAS
535 BENT
LAS ANIMAS, CO 81054-1795 USA                         $114.79
HICKAM FEDERAL CREDIT UNION
P.O. BOX 30025
HONOLULU,HAWAII U.S.A. 96820                          $114.24
UNKNOWN                                               $114.02
FIRST FEDERAL SAVINGS BANK
301 EAST NINTH STREET
ROCHESTER, IN 46975 USA                               $114.00
ALPS FEDERAL CREDIT UNION
401 HALIBUT POINT ROAD
SITKA, AK 99835 USA                                   $113.95
                          Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 341 of 362


RIVER VALLEY CREDIT UNION, INC.
505 EARL BOULEVARD
MIAMISBURG, OH 45342 USA                           $113.67
TORRANCE COMMUNITY FEDERAL CREDIT UNION
2377 CRENSHAW BLVD SUITE 150
TORRANCE CA 90510-4327                             $113.54
RYDER SYSTEM FEDERAL CREDIT UNION
P. O. BOX 020816
MIAMI,FLORIDA U.S.A. 33102-0816                    $112.50
NORTHERN FEDERAL CREDIT UNION
120 FACTORY STREET
WATERTOWN, NY 13601 USA                            $111.91
CATHOLIC & COMMUNITY CREDIT UNION
1109 HARTMAN LANE
SHILOH, IL 62221 USA                               $111.37
UNKNOWN                                            $111.29
EXCHANGE BANK OF NORTHEAST MISSOURI
249 NORTH MORGAN STREET
KAHOKA, MO 63445 USA                               $111.26
PORTER FEDERAL CREDIT UNION
2465 SOUTH DOWNING STREET, SUITE 101
DENVER, CO 80210 USA                               $111.03
PUTNAM BANK
40 MAIN STREET
PUTNAM, CT 6260 USA                                $110.95
ODEA BANK A.S.
MASLAK MAHALLESI
AHI EVRAN CADDESI NO. 11
OLIVE PLAZA/ SISLI
34398 ISTANBUL, TURKEY                             $110.75
MEMBERS 1ST CREDIT UNION
4710 MOUNTAIN LAKES BOULEVARD
REDDING, CA 96001-0606 USA                         $110.50
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 342 of 362


KAUAI COMMUNITY FEDERAL CREDIT UNION
4434 HARDY STREET
LIHUE,HAWAII U.S.A. 96766                           $109.95
LAKESIDE NATIONAL BANK
2805 RIDGE ROAD
ROCKWALL, TX 75032 USA                              $109.49
MID CAROLINA CREDIT UNION
719 HIGHWAY 1 SOUTH
LUGOFF, SC 29078 USA                                $109.36
HERITAGE BANK
1850 PEARLAND PARKWAY
PEARLAND, TX 77581 USA                              $108.27
ALCO FEDERAL CREDIT UNION
2859 LINDY LANE
WELLSVILLE, NY 14895 USA                            $108.00
SAGINAW MEDICAL FEDERAL CREDIT UNION
4550 STATE STREET
SAGINAW, MI 48603 USA                               $106.95
OUR COMMUNITY CREDIT UNION
526 WEST CEDAR STREET
SHELTON, WA 98584 USA                               $106.55
WHITEWATER REGIONAL FEDERAL CREDIT UNION
2508 WESTERN AVENUE, SUITE B
CONNERSVILLE, IN 47331 USA                          $106.00
ANTIOCH COMMUNITY FCU
301 G STREET
ANTIOCH,CALIFORNIA U.S.A. 94509                     $105.95
FIRST NATIONAL BANK OF EASTERN ARKANSAS
101 NORTH WASHINGTON
FORREST CITY,ARKANSAS U.S.A. 72335                  $105.95
MEADOWS CREDIT UNION
3350 SALT CREEK LANE, SUITE 100
ARLINGTON HEIGHTS, IL 60005 USA                     $105.95
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 343 of 362


PEOPLES NATIONAL BANK , N.A.
520 SOUTH 42ND STREET
MT VERNON, IL 62864 USA                              $105.95
SOUTHERNTRUST BANK
101 N BROADWAY
GOREVILLE,ILLINOIS U.S.A. 62939                      $105.95
OMEGA FEDERAL CREDIT UNION
206 SIEBERT ROAD
PITTSBURGH, PA 15237 USA                             $105.64
UNIVERSAL CITY STUDIOS CREDIT UNION
90 UNIVERSAL CITY PLAZA BLDG 1320
UNIVERSAL CITY,CALIFORNIA U.S.A. 91608               $105.44
GEICO FEDERAL CREDIT UNION
ONE GEICO PLAZA
WASHINGTON,DISTRICT OF COLUMBIA U.S.A. 20076         $105.29
TREMONT CREDIT UNION
150 GROSSMAN DRIVE
BRAINTREE EXECUTIVE PARK
BRAINTREE, MA 2184 USA                               $105.21
SOMERSET SAVINGS BANK, SLA
220 WEST UNION AVENUE
BOUND BROOK, NJ 8805 USA                             $104.94
CORTLAND SAVINGS & BANKING
P. O. BOX 98
CORTLAND,OHIO U.S.A. 44410                           $103.95
CALCOM FEDERAL CREDIT UNION
20723 HAWTHORNE BOULEVARD
TORRANCE, CA 90503 USA                               $103.11
OTP BANK NYRT.
NADOR UTCA 16
BUDAPEST, 1051 HUNGARY                               $103.11
TECH CREDIT UNION
10951 BROADWAY
CROWN POINT,INDIANA U.S.A. 46307                     $102.02
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 344 of 362


ALLIANZ BANK BULGARIA AD
79 MARIA LOUISA BLVD.
SOFIA, 1202 BULGARIA                                 $101.35
FIRST NATIONAL BANK OF GRIFFIN
318 SOUTH HILL STREET
GRIFFIN,GEORGIA U.S.A. 30223                         $100.71
TOUCHSTONE FEDERAL CREDIT UNION
201 LOWELL ST
WILMINGTON, MA 01887                                 $100.52
ALLIANCE BANK
105 EAST LYON AVENUE
LAKE CITY, MN 55041 USA                              $100.00
CENTRAL VIRGINIA FEDERAL CREDIT UNION
1638 MT. ATHOS ROAD
LYNCHBURG, VA 24504 USA                              $100.00
CONSUMERS PROFESSIONAL CREDIT UNION
525 WEST WILLOW
LANSING, MI 48901-5100 USA                           $100.00
FIRST INTERCONTINENTAL BANK
5593 BUFORD HIGHWAY
DORAVILLE, GA 30340 USA                              $100.00
HORICON BANK
326 EAST LAKE STREET
HORICON, WI 53032-1243 USA                           $100.00
LAKE COMMUNITY BANK
1964 WEST WAYZATA BOULEVARD
LONG LAKE, MN 55356 USA                              $100.00
NORTHERN SKIES FEDERAL CREDIT UNION
400 W. BENSON BLVD.
ANCHORAGE,ALASKA U.S.A. 99503                        $100.00
REDWOOD CAPITAL BANK
402 G STREET
EUREKA, CA 95501 USA                                 $100.00
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 345 of 362


THE FIRST NATIONAL BANK OF COKATO
365 BROADWAY AVENUE
COKATO, MN 55321 USA                                  $100.00
THE FIRST STATE BANK OF RED WING
3209 SOUTH SERVICE DRIVE
RED WING, MN 55066 USA                                $100.00
NORTH FRANKLIN FEDERAL CREDIT UNION
494 EAST MAIN STREET
MALONE, NY 12953 USA                                   $99.99
GUNDERSEN CREDIT UNION
1910 SOUTH AVENUE
LA CROSSE, WI 54601 USA                                $99.79
CITIZENS COMMUNITY FEDERAL
2174 EAST RIDGE CENTER
EAU CLAIRE, WI 54701 USA                               $99.67
CALIFORNIA STATE L.A. FEDERAL CREDIT UNION
2445 MARIONDALE AVENUE
LOS ANGELES,CALIFORNIA U.S.A. 90032                    $99.00
THE FARMERS BANK, FRANKFORT, INDIANA
9 EAST CLINTON STREET
FRANKFORT, IN 46041 USA                                $98.07
MOUNTAIN CREDIT UNION
38 MAPLE STREET
WAYNESVILLE, NC 28786 USA                              $98.00
JSC BTA BANK
51 ABLAIKHAN STREET
ALMATY, KAZAKHSTAN 050051                              $97.53
ROBERTSON BANKING COMPANY
P.O. BOX 490
DEMOPOLIS,ALABAMA U.S.A. 36732                         $96.30
THE OLD FORT BANKING COMPANY
8034 MAIN STREET
OLD FORT,OHIO U.S.A. 44861                             $96.11
                          Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 346 of 362


INTER NATIONAL BANK
601 N LAMAR
SUITE 300
AUSTIN TX 78703                                     $95.44
CLARKSTON BRANDON COMMUNITY CREDIT UNION
8055 ORTONVILLE ROAD
CLARKSTON, MI 48348 USA                             $95.00
PILGRIM BANK
P. O. BOX 1209
PITTSBURG,TEXAS U.S.A. 75686-2200                   $95.00
CULLMAN SAVINGS BANK
316 SECOND AVENUE SOUTHWEST
CULLMAN, AL 35055 USA                               $94.37
ARGENT FEDERAL CREDIT UNION
11651 ALLIANCE CIRCLE
CHESTER, VA 23831 USA                               $94.16
UNKNOWN                                             $94.09
PRIME CARE CREDIT UNION
600 GRESHAM DRIVE
NORFOLK, VA 23507 USA                               $94.04
LINCOLNWAY COMMUNITY BANK
13318 W. LINCOLN HWY
NEW LENOX,ILLINOIS U.S.A. 60451                     $93.87
HEALTH CARE IDAHO CREDIT UNION
105 WEST STATE STREET
BOISE, ID 83702 USA                                 $93.54
EQUA BANK A.S.
LAZARSKA 1718/3
PRAHA 11000, CZECH REPUBLIC                         $92.38
POINTBANK
200 SOUTH HIGHWAY 377
PILOT POINT, TX 76258 USA                           $91.86
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 347 of 362


THE COMMERCE BANK OF WASHINGTON, NATIONAL
ASSOCIATION
601 UNION STREET, SUITE 3600
SEATTLE, WA 98101 USA                                $91.54
CENTRAL STATE BANK
11025 HIGHWAY 25
CALERA, AL 35040 USA                                 $90.87
CENTERA BANK
119 SOUTH INMAN
SUBLETTE, KS 67877 USA                               $90.80

PUEBLO GOVERNMENT AGENCIES FEDERAL CREDIT UNION
720 NORTH GREENWOOD AVENUE
PUEBLO, CO 81003-1622 USA                            $90.69
LIBRARY OF CONGRESS FEDERAL CREDIT UNION
101 INDEPENDENCE AVENUE, S.E., ROOM LM 634
WASHINGTON, DC 20557 USA                             $90.59
BANCO PROVINCIAL S.A. BANCO UNIVERSAL
CENTRO FINANCIERO PROVINCIAL AV. ESTE O,
SAN BERNARDINO CARACAS, 1060 VENEZUELA               $90.00
POST OAK BANK, N. A.
2000 WEST LOOP SOUTH, SUITE 100
HOUSTON, TX 77027 USA                                $90.00
XENITH BANK
901 EAST CARY STREET, SUITE 1700
RICHMOND, VA 23219 USA                               $90.00
UNKNOWN                                              $89.99
MICHIGAN ONE COMMUNITY CREDIT UNION
510 SOUTH DEXTER STREET
IONIA, MI 48846 USA                                  $89.99
VALLEY STATE BANK
15565 HIGHWAY 43 BYPASS
RUSSELLVILLE, AL 35653 USA                           $89.99
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 348 of 362


BANK OF CANEYVILLE
102 NORTH MAIN STREET
CANEYVILLE,KENTUCKY U.S.A. 42721                      $89.52
FIRST NATIONAL BANK OF SOUTH CAROLINA
801 GILWAY AVENUE
HOLLY HILL, SC 29059 USA                              $89.40
SOUTH DIVISION CREDIT UNION
9122 SOUTH KEDZIE AVENUE
EVERGREEN PARK, IL 60805 USA                          $88.46
AGRIBANK, FCB
30 E. 7TH STREET, SUITE 1600
CITY ST. PAUL
ST PAUL MN 55101                                      $88.05
UNKNOWN                                               $87.80
LIBERTY BANK MINNESOTA
111 SEVENTH AVENUE SOUTH
ST. CLOUD, MN 56301 USA                               $87.63
TLC COMMUNITY CREDIT UNION
3030 SOUTH ADRIAN HIGHWAY
ADRIAN,MICHIGAN U.S.A. 49221                          $86.75
STATE BANK OF SPEER
14 MAIN STREET
SPEER,ILLINOIS U.S.A. 61479                           $85.88
BAY BANK, FSB
2328 WEST JOPPA ROAD, SUITE 325
LUTHERVILLE, MD 21093 USA                             $85.28
GUADALUPE CREDIT UNION
3601 MIMBRES LANE
SANTA FE, NM 87507 USA                                $82.49
MIFFLIN COUNTY SAVINGS BANK
19 NORTH BROWN STREET
LEWISTOWN, PA 17044 USA                               $82.40
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 349 of 362


CITIZENS COMMERCE NATIONAL BANK
534 MARSAILLES ROAD
VERSAILLES, KY 40383 USA                             $82.38
MEMORIAL HEALTH CREDIT UNION
1203 EAST 66TH STREET
SAVANNAH, GA 31404 USA                               $82.13
FIRST LEGACY COMMUNITY CREDIT UNION
431 BEATTIES FORD ROAD
CHARLOTTE, NC 28216 USA                              $81.84

HELLENIC BANK PUBLIC COMPANY LTD
HEAD OFFICE
CORNER LIMASSOL AVENUE & 200 ATHALASSAS AVENUE,
2025 STROVOLOS
P.O.BOX 24747, 1394
NICOSIA CYPRUS                                       $81.14
UNKNOWN                                              $81.00
WOOD & HUSTON BANK
27 EAST NORTH STREET
MARSHALL, MO 65340 USA                               $81.00
LIBERTYONE CREDIT UNION
2221 E. LAMAR BOULEVARD # 110
ARLINGTON, TX 76006 USA                              $80.43
BANK @LANTEC
501 SOUTH INDEPENDENCE BOULEVARD
VIRGINIA BEACH, VA 23452 USA                         $80.00
UNKNOWN                                              $79.47
BANK OF LANCASTER
100 SOUTH MAIN STREET
KILMARNOCK, VA 22482 USA                             $78.76
JEFFERSON CREDIT UNION
716 RICHARD ARRINGTON JR. BLVD. NORTH
B-300 COURTHOUSE
BIRMINGHAM, AL 35203 USA                             $78.40
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 350 of 362


FIRST NATIONAL BANK IN STAUNTON
115 SOUTH ELM STREET
STAUNTON,ILLINOIS U.S.A. 62088                        $77.57
HOLLADAY BANK & TRUST
2020 EAST 4800 SOUTH STREET
SALT LAKE CITY, UT 84117 USA                          $77.42
DEEPWATER INDUSTRIES FEDERAL CREDIT UNION
565 NORTH BROADWAY
DEEPWATER, NJ 08023-0042 USA                          $76.95
TEXAS NATIONAL BANK
400 EAST BROADWAY
SWEETWATER,TEXAS U.S.A. 79556                         $76.95
EXCHANGE BANK OF MISSOURI
101 SOUTH CHURCH STREET
FAYETTE, MO 65248 USA                                 $76.47
FRANKLIN TRUST FEDERAL CREDIT UNION
632 FRANKLIN AVENUE
HARTFORD, CT 6114 USA                                 $76.00
FIRSTCARIBBEAN INTERNATIONAL BANK (JAMAICA)
LIMITED
23-27 KNUTSFORD BLVD.
KINGSTON, 5 JAMAICA                                   $75.94
TRI BORO FEDERAL CREDIT UNION
600 EAST 8TH AVENUE
MUNHALL, PA 15120 USA                                 $75.41
ELKO FEDERAL CREDIT UNION
2397 MOUNTAIN CITY HIGHWAY
ELKO, NV 89801-2412 USA                               $75.00
HOMETOWN NATIONAL BANK
260 BUCKLIN STREET
LASALLE, IL 61301 USA                                 $75.00
BUCKEYE COMMUNITY FEDERAL CREDIT UNION
1825 SOUTH JEFFERSON STREET
PERRY, FL 32348 USA                                   $74.88
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 351 of 362


PUBLIC JOINT STOCK COMPANY PROMSVYAZBANK
10/22 SMIRNOVSKAYA STR.
109052 MOSCOW, RUSSIAN FEDERATION                     $74.15
CENSUS FEDERAL CREDIT UNION
4700 SILVER HILL ROAD
WASHINGTON, DC 20233 USA                              $74.00
IAA CREDIT UNION
808 IAA DRIVE
BLOOMINGTON, IL 61701 USA                             $73.77
BANK OF EUFAULA
102 NORTH MAIN STREET
EUFAULA, OK 74432 USA                                 $72.05
UNION SAVINGS BANK
8534 EAST KEMPER ROAD
CINCINNATI, OH 45249 USA                              $71.81
BAKER-BOYER NATIONAL BANK
7 WEST MAIN STREET
WALLA WALLA, WA 99362 USA                             $71.49
BANCO DEL CARIBE
AV FCO DE MIRANDA ED CENTRO GALIPAN TORRE A NIVEL
MIRANDA URB EL ROSAL
CARACAS VENEZUELA 1060                                $71.48
FIRST NATIONAL BANK OF DUBLIN
825 NORTH PATRICK STREET
DUBLIN, TX 76446-2350 USA                             $70.72
UNKNOWN                                               $70.13
FIRST FARMBANK
127 22ND STREET
GREELEY, CO 80631 USA                                 $70.09
PRESTIGE COMMUNITY CREDIT UNION
13155 NOEL ROAD SUITE 150
DALLAS, TX 75240-5067 USA                             $69.95
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 352 of 362


FIRST PIEDMONT FEDERAL SAVINGS AND LOAN
ASSOCIATION OF GAFFNEY
1229 WEST FLOYD BAKER BOULEVARD
GAFFNEY, SC 29341 USA                                 $69.21
THE CALLAWAY BANK
5 EAST FIFTH STREET
FULTON, MO 65251 USA                                  $68.70
SPOKANE CITY CREDIT UNION
1930 N. MONROE
SPOKANE,WASHINGTON U.S.A. 99209                       $68.28
CITIZENS NATIONAL BANK
200 FORKS OF THE RIVER PARKWAY
SEVIERVILLE, TN 37862 USA                             $68.24
ALTA VISTA CREDIT UNION
1425 W. LUGONIA AVE.
REDLANDS,CALIFORNIA U.S.A. 92373                      $68.06
CIERA BANK
623 ELM STREET
GRAHAM, TX 76450 USA                                  $67.74
MARSHALL COMMUNITY CREDIT UNION
839 WEST GREEN STREET
MARSHALL, MI 49068 USA                                $67.20

HOBOKEN SCHOOL EMPLOYEES FEDERAL CREDIT UNION
522 ADAMS STREET
HOBOKEN, NJ 7030 USA                                  $66.73
WATERBURY POLICE FEDERAL CREDIT UNION
255 EAST MAIN STREET
WATERBURY, CT 6720 USA                                $66.45
MANCHESTER MUNICIPAL FEDERAL CREDIT UNION
479 MAIN STREET
MANCHESTER, CT 6040 USA                               $64.98
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 353 of 362


BOURNS EMPLOYEES FEDERAL CREDIT UNION
1200 COLUMBIA AVENUE
RIVERSIDE, CA 92507 USA                              $64.30
AVIDIA BANK
42 MAIN STREET
HUDSON, MA 1749 USA                                  $64.19
PEOPLES ADVANTAGE FEDERAL CREDIT UNION
110 WAGNER ROAD
PETERSBURG, VA 23805 USA                             $63.71
DANE COUNTY CREDIT UNION
2160 RIMROCK ROAD
MADISON, WI 53713-1481 USA                           $62.92
BANK OF BOTETOURT
19800 MAIN STREET
BUCHANAN,VIRGINIA U.S.A. 24066                       $62.75
MEMBERS FIRST CREDIT UNION
120 EAST 1000 SOUTH
BRIGHAM CITY, UT 84302 USA                           $62.02
UNKNOWN                                              $61.59
POLAM FEDERAL CREDIT UNION
589 N. LARCHMONT BLVD.
LOS ANGELES,CALIFORNIA U.S.A. 90004                  $60.92
HERITAGE BANK
101 NORTH MAIN STREET
JONESBORO, GA 30236 USA                              $60.80
JACKSON AREA FEDERAL CREDIT UNION
5675 HIGHWAY 18 WEST
JACKSON, MS 39209 USA                                $60.44
MOKELUMNE FEDERAL CREDIT UNION
531 NORTH MILLS AVENUE
LODI, CA 95242 USA                                   $60.36
CHEEKTOWAGA CENTRAL FEDERAL CREDIT UNION
2875 UNION ROAD SUITE 49
CHEEKTOWAGA,NEW YORK U.S.A. 14227                    $60.00
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 354 of 362


MERCO CREDIT UNION
1911 M STREET
MERCED, CA 95340 USA                                 $59.99
ASCENSION SCHOOL EMPLOYEES CREDIT UNION
2430 SOUTH BURNSIDE
GONZALES,LOUISIANA U.S.A. 70737                      $59.90
ALPHA BANK CYPRUS LTD
CARDS CENTRE CHILONOS & GLADSTONOS CORNE
STYLIANOS LENAS SQUARE
1ST FLOOR NICOSIA, 1101 CYPRUS                       $59.26
CORTAL CONSORS
1 BOULEVARD HAUSSMANN
PARIS, 75009 FRANCE                                  $57.77
SOUTHERNMOST FEDERAL CREDIT UNION
1004 KENNEDY DRIVE
KEY WEST, FL 33040 USA                               $57.61
CARROLLTON BANK
315 WEST PUBLIC SQUARE
CARROLLTON, IL 62016 USA                             $57.10
NBC (NY) EMPLOYEES FEDERAL CREDIT UNION
1221 AVENUE OF THE AMERICAS LEVEL C2
NEW YORK, NY 10020 USA                               $57.00
HOPEWELL CHEMICAL FEDERAL CREDIT UNION
702 ELM STREET
HOPEWELL, VA 23860 USA                               $56.95
ANZ ROYAL BANK CAMBODIA LIMITED
HOUSE NO. 94, STREET 41,
NORODOM BLVD, SANGKAT CHAKTOMUK,
KHAN DAUN PENH
PHNOM PENH, CAMBODIA                                 $56.65
ORMSBY STATE BANK
101 MAIN STREET
ORMSBY, MN 56162 USA                                 $54.99
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 355 of 362


CHAMPION CREDIT UNION
4140 W LASKEY RD
TOLEDO OH 43623                                      $54.95
UNITED BANKERS' BANK
1650 WEST 82ND STREET, SUITE 1500
BLOOMINGTON, MN 55431-1467 USA                       $54.95
CAROLINA BANK
101 NORTH SPRING STREET
GREENSBORO, NC 27401 USA                             $54.30
MEMORIAL EMPLOYEES FEDERAL CREDIT UNION
3501 JOHNSON STREET
HOLLYWOOD, FL 33021 USA                              $53.40
UNKNOWN                                              $53.00
DOVER FEDERAL CREDIT UNION
1075 SILVER LAKE BOULEVARD
DOVER, DE 19904 USA                                  $52.16
ONEUNITED BANK
133 FEDERAL STREET
BOSTON, MA 2110 USA                                  $52.14
WESTERN DIVISION FEDERAL CREDIT UNION
6750 MAIN STREET
WILLIAMSVILLE, NY 14221-5947 USA                     $50.28
JOINT STOCK COMMERCIAL BANK FOR FOREIGN TRADE OF
VIETNAM
198 TRAN QUANG KHAI
HANOI, VIETNAM                                       $50.24
FIRST COMMUNITY BANK
416 NORTH WATER
CORPUS CHRISTI, TX 78401 USA                         $50.14
CITIZENS UNION BANK
P. O. BOX 189
SHELBYVILLE,KENTUCKY U.S.A. 40066-0189               $50.00
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 356 of 362


FARMERS BANK & TRUST, N.A.
1017 HARRISON STREET
GREAT BEND,KANSAS U.S.A. 67530                        $50.00
POWELL VALLEY NATIONAL BANK
NORTH MAIN STREET
JONESVILLE, VA 24263 USA                              $50.00
TRI-CITIES COMMUNITY FEDERAL CREDIT UNION
2626 WEST KENNEWICK AVENUE
KENNEWICK, WA 99336-3176 USA                          $50.00
COLUMBINE FEDERAL CREDIT UNION
2305 EAST ARAPAHOE ROAD SUITE 234
CENTENNIAL, CO 80161 USA                              $49.99
THE PENINSULA BANK OF ISHPEMING
100 S MAIN ST
ISHPEMING, MI 49849                                   $49.95
VIRGINIA EDUCATORS' CREDIT UNION
12626 NETTLES DRIVE
NEWPORT NEWS, VA 23606-0249 USA                       $49.64
UNION SQUARE FEDERAL CREDIT UNION
1401 HOLLIDAY
WICHITA FALLS,TEXAS U.S.A. 76301                      $48.38
FREEDOM FEDERAL CREDIT UNION
2900 NORTH WESLEYAN BOULEVARD
ROCKY MOUNT, NC 27804 USA                             $46.39
MIDWEST BANK NATIONAL ASSOCIATION
114 WEST MAIN STREET
PIERCE, NE 68767 USA                                  $45.82
AMERICAN FOUNDERS BANK, INC.
318 EAST MAIN STREET
LEXINGTON, KY 40507 USA                               $45.00
LM FEDERAL CREDIT UNION
101 CHESAPEAKE PARK PLAZA
BALTIMORE, MD 21220 USA                               $45.00
                             Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 357 of 362


CREDIT BANK OF MOSCOW
32/1, TSVETNOI BULVAR
MOSCOW, RUSSIAN FEDERATION 127051                      $43.24
THE OHIO EDUCATIONAL CREDIT UNION, INC.
2554 EAST 22ND STREET
CLEVELAND, OH 44115 USA                                $42.72
CITIZENS BANK
130 SOUTH BROAD STREET
NEW TAZEWELL, TN 37825 USA                             $42.31
EVERTEC COSTA RICA, S.A.
OFIPLAZA DEL ESTE EDIFICIO D
SAN JOSE, COSTA RICA                                   $40.67

WHITE HOUSE FEDERAL CREDIT UNION
17TH & PENNSYLVANIA AVENUE N.W. ROOM 41
WASHINGTON,DISTRICT OF COLUMBIA U.S.A. 20502-0041      $40.00
FARMERS STATE BANK
234 SOUTH COMMERCIAL AVENUE
WALLACE, NE 69169 USA                                  $39.98
ACADEMY BANK, NATIONAL ASSOCIATION (SOUTHERN
COMMERCE BANK)
2835 BRIARGATE BLVD.
COLORADO SPRINGS, CO 80920 USA                         $39.67
FIRST COMMUNITY BANK OF HILLSBORO
400 SOUTH MAIN STREET
HILLSBORO,ILLINOIS U.S.A. 62049                        $38.97
WALLED LAKE SCHOOL EMPLOYEES FEDERAL CREDIT
UNION
3095 SOUTH COMMERCE ROAD
WALLED LAKE, MI 48390 USA                              $38.11
RAIFFEISENBANK (BULGARIA) EAD
18-20 GOGOL STR.
SOFIA, 1504 BULGARIA                                   $37.43
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 358 of 362


ALLIED FEDERAL CREDIT UNION
200 SOUTH EAST GREEN OAKS BOULEVARD
ARLINGTON, TX 76018 USA                              $36.62

FIRST COMMERCIAL BANK, NATIONAL ASSOCIATION
1336 EAST COURT STREET
SEGUIN, TX 78155 USA                                 $36.01
CANARA BANK
CANCARD DIVISION, RMFC SECTION, H.O. BANGALORE
1,14 M G ROAD, 5TH FL
BANGALORE, KARNATAKA, INDIA 560 001                  $35.44
NORTHSTAR BANK OF COLORADO
6222 W. 9TH STREET
GREELEY,COLORADO U.S.A. 80634                        $34.80
BANK OF KAMPSVILLE
NORTH & BROADWAY
KAMPSVILLE,ILLINOIS U.S.A. 82053                     $34.28
ST. THOMAS FEDERAL CREDIT UNION
5027 NORRE GADE
ST. THOMAS 00804, VIRGIN ISLANDS, U.S.               $33.02
SECURITY BANK OF KANSAS CITY
ONE SECURITY PLAZA
KANSAS CITY, KS 66117 USA                            $32.62
HERRING BANK
2201 CIVIC CIRCLE
SUITE 908
AMARILLO TX 79109                                    $32.17
PEOPLES BANK AND TRUST COMPANY OF POINTE COUPEE
PARISH
805 HOSPITAL ROAD
NEW ROADS, LA 70760 USA                              $32.00
COMMUNITY 1ST CREDIT UNION
955 ROSS LOOP SUITE 100
DUPONT, WA 98327 USA                                 $31.00
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 359 of 362


TECU CREDIT UNION
6300 WEST 21ST STREET NORTH
WICHITA, KS 67205 USA                                $30.45
UNKNOWN                                              $30.00
FITZSIMONS FEDERAL CREDIT UNION
2201 NORTH FITZSIMONS PARKWAY
AURORA, CO 80045 USA                                 $30.00
THE HOCKING VALLEY BANK
7 WEST STIMSON AVENUE
ATHENS,OHIO U.S.A. 45701                             $30.00
MERIDEN CONNECTICUT SCHOOL EMPLOYEES FEDERAL
CREDIT UNION
285 BROAD STREET
MERIDAN,CONNECTICUT U.S.A. 06450                     $29.96
BANK OF RANTOUL
201 EAST CHAMPAIGN
RANTOUL, IL 61866 USA                                $29.95
THE GREENWOOD'S STATE BANK
117 NORTH MAIN STREET
LAKE MILLS, WI 53551-1609 USA                        $29.95
FIRST CITIZENS NATIONAL BANK
PO BOX 370
DYERSBURG, TN 38025                                  $28.39
CUTTING EDGE FEDERAL CREDIT UNION
4620 INTERNATIONAL WAY
MILWAUKIE, OR 97222 USA                              $28.13
BOULDER MUNICIPAL EMPLOYEES FEDERAL CREDIT
UNION
2800 ARAPAHOE AVENUE
BOULDER, CO 80303 USA                                $27.43
UNIVERSITY OF HAWAII FEDERAL CREDIT UNION
2019 SOUTH KING STREET
HONOLULU, HI 96826 USA                               $25.00
                            Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 360 of 362


FIRST COMMUNITY BANK OF THE OZARKS
121 S. COMMERCIAL
BRANSON,MISSOURI U.S.A. 65616                         $22.78
CLOSED JOINT STOCK COMPANY COMMERCIAL BA
8-10 GASHEKA ST.
125047 MOSCOW, RUSSIAN FEDERATION                     $21.64
CO-OPERATIVE CENTRAL BANK LIMITED
8 GREGORY AFXENTIOU STREET
NICOSIA, 1096 CYPRUS                                  $21.30
OCEAN COMMUNITIES FEDERAL CREDIT UNION
ONE POOL STREET
BIDDEFORD, ME 4005 USA                                $20.97
BANCO CBSS, S.A.
AL RIO NEGRO, 161 - 1º ANDAR
BARUERI, SP 6454 BRAZIL                               $20.69
ALLCOM CREDIT UNION
36 PARK AVENUE
WORCESTER, MA 1609 USA                                $20.00
TONGASS FEDERAL CREDIT UNION
2000 TONGASS AVENUE
KETCHIKAN, AK 99901 USA                               $19.93
CAPITOL BANK
710 NORTH HIGH POINT ROAD
MADISON, WI 53717 USA                                 $18.39
AVANT TARJETA ESTABLECIMIENTO FINANCIERO DE
CREDITO S.A.
C/JOSE ECHEGARA, 6 CP,
LAS ROZAS,
0000 MADRID, SPAIN                                    $17.73
                              Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 361 of 362


SANTANDER CONSUMER FINANCE S.A.
EDIFICIO DEHESA 1
CIUDAD FINANCIERA GRUPO
SANTANDER
AVDA CANTABRIA, S/N
28660 BOADILLA DEL MONTE SPAIN                          $16.51
UNKNOWN                                                 $15.92
TOWER FEDERAL CREDIT UNION
7901 SANDY SPRING RD
LAUREL MD 20723                                         $15.16
ANZ BANK (TAIWAN) LIMITED
18F., NO.7, SONGREN RD., XINYI DIST.,
TAIPEI, 110 TAIWAN                                      $13.68
LEGEND BANK, N.A.
101 WEST TARRANT
BOWIE, TX 76230 USA                                      $7.21
LANDMARK COMMUNITY BANK
2 SOUTH MAIN STREET
PITTSTON, PA 18640 USA                                   $7.06
THE BANK
205 SOUTH PENN AVENUE
OBERLIN, KS 67749 USA                                    $6.86
CMR FALABELLA SA
SHOPPING DOT BAIRES - VEDIA 3626 CABA, CP
BUENOS AIRES ARGENTINA C1430DAH                          $6.43
NEW ERA BANK
101 SOUTH MINE LAMOTTE
FREDERICKTOWN,MISSOURI U.S.A. 63645                      $6.00
TEXAS PLAINS FEDERAL CREDIT UNION
804 SOUTH MADISON STREET
AMARILLO, TX 79101 USA                                   $5.40
PROSPECTORS FEDERAL CREDIT UNION
17595 ALMAHURST STREET, SUITE 100
CITY OF INDUSTRY, CA 91748 USA                           $5.23
                           Case 2:11-cr-00070-RAJ Document 484 Filed 04/12/18 Page 362 of 362


SOCIETE GENERALE DE BANQUES AU SENEGAL
19, AVENUE ROUME
DAKAR, SENEGAL                                          $4.06
BARCLAYS BANK OF KENYA LTD.
BANK HOUSE, MOI AVENUE
NAIROBI, KENYA                                          $3.03
SECURITY STATE BANK
501 PHELPS AVENUE
LITTLEFIELD, TX 79339 USA                               $2.97
FIRST NATIONAL BANK OF SCOTIA
201 MOHAWK AVENUE
SCOTIA, NY 12302 USA                                    $0.25
BANK HAPOALIM
B M 40 HAMASGER STREET
TEL AVIV, 61620 ISRAEL                                  $0.00

                                              $169,418,843.54
